  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 1 of 386
C I T Y - 1
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 2 of 386




                                              C I T Y             - 2
                                              P .   1
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 3 of 386




                                               C I T Y - 2
                                               P .   2
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 4 of 386




                                               C I T Y - 3
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 5 of 386




                                              C I T Y - 4
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 6 of 386




                                                 C I T Y - 5
                                                 P .   1
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 7 of 386




                                               C I T Y - 5
                                               P .   2
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 8 of 386




                                                   C I T Y - 6
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 9 of 386




                                        C I T Y - 7
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 10 of 386




                                                                   C I T Y - 8
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 11 of 386




                                                                   9
                                                                   C I T Y
                                                                   P . 1
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 12 of 386




                                                                   c I T Y - 9
                                                                   P .   2
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 13 of 386




                                                                   C I T Y - 9
                                                                   P .   3
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 14 of 386




                                                                   C I T Y - 9
                                                                   P .   4
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 15 of 386




                                                                   C I T Y - 9
                                                                   P .   5
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 16 of 386




                                                                   C I T Y - 9
                                                                   P .   6
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 17 of 386




                                                                   C I T Y - 9
                                                                   P .   7
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 18 of 386




                                                                   C I T Y - 9
                                                                   P .   8
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 19 of 386




                                                                   C I T Y - 9
                                                                   P .   9
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 20 of 386




                                                                   C I T Y - 9
                                                                   P .   1 0
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 21 of 386




                                                                   C I T Y - 9
                                                                   P .   1 1
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 22 of 386




                                                                   C I T Y - 9
                                                                   P .   1 2
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 23 of 386




                                                                   C I T Y - 9
                                                                   P .   1 3
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 24 of 386




                                                                   C I T Y - 9
                                                                   P .   1 4
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 25 of 386




                                                                   C I T Y - 9
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 26 of 386




                                                                   C I T Y - 9
                                                                   P .   1 6
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 27 of 386




                                                                   C I T Y - 9
                                                                   P .   1 7
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 28 of 386




                                                                   C I T Y - 9
                                                                   P .   1 8
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 29 of 386




                                                                   C I T Y - 9
                                                                   P .   1 9
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 30 of 386




                                                                   C I T Y - 9
                                                                   P .   2 0
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 31 of 386




                                                                   C I T Y - 9
                                                                   P .   2 1
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 32 of 386




                                                                   C I T Y - 9
                                                                   P .   2 2
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 33 of 386




                                                                   C I T Y - 9
                                                                   P .   2 3
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 34 of 386




                                                                   C I T Y - 9
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 35 of 386




                                                                   C I T Y - 9
                                                                   P .   2 5
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 36 of 386




                                                                   C I T Y - 9
                                                                   P .   2 6
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 37 of 386




                                                                   C I T Y - 9
                                                                   P .   2 7
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 38 of 386




                                                                   C I T Y - 9
                                                                   P .   2 8
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 39 of 386




                                                                   C I T Y - 9
                                                                   P .   2 9
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 40 of 386




                                                                   C I T Y - 9
                                                                   P .   3 0
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 41 of 386




                                                                   C I T Y - 9
                                                                   P .   3 1
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 42 of 386




                                              C I T Y - 1 0
 Case Case
      18-00137-mdc   Doc 48-3 Document
           2:21-cv-05144-WB     Filed 05/24/19  Entered
                                         4-8 Filed      05/24/19
                                                   12/16/21 Page12:04:33
                                                                 43 of 386 Desc
                        Exhibit Declaration Page 1 of 2



                           81,7('67$7(6%$1.5837&<&2857
                    )257+(($67(51',675,&72)3(116</9$1,$
  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

/\QGHO7RSSLQ                                   
6QG6WUHHW                               
3KLODGHOSKLD3$                                 &+$37(5
                                               
       'HEWRU                                       &DVH1R0'& 
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

/\QGHO7RSSLQ                                   
       'HEWRU3ODLQWLII                                                                
Y                                                  $GY3URF1R0'&
                                               
-HZHOO:LOOLDPV                                       
6KHULIIRIWKH&LW\RI3KLODGHOSKLD                
,QKLVRIILFLDOFDSDFLW\                         
/DQG7LWOH%XLOGLQJ)LIWK)ORRU                  
6RXWK%URDG6WUHHW                            
3KLODGHOSKLD3$                            
       'HIHQGDQW                               
DQG                                           
                                               
$EGHOGD\HP+DVVDQDND$EGHOG\HP+DVVDQ             
%DUNHU$YHQXH                                     
/DQVGRZQH3$                               
       'HIHQGDQW                               

                                                                                
                'HFODUDWLRQRI%DUULQJWRQ:K\WHLQ6XSSRUWRI/\QGHO7RSSLQ¶V
                             0RWLRQIRU-XGJPHQWRQWKH3OHDGLQJV
                                                             
                                                             
,%DUULQJWRQ:K\WHGHFODUH

     ,KDYHSHUVRQDONQRZOHGJHRIWKHPDWWHUVVHWIRUWKKHUHLQ

     ,UHVLGHZLWKP\8QFOH/\QGHO7RSSLQDQG,DWWHVWWKDWKHH[SHULHQFHGXQGXHIUXVWUDWLRQ
DQ[LHW\DQGPHQWDODQJXLVKDVDUHVXOWRIWKHZLOOIXOFRQGXFWRI-HZHOO:LOOLDPV6KHULIIRIWKH
&LW\RI3KLODGHOSKLDDQG$EGHOGD\HP+DVVDQLQUHSHDWHGO\YLVLWLQJRXUUHVLGHQFHRQ0D\
0D\0D\-XQH-XQHDQG-XQHDVRXWOLQHGLQ
WKH&RPSODLQW

'HFODUDWLRQRI%DUULQJWRQ:K\WH

                                                                C I T Y - 1 1
                                                                P .   1
 Case Case
      18-00137-mdc   Doc 48-3 Document
           2:21-cv-05144-WB     Filed 05/24/19  Entered
                                         4-8 Filed      05/24/19
                                                   12/16/21 Page12:04:33
                                                                 44 of 386 Desc
                        Exhibit Declaration Page 2 of 2



     ,DWWHVWWKDW,SHUVRQDOO\ZLWQHVVHGE\8QFOH/\GHO7RSSLQH[SHULHQFHKHDGDFKHVORVVRI
VOHHSDQ[LHW\GUHDGDQGDJHQHUDOORVVRIHQMR\PHQWRIOLIHGXHWRWKHUHSHDWHGYLVLWVE\-HZHOO
:LOOLDPV6KHULIIRIWKH&LW\RI3KLODGHOSKLD


     ,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH&RPPRQZHDOWKRI3HQQV\OYDQLD
WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFWDQGWKDWWKLVGHFODUDWLRQZDVH[HFXWHGDWWKHGDWHVHWIRUWK
EHORZLQ3KLODGHOSKLD3HQQV\OYDQLD


'DWH0D\


                                                               V%DUULQJWRQ:K\WH




























'HFODUDWLRQRI%DUULQJWRQ:K\WH
                                                                      C I T Y - 1 1
                                                                       P .   2
      Case 2:21-cv-05144-WB
Case 18-13098-mdc            Document
                    Doc 23 Filed        4-8 Entered
                                 07/11/18    Filed 12/16/21
                                                     07/11/18Page 45 of 386
                                                              08:34:33   Desc Main
                           Document      Page 1 of 8




                                    C I T Y - 1 2
                                    P .   1
      Case 2:21-cv-05144-WB
Case 18-13098-mdc            Document
                    Doc 23 Filed        4-8 Entered
                                 07/11/18    Filed 12/16/21
                                                     07/11/18Page 46 of 386
                                                              08:34:33   Desc Main
                           Document      Page 2 of 8




                                     C I T Y - 1 2
                                     P .   2
      Case 2:21-cv-05144-WB
Case 18-13098-mdc            Document
                    Doc 23 Filed        4-8 Entered
                                 07/11/18    Filed 12/16/21
                                                     07/11/18Page 47 of 386
                                                              08:34:33   Desc Main
                           Document      Page 3 of 8




                                    C I T Y - 1 2
                                    P .   3
      Case 2:21-cv-05144-WB
Case 18-13098-mdc            Document
                    Doc 23 Filed        4-8 Entered
                                 07/11/18    Filed 12/16/21
                                                     07/11/18Page 48 of 386
                                                              08:34:33   Desc Main
                           Document      Page 4 of 8




                                          C I T Y - 1 2
                                          P .   4
      Case 2:21-cv-05144-WB
Case 18-13098-mdc            Document
                    Doc 23 Filed        4-8 Entered
                                 07/11/18    Filed 12/16/21
                                                     07/11/18Page 49 of 386
                                                              08:34:33   Desc Main
                           Document      Page 5 of 8




                                            C I T Y - 1 2
                                            P .   5
      Case 2:21-cv-05144-WB
Case 18-13098-mdc            Document
                    Doc 23 Filed        4-8 Entered
                                 07/11/18    Filed 12/16/21
                                                     07/11/18Page 50 of 386
                                                              08:34:33   Desc Main
                           Document      Page 6 of 8




                                        C I T Y - 1 2
                                        P .   6
Case 18-13098-mdc   Doc 23 Filed
      Case 2:21-cv-05144-WB      07/11/18
                             Document   4-8 Entered  07/11/18Page
                                             Filed 12/16/21   08:34:33   Desc Main
                                                                  51 of 386
                           Document      Page 7 of 8




                                        C I T Y - 1 2
                                        P .   7
Case 18-13098-mdc   Doc 23 Filed
      Case 2:21-cv-05144-WB      07/11/18
                             Document   4-8 Entered  07/11/18Page
                                             Filed 12/16/21   08:34:33   Desc Main
                                                                  52 of 386
                           Document      Page 8 of 8




                                             C I T Y - 1 2
                                             P .   8
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 53 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 54 of 386




                                                  C I T Y - 1 3
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 55 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 56 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 57 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 58 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 59 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 60 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 61 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 62 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 63 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 64 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 65 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 66 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 67 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 68 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 69 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 70 of 386
CaseCase
    18-00137-mdc    Doc 1-9 Document
         2:21-cv-05144-WB    Filed 06/11/18   Entered
                                       4-8 Filed      06/11/18
                                                 12/16/21  Page18:09:52
                                                                71 of 386Desc
                           Exhibit I Page 1 of 1




                                                         C I T Y - 1 4
Case Case
     18-00137-mdc   Doc 1-10 Document
          2:21-cv-05144-WB    Filed 06/11/18  Entered
                                       4-8 Filed      06/11/18
                                                 12/16/21 Page18:09:52
                                                               72 of 386 Desc
                            Exhibit J Page 1 of 1




                                                       C I T Y - 1 5
Case Case
     18-00137-mdc   Doc 1-11 Document
          2:21-cv-05144-WB    Filed 06/11/18  Entered
                                       4-8 Filed      06/11/18
                                                 12/16/21 Page18:09:52
                                                               73 of 386 Desc
                           Exhibit K Page 1 of 1




                                                           C I T Y - 1 6
Case Case
     18-00137-mdc   Doc 1-12 Document
          2:21-cv-05144-WB    Filed 06/11/18  Entered
                                       4-8 Filed      06/11/18
                                                 12/16/21 Page18:09:52
                                                               74 of 386 Desc
                            Exhibit L Page 1 of 1




                                                       C I T Y - 1 7
Case Case
     18-00137-mdc   Doc 1-13 Document
          2:21-cv-05144-WB    Filed 06/11/18  Entered
                                       4-8 Filed      06/11/18
                                                 12/16/21 Page18:09:52
                                                               75 of 386 Desc
                           Exhibit M Page 1 of 1




                                                         C I T Y - 1 8
Case Case
     18-00137-mdc   Doc 1-14 Document
          2:21-cv-05144-WB    Filed 06/11/18  Entered
                                       4-8 Filed      06/11/18
                                                 12/16/21 Page18:09:52
                                                               76 of 386 Desc
                           Exhibit N Page 1 of 1




                                                         C I T Y - 1 9
       Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 77 of 386




                    ,17+(81,7('67$7(6%$1.5837&<&2857
                  )257+(($67(51',675,&72)3(116</9$1,$

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
,QUH                                         
                                                          &KDSWHU
/<1'(/7233,1                                        
                                               
              'HEWRU                                %DQNUXSWF\1R 0'& 
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                               
/<1'(/7233,1                                   
                                               
              3ODLQWLII                                                                
                                                      
                Y                                    $GY3URF1R 0'& 
                                               
-(:(//:,//,$066+(5,))                          
2)7+(&,7<2)3+,/$'(/3+,$DQG                     
$%'(/'$<(0+$66$1DND                           
$%'(/'<(0+$66$1                                
                                               
              'HIHQGDQWV                       
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                         3/$,17,))¶65(63216(672'()(1'$17
                   &,7<2)3+,/$'(/3+,$6+(5,))¶V'(3$570(17
                                  5(48(676)25$'0,66,21

                                    *(1(5$/2%-(&7,216

     3ODLQWLIIDVVHUWVWKHVH*HQHUDO2EMHFWLRQVWR'HIHQGDQW¶V5HTXHVWIRU3URGXFWLRQRI

'RFXPHQWVDQGLQFRUSRUDWHVWKHPE\UHIHUHQFHLQWRHDFK

    3ODLQWLIIREMHFWVWRHDFKUHTXHVWWRWKHH[WHQWLWVHHNVGRFXPHQWVFRYHUHGE\WKHDWWRUQH\

FOLHQWSULYLOHJHWKHZRUNSURGXFWGRFWULQHWKHFRQVXOWLQJSULYLOHJHWKHFRPPRQLQWHUHVW

GRFWULQHRUDQ\RWKHUDSSOLFDEOHSULYLOHJHRULPPXQLW\1RQHRI3ODLQWLII¶VUHVSRQVHVDUH

LQWHQGHGDVQRUVKRXOGEHFRQVWUXHGDVDZDLYHURUUHOLQTXLVKPHQWRIWKHDWWRUQH\FOLHQW

SULYLOHJHWKHZRUNSURGXFWGRFWULQHWKHFRQVXOWLQJSULYLOHJHWKHFRPPRQLQWHUHVWGRFWULQHRU

DQ\RWKHUDSSOLFDEOHSULYLOHJHRULPPXQLW\
                                                         C I T Y - 2 0
       Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 78 of 386




    3ODLQWLIIREMHFWVWRHDFKUHTXHVWWRWKHH[WHQWWKDWLWLVRYHUO\EURDGXQGXO\EXUGHQVRPH

DQGRUQRWUHDVRQDEO\FDOFXODWHGWROHDGWRWKHGLVFRYHU\RIUHOHYDQWGRFXPHQWVRUDGPLVVLEOH

HYLGHQFH

    3ODLQWLIIREMHFWVWR'HIHQGDQW¶VGHILQLWLRQRI³'RFXPHQW´LQ'HILQLWLRQ1RRIWKH

'RFXPHQW5HTXHVWV7KDWGHILQLWLRQH[FHHGVWKHSHUPLVVLEOHERXQGVXQGHU5XOHRIWKH

)HGHUDO5XOHVRI&LYLO3URFHGXUH6SHFLILFDOO\WKH'HIHQGDQWGHILQHV³'RFXPHQW´

³DQ\ZULWWHQUHFRUGHGRUJUDSKLFPDWWHUZKHWKHUSURGXFHGRUUHSURGXFHGRUVWRUHGRQSDSHU

WDSHVILOPVFRPSXWHUVWRULQJGHYLFHVRUDQ\RWKHUPHGLDDQGLQFOXGHVZLWKRXWOLPLWLQJWKH

JHQHUDOLW\RIWKHIRUHJRLQJFRPSXWHUSULQWRXWVRUPHGLDWDSHVGLVFVHOHFWURQLFPDLOUHFRUGV

OHWWHUVFRUUHVSRQGHQFHWHOHJUDPVRWKHUZULWWHQFRPPXQLFDWLRQVFRQWUDFWVDJUHHPHQWVQRWHV

ZRUNSDSHUVRUDQ\RWKHUZULWLQJVLQFOXGLQJQRQLGHQWLFDOFRSLHVGUDIWVRURWKHUWUDQVFULSWVRI

WKHIRUHJRLQJGRFXPHQWVLVUHTXHVWHGRUUHIHUUHGWRWKHUHTXHVWRUUHIHUHQFHVKDOOLQFOXGHEXWLV

QRWOLPLWHGWRWKHRULJLQDODQGHDFKDQGHYHU\FRS\DQGGUDIWWKHUHRIKDYLQJZULWLQJVQRWDWLRQV

FRUUHFWLRQVRUPDNLQJVSHFXOLDUWRVXFKFRS\RUGUDIW«´3ODLQWLIIREMHFWVWRVHDUFKLQJIRURU

SURGXFLQJ(6,FRQWDLQHGRQGLVDVWHUUHFRYHU\EDFNXSRUDUFKLYDOPHGLDOHJDF\V\VWHPVRU

GHOHWHGIUDJPHQWHGVKDGRZHGRUWHPSRUDU\GDWDRQWKHJURXQGVWKDWVXFKLQIRUPDWLRQLVQRW

UHDVRQDEO\DFFHVVLEOHGXHWRFRVWDQGEXUGHQDQGWKDWWKHEXUGHQDQGFRVWRIVHDUFKLQJ

SURFHVVLQJDQGSURGXFLQJWKLVPDWHULDOZRXOGIDUH[FHHGDQ\PDUJLQDOEHQHILWWREHJDLQHGE\

FRQGXFWLQJVXFKDVHDUFK

    $VWDWHPHQWWKDW3ODLQWLIIZLOOSURGXFHGRFXPHQWVLQUHVSRQVHWRDQ\UHTXHVWKHUHLQGRHV

QRWPHDQWKDWVXFKGRFXPHQWVH[LVWEXWRQO\WKDWWRWKHH[WHQWVXFKGRFXPHQWVGRH[LVWDQGDUH

QRWVXEMHFWWRWKHSUHOLPLQDU\VWDWHPHQWDQGRUDJHQHUDOREMHFWLRQ3ODLQWLIIZLOOSURGXFHQRQ

SULYLOHJHGUHVSRQVLYHGRFXPHQWVWKDWDUHLGHQWLILDEOHDIWHUDUHDVRQDEOHVHDUFK
        Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 79 of 386




    3ODLQWLIIREMHFWVWRWKHUHTXHVWVWRWKHH[WHQWWKDWWKH\VHHNGRFXPHQWVDQGLQIRUPDWLRQ

RXWVLGHRI3ODLQWLII¶VSRVVHVVLRQFXVWRG\RUFRQWURO3ODLQWLIIREMHFWVWRVHDUFKLQJIRURU

SURGXFLQJGRFXPHQWVIURPLWVRXWVLGHDGYLVRUVDWWRUQH\VDJHQWVRUFRQVXOWDQWV

    3ODLQWLIIREMHFWVWR,QVWUXFWLRQ1XPEHURQWKHJURXQGVWKDWWKHIDVWSDFHGVFKHGXOHRI

WKLVPDWWHUGRHVQRWDOORZDGHTXDWHWLPHWRXSGDWHSULRUGLVFRYHU\UHVSRQVHVDQGEHFDXVH

XSGDWLQJWKHPVXEVHTXHQWWRWKHKHDULQJLQWKLVPDWWHULVQRWUHDVRQDEO\FDOFXODWHGWROHDGWRWKH

GLVFRYHU\RIDGPLVVLEOHHYLGHQFH

    7RWKHH[WHQWWKDWLQIRUPDWLRQLVGLVFRYHUDEOHQRWVXEMHFWWRWKHREMHFWLRQV3OHDVHUHIHUWR

WKH([KLELWVILOHGLQFRQQHFWLRQZLWKUHVSRQGHQW¶V0RWLRQIRU-XGJPHQWRQ3OHDGLQJVKHUHE\

LQFRUSRUDWHGE\UHIHUHQFH

   2EMHFWLRQUHVSRQVHVFDOOIRUH[SHUW PHGLFDO WHVWLPRQ\IURPDIDFWZLWQHVV

6XEMHFWWRWKHIRUHJRLQJ3ODLQWLIIUHVSRQGVDVIROORZV

                               3/$,17,))¶65(63216(6725)$

5)$12$GPLWWKDW\RXFDQFRPPXQLFDWH

5(63216(2EMHFWLRQUHVSRQVHFDOOVIRUPHGLFDOH[SHUWWHVWLPRQ\6XEMHFWWRWKH

REMHFWLRQDGPLWWHGLQSDUWDVWRKDQGJHVWXUHVFHUWDLQZRUGVDQGSKUDVHVFHUWDLQ

FRORUVDQGLVDEOHWRWDNHFRPSUHKHQGRXWVLGHLQIRUPDWLRQDQGVHQVDWLRQVPRUHVR

WKHQEHLQJDEOHWRH[SUHVVKLPVHOIDQGGHQLHGDVWRWKHUHPDLQGHU

5)$1R$GPLWWKDW\RXFDQUHDG

5(63216('HQLHGJHQHUDOO\KRZHYHULIWH[WOHWWHUVDUHFRORUFRGHGDQGLQ

EROGKHLVDEOHWRGLVFHUQWKHLUVLJQLILFDQFHVXIILFLHQWO\WRDVNIRULWWREHUHDGDQG

H[SODLQHGWRKLP+LVDELOLW\WRGLVFHUQZULWWHQLQIRUPDWLRQLQFUHDVHVZLWK
      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 80 of 386




LQFUHDVHGQXPEHURIVLPLODUQRWLFHVHVSHFLDOO\LIWKHZULWLQJLVGHVLJQHGWRFRQYH\

DVHQVHRIXUJHQF\

5)$1R$GPLWWKDW\RXFDQZULWH

5(63216('HQLHG



5)$1R$GPLWWKDW\RXFDQVSHDN

5(63216($GPLWWHGWRVRPHGHJUHHVXEMHFWWRREMHFWLRQDERYH



5)$1R$GPLWWKDW\RXFDQVSHDN(QJOLVK

5(63216('HQLHGIRUWKHPRVWSDUWVXEMHFWWRREMHFWLRQDERYH



5)$1R$GPLWWKDW\RXFDQKHDU

$16:(52EMHFWLRQFDOOVIRUH[SHUWWHVWLPRQ\6XEMHFWWRWKHREMHFWLRQKH

DSSHDUVWREHDEOHWRUHDFWWRVRPHVRXQGV



5)$$GPLWWKDW\RXFDQXQGHUVWDQGVSRNHQ(QJOLVK

$16:(5$GPLWWHGLQSDUWGHQLHGLQSDUW



5)$$GPLWWKDW\RXFDQUHDGOLSV

      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 81 of 386




$16:(5$GPLWWHGWKDWKHFDQGLVFHUQFHUWDLQZRUGVDQGFRQYH\DQFHRIFHUWDLQ

FRPPRQSKUDVHVKRZHYHUWKDWKHFDQ³UHDG´RUGLVFHUQDZLGHYDULHW\RIZRUGV

VSRNHQWRKLP



$GPLWWKDW\RXFDQVLJQXVLQJ$PHULFDQ6LJQ/DQJXDJH
$16:(5'HQLHG



$GPLWWKDW\RXFDQFRPPXQLFDWHXVLQJJHVWXUHV

$16:(5$GPLWWHGWRDOLPLWHGGHJUHH IRUIRRGEDWKURRP79DQGZKHQ
IULJKWHQHG
DODUPHGDQGGLVWUHVVHG 



$GPLWWKDW\RXDUHQRWQRQYHUEDO

$16:(5'HQLHGVXEMHFWWRWKHREMHFWLRQVDERYH



$GPLWWKDW\RXDUHQRWQRQKHDULQJ

$16:(5'HQLHGVXEMHFWWRWKHREMHFWLRQVDERYH



$GPLWWKDW\RXFRPPXQLFDWHZLWK%DUULQJWRQ:K\WH

$16:(5$GPLWWHGLQSDUWGHQLHGLQSDUW1RWDEOHWRH[SUHVVHYHU\WKLQJKH
ZRXOGKDYH

ZDQWHGWRH[SUHVVHYHQWR0U:K\WH

      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 82 of 386






$GPLWWKDW%DUULQJWRQ:K\WHFDQFRPPXQLFDWHZLWK\RX

$16:(5$GPLWWHG



$GPLWWKDW\RXFDQXQGHUVWDQG%DUULQJWRQ:K\WHZKHQKHFRPPXQLFDWHVZLWK
\RX
$16:(5$GPLWWHGWRDOLPLWHGH[WHQWRQO\DERXWEDVLFLVVXHVPHQWLRQHGLQ
UHVSRQVHWR5)$



$GPLWWKDW\RXFDQFRPPXQLFDWHZLWKUHSUHVHQWDWLYHVRI\RXU(PSOR\HU

$16:(5$GPLWWHGWRDOLPLWHGH[WHQWRQO\DERXWEDVLFLVVXHVPHQWLRQHGLQ
UHVSRQVHWR5)$



$GPLWWKDWUHSUHVHQWDWLYHVRI\RXU(PSOR\HUFDQFRPPXQLFDWHZLWK\RX

$16:(5$GPLWWHGWRDOLPLWHGH[WHQWRQO\DERXWEDVLFLVVXHVPHQWLRQHGLQ
UHVSRQVHWR5)$+LVRQO\MRELVWRZDVKGLVKHVZKLFKKHKDVGRQHIRU
\HDUV




$GPLWWKDW\RXU(PSOR\HUFRPPXQLFDWHVZLWK\RXE\VSHDNLQJ(QJOLVK
$16:(5$GPLWWHGLQSDUWGHQLHGLQSDUW(PSOR\HUZRXOGSRLQWWRWKLQJVXVLQJ
KDQGJHVWXUHVDQGKLVMRELVYHU\HOHPHQWDU\KDVQRWFKDQJHGLQ\HDUVLQZLVK
ZDVKLQJPRSSLQJXSDQGWKURZLQJRXWJDUEDJH




$GPLWWKDW\RXU(PSOR\HUFRPPXQLFDWHVZLWK\RXLQZULWLQJ
      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 83 of 386




$16:(5$GPLWWHGWKDWHPSOR\HUVHQGVFHUWDLQZULWLQJWRKLVDGGUHVVRQFHRU
WZLFHD\HDUSHUWDLQLQJWRWD[HVGHQLHGDVWRWKHUHPDLQGHU




$GPLWWKDW\RXFDQXQGHUVWDQGUHSUHVHQWDWLYHVRI\RXU(PSOR\HUZKHQWKH\
FRPPXQLFDWHZLWK\RX
$16:(5$GPLWWHGLQSDUWGHQLHGLQSDUW(PSOR\HUZRXOGSRLQWWRWKLQJVXVLQJ
KDQGJHVWXUHVDQGKLVMRELVYHU\HOHPHQWDU\KDVQRWFKDQJHGLQ\HDUVLQZLVK
ZDVKLQJPRSSLQJXSDQGWKURZLQJRXWJDUEDJH





$GPLWWKDW\RXRZQDWHOHSKRQHRUFHOOSKRQH
$16:(5$GPLW




$GPLWWKDW\RXQHYHUVDZDUHSUHVHQWDWLYHRIWKH6KHULII¶V2IILFHRQWKH
3URSHUW\
$16:(5'HQLHG




$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHGLGQRWSHUVRQDOO\VHHDUHSUHVHQWDWLYHRI
WKH6KHULII¶V2IILFHSRVWVL[  VHSDUDWH(YLFWLRQ1RWLFHVDQG1RWLFHVWR9DFDWH
$16:(5'HQLHG



$GPLWWKDWQHLWKHU\RXQRU\RXUUHSUHVHQWDWLYHVSRNHZLWKDUHSUHVHQWDWLYHRI
WKH
6KHULII¶V2IILFHDWWKH3URSHUW\
$16:(5$GPLWWHG

      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 84 of 386







$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHZURWHWKHGDWHRI³0D\´RQWKH
1RWLFHWR9DFDWHDWWDFKHGKHUHWRDV([KLELW$
$16:(5
$GPLWWHG



$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHZURWHWKHGDWH³0D\´RQWKH
1RWLFHWR9DFDWHDWWDFKHGKHUHWRDV([KLELW%

$16:(5$GPLWWHG

$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHZURWHWKHGDWH³0D\´RQWKH
1RWLFHWR9DFDWHDWWDFKHGKHUHWRDV([KLELW&
$16:(5$GPLWWHG


$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHZURWHWKHGDWH³-XQH´RQWKH
(YLFWLRQ1RWLFHDWWDFKHGKHUHWRDV([KLELW'
$16:(5$GPLWWHG


$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHZURWHWKHGDWH³-XQH´RQWKH
(YLFWLRQ1RWLFHDWWDFKHGKHUHWRDV([KLELW(
$16:(5$GPLWWHG


$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHZURWHWKHGDWH³-XQH´RQWKH
(YLFWLRQ1RWLFHDWWDFKHGKHUHWRDV([KLELW)
$16:(5$GPLWWHG


$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHUHFHLYHGWKH1RWLFHWR9DFDWHDWWDFKHG
KHUHWRDV([KLELW$E\PDLO
$16:(5$GPLWWHGP\PDLODQGE\SRVWLQJ


      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 85 of 386




$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHUHFHLYHGWKH1RWLFHWR9DFDWHDWWDFKHG
KHUHWRDV([KLELW%E\PDLO
$16:(5$GPLWWHGDQGE\SRVWLQJ



$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHUHFHLYHGWKH1RWLFHWR9DFDWHDWWDFKHG
KHUHWRDV([KLELW&E\PDLO
$16:(5$GPLWWHGE\PDLODQGE\SRVWLQJ


$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHUHFHLYHGWKH(YLFWLRQ1RWLFHDWWDFKHG
KHUHWRDV([KLELW'E\PDLO

$16:(5$GPLWWHGDQGE\SRVWLQJ

$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHUHFHLYHGWKH(YLFWLRQ1RWLFHDWWDFKHG
KHUHWRDV([KLELW(E\PDLO
$16:(5$GPLWWHGDQGE\SRVWLQJ


$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHUHFHLYHGWKH(YLFWLRQ1RWLFHDWWDFKHG
KHUHWRDV([KLELW)E\PDLO
$16:(5$GPLWWHGDQGE\SRVWLQJ


$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHUHFHLYHGVRPHRIWKH1RWLFHVWR9DFDWH
DWWDFKHGKHUHWRDV([KLELWV$WKURXJK&E\PDLO

$16:(5$GPLWWHG


$GPLWWKDW\RXRU\RXUUHSUHVHQWDWLYHUHFHLYHGVRPHRIWKH(YLFWLRQ1RWLFHV
DWWDFKHGKHUHWRDWH[KLELWV'WKURXJK)E\PDLO
$16:(5$GPLWWHG



$GPLWWKDW\RXGRQRWNQRZWKHGDWHWKH1RWLFHWR9DFDWHDWWDFKHGKHUHWRDV
([KLELW$ZDVSRVWHGWRWKH3URSHUW\
      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 86 of 386




$16:(5$GPLWWHGDVWRWKHH[DFWWLPHDQGGDWHKRZHYHUDOORIWKH1RWLFHVDW
LVVXHKHUHLQVWDUWHGDSSHDULQJDIWHU0D\WK


$GPLWWKDW\RXGRQRWNQRZWKHGDWHWKH1RWLFHWR9DFDWHDWWDFKHGKHUHWRDV
([KLELW%ZDVSRVWHGWRWKH3URSHUW\
$16:(5$GPLWWHGDVWRWKHH[DFWWLPHDQGGDWHKRZHYHUDOORIWKH1RWLFHVDW
LVVXHKHUHLQVWDUWHGDSSHDULQJDIWHU0D\WK


$GPLWWKDW\RXGRQRWNQRZWKHGDWHWKH1RWLFHWRYDFDWHDWWDFKHGKHUHWRDV
([KLELW&ZDVSRVWHGWRWKH3URSHUW\
$16:(5$GPLWWHGDVWRWKHH[DFWWLPHDQGGDWHKRZHYHUDOORIWKH1RWLFHVDW
LVVXHKHUHLQVWDUWHGDSSHDULQJDIWHU0D\WK

$GPLWWKDW\RXGRQRWNQRZWKHGDWHWKH(YLFWLRQ1RWLFHDWWDFKHGKHUHWRDV
([KLELW'ZDVSRVWHGWRWKH3URSHUW\

$16:(5$GPLWWHGDVWRWKHH[DFWWLPHDQGGDWHKRZHYHUDOORIWKH1RWLFHVDW
LVVXHKHUHLQVWDUWHGDSSHDULQJDIWHU0D\WK

$GPLWWKDW\RXGRQRWNQRZWKHGDWHWKH(YLFWLRQ1RWLFHDWWDFKHGKHUHWRDV
([KLELW(ZDVSRVWHGWRWKH3URSHUW\

$16:(5$GPLWWHGDVWRWKHH[DFWWLPHDQGGDWHKRZHYHUDOORIWKH1RWLFHVDW
LVVXHKHUHLQVWDUWHGDSSHDULQJDIWHU0D\WK


$GPLWWKDW\RXGRQRWNQRZWKHGDWHWKH(YLFWLRQ1RWLFHDWWDFKHGKHUHWRDV
([KLELW)ZDVSRVWHGWRWKH3URSHUW\

$16:(5$GPLWWHGDVWRWKHH[DFWWLPHDQGGDWHKRZHYHUDOORIWKH1RWLFHVDW
LVVXHKHUHLQVWDUWHGDSSHDULQJDIWHU0D\WK








       Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 87 of 386




                       &(57,),&$7,212)6(59,&(
                                         
                                         
,3UHGUDJ)LOLSRYLFKHUHE\FHUWLI\WKDW,KDYHVHUYHGWKHUHVSRQVHVWRUHTXHVWV
IRUDGPLVVLRQXSRQRSSRVLQJFRXQVHORIUHFRUGYLDHOHFWURQLFPDLO


0HJDQ1+DUSHU

'HSXW\&LW\6ROLFLWRU

&LW\RI3KLODGHOSKLD/DZ'HSDUWPHQW

0XQLFLSDO6HUYLFHV%XLOGLQJ

-).%OYGWK)ORRU

3KLODGHOSKLD3$



PHJDQKDUSHU#SKLODJRY



Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 88 of 386




                                          C I T Y - 2 1
    Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 89 of 386

                           Barrington Whyte
                           December 12, 2019

                                                                       Page 1


      IN THE UNITED STATES BANKRUPTCY COURT
    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                     - - -
In re:
       LYNDEL TOPPIN    : Chapter 13,
       Debtor           : Bankruptcy No.
------------------------ 18-13098
LYNDEL TOPPIN           :
       Plaintiff        :
                        :
              vs.       :
                        :
JEWELL WILLIAMS         : Adv. Proc. No.
SHERIFF OF THE CITY OF : 18000137
PHILADELPHIA and        :
ABDELDAYEM HASSAN       :
a/k/a ABDELDYEM HASSAN :
       Defendants       :
                     - - -

           Thursday, December 12, 2019

                       -    -   -

       Oral Deposition of BARRINGTON WHYTE,

taken pursuant to notice, held at Municipal

Services Building, 1401 John F. Kennedy

Boulevard, Room 580, Philadelphia,

Pennsylvania 19102, commencing at

9:45 a.m. before Michelle A. Landman,

Professional Reporter and Notary Public; in

and for the Commonwealth of Pennsylvania.

           STREHLOW & ASSOCIATES, INC.
           54 FRIENDS LANE, SUITE 116
          NEWTOWN, PENNSYLVANIA 18940
                 (215) 504-4622
             SERVING NJ, PA, NY & DE

                   STREHLOW & ASSOCIATES, INC.
                         (215) 504-4622
                                               C I T Y - 2 2
           Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 90 of 386

                                Barrington Whyte
                                December 12, 2019

                                                                              Page 2
1    A P P E A R A N C E S:
2
3    THE LAW OFFICES OF PREDRAG FILIPOVIC
4    By:       PREDRAG FILIPOVIC, ESQUIRE
               1735 Market Street, Suite 3750
5              Philadelphia, Pennsylvania 19103
               267-507-6084
6              PFEsq@ifight4justice.com
7              Representing the Plaintiff
8
9    THE LAW OFFICES OF STEPHEN M. DUNNE
10   By:       STEPHEN M. DUNNE, ESQUIRE
               1515 Market Street, Suite 1200
11             Philadelphia, Pennsylvania 19102
               215-551-7109
12             Stephen@dunnelawoffices.com
13             Representing the Plaintiff
14
15   THE CITY OF PHILADELPHIA - LAW DEPARTMENT
16   By:       MEGAN N. HARPER, ESQUIRE
               JOSHUA DOMER, ESQUIRE
17             Municipal Services Building
               1401 John F. Kennedy Boulevard
18             Room 580
               Philadelphia, Pennsylvania 19102
19             215-685-0503
               MEGAN.HARPER@PHILA.GOV
20             JOSHUA.DOMER@PHILA.GOV
21             Representing the Defendants
22
23
24


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
           Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 91 of 386

                                Barrington Whyte
                                December 12, 2019

                                                                              Page 3
1                                -   -   -
2                               I N D E X
3                                -   -   -
4    WITNESS                                            PAGE
5    BARRINGTON WHYTE
6    (Witness sworn.)
7    EXAMINATION BY:
8    Ms. Harper. . . . . . . . . . . . . . 04, 68
9    Mr. Filipovic . . . . . . . . . . . . 66
10
11                               -   -   -
12                          E X H I B I T S
13                               -   -   -
14   NUMBER                     DESCRIPTION             PAGE
15   D-1       First set of Interrogatories               10
16   D-2       Second Amended Complaint                   30
17   *Exhibits were retained by counsel.
18
19
20
21
22
23
24


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 92 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                             Page 4
1                               -   -    -
2                     BARRINGTON WHYTE, after having
3             been first duly sworn, was examined
4             and testified as follows:
5                               -   -    -
6                     MS. HARPER:       Usual
7             stipulations?
8                     MR. FILIPOVIC:         That's fine.
9                               -   -    -
10                    (It is hereby stipulated and
11            agreed by and between counsel for
12            the respective parties that
13            reading, signing, sealing,
14            certification and filing are waived
15            and that all objections, except as
16            to the form of the question, be
17            reserved until the time of trial.)
18                              -   -    -
19                           EXAMINATION
20                              -   -    -
21   BY MS. HARPER:
22   Q.       Mr. Whyte, my name is Megan Harper,
23   I'm an attorney with the City of
24   Philadelphia.      How are you doing?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 93 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                             Page 5
1    A.        Good.   How are you doing?
2    Q.        Good, thanks.
3              I'm going to start by giving you a few
4    instructions with regard to the conduct of
5    the deposition today.
6              First, as you know, we have a court
7    reporter recording our words.           So I ask that
8    you keep all your responses to my questions
9    verbal.     Nods of the head won't be -- she
10   won't be able to record those.
11   A.        Okay.
12   Q.        Also, please wait until I finish my
13   question before you start responding.             If we
14   start talking over each other, which is
15   natural in conversation, that causes some
16   confusion on the record as well.
17             I think everybody has an interest in
18   getting the most clear record possible.             So
19   in that regard, if I ask a question that you
20   don't understand, please let me know.             It's
21   important that, you know, we get an accurate
22   as possible record of what we're trying --
23   the facts we're trying to speak about here.
24             In general, I don't want you to guess


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 94 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                             Page 6
1    at a response to one of my questions.             If you
2    don't know the answer, let me know.            I may
3    try and re-form my question or narrow down
4    the scope of the question, so we can try and
5    get at least some sort of response
6    substantive to the question.          But other than
7    that, try not to guess.
8    A.       Okay.
9    Q.       I do have to ask one question, your
10   counsel may have prepped you on this.             Did
11   you ingest any drugs or alcohol that may
12   impair your ability to give clear testimony
13   today?
14   A.       No.
15   Q.       Okay.    Can you state your full name
16   for the record?
17   A.       Yes, Barrington Whyte.
18   Q.       What is your current address?
19   A.       1425 South 62nd Street, Philadelphia,
20   Pennsylvania 19139.
21   Q.       1425 South 62nd Street, is that --
22   A.       I mean 146, I'm sorry about that.
23   Q.       Have you resided at 1425 South 62nd
24   Street in the near past?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 95 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                             Page 7
1    A.       Yes.
2    Q.       Okay.    When did you last reside at
3    that address?
4    A.       I still reside there.
5    Q.       Okay.    So you do not reside at 146
6    South 62nd Street, correct?
7    A.       Yes, I do.
8    Q.       Do you reside in both locations?
9    A.       No, 146 South 62nd Street.
10   Q.       Yeah.
11   A.       That's the current address.
12   Q.       How about 1425 South 62nd Street, have
13   you lived there in the past?
14   A.       No.
15   Q.       Does that address have any
16   significance to you?        I'm just curious as to
17   why you mentioned 1425 South 62nd Street as
18   your address.
19   A.       I probably wasn't thinking.          I
20   apologize for that.
21   Q.       Do you know who lives at 1425 South
22   62nd Street?
23   A.       No.
24   Q.       Can you just give me your date of


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
           Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 96 of 386

                                Barrington Whyte
                                December 12, 2019

                                                                              Page 8
1    birth?
2    A.        February 25, 1983.
3    Q.        And when I refer to the property, just
4    so we're clear from this point forward,
5    unless I say otherwise, when I say the
6    property, I'm referring to 146 South 62nd
7    Street; do you understand that?
8    A.        Yes.
9    Q.        Okay.    Who lives with you at 146 South
10   62nd Street?
11   A.        Lyndel Toppin.
12   Q.        Anybody else?
13   A.        No.
14   Q.        How long have you lived at the
15   property?
16   A.        About, I would say about ten years or
17   so.
18   Q.        Do you know how long Mr. Toppin has
19   lived at the property?
20   A.        About probably 15.
21   Q.        Okay.    Mr. Toppin isn't here with you
22   today, is he?
23   A.        No.
24   Q.        Did you have any involvement in the


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 97 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                             Page 9
1    decision not to bring him here today?
2    A.       No.
3    Q.       Mr. Toppin is the plaintiff with
4    respect to the lawsuit that we're here taking
5    your deposition for; is that correct?
6    A.       Yes.
7    Q.       Okay.    Can you tell me where you lived
8    before living at the property, say -- give me
9    a -- you mention you lived at the property
10   for the past ten years.
11   A.       Um-hum.
12   Q.       In the ten years prior to that, can
13   you give me some addresses as to where you
14   were residing?
15   A.       I was actually staying with my mother
16   at that time before that.
17   Q.       Okay.    Where is her home?
18   A.       6045 Christian Street.
19   Q.       How about Mr. Toppin, do you know
20   where he lived prior to residing at the
21   property?
22   A.       No, I'm not sure.
23                    MS. HARPER:     Could we go off
24            the record for a second.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 98 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                             Page 10
1                                  -   -       -
2                     (Whereupon, a discussion was
3             held off the record.)
4                                  -   -       -
5                     (Whereupon the Plaintiff's
6             Responses to Defendant, The Sheriff
7             of the City of Philadelphia's First
8             Set of Interrogatories was marked,
9             for identification purposes, as
10            Exhibit D-1.)
11                             -       -   -
12   BY MS. HARPER:
13   Q.       I'm going to hand to your counsel
14   copies of what we've marked as Exhibit D-1
15   here.
16                    MS. HARPER:          Counsel, could
17            you hand -- when you're ready.
18                    MR. FILIPOVIC:               Sure.
19   BY MS. HARPER:
20   Q.       Mr. Whyte, if you could take a look at
21   what has been marked as Exhibit D-1 and let
22   me know when you have had an opportunity
23   review it.      Take your time.               I'm not in a
24   rush.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 99 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                             Page 11
1             Mr. Whyte, have you had an opportunity
2    to review the document that has been marked
3    D-1?
4    A.       Yes.
5    Q.       I'm going to refer you to the first
6    page underneath what appears as the case
7    caption, it says, Plaintiff's Responses to
8    Defendant, Sheriff of the City of
9    Philadelphia's First Set of Interrogatories,
10   do you see that?
11   A.       Yes.
12   Q.       Have you seen this document before?
13   A.       Yes.
14   Q.       I don't want to know about
15   conversations that you've had with your
16   attorneys, so just be wary that when I ask
17   you, did you assist in providing the
18   information that appears in the answers that
19   are in this document?
20                    MR. FILIPOVIC:      Counsel,
21            that's a little bit of -- or is it
22            a work -- attorney work product
23            privilege.
24                    MS. HARPER:     No, the


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 100 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 12
1              information that was actually
2              requested in the interrogatories,
3              so it's an answer.       I think it's
4              fair to ask here again.
5                      MR. FILIPOVIC:      Well, it was
6              objected to as well.
7                      MS. HARPER:     But it wasn't
8              objected to --
9                      MR. FILIPOVIC:      It was
10             generally objected to.
11                     MS. HARPER:     Okay.    Are you
12             going to allow him to answer?
13                     MR. FILIPOVIC:      Sure.    But
14             under the objection.
15                     So go ahead and repeat the
16             question.
17   BY MS. HARPER:
18   Q.        Do you need me to restate the
19   question?
20   A.        Yes please.
21   Q.        Mr. Whyte, did you assist in providing
22   the responses to these interrogatories?
23   A.        Yes.
24   Q.        Okay.    Can you please refer, on the


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 101 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 13
1    third page, the response to interrogatory No.
2    2.    Do you see where it says -- well, the
3    question states, "State all addresses where
4    you lived for the last five years, up to your
5    present address as stated above in your
6    answer to interrogatory No. 1, with
7    approximate dates of when you resided at
8    those addresses and who resided there with
9    you, if anyone."        Do you see that
10   interrogatory No. 2?
11   A.        Yes.
12   Q.        The response to interrogatory No. 2
13   says, "I have resided at 146 South 62nd
14   Street, Philadelphia, PA 19139 for the last
15   30 years."       Did you provide that information?
16   A.        Yes.
17   Q.        Okay.    And today, is it your
18   understanding that when it says "I," this is
19   referring to the plaintiff, Lyndel Toppin?
20   A.        No, I wasn't sure of that.
21   Q.        Well, were you speaking -- when you
22   provided that information that someone had
23   lived there for the last 30 years, were you
24   speaking of yourself or Mr. Toppin?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 102 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 14
1    A.        Of myself.
2    Q.        Okay.    But you're not the plaintiff in
3    this case, correct?
4                      MR. FILIPOVIC:      That's been
5              asked and answered.       You don't have
6              to answer it again.
7    BY MS. HARPER:
8    Q.        Okay.    And you, yourself, have only
9    lived at that address for the last ten years,
10   correct?
11   A.        On and off, yes.
12   Q.        And Mr. Toppin, you estimate, has
13   lived there for the last 15 years, correct?
14   A.        In and out of there, yes.
15   Q.        So what is the correct answer to that
16   question that's posed at interrogatory No. 2,
17   which is, "State all addresses where you
18   lived for the last five years, up to the
19   present address."        Here it states, he's lived
20   at the property for 30 years.           Is that
21   accurate?
22   A.        Well, that was actually stating that
23   me and myself was there on and off for 30
24   years.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 103 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 15
1    Q.        Okay.    Can you tell me what your job
2    is currently?
3    A.        Actually, I work now at a warehouse.
4    Q.        How long have you worked at the
5    warehouse?
6    A.        For about a month now.
7    Q.        Where did you work prior to that?
8    A.        I was cooking.
9    Q.        For whom?
10   A.        Catering company by the name Just
11   Serve.
12   Q.        How long did you work for Just Serve?
13   A.        I was there for, I would say about six
14   years.
15   Q.        Okay.    So between October of 2017 and
16   July of 2018, is it fair to say that you were
17   working for the catering company?
18   A.        From July to October.
19   Q.        From October 2017 to July 2018?
20   A.        Yes.
21   Q.        Did you have any other jobs during
22   that time period?
23   A.        Well, I had little like odd carpentry
24   jobs in between.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 104 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 16
1    Q.        Was that just on an as-needed basis,
2    you weren't scheduled to work?
3    A.        No, I wasn't scheduled, just when
4    needed.
5    Q.        Was it one particular contractor you
6    worked for?
7    A.        No, just for myself, doing that for
8    family members of that nature.
9    Q.        How about Mr. Toppin, I think I have a
10   sense of where he's working and how long he's
11   worked there.       Can you tell me what you know
12   about his employment?
13   A.        From what I know, he's a dishwasher at
14   his job, it's a restaurant.
15   Q.        Do you know what restaurant is it?
16   A.        I believe the name is Au Bon Pain.
17   Q.        Do you know where that restaurant is
18   located?
19   A.        I don't know exactly where it's
20   located, no.
21   Q.        How long, is it your understanding,
22   that he's worked there?
23   A.        How long has he worked there?
24   Q.        Yes.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 105 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 17
1    A.        I would say about over 20 years or so.
2    Q.        Can you tell me, speaking about
3    yourself personally, between October of 2017
4    and July of 2018, can you tell me what your
5    job schedule was like with the catering
6    company?
7    A.        It was every day from morning to
8    night.
9    Q.        Seven days a week?
10   A.        Yes.
11   Q.        Do you know anything about
12   Mr. Toppin's work schedule during that time
13   frame?
14   A.        Not really, because I usually work at
15   that time.
16   Q.        Do you know if he has a regularly
17   scheduled work schedule essentially?
18   A.        Monday through Friday, I believe.
19   Q.        Do you know the hours?
20   A.        That I'm not sure of.
21   Q.        Do you know how old Mr. Toppin is?
22   A.        Not really, I'm not guaranteed.           I'm
23   not sure.
24   Q.        Would you say he's in his 30's?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 106 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 18
1    A.        No, he's older than that.
2    Q.        In his 60's?
3    A.        I could say about that, yeah.
4    Q.        Who is his mother?
5    A.        Eleanor Zalkin.
6    Q.        Who is his father?
7    A.        That I don't know.
8    Q.        What is your relationship to
9    Mr. Toppin?
10   A.        That's my uncle.
11   Q.        So is one of your parents the brother
12   or sister of Eleanor Zalkin?
13   A.        No.
14   Q.        Explain your relationship, if you
15   could, familiar relationship to Lyndel
16   Toppin.     He's your uncle by what?
17   A.        Through my grandmother.
18   Q.        Okay.    Who is your grandmother?
19   A.        Eleanor Zalkin.
20   Q.        You're saying he's the brother of
21   Eleanor Zalkin?
22   A.        That's her son.
23   Q.        It's her son?
24   A.        Yes.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 107 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 19
1    Q.        Did Eleanor Zalkin have any other
2    children?
3    A.        Not that I know of.
4    Q.        Are you related by blood to
5    Mr. Toppin?
6    A.        Yes.
7    Q.        Can you explain to me how?
8    A.        I mean, from what my grandmother be
9    telling me, it's just him, her and I'm her
10   grandson.        She never really got into the
11   whole schick of everything.
12   Q.        When did you first remember meeting
13   Mr. Toppin?        Do you have a recollection of
14   that?
15   A.        When I was young.       When I was about --
16   I mean, he's been around me most of my life,
17   so I can say as far as me understanding,
18   probably about ten or eight, something like
19   that.
20   Q.        And your grandmother is Eleanor
21   Zalkin, she's deceased, correct?
22   A.        Yes.
23   Q.        Who are your parents?
24   A.        My mother is Lillian.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 108 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 20
1    Q.        What's her last name?
2    A.        Brooks, B-R-O-O-K-S.
3    Q.        And your father?
4    A.        I don't know.
5    Q.        Okay.    It's my understanding that
6    Mr. Toppin has some sort of limitations in
7    his ability to communicate; is that correct?
8    A.        Yes.
9    Q.        Okay.    Can you describe for me what
10   you observe those limitations to be?
11   A.        He can't hear or talk.
12   Q.        Has it been that way since you've
13   known him?
14   A.        Yes.
15   Q.        Do you know if he ever went to school
16   at any point, like elementary or
17   kindergarten, anything?
18   A.        I'm not sure of that.
19   Q.        You don't know?
20   A.        No.
21   Q.        Do you know if he ever had a legal
22   guardian appointed for him?
23   A.        I believe that's his mother.
24   Q.        He's got a cell phone, correct?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 109 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 21
1    A.        Yes.
2    Q.        What does he use the cell phone for?
3    A.        That I'm -- mostly I see him using it
4    checking the time, is mostly what he uses it
5    for.
6    Q.        Is it any sort of special kind of
7    phone?
8    A.        No.
9    Q.        Just a regular cell phone?
10   A.        Just a regular flip phone.
11   Q.        Okay.    Do you know if he uses it to
12   text folks?
13   A.        No, he can't text.
14   Q.        Can you tell me what he is able to do
15   in terms of speaking?         What can he do?
16   A.        Speaking?
17   Q.        Um-hum.
18   A.        Well, he can't speak at all.
19   Q.        No words?
20   A.        No.
21   Q.        How about in terms of hearing, to your
22   knowledge does he hear anything?
23   A.        He can't hear anything, no.
24   Q.        How about with respect to writing, can


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 110 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 22
1    he write anything?
2    A.        His name.
3    Q.        Anything else?
4    A.        That's it.
5    Q.        How about with respect to -- how do
6    you communicate with him?
7    A.        Just basic commands.
8    Q.        Are they sign?
9    A.        Just as, for example, bathroom, you
10   know how us men go to the bathroom, he gives
11   me that indication for bathroom.
12   Q.        So it's sort of your own method of
13   communicating, it's not an official sign
14   language?
15   A.        No, it's not official sign language.
16   Q.        Do you know if he understands sign
17   language?
18   A.        He doesn't.
19   Q.        Do you know if he can read?
20   A.        He can't read.
21   Q.        Is he able to understand what this
22   case is about?
23   A.        No.
24                    MR. FILIPOVIC:       Object to that


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
     Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 111 of 386

                          Barrington Whyte
                          December 12, 2019

                                                                         Page 23
1         as being in the province of an
2         expert, a medical expert.
3                MS. HARPER:      Is there an
4         expert?
5                MR. FILIPOVIC:       No, but the
6         question is within province of an
7         expert as far as -- what the
8         question goes, as far as his
9         communications with Mr. Whyte and
10        their general ideas.        But if you
11        are going to ask him about what his
12        -- what Toppin understanding goes
13        beyond communication with Barry and
14        every day activities.
15               MS. HARPER:      So you're
16        inducting him not to answer
17        questions about his understanding
18        of this case?
19               MR. FILIPOVIC:       No, I'll let
20        him answer.     The objection that's
21        on the record is that I believe
22        that that question is for an
23        expert.
24               MS. HARPER:      Okay.    All right.


                    STREHLOW & ASSOCIATES, INC.
                          (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 112 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 24
1    BY MS. HARPER:
2    Q.        Well, let me ask you this --
3                     MR. FILIPOVIC:       But he's
4              already answered.
5                     MS. HARPER:      No, I'm asking a
6              different question.       That's fine.
7    BY MS. HARPER:
8    Q.        Have you tried to convey to Mr. Toppin
9    what this case is about?
10   A.        In bits and pieces, yes.
11   Q.        Do you think he understands what
12   you're trying to convey?
13   A.        No.
14   Q.        What is your understanding of what the
15   lawsuit is about?
16   A.        Basically it's from the sheriff and
17   all these statements that have been put on to
18   the home that we've been at.
19   Q.        Has Mr. Toppin ever lived alone?
20   A.        No.
21   Q.        Has Mr. Toppin ever lived at 5813
22   Lansdowne Avenue?
23   A.        Yes.
24   Q.        And when did he live there last?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 113 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 25
1    A.        I want to say about five, six years
2    ago maybe.
3    Q.        How about 164 Sherbrook Boulevard in
4    Upper Darby, has he lived there?
5    A.        That I don't know of.
6    Q.        Does 6936 Ruskin Lane in Upper Darby
7    ring a bell?
8    A.        No.
9    Q.        Who is Alvita Hughes?
10   A.        That's my cousin.
11   Q.        Is she related to Lyndel Toppin by
12   blood?
13   A.        No.
14   Q.        Has she ever lived with Lyndel Toppin?
15   A.        No.
16   Q.        Have you ever lived in the same home
17   as Alvita Hughes?
18   A.        Yes.
19   Q.        When was that?
20   A.        This was about two years ago.
21   Q.        And what address was that?
22   A.        I can't really remember off top.
23   Q.        It was about two years ago, you don't
24   remember, was it in Philadelphia?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 114 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 26
1    A.        Yes, it was in Philadelphia.
2    Q.        What section?
3    A.        It was in South Philadelphia.
4    Q.        You don't remember the name of the
5    street?
6    A.        I know the building, it's the -- there
7    is a nursing home that's down there in South
8    Philly.
9    Q.        It's near a nursing home or in the
10   nursing home?
11   A.        It's actually the nursing home is in
12   the building.       She was taking care of her
13   mother there.       We were both helping take care
14   of her mother while we were there.
15   Q.        Okay.    Do you know if Mr. Toppin has
16   like a primary care physician, someone who
17   oversees his medical care?
18   A.        I'm not sure of that.
19   Q.        Can you tell me on a day-to-day basis
20   how you -- how, if at all, you assist
21   Mr. Toppin with his sort of daily activities
22   of living?
23   A.        Well, myself personally, I try, you
24   know, when I get off of work, I try to like


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 115 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 27
1    make him meals and things like that.             You
2    know, just set up like an eating plan for
3    him.
4    Q.        Is he able to get to and from work on
5    his own?
6    A.        Yes.
7    Q.        How does he do that?
8    A.        He catches the el train.
9    Q.        Do you have his cell phone number in
10   your cell phone?
11   A.        No.
12   Q.        Do you ever use his cell phone to
13   communicate with him in any way?
14   A.        No.
15   Q.        Other than preparing meals for him, or
16   having a meal plan, eating plan for him, is
17   there anything else you do to assist with his
18   daily activities of living?
19   A.        No.    Basically I wash his clothes from
20   time to time.
21   Q.        Okay.
22   A.        And I maybe -- well, he has like this
23   kind of pain, his legs swell, so I massage
24   his leg every once in a while.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 116 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 28
1    Q.        Do you know anything about the history
2    of his communication limitations?            Like do
3    you know if anything happened to him to cause
4    those?
5    A.        I'm not sure, no.
6    Q.        Okay.    Can you describe the front of
7    the property at 146 South 62nd Street.              If
8    I'm looking at it from the sidewalk -- is
9    there a sidewalk in front of it?
10   A.        Yes.
11   Q.        Describe what the front of the
12   property looks like to me.
13   A.        Looking at it from the front, you have
14   the first three steps you walk up.            And then
15   it's about another six, seven steps and then
16   it's the screen door and the regular door.
17   And to the right it has a big window.
18   Q.        Okay.    Where is your room -- do you
19   have a bedroom in that house?
20   A.        Yes.
21   Q.        Where is that?
22   A.        The front bedroom.
23   Q.        So does it face the street?
24   A.        Yes.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 117 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 29
1    Q.        And is there a window in your room
2    that faces the street?
3    A.        Yes.
4    Q.        Does the house currently have water
5    service?
6    A.        Yes.
7    Q.        Has it been without water service for
8    any period of time in the recent past?
9    A.        At one point I had a water pipe broke.
10   About two winters ago a pipe busted, I had
11   the water department come fix it for me.
12   Q.        Since that period two years ago, water
13   has been supplied to the property?
14   A.        Yes.
15   Q.        How about other utilities, electric?
16   A.        Yes.
17   Q.        Gas?
18   A.        Yes.
19   Q.        And was that true in October of 2017
20   through July of 2018 for all of those
21   utilities?
22   A.        I'm sorry?
23   Q.        Did the house have water --
24   A.        Yes.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 118 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 30
1    Q.        -- from October 2017 to July 2018?
2    A.        Yes.
3    Q.        Did it have gas from October 2017 to
4    July 2018?
5    A.        Yes.
6    Q.        Did it have electric from October 2017
7    to July 2018?
8    A.        Yes.
9                     MS. HARPER:          Mark that as D-2
10             please.
11                                 -   -       -
12                    (Whereupon the United States
13             Bankruptcy Court Complaint was
14             marked, for identification
15             purposes, as Exhibit D-2.)
16                             -       -   -
17   BY MS. HARPER:
18   Q.        I'm passing what has been marked as
19   D-2 along with copies of that document to
20   your counsel.
21             Once you have the document before you,
22   please take your time and take a look at it.
23                    MS. HARPER:          And I will say,
24             counsel, I didn't include the


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 119 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 31
1              Exhibits to this just for volume
2              sake.
3                      MR. DUNNE:     That's all right.
4                      MR. FILIPOVIC:      Whatever fits
5              your purpose.
6    BY MS. HARPER:
7    Q.        Mr. Whyte, have you had an opportunity
8    to review what was marked as Exhibit D-2?
9    A.        Yes.
10   Q.        And can you tell me what your
11   understanding is to what this document is?
12   A.        The bankruptcy case and the claim
13   against the Sheriff's Office.
14   Q.        Have you seen this document before?
15   A.        Yes.
16   Q.        Did you assist in providing
17   information that appears in this document?
18   A.        Yes.
19   Q.        I'd like you to turn to page 2 of 14,
20   you'll see that at the top.           Are you on page
21   2 of 14?
22   A.        Yes.
23   Q.        There is a paragraph at the very top
24   of the document, I'm going to read the last


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 120 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 32
1    sentence of that paragraph for you.             It says,
2    "Yet, more than six weeks after it was placed
3    on notice and knowledge of, Mr. Toppin's
4    bankruptcy, defendants continue to employ
5    process by sending armed Philadelphia
6    Sheriffs to the debtor's personal residence
7    on six separate occasions in direct
8    contravention of 11 U.S.C., Section 362" --
9    that squiggly line stands for section -- "a,
10   (the automatic stay) and with express orders
11   of this court."
12             Do you see that sentence?
13   A.        Yes.
14   Q.        I'm going to refer you to the part
15   that says, "Sending armed Philadelphia
16   Sheriffs to the debtor's personal residence
17   on six separate occasions."           Do you
18   understand who the debtor is?
19   A.        I believe Lyndel.
20   Q.        Okay.    And do you understand what it
21   means when it says residence?
22   A.        The home.
23   Q.        And that's the property we have been
24   talking about?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 121 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 33
1    A.        Yes.
2    Q.        And that information, six separate
3    occasions, where did that information come
4    from?
5    A.        The notices that were put on the door.
6    Q.        And the information that the sheriffs
7    were armed, do you see that?           It says,
8    "Sending armed Philadelphia Sheriffs."              Where
9    did that information come from?
10                    MR. FILIPOVIC:       I'm going to
11             just repeat my continuing objection
12             to the attorney work product for
13             the complaint.
14                    MS. HARPER:      It couldn't
15             possibly come from the attorneys
16             because they weren't there.         This
17             is a fact.
18                    MR. FILIPOVIC:       It is a
19             pleading done by --
20                    MS. HARPER:      It is a fact.
21                    MR. FILIPOVIC:       It is a fact.
22             But where it came from is within
23             the scope of attorney work product.
24                    MS. HARPER:      You couldn't have


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 122 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 34
1              possibly given it to him.
2                      MR. FILIPOVIC:      Irregardless
3              of who and what and where it came
4              from, I believe that -- just my
5              standing objection.       He can answers
6              if he know.
7                      MS. HARPER:     Is it your belief
8              that I don't have a right to
9              understand where the facts that
10             were asserted against my client
11             were derived from, where they came
12             from?    Isn't that what discovery
13             was about?
14                     MR. FILIPOVIC:      You just need
15             to rephrase the question a little.
16                     MS. HARPER:     Okay.    I'll try.
17   BY MS. HARPER:
18   Q.        That statement, "Armed Philadelphia
19   Sheriffs," were they armed?
20   A.        That I'm not sure of.
21   Q.        You didn't see them?
22   A.        Me personally, no.
23   Q.        You weren't there on the six occasions
24   when they allegedly came to the property?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 123 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 35
1    A.        No, I wasn't there.
2    Q.        Was Mr. Toppin?
3    A.        Probably he was.
4    Q.        How do you know?
5    A.        Well, I'm usually at work, like I
6    said, all day, and he doesn't work all day.
7    Q.        What are the hours that he works?
8                      MR. FILIPOVIC:        Objection.
9              Asked and answered.
10                     MS. HARPER:     No.     I know what
11             days he works.
12                     MR. FILIPOVIC:        No, it was
13             about the hours.       We can go back on
14             record, counsel, and we can take a
15             look.    He said he wasn't sure about
16             the hours.
17                     THE WITNESS:     No.
18   BY MS. HARPER:
19   Q.        So if you're not sure about the hours
20   that he worked, how can you be sure he was
21   there when these armed sheriffs allegedly
22   came to the property?
23   A.        The job that he works at, it's a
24   certain time it closes, it doesn't stay open


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 124 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 36
1    all night long.       I would take it it closes
2    regular, like 5:00.
3    Q.        Closes around 5:00?
4    A.        Like around that time.
5    Q.        So you would expect him home some time
6    after 5:00?
7    A.        Or any time before that.         I don't know
8    if he works the whole day.          I'm just saying,
9    the business probably stays open until about
10   five, but I don't know if he actually stays
11   until five.
12   Q.        But you live with him.        Do you get any
13   general sense of his comings and goings?
14   A.        Well, when I come in, I just -- I get
15   the sense when he's home.          You know, it's
16   just a feeling I get that somebody is in the
17   house already.
18   Q.        Can you tell me if there is any
19   regularity to that?         Like when you come home
20   on Monday, say -- what time do you usually
21   get home on a Monday?
22   A.        It varies, because I take public
23   transportation, so it varies.
24   Q.        I hear you.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 125 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 37
1    A.        So if anything, probably about --
2    well, if I'm lucky, about 11.
3    Q.        At night?
4    A.        Yes.
5    Q.        And he's usually home by 11 at night?
6    A.        Yes.
7    Q.        Is that the same as Tuesday?
8    A.        Yes.
9    Q.        Wednesday?
10   A.        I could say that, yes.
11   Q.        Thursday?
12   A.        Yes.
13   Q.        And Friday?
14   A.        Yes.
15   Q.        Now I think when we were talking about
16   a time frame earlier, about October 2017 to
17   July 2018, I think you had a different job
18   then, that was when you were working for the
19   caterer.      What time of night or day would you
20   generally come home from that job?
21             You mentioned you worked every day,
22   morning to night.        So about what time would
23   you get home?
24   A.        If it's a normal day, probably about


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 126 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 38
1    11.    If we get off early or we have nobody to
2    cook for or if the show was canceled that
3    day, probably about eight, 9:00.
4    Q.        Eight, 9:00 at night?
5    A.        Yes, p.m.
6    Q.        When you had that catering job and
7    when you would get home from that catering
8    job, was Mr. Toppin generally home already?
9    A.        Yes.
10   Q.        When you left for the catering job in
11   the morning, what time would you leave?
12   A.        That would be about -- I would say
13   about like seven.        I would have to leave two
14   hours earlier than I have to be there, so
15   about seven.
16   Q.        Seven in the morning?
17   A.        Yes.
18   Q.        Was Mr. Toppin generally home when you
19   left the property?
20   A.        Well, he would be getting himself like
21   prepared to leave around that time.
22   Q.        So is it your understanding that he
23   would leave for work at like the same time as
24   you?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 127 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 39
1    A.        I would say, if anything I would
2    probably think around nine or something.
3    Q.        In the morning?
4    A.        Yes.
5    Q.        And he has a Monday through Friday job
6    you think; is that correct?
7    A.        Yes.
8    Q.        Okay.    And this was true as of the
9    time frame of October 2017 to July 2018; is
10   that correct?
11   A.        Yes.
12   Q.        Okay.    So let's go back to page 2 of
13   the document that has been marked as D-2.              If
14   you look at the next paragraph, there is a
15   bunch of dates bolded and underlined; do you
16   see those?
17   A.        Yes.
18   Q.        Could you please read -- I guess
19   that's all one sentence there.           Could you
20   please read, you can do this to yourself,
21   that's fine, the sentence that includes those
22   dates.     Take a moment to look at that.
23   A.        (Witness complies.)
24   Q.        Have you had a moment to look at that


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 128 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 40
1    sentence?
2    A.        Yes.
3    Q.        It's a pretty long one.        Those dates
4    that appear there that are bolded and
5    underlined.      I think there is three of them,
6    May 18, 2018, May 24, 2018, May 30, 2018,
7    June 1, 2018, June 5, 2018 and June 7, 2018,
8    those are six dates, correct?
9    A.        Yes.
10   Q.        And according to this document, those
11   are the dates that notices were posted on the
12   property; is that correct?
13   A.        Yes.
14   Q.        All right.     Did you provide the
15   information that appears in that sentence
16   regarding the dates that notices were posted
17   on the property?
18   A.        Yes.
19   Q.        And how do you know that that
20   information is correct?
21   A.        Well, these were around about dates
22   that they would come in.          It was so frequent,
23   you know, it was like kind of -- it was
24   getting irritating, so I couldn't really


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 129 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 41
1    forget those days that they were putting them
2    up there, it was really getting to me, it was
3    embarrassing at a point.
4              So my main focus was like remembering
5    these times when they were put there so I
6    could transfer that information to my lawyer.
7    Q.        And what does "posted" mean to you?
8    What does that term mean to you?
9    A.        Like placed in vision for you to
10   notice.
11   Q.        When was the first notice that you saw
12   on the property?        What date is that?
13   A.        May -- well, it was around May.
14   Around the 18th, around that time in May.
15   Q.        And where was the notice that you
16   observed?
17   A.        That one was on the front door.           It
18   was posted on the front door inside of the
19   screen door.
20   Q.        And you observed one notice on May
21   18th?
22   A.        Yes.
23   Q.        What time of day did you observe that
24   notice on May 18th; do you recall?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 130 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 42
1    A.        That was -- that was like in the
2    afternoon.
3    Q.        So you were home from work on May
4    18th?
5    A.        Yes, that day, yes.
6                      MS. HARPER:     I'm just looking
7              at a calendar here, and, you know,
8              I'm happy to circulate it.         I don't
9              intend to mark this as an Exhibit,
10             just a calendar from 2018.         Do you
11             want a copy to look along?
12                     MR. FILIPOVIC:      We don't need
13             it.    Thank you.
14   BY MS. HARPER:
15   Q.        So May 18th was a Friday.         It says May
16   18th of 2018, that was a Friday.
17   A.        Yes.
18   Q.        You, apparently, I guess, weren't
19   working a full day that day?
20   A.        No.
21   Q.        On May 24th, that's the next date that
22   was stated, is that the next date you
23   observed a notice posted at the property?
24   A.        Well, that date is actually when


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 131 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 43
1    Lyndel had given me the paper on that
2    occasion.
3    Q.        Do you know where he got it?
4    A.        It had tape on it, so I'm pretty sure
5    the front door.
6    Q.        Did you see any envelope with it?
7    A.        No.   No envelope.
8    Q.        Are you sure it wasn't the notice that
9    you observed on May 18th?
10   A.        It looked like the same notice, yes.
11   Q.        Could it have been the same notice?
12   A.        Not that same.      The notice that I got
13   the first time I took that out and had it in
14   my room.      So this was the second notice that
15   he gave me this time.
16   Q.        You don't know where he observed that
17   notice first, do you?
18   A.        No, I just assumed it was the front
19   door.     When he handed it to me, it had the
20   silver two pieces of tape on the side of the
21   paper.
22   Q.        What kind of tape?
23   A.        It was just basic duct tape.
24   Q.        But you can't say personally whether


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 132 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 44
1    that notice on May 24th was actually posted
2    to the door?
3    A.        No, not exactly.
4    Q.        How about on May 30th, that's the
5    approximate date of the next notice.             Did you
6    observe a notice on the property on May 30th?
7    A.        No, that's another one that actually
8    was inside the house actually that day.
9    Q.        What did you observe?
10   A.        Well, it was on the couch when I came
11   in, so I'm assuming he got to it first and,
12   you know, put it there.
13   Q.        But he can't communicate with you as
14   to how he got a hold of that, can he?
15   A.        No.   But I just looked at it as the
16   tape being on there, it was the same way.
17   Because they all came the same exact way.
18   Q.        Did any of them have envelopes
19   associated with them?
20   A.        No.   No envelopes.
21   Q.        How about June 1st, did you observe
22   that one posted on the house?
23   A.        That's another one that he gave to me
24   also.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 133 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 45
1    Q.        Did you try and communicate with
2    Mr. Toppin at all on these dates as to what
3    the notices were about?
4    A.        Well, not actually communicate.           Well,
5    the second one, like when he -- when I saw it
6    on the couch, and I actually picked it up, he
7    was coming down at that particular time and
8    he just saw like how I was just like shaking
9    my head.
10             The first one, I understood.          But the
11   second one, I couldn't really process it
12   through my head.        So me looking at it, I was
13   just shaking my head at that time.
14   Q.        What did you do -- okay.         So I know
15   the May 18th notice you said you had taken
16   that to your room; is that correct?
17   A.        The May 18th, yes.
18   Q.        How about, what happened with the May
19   24th notice, the second one?
20   A.        Yes.
21   Q.        What happened with that after you saw
22   it?
23   A.        I kept that one also.
24   Q.        In your room?


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 134 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 46
1    A.        Yes.
2    Q.        All right.     How about the May 30th
3    notice, what happened to that after you saw
4    it?
5    A.        Kept that one.      Filed it also.
6    Q.        Filed it in what?
7    A.        Just put it in my folder so I wouldn't
8    lose it.
9    Q.        You had a folder for this purpose?
10   A.        No.    Just so I didn't lose it.        I had
11   a folder in my house and I decided to put it
12   in there.
13   Q.        What happened with the June 1st notice
14   after you saw it?
15   A.        Put that one up also.
16   Q.        Okay.    How about June 5th.       Can you
17   tell me when you first saw the June 5th
18   notice?
19   A.        That one was actually on the dining
20   room table when I actually came in that day
21   -- well, that night.         It was on the dining
22   room table.
23   Q.        Do you know how it got there?
24   A.        I'm pretty sure my uncle.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 135 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 47
1    Q.        Did this one also have tape?
2    A.        Yes.
3    Q.        Was there any envelope associated with
4    this one?
5    A.        No envelopes.      No.
6    Q.        How about June 7th?
7    A.        That one was inside the house also.
8    Q.        Where was it?
9    A.        On the table also.
10   Q.        Did it have tape on it?
11   A.        I'm sorry?
12   Q.        Was there tape on it?
13   A.        Yes.
14   Q.        Did you take the tape off of any of
15   these notices at any point in time?
16   A.        No, left it on.
17   Q.        So when you gave them to your
18   attorney, they had the tape on them?
19                    MR. FILIPOVIC:       Objection.
20                    MS. HARPER:       It's a question.
21                    MR. FILIPOVIC:       It's a
22             question that presumes facts not on
23             the record.
24                    MS. HARPER:       Okay.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 136 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 48
1    BY MS. HARPER:
2    Q.        Do you know if Mr. Toppin took the
3    tape off the notices at any point in time?
4    A.        No, I don't know if he took them off.
5    Q.        Do you know if there was tape on the
6    notices -- did you provide the notices to
7    Mr. Dunne?
8    A.        Yes.
9    Q.        When you provided the notices to
10   Mr. Dunne, did they have tape on them?
11   A.        No, I don't think.       I think I took the
12   tape off of them.
13   Q.        I thought you just said you didn't
14   take the tape off of them?
15   A.        When I took them to him, I took the
16   tape off of them.        When I had it in my house
17   filed in the folder, I left it on.            To make
18   it look more neat and kosher to him, I took
19   the tape off.
20   Q.        So you don't have any photos of the
21   notices with the actual tape on them, do you?
22   A.        No.
23   Q.        Do you have a Ring doorbell?
24   A.        No.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 137 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 49
1    Q.        Do you know what a Ring doorbell is?
2    A.        Yes.    I don't have one.
3    Q.        Do you have any security cameras
4    outside your house?
5    A.        No.
6    Q.        And when these notices left your
7    possession, did they have anything else with
8    them?     You said there were no envelopes,
9    correct?
10   A.        No envelopes.      No.
11   Q.        Okay.    And so it's fair to say that
12   other than the very first notice of May 18th,
13   you never actually observed a notice posted
14   on the property?
15   A.        Me personally, no.
16   Q.        Okay.
17                     MR. FILIPOVIC:      Just to
18             clarify that, is that, notice being
19             posted on the property?
20                     MS. HARPER:      No posted.
21                     MR. FILIPOVIC:      Or a posted
22             notice on property?
23                     MS. HARPER:      Um-hum.   We
24             already know he didn't see anybody


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 138 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 50
1              posting the notices, that's clear.
2                      MR. FILIPOVIC:              I need to go
3              to the restroom, if that's okay.
4                      MS. HARPER:         Sure.       Sure.
5                                  -   -       -
6                      (Whereupon, a brief recess was
7              taken at 10:53 a.m. and the
8              deposition resumed at 11:05 a.m.)
9                              -       -   -
10   BY MS. HARPER:
11   Q.        I'm going to ask you a series of
12   questions about Mr. Toppin, and just answer
13   me if you can, if you don't know the answer,
14   that's fine, let me know.
15   A.        Okay.
16   Q.        Counsel is probably going to accuse me
17   of having asked and answered on this one
18   already, but we have gone through specific
19   dates, May 18th, May 24th, May 30th, June
20   1st, June 5th, June 7th, can you say with
21   absolute certainty that on any one of those
22   days Mr. Toppin was home when a notice was
23   allegedly posted?
24                     MR. FILIPOVIC:              Objection as


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 139 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 51
1              to absolute certainty.
2    BY MS. HARPER:
3    Q.        Well, do you know if he was home on
4    any one of these days when a notice was
5    allegedly posted?
6    A.        Well, I can't be actually sure.           I
7    don't know if he got there before it came or
8    after it came.
9    Q.        Do you know if he saw someone with a
10   gun on them on those days?
11   A.        I wouldn't say actually he was saying
12   like he saw somebody with a gun.            But he
13   compared like the little shield thing, he
14   just like made a comparison of the two.                 Just
15   showing me the similarity of the two.
16   Q.        Was there a gun on the symbol?
17   A.        No, but just a shield.
18   Q.        Okay.    Did Mr. Toppin, at any point in
19   time, try and describe to you a person that
20   came on the property on any one of those
21   days?
22   A.        When I saw him, like I said, he showed
23   me the comparison of like the shield that was
24   on the notice or whatever, and he just


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 140 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 52
1    pointed to the similarity.          He put the paper
2    next to himself and he showed me he peeked
3    through.
4    Q.        So what is your understanding?
5              You're gesturing, which is hard for
6    the court reporter to take down.            And if I
7    may try and summarize what you're showing me.
8    I'm going to turn the direction you're
9    sitting.
10             Which is that you believe Mr. Toppin
11   was gesturing to a shield on a piece of paper
12   and to his chest?
13   A.        On the notice, yes.       He was showing me
14   the comparison of the two, like he seen that
15   shield on the person.
16   Q.        On the person, okay.
17   A.        Yeah.
18   Q.        All right.     I'm going to refer you
19   back to what was marked as Exhibit D-2.
20             Well, before I do that.        Let me ask
21   you a few more questions.          We talked a little
22   bit about how you assist Mr. Toppin in his
23   day-to-day life, and that included maybe a
24   leg massage and with this eating plan.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 141 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 53
1              I asked you if there was anything else
2    you would do to assist him.           I don't think
3    you stated too much else.          So I'm going to
4    ask you some specific questions about that.
5              Do you do grocery shopping for
6    Mr. Toppin?
7    A.        Not particularly for him.         I do it for
8    the house.      So just whatever I buy is for
9    both of us.
10   Q.        Does he do any grocery shopping
11   himself?
12   A.        No.
13   Q.        Do you do banking for Mr. Toppin?
14   A.        Well, just on Friday when he gets paid
15   I would go down to the MAC machine with him
16   just to type his numbers in.
17   Q.        Does he have his own bank account?
18   A.        I think it's just the job card.
19   Q.        Okay.
20   A.        Jobs now, they put the paychecks on
21   cards now.
22   Q.        But back in -- when did that start?            I
23   think you just mentioned that you put
24   something in the -- go down to the machine


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 142 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 54
1    and put money in the ATM, correct?
2    A.        No.
3    Q.        Okay.    Maybe I misunderstood.        You
4    said on Fridays when he gets paid, you take
5    him down to the MAC machine.           Is that to get
6    money out of the machine?
7    A.        Yes, in case he needs any money or
8    anything.
9    Q.        Do you know where he does his banking?
10   A.        No, I'm not sure.
11   Q.        Do you know how much he gets paid each
12   week?
13   A.        I'm not sure on that either.
14   Q.        Do you believe he gets paid on a
15   weekly basis?
16   A.        I believe it's on a weekly basis, yes.
17   Q.        Did you have any involvement when
18   Mr. Toppin was applying for or obtaining the
19   job he's held for the last 20 years?
20   A.        No.
21   Q.        So do you have any information as to
22   how he got that job?
23   A.        I'm pretty sure through his mother, if
24   anything.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 143 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 55
1    Q.        His mother was still alive at the
2    time?
3    A.        Yes.
4                      MR. DOMER:        If we can take a
5              second, go off the record.
6                                -   -     -
7                      (Whereupon, a discussion was
8              held off the record.)
9                                -   -     -
10   BY MS. HARPER:
11   Q.        Mr. Whyte, just going back to what we
12   were talking about a little bit about
13   Mr. Toppin's pay.        I'd also like to know, who
14   pays the bills in the house?
15   A.        I do.
16   Q.        Okay.    So you pay the property taxes?
17   A.        Yes.
18   Q.        About how much are they, per year?
19   A.        I believe at the time it was like $360
20   or something around that.
21   Q.        How about the water bill?         How much is
22   that, on average?
23   A.        That's about, say about $100
24   something.


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 144 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 56
1    Q.        Gas bill, how much is that on average
2    per month?
3    A.        Close to like 80-90.
4    Q.        And lastly the energy bill for PECO,
5    how much is that a month, on average?
6    A.        That's 150 a month, sometimes more.
7    Q.        Does Mr. Toppin contribute to payment
8    for these bills?
9    A.        I don't ask for it, no.
10   Q.        So you're the only one paying these
11   bills in the house?
12   A.        Yes.
13   Q.        With your money?
14   A.        Yes.
15   Q.        All right.     So looking back again at
16   what was marked as D-2, which is the
17   complaint, if you can take a look at that.
18             Let's look at D-1.       Take a look at D-1
19   instead, I believe you had an opportunity to
20   review D-1 previously, correct?
21   A.        Yes.
22   Q.        I'm going to turn your attention then
23   to interrogatory No. 15.          Which is towards
24   the back.        Just let me know when you have


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 145 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 57
1    reached interrogatory No. 15.
2    A.        I'm not sure which one that is.
3    Q.        Maybe your counsel can point to -- the
4    page that starts with interrogatory No. 14,
5    interrogatory 15 is there too.
6                       MR. FILIPOVIC:       Starts with
7              No. 15.
8                       MS. HARPER:    14.     The top of
9              the page.
10                      MR. FILIPOVIC:       Okay.   All
11             right.
12                      MS. HARPER:    Third page from
13             the back.
14                      MR. FILIPOVIC:       That helps.
15             Okay.    I believe that's it.
16   BY MS. HARPER:
17   Q.        All right.     So I guess these -- I have
18   to kind of cover both 14 and 15 here.                 The
19   very first interrogatory No. 14 at the top,
20   do you see that where it says, "Do you claim
21   to have experienced emotional distress as a
22   result of the sheriff's alleged violations of
23   the automatic stay?"         Do you see that?
24   A.        Yes.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 146 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 58
1    Q.        The answer there is what?
2    A.        "Yes."
3    Q.        Did you provide that information that
4    informed the answer to this interrogatory?
5    A.        Yes.
6    Q.        And is it your understanding that that
7    question when it says, "You claim to have
8    experienced emotional distress," that that is
9    referring to Lyndel Toppin?
10   A.        Yes.
11   Q.        In the answer to the next
12   interrogatory, you'll see there is
13   subparagraphs to interrogatory No. 15, do you
14   see that?
15   A.        Yes.
16   Q.        And it says, "If your answer to
17   interrogatory No. 14 was yes, please:"              And
18   then there is subparagraph A, "Set forth the
19   nature of the emotional distress."            Do you
20   see that?
21   A.        Yes.
22   Q.        In the response to interrogatory No.
23   15, subparagraph A it says, "Armed
24   Philadelphia Sheriffs appeared at my home and


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 147 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 59
1    posted six separate 'Notices to Vacate' and
2    'Eviction Notices' that caused me a
3    substantial amount of undue frustration,
4    anxiety and mental anguish."           Do you see
5    that?
6    A.        Yes.
7    Q.        Did you provide the information in
8    response to that interrogatory 15,
9    subparagraph A?
10   A.        Yes.
11   Q.        Tell me how you know -- we've already
12   discussed the armed sheriffs and whether they
13   were at the property on six separate
14   occasions to post notices, but tell me how
15   you know Mr. Toppin was caused undue
16   frustration, anxiety and mental anguish as a
17   result of those allegations?
18   A.        Well, his actions started changing
19   during the process of the whole situation.
20   Because he smokes cigarettes, so he actually
21   was smoking more during this time of this
22   whole thing.
23             A few times -- I wouldn't say a few, I
24   would say a couple.         A couple times I've come


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 148 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 60
1    home and the meal I set out in the microwave
2    or left on the table or whatever, still been
3    there more than any other time.
4              Normally when I get in that late --
5    normally he's probably asleep or something,
6    but I noticed that his light under his door
7    has been on.
8    Q.        And what time frame are you noticing
9    these things?       Let's start with the increased
10   smoking.      When was it that he started smoking
11   more?
12   A.        Well, that was actually, I want to say
13   after like the second time like when he
14   actually saw me with the notice in my hand.
15   Q.        Which notice?
16   A.        The second notice.
17   Q.        Okay.
18   A.        Because when I notice like after that
19   time, the smoking picked up more.            I was
20   smelling it more heavier in the house.
21   Q.        Did you notice anything like that
22   occurring before the property was sold at
23   sheriff's sale?
24   A.        He would smoke probably one cigarette


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 149 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 61
1    a week, if anything.
2    Q.        After the property was sold at a
3    sheriff's sale, was he still smoking one a
4    week?
5    A.        Yes, it was one a week.
6    Q.        And then when the Notice to Vacate
7    showed up, how much did he start smoking?
8    A.        Well, it kind of -- I would say it
9    increased around that time.           It was like
10   about three to -- three cigarettes maybe a
11   day at that point.
12   Q.        Do you buy the cigarettes for
13   Mr. Toppin?
14   A.        No.
15   Q.        You say you work day to night when you
16   were working for the catering company, you
17   usually got home around 11, how do you know
18   how much he was smoking?
19   A.        Well, the cigarette butts that were in
20   the house were not fully smoked all the way
21   down like people would smoke them.            It was
22   like he put them out a quarter of it, it
23   looked like there was another one lit up.              It
24   was probably about three or four in the


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 150 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 62
1    ashtray with the same length of the
2    cigarette.
3    Q.        What brand?
4    A.        Newports.
5    Q.        Was it always the same brand for him?
6    A.        Yes.
7    Q.        Okay.    Meals left out.      Again, I
8    believe around this time you were generally
9    getting home from work pretty late; is that
10   correct?
11   A.        Yes.
12   Q.        And Mr. Toppin, was he awake when you
13   got home during this time frame that we're
14   talking about, back when the notices were
15   showing up?
16   A.        Normally he wasn't but it was a few
17   times I seen his light under his door, like
18   when I come up, I have to walk passed his
19   door to get to my room.          I would see under
20   the door his light was on and know that he
21   was still woke.
22   Q.        Were there any other signs or symptoms
23   that you observed, besides the smoking and
24   the light under his door, and maybe an


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 151 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 63
1    uneaten meal here and there?
2    A.        Just him, he never actually like paced
3    before.     But that was another thing I noticed
4    also, it was kind of weird to me.
5              And then like it was only one time out
6    of that that he was telling me he had like a
7    little headache in his head.           He just
8    indicated to me that he wanted a pill because
9    his head was hurting.
10   Q.        How do you know that that was related
11   to what was going on with the notices, if at
12   all?
13   A.        Well, it just all just collided around
14   all that same time, so I just assumed it was
15   from smoking more cigarettes at the point.
16   Q.        If you turn the next page on what has
17   been marked as D-1.
18   A.        Which one?
19   Q.        I'm going to have you look at
20   interrogatory No. 17 which is the second one
21   there.     It says, "Identify the compensatory
22   damages which you seek and the facts
23   supporting your claim for such damages."
24             In response to interrogatory No. 17 it


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 152 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 64
1    says, "Out of pocket expenses include all the
2    time I spent visiting my attorney's office to
3    stop the continuing violation of automatic
4    stay; lost potential income due to the time I
5    was unavailable to work as a result of
6    spending time at my attorney's office and
7    transportation costs to/from my attorney's
8    office."      Do you see that information?
9    A.        Yes.
10   Q.        Now when the response uses the term
11   "I" and "my" quite a bit, is it your
12   understanding this refers to Mr. Toppin and
13   not you, correct?
14   A.        Yes.
15   Q.        So how do we know what days Mr. Toppin
16   took off from work?         Do you have any record
17   of that?
18   A.        No, I don't have any records of that.
19   Q.        Did you have to make the phone calls
20   to his employer to say he needed time off?
21   A.        Yes.
22   Q.        So do you recall what days that
23   happened?
24   A.        I don't remember exactly.         It was more


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 153 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 65
1    than likely after the notice -- well, the
2    first notice when I had to contact my lawyer
3    to, you know, let him know whatever.
4    Q.        He's your lawyer?       Mr. Dunne is your
5    lawyer?
6    A.        Yes.    And to let him know about the
7    notices and everything like that.
8    Q.        All right.     But do you recall how many
9    times you went to Mr. Dunne's office?
10   A.        I went there a lot of times myself.            I
11   have been there a lot.
12   Q.        Was Mr. Toppin with you every time you
13   went?
14   A.        He was only with me a few times
15   because I didn't really want to keep pulling
16   him out of work every single time for it.
17   Q.        Can you estimate the number of times
18   he had to go?
19   A.        Probably about two.
20   Q.        Okay.    And on those two occasions that
21   you remember him going down to the attorney's
22   office, did you call out of work for him?
23   A.        Yes.
24   Q.        Who did you speak with, do you


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 154 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 66
1    remember?      Does he have a supervisor?
2    A.        The person -- I don't remember their
3    name.     I don't remember their name at all.
4    Q.        Okay.    I think I'm done, but I want to
5    step out and go off the record a minute and
6    speak with my co-counsel here.
7                                -   -   -
8                      (Whereupon, a discussion was
9              held off the record.)
10                               -   -   -
11                        CROSS-EXAMINATION
12                               -   -   -
13   BY MR. FILIPOVIC:
14   Q.        I have a few questions just to follow
15   up.     For the record, clarifying, my name is
16   Counsel Predrag Filipovic, I'm special
17   counsel for Lyndel Toppin.
18             Mr. Whyte, how are you?
19   A.        Pretty good.
20   Q.        I'm going to ask you a few follow ups
21   here.     Same rules apply when answering my
22   questions as those asked by the Counsel
23   Harper there.
24             Mr. Whyte, is there anyone else in the


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 155 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 67
1    universe who you can think of now that is in
2    a better position to evaluate Mr. Lyndel
3    Toppin's behavior, his responses, and his
4    overall demeanor?
5                     MS. HARPER:      Objection.     Calls
6              for an expert opinion.         But you can
7              answer.
8                     THE WITNESS:      No.   Besides his
9              mother, it's just me.
10   BY MR. FILIPOVIC:
11   Q.        And his mother is no longer alive?
12   A.        No, she's passed.
13   Q.        She's passed, okay.
14             So is there anyone else in the
15   universe that has in the past interacted with
16   Mr. Toppin more frequently than yourself?
17   A.        No.
18   Q.        Is there anyone else in the universe
19   that you can think of that would be in a
20   better position to understand Mr. Toppin with
21   all his limitations --
22                    MS. HARPER:      Objection.     Calls
23             for an expert opinion.
24   BY MR. FILIPOVIC:


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 156 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 68
1    Q.        -- than yourself?
2    A.        No.
3                      MS. HARPER:         My apologies,
4              counsel.
5                      MR. FILIPOVIC:              That's fine.
6    BY MR. FILIPOVIC:
7    Q.        Mr. Whyte, is there anyone else in the
8    universe that you can think of, including
9    doctors, that has more direct knowledge of
10   Mr. Toppin's limitations --
11                     MS. HARPER:         Objection.      Calls
12             for an expert opinion.
13   BY MR. FILIPOVIC:
14   Q.        -- other than yourself?
15   A.        No.
16   Q.        Okay.    That's all.            I don't have
17   anything further.
18                                 -   -       -
19                      REDIRECT EXAMINATION
20                             -       -   -
21   BY MS. HARPER:
22   Q.        Just one follow up in regards to that
23   line of questioning, Mr. Whyte.
24             Did you know if Mr. Toppin was seeing


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 157 of 386

                               Barrington Whyte
                               December 12, 2019

                                                                              Page 69
1    any doctors in the past year?
2    A.        No, he hasn't.
3                     MS. HARPER:      Okay.    Also on
4              the record, counsel, I guess
5              because tape seems to become a
6              point here, I'd like to request on
7              the record that we be given access
8              to look at the actual notices that
9              I believe are in Mr. Dunne's
10             possession.     And maybe we could do
11             that, I mean we are close, offices
12             are close.     We could do that next
13             week, if that's okay?
14                    MR. FILIPOVIC:       I'm sorry,
15             what are you requesting?
16                    MS. HARPER:      The physical
17             notices, which I believe are in
18             Mr. Dunne's possession, we would
19             like to observe them personally.
20             We haven't had a chance to do that.
21             We've seen copies.
22                    MR. FILIPOVIC:       And these
23             notices are generated, created by
24             your client?      Is that the notices


                         STREHLOW & ASSOCIATES, INC.
                               (215) 504-4622
     Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 158 of 386

                          Barrington Whyte
                          December 12, 2019

                                                                         Page 70
1         you want?
2                MS. HARPER:      Well, you
3         remember there was a big thing
4         about whether they all came with
5         tape on them or not.         I'm just
6         curious what I see.       I can't see
7         any tape in the pictures so I would
8         like to take a look at them.
9                MR. FILIPOVIC:        Yeah, we
10        provided the --
11               MS. HARPER:      Copies.
12               MR. FILIPOVIC:        -- the copies
13        that we have.      And they are here
14        for you to take a look.
15               MS. HARPER:      I've seen them.
16               MR. FILIPOVIC:        But you're
17        asking to see the original?
18               MS. HARPER:      Yes.
19               MR. FILIPOVIC:        The originals?
20               MS. HARPER:      Yes, just to take
21        a look.
22               MR. FILIPOVIC:        I don't think
23        we would have a problem with that.
24               MR. DUNNE:      No.   No problem.


                    STREHLOW & ASSOCIATES, INC.
                          (215) 504-4622
     Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 159 of 386

                          Barrington Whyte
                          December 12, 2019

                                                                         Page 71
1                MR. FILIPOVIC:       Aside from the
2         fact that it's -- we're beyond
3         discovery deadline and we have
4         motions to file and adhere to other
5         deadlines in the case.
6                MS. HARPER:      We've talked
7         about that.     We've broached that
8         subject.
9                MR. FILIPOVIC:       Of this
10        actually --
11               MS. HARPER:      Deadlines.
12               MR. FILIPOVIC:       I'm talking
13        about this request you now have.
14        Have you ever had prior to today --
15        we don't mind providing notices so
16        long as it doesn't interfere with
17        the current deadlines in the case,
18        that's all I'm saying.
19               MS. HARPER:      We can walk over
20        and look at them.
21               MR. DUNNE:      In the spirit of
22        transparency, we're still waiting
23        for response to our discovery
24        request with respect to the log in


                     STREHLOW & ASSOCIATES, INC.
                           (215) 504-4622
     Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 160 of 386

                          Barrington Whyte
                          December 12, 2019

                                                                         Page 72
1         sheets and other documents that
2         have not been provided by the City
3         to date.
4                MS. HARPER:      All right.     So
5         maybe --
6                MR. FILIPOVIC:       That's
7         correct.
8                MR. DUNE:     Could you give us
9         an update on that?
10               MR. DOMER:      We are going to be
11        here, we will speak one way or
12        another about that.
13               MS. HARPER:      But I mean I made
14        the request, it's fine.        If you
15        need a formal request or you need
16        something or you want to deny it
17        outright, that's fine too.           That's
18        your prerogative.
19               MR. FILIPOVIC:       No, we're
20        happy to provide them as long as
21        we're not extending, again, any
22        deadlines that are currently --
23        that we're under.       Only because,
24        you know, you have seen the


                     STREHLOW & ASSOCIATES, INC.
                           (215) 504-4622
     Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 161 of 386

                          Barrington Whyte
                          December 12, 2019

                                                                         Page 73
1         originals -- or the copies that
2         were verified and you haven't made
3         the request that you're making now
4         within the discovery deadline.          But
5         other than that...
6                 MS. HARPER:     I didn't see
7         tape.    I didn't know there was tape
8         on them.    That's why I'm looking.
9                 MR. DUNNE:     Did Barry testify
10        that he removed the tape?         I don't
11        want to put words in your month.
12                MR. FILIPOVIC:      Yes, he did
13        before he give them to you.
14                However, you were privy to
15        discuss the matter with your
16        client.    They could have told you
17        about how they put notices on the
18        door.
19                MS. HARPER:     Well, I'm not
20        going to tell you what my client
21        has told me, so...
22                MR. FILIPOVIC:      Right.
23        Because I mean it comes back to the
24        fact they are your clients.


                     STREHLOW & ASSOCIATES, INC.
                           (215) 504-4622
     Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 162 of 386

                          Barrington Whyte
                          December 12, 2019

                                                                         Page 74
1                 MS. HARPER:         It's fine.      It's
2         not a big deal to me.               It's your
3         burden of proof.
4                 So if you don't want us to see
5         it, fine, we can wait until trial.
6                 MR. FILIPOVIC:              That's fine.
7         I just don't want to move any
8         deadlines, that's all.
9                 We're off the record then.
10                        -       -   -
11                  (Witness excused.)
12                            -   -       -
13                (Deposition concluded at 11:30
14        a.m.)
15                            -   -       -
16
17
18
19
20
21
22
23
24


                    STREHLOW & ASSOCIATES, INC.
                          (215) 504-4622
       Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 163 of 386

                            Barrington Whyte
                            December 12, 2019

                                                                           Page 75
1                    C E R T I F I C A T E
2           I do hereby certify that I am a Notary
3    Public in good standing, that the aforesaid
4    testimony was taken before me, pursuant to
5    notice, at the time and place indicated; that
6    said deponent was by me duly sworn to tell
7    the truth, the whole truth, and nothing but
8    the truth; that the testimony of said
9    deponent was correctly recorded in machine
10   shorthand by me and thereafter transcribed
11   under my supervision with computer-aided
12   transcription; that the deposition is a true
13   and correct record of the testimony given by
14   the witness; and that I am neither of counsel
15   nor kin to any party in said action, nor
16   interested in the outcome thereof.
17          WITNESS my hand and official seal this
18   27th day of December, 2019.
19                               Michelle A. Landman
20                               _______________
21                               Notary Public
22
23
24


                      STREHLOW & ASSOCIATES, INC.
                            (215) 504-4622
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 164 of 386
                Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 165 of 386

                                                Barrington Whyte
                                                December 12, 2019
                                                                                                                   Page 1

       $        DOOHJHG           DZDNH                 FDUG              FRPSDULVRQ
DP     DOOHJHGO\                                  EH\RQG     FDUGV                   
                                    %                    FDUH    FODULI\      
DND                             %           ELJ                FODULI\LQJ      FRPSHQVDW
$%'(/'$                        %522             FDUSHQWU\                    
            DOORZ      DVQHHGHG                   ELOO                  FOHDU       FRPSODLQW
$%'(/'<      $OYLWD                  EDFN                 FDVH                    
                       DVKWUD\                ELOOV                           
DELOLW\     $PHQGHG         $VLGH                                  FOLHQW       
                        DVNHG                  ELUWK                          FRPSOLHV
DEOH        DPRXQW                        ELW                           
           DQJXLVK                               FDWFKHV     FOLHQWV    FRPSXWHUD
                  DVNLQJ                            FDWHUHU    FORVH         
DEVROXWH        DQVZHU                                        FDWHULQJ                FRQFOXGHG
                DVOHHS                 ELWV               FORVHV       
DFFHVV              DVVHUWHG        EDQN       EORRG                       FRQGXFW 
DFFRXQW                               EDQNLQJ                               FORWKHV    FRQIXVLRQ
                   DVVLVW            EROGHG                FRFRXQVHO        
DFFXUDWH                       EDQNUXSWF\                  FDXVH                   FRQWDFW 
                                   %RQ        FDXVHG      FROOLGHG        FRQWLQXH 
DFFXVH                              %RXOHYDUG                             FRQWLQXLQJ
DFWLRQ     DQVZHUHG                   %DUULQJWRQ              FDXVHV      FRPH          
DFWLRQV                                        FHOO              FRQWUDFWRU
DFWLYLWLHV             DVVRFLDWHG               EUDQG                     
           DQVZHULQJ              %DUU\      EULHI                          FRQWUDYHQWL
                      $662&,$                  EULQJ        FHUWDLQ                 
           DQVZHUV                     EDVLF       EURDFKHG        FHUWDLQW\                  FRQWULEXWH
DFWXDO            DVVXPHG                                                    
            DQ[LHW\                %DVLFDOO\       EURNH       FHUWLILFDWLRQ   FRPHV      FRQYHUVDWLRQ
DGGUHVV                                      %URRNV                  FRPLQJ        
       DQ\ERG\     DVVXPLQJ                   EURWKHU         FHUWLI\     FRPLQJV         FRQYHUVDWLR
                              EDVLV               FKDQFH                  
         DSRORJLHV       $70                    EXLOGLQJ    FKDQJLQJ        FRPPDQGV        FRQYH\ 
                       DWWHQWLRQ                                                
DGGUHVVHV       DSRORJL]H                  EDWKURRP                   &KDSWHU      FRPPHQFLQJ      FRRN 
                  DWWRUQH\          EXQFK      FKHFNLQJ                    FRRNLQJ 
           DSSDUHQWO\                 EHGURRP         EXUGHQ                  &RPPRQZ      FRSLHV 
DGKHUH                                 EXVLQHVV    FKHVW                    
$GY          DSSHDU                 EHKDYLRU        EXVWHG     FKLOGUHQ    FRPPXQLFDWH       
DIRUHVDLG       DSSHDUHG        DWWRUQH\ V                  EXWWV      &KULVWLDQ                 
                               EHOLHI      EX\                                  
DIWHUQRRQ       DSSHDUV                EHOLHYH               FLJDUHWWH              FRS\ 
                       DWWRUQH\V                                                         FRUUHFW 
DJR                                              &               FRPPXQLFD       
                                            &      FLJDUHWWHV                   
        DSSO\      $X                FDOHQGDU                   FRPPXQLFD       
DJUHHG      DSSO\LQJ        DXWRPDWLF                                             
DKHDG                                    FDOO                  FRPPXQLFD       
DOFRKRO     DSSRLQWHG                         FDOOV      FLUFXODWH                     
DOLYH                  $YHQXH                                          FRPSDQ\            
           DSSUR[LPDWH                                  &LW\                
DOOHJDWLRQV             DYHUDJH                  FDPHUDV                      
           DUPHG              EHOO        FDQFHOHG            FRPSDUHG           
                                   EHWWHU      FDSWLRQ     FODLP                   


                                      STREHLOW & ASSOCIATES, INC.
                                            (215) 504-4622
                Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 166 of 386

                                               Barrington Whyte
                                               December 12, 2019
Page 2

FRUUHFWO\     GDWHV                                                       *
                                                                        JDV 
FRVWV                                             IDLU                     
FRXFK            GHULYHG          GRRUEHOO       (648,5(                                 JHQHUDO 
                                                                    
FRXQVHO   GD\         GHVFULEH     GUXJV                  IDPLOLDU                       
                       GXFW      HVVHQWLDOO\                             JHQHUDOO\
                          GXH                   IDPLO\                 
              '(6&5,3       GXO\    HVWLPDWH        IDU         ILWV            
                          '81(                             ILYH            
               GLIIHUHQW        'XQQH               IDWKHU               JHQHUDWHG
                           HYDOXDWH                            
           GLQLQJ            HYHU\ERG\       )HEUXDU\      IL[         JHVWXULQJ
                                                   IHHOLQJ     IOLS          
         GD\WRGD\      GLUHFW             (YLFWLRQ    ILOH         IRFXV        JHWWLQJ 
FRXSOH                           'XQQH V    H[DFW      ILOHG      IROGHU       
                    GLUHFWLRQ                H[DFWO\                               
FRXUW   GD\V                                           ILOLQJ                     
                GLVFRYHU\               (       (;$0,1$      )LOLSRYLF     IRONV       JLYH 
                    (                    IROORZ         
FRXVLQ                                                                  
FRYHU            GLVFXVV     HDUOLHU  H[DPLQHG                          JLYHQ 
FUHDWHG  '(          GLVFXVVHG                  H[DPSOH               IROORZV          
&5266(    GHDGOLQH                HDUO\      H[FXVHG                 IRUJHW         
                     GLVFXVVLRQ       ($67(51                             IRUP         JLYHV 
FXULRXV   GHDGOLQHV                            ([KLELW             IRUPDO      JLYLQJ 
                             HDWLQJ                   IRUWK       JR  
FXUUHQW          GLVKZDVKHU                                  IRUZDUG         
     GHDO                                               IRXU          
FXUUHQWO\     GHEWRU       GLVWUHVV    HLJKW     ([KLELWV                IUDPH          
                                                                   
         GHEWRU V    ',675,&7         HLWKHU    H[SHFW                          
                                       HO         H[SHQVHV              IUHTXHQW           
      '       GHFHDVHG        GRFWRUV      (OHDQRU  H[SHULHQFHG                          JRHV 
'                                                      IUHTXHQWO\       JRLQJ 
'       'HFHPEHU        GRFXPHQW                 H[SHUW                            
                 HOHFWULF                 )ULGD\        
    GHFLGHG                                                          
                       HOHPHQWDU\                                  
         GHFLVLRQ                           H[SODLQ                           
'   'HIHQGDQW                   HPEDUUDVVL                      )ULGD\V        
                                     H[SUHVV              )5,(1'6            
    GHIHQGDQWV       GRFXPHQWV        HPRWLRQDO      H[WHQGLQJ                               
                                                            IURQW         
                     GRLQJ                                  ILQH              
GDLO\    GHPHDQRU                  HPSOR\            )                               
                     '20(5            HPSOR\HU       )                           
GDPDJHV       GHQ\                                               IUXVWUDWLRQ        
      GHSDUWPHQW                  HPSOR\PHQW IDFH                                
'DUE\          GRRU                  IDFHV       ILQLVK       IXOO           
GDWH      GHSRQHQW                HQHUJ\     IDFW    ILUVW                 JRLQJV 
                         HQYHORSH                        IXOO\       JRRG 
   GHSRVLWLRQ                                           IXUWKHU        
                        HQYHORSHV      IDFWV          


                                    STREHLOW & ASSOCIATES, INC.
                                          (215) 504-4622
               Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 167 of 386

                                             Barrington Whyte
                                             December 12, 2019
                                                                                                                Page 3

JUDQGPRWKHU                    LQWHUIHUH        .HQQHG\                           0 
                                                      OLYHG        0$& 
               +XJKHV     LQWHUURJDWR   NHSW       NQRZQ             
JUDQGVRQ                                              NRVKHU           PDFKLQH
               KXUWLQJ             NLQ                                
JURFHU\                                      NLQG                /              
                      ,       LQWHUURJDWR              /DQGPDQ                 PDLQ 
JXDUDQWHHG             LGHDV                                     PDNLQJ 
                  LGHQWLILFDWLRQ                        /DQH       OLYHV     PDUN 
JXDUGLDQ                                                      OLYLQJ         
         +$66$1          ,GHQWLI\                           ODQJXDJH                   PDUNHG 
JXHVV                                NLQGHUJDUWHQ                     
      KHDG     LPSDLU                       /DQVGRZQH      ORFDWHG       
                 LPSRUWDQW               NQRZ                              
                                         ODVWO\     ORFDWLRQV      
JXQ   KHDGDFKH        LQFOXGH                       ODWH   ORJ          
                                LQYROYHPHQW             /$:       ORQJ       
              KHDU       LQFOXGHG                                                
      +                         ,UUHJDUGOHVV          ODZVXLW           0DUNHW 
+                    LQFOXGHV                                                
KDQG     KHDULQJ                   LUULWDWLQJ            ODZ\HU                 PDVVDJH
                    LQFOXGLQJ                                             
         KHDYLHU                                        OHDYH     ORQJHU       
         KHOG        LQFRPH            -                  ORRN        PDWWHU 
KDQGHG          LQFUHDVHG      -(:(//                   OHIW               PHDO 
KDSSHQHG                     MRE                                       
    KHOSLQJ     LQGLFDWHG                                  PHDOV 
    KHOSV                                                      
         KLVWRU\     LQGLFDWLRQ                    OHJ                   PHDQ 
         KROG                                                  
KDSS\     KRPH        LQGXFWLQJ                     OHJDO              
                                               OHJV              
KDUG             LQIRUPDWLRQ    MREV             OHQJWK                  
+DUSHU                                    OHW V     ORRNHG       
                   -RKQ                                      PHDQV 
                                         OLIH                  PHGLFDO 
                -26+8$                                ORRNLQJ       
                                       OLJKW              PHHWLQJ
                 -26+8$                                
                                            /LOOLDQ           0HJDQ 
                        -XO\             OLPLWDWLRQV    ORRNV        
               LQIRUPHG                               ORVH      0(*$1+
    KRXUV                                       ORVW           
           LQJHVW                                     ORW      PHPEHUV
                 LQVLGH                       OLQH       OXFN\         
                      -XQH                       /\QGHO      PHQ 
      KRXVH      LQVWUXFWLRQV                          OLW               PHQWDO 
                                             OLWWOH                 
             LQWHQG                                           PHQWLRQ 
                LQWHUDFWHG                                       PHQWLRQHG
                                                                     
            LQWHUHVW         .                                             
            LQWHUHVWHG     NHHS                                        PHWKRG 
                                       NQRZOHGJH       OLYH             0         0LFKHOOH 


                                    STREHLOW & ASSOCIATES, INC.
                                          (215) 504-4622
                Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 168 of 386

                                                Barrington Whyte
                                                December 12, 2019
Page 4

           QHLWKHU                       RULJLQDOV     3HQQV\OYDQLD              
PLFURZDYH       QHYHU      1RWLFHV   RIILFHV                         SUHVHQW 
                   QRWLFLQJ              RXWFRPH              3ODLQWLII V       
PLQG       1HZSRUWV        QXPEHU    RIILFLDO                              SUHVXPHV
PLQXWH                                   RXWULJKW      SHRSOH      SODQ       
PLVXQGHUVW   1(:72:1         QXPEHUV                            SHULRG                 SUHWW\ 
                                 RND\      RXWVLGH                           
PRPHQW          QLJKW       QXUVLQJ           RYHUDOO   SHUVRQ      SOHDGLQJ           
                          RYHUVHHV                            
0RQGD\                  1<                                      SOHDVH      SUHYLRXVO\
                                                          SHUVRQDO              
                          2                    3                              SULPDU\
            QLQH        2EMHFW            3        SHUVRQDOO\                 
PRQH\     1-          REMHFWHG              SP                       SULRU 
       1RGV                        3$                                  
PRQWK       QRUPDO     REMHFWLRQ                                  SRFNHW      SULYLOHJH
        QRUPDOO\                             SDFHG                 SRLQW          
                                          SDJH                       SULY\ 
PRUQLQJ                                   3)(VT#LIL            SUREDEO\
           1RWDU\                                                     
                                      3KLODGHOSKLD                
            QRWLFH                                                
PRWKHU                                                  SRLQWHG        
            REMHFWLRQV                SDLG              SRVHG         
                                                            SRVLWLRQ      
               REVHUYH                   SDLQ                          
                                                SRVVHVVLRQ        
                                SDSHU                    SUREOHP
PRWLRQV                                                              
PRYH                                                          SRVVLEOH    3URF 
0XQLFLSDO             REVHUYHG              SDUDJUDSK     3KLODGHOSKL               SURFHVV 
                                             SRVVLEO\          
                                                  3KLOO\                
      1                                 SDUHQWV       SKRQH       SRVW       SURGXFW
1                                                 SRVWHG       
QDPH                                                                 
            REWDLQLQJ             SDUW                            3URIHVVLRQDO
                                    SDUWLFXODU    SKRWRV               
              RFFDVLRQ  ROG               SK\VLFDO                    SURRI 
                   RFFDVLRQV     ROGHU        SDUWLFXODUO\                   SURSHUW\ 
QDUURZ       QRWLFHG            RQFH                  SK\VLFLDQ                     
QDWXUDO                                  SDUWLHV                        
QDWXUH      QRWLFHV              RSHQ        SDUW\    SLFNHG                      
                                         SDVVHG               SRVWLQJ       
QHDU               RFFXUULQJ     RSLQLRQ            SLFWXUHV     SRWHQWLDO         
                                       SDVVLQJ  SLHFH                     
QHDW              2FWREHU                   SD\  SLHFHV       3UHGUDJ        
QHHG                  RSSRUWXQLW\      SD\FKHFNV                           
                                            SLOO         SUHSDUHG          
                                SD\LQJ  SLSH                    
                   2UDO          SD\PHQW  SODFH         SUHSDULQJ         
QHHGHG            RGG      RUGHUV      SD\V     SODFHG                     
                      RIILFH   RULJLQDO         3(&2                   SUHSSHG       
QHHGV                                    SHHNHG    SODLQWLII     SUHURJDWLYH       


                                      STREHLOW & ASSOCIATES, INC.
                                            (215) 504-4622
                Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 169 of 386

                                                Barrington Whyte
                                                December 12, 2019
                                                                                                                     Page 5

                                                        VHQVH                       
                 UHJXODU      UHVSRQVH     VD\V                 VLGH            
                                      VHQWHQFH     VLGHZDON     VSHDN 
SURYLGH         TXLWH                                                      
                          UHJXODULW\                                  VLJQ          
             5                                                            
        5       UHJXODUO\                           VHSDUDWH     VLJQLILFDQFH     VSHDNLQJ
           UHIRUP                 UHVSRQVHV                                   
SURYLGHG        UHDFKHG  UHODWHG                VFKHGXOH              VLJQLQJ          
       UHDG                              VHULHV      VLJQV          
                             UHVWDWH    VFKHGXOHG       6HUYH       VLOYHU      VSHFLDO 
SURYLGLQJ              UHODWLRQVKLS     UHVWDXUDQW                            VLPLODULW\          
           UHDGLQJ                           VHUYLFH            VSHFLILF 
           UHDG\     UHPHPEHU         UHVWURRP        VFKLFN     6HUYLFHV     VLQJOH         
           UHDOO\                            VFKRRO                  VLVWHU      VSHQGLQJ
                              UHVXOW     VFRSH        6(59,1*          VLWWLQJ         
SURYLQFH                                                         VLWXDWLRQ        VSHQW 
                            UHVXPHG     VFUHHQ     VHW                  VSLULW 
SXEOLF                   UHWDLQHG                        VL[     VTXLJJO\ 
                 UHPHPEHULQJ      UHYLHZ     VHDO                       VWDQGLQJ 
                                          VHDOLQJ     VHYHQ                     
SXOOLQJ    UHFDOO    UHPRYHG                     VHFRQG                          VWDQGV 
SXUSRVH                       ULJKW                            VWDUW 
            UHFHVV     UHSHDW                   VKDNLQJ                      
SXUSRVHV        UHFROOHFWLRQ                                         VPHOOLQJ             
                 UHSKUDVH                           VKHHWV                   VWDUWHG 
SXUVXDQW        UHFRUG                                       6KHUEURRN        VPRNH          
             UHSRUWHU             VHFWLRQ                              VWDUWV 
SXW                                           VKHULII       VPRNHG           VWDWH 
            5HSUHVHQWLQJ                  VHFXULW\                             
                         ULQJ        VHH                    VPRNHV      VWDWHG 
            UHTXHVW                     VKHULII V        VPRNLQJ              
                      URRP                                           VWDWHPHQW
                                                         
                                                               VWDWHPHQWV
                  UHTXHVWHG                       VKHULIIV                    
SXWWLQJ     UHFRUGHG                                                           VWDWHV 
                           UHTXHVWLQJ                                  VROG            
      4         UHFRUGLQJ               UXOHV                                       
TXDUWHU         UHFRUGV        UHVHUYHG     UXVK                          VRPHERG\         VWDWLQJ 
                     UHVLGH    5XVNLQ                                    VWD\ 
TXHVWLRQ    5(',5(&7                                            VKLHOG                     
                UHVLGHG             6                             VRQ          
         UHIHU           6        VHHLQJ              VRUU\        VWD\LQJ 
                  UHVLGHQFH        VDNH        VHHN       VKRSSLQJ                     VWD\V 
                        VDOH       VHHQ                             VWHS 
                 UHVLGLQJ                            VKRUWKDQG                    67(3+(1
       UHIHUULQJ                VDZ                               VRUW         
            UHVSHFW                           VKRZ                 6WHSKHQ#G
            UHIHUV                             VKRZHG                     
TXHVWLRQLQJ     UHJDUG                                         6RXWK        VWHSV 
           UHJDUGLQJ      UHVSHFWLYH                             VKRZLQJ                    
TXHVWLRQV                           VD\LQJ     VHQGLQJ                     VWLSXODWHG
        UHJDUGV        UHVSRQGLQJ                                            


                                     STREHLOW & ASSOCIATES, INC.
                                           (215) 504-4622
                 Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 170 of 386

                                                 Barrington Whyte
                                                 December 12, 2019
Page 6

VWLSXODWLRQV            7        WHUP                                           :           
              7                           WUDLQ                 ZDLW        ZHHNV 
VWRS         WDEOH      WHUPV             WUDQVFULEHG      XQGHUVWDQG                 ZHLUG 
VWUHHW                                                      ZDLWLQJ    ZHQW 
                   WHVWLILHG            WUDQVFULSWLRQ                 ZDLYHG        
      WDNH    WHVWLI\                                 ZDON       ZHUHQ W 
                  WHVWLPRQ\              WUDQVIHU                            
                             WUDQVSDUHQF\                               
                                                            ZDQW          
                   WH[W                WUDQVSRUWDW                   :K\WH 
675(+/2                  7KDQN      WLPHV                                      
                        WKDQNV               WULDO        XQGHUVWDQGV                     
VXEMHFW             WKHUHRI                                               
VXESDUDJUD            WKLQJ           WULHG                               
                        WRIURP     WUXH        XQGHUVWRRG                 
                               WRGD\                                           
VXESDUDJUD    WDNHQ       WKLQJV              WUXWK      XQGXH         ZDQWHG        
                                                                 ZDUHKRXVH       :,//,$06
VXEVWDQWLDO                  WKLQN                  WU\       XQHDWHQ                   
             WDON               WROG             8QLWHG         ZDU\       ZLQGRZ
VXEVWDQWLYH      WDONHG                WRS                             ZDVK          
                                                  XQLYHUVH      ZDVQ W      ZLQWHUV 
6XLWH     WDONLQJ                    WU\LQJ                        ZLWQHVV 
                                7RSSLQ                                     
VXPPDUL]H                               7XHVGD\      XSGDWH                  
                                          WXUQ        8SSHU                    
VXSHUYLVLRQ                                        XSV          ZDWHU       
                                                     XVH                 ZRNH 
VXSHUYLVRU       WDSH     WKLQNLQJ           WZR                              ZRUGV 
                     WKLUG                       XVHV                    
VXSSOLHG                                                           ZD\          
                 WKRXJKW                            8VXDO                     ZRUN 
VXSSRUWLQJ                                          XVXDOO\                 
                  WKUHH                                                
VXUH                                                             
                                   W\SH        XWLOLWLHV    ZH UH      
                  7KXUVGD\                                                          
                                         8                                     
         WD[HV      WLPH                   86&               9                       
            WHOO                       8PKXP           9DFDWH                
                                          9DFDWH                       
                                                YDULHV       ZH YH        
                               XQDYDLODEOH                                
                                                 YHUEDO                    ZRUNHG 
                                         XQFOH       YHULILHG               
                                                  YLRODWLRQ                       
                                                       :HGQHVGD\         
                                    XQGHUOLQHG       YLRODWLRQV                      
VZHOO       WHOOLQJ                                          ZHHN        ZRUNLQJ
VZRUQ                                 XQGHUQHDWK       YLVLRQ                 
             WHQ                                        YLVLWLQJ                  
V\PERO                      7RSSLQ V        XQGHUVWDQG       YROXPH                     
V\PSWRPV                                              YV             ZHHNO\       
                                                                                          


                                       STREHLOW & ASSOCIATES, INC.
                                             (215) 504-4622
                Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 171 of 386

                                               Barrington Whyte
                                               December 12, 2019
                                                                                    Page 7

ZRUNV                            
                       
                            
ZRXOGQ W              
                                
                            
ZULWH                       WK 
ZULWLQJ                      
                     
      ;                               
;                    
                       
      <                                
\HDK                  WK         
                       
                    
\HDU               
                
\HDUV                
                 WK 
     
               
               
    WK       
             
                   
                 V 
\RXQJ               WK 
                            
       =                  
=DONLQ            
             
        
                           
               
                         
              VW         
                         
                
                          
                     
             
                
              WK 
                      
       
                 
               V 
                
                QG 
                   
             
              
                   


                                    STREHLOW & ASSOCIATES, INC.
                                          (215) 504-4622
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 172 of 386
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 173 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
     81,7('67$7(6%$1.5837&<&2857
     )257+(($67(51',675,&72)3(116</9$1,$
     &$6(120'&
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBB

     /<1'(/7233,1

     'HEWRU3ODLQWLII

     YV

     -(:(//:,//,$06DQG
     $%'(/'$<(0+$66$1
     DND$%'(/'<(0
     +$66$1
     'HIHQGDQWV
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBB

        

     :('1(6'$<129(0%(5

        



     2UDOGHSRVLWLRQRI$%'(/'$<(0+$66$1
     WDNHQSXUVXDQWWRQRWLFHZDVKHOGDWWKH
     'XQQH/DZRIILFHV3&0DUNHW6WUHHW
     6XLWH3KLODGHOSKLD3HQQV\OYDQLD
     FRPPHQFLQJDWDPRQWKHDERYHGDWH
     EHIRUH/RUL$3RUWRD&HUWLILHG&RXUW
     5HSRUWHU
     .$3/$1/($0$1 :2/)(
     6287+%52$'675((768,7(
     3+,/$'(/3+,$3(116</9$1,$
       
     ZZZNOZUHSRUWHUVFRP
                                                   C I T Y - 2 3
                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 174 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
    $33($5$1&(6
 
    '811(/$:2)),&(63&
     %<67(3+(10'811((648,5(
    DQG
     35('5$*),/,329,&(648,5(
    0DUNHW6WUHHW
     6XLWH
    3KLODGHOSKLD3$
     
    VWHSKHQ#GXQQHODZRIILFHVFRP
     SIHVT#LILJKWMXVWLFHFRP
    &RXQVHOIRUWKH'HEWRU3ODLQWLII
 
     &,7<2)3+,/$'(/3+,$/$:'(3$570(17
   %<0(*$11+$53(5'(387<&,7<62/,&,725
     DQG
   -26+8$'20(5$66,67$17&,7<62/,&,725
     -RKQ).HQQHG\%RXOHYDUG
   5RRP
     3KLODGHOSKLD3$
   
     PHJDQKDUSHU#SKLODJRY
   MRVKXDGRPHU#SKLODJRY
     &RXQVHOIRUWKH'HIHQGDQW
   -HZHOO:LOOLDPV

     /$:2)),&(62)'$9,'02))(1
   %<'$9,'02))(1(648,5(
     :DOQXW6WUHHW
   6XLWH:HVW
     3KLODGHOSKLD3$
   
     GPRZHVW#JPDLOFRP
   &RXQVHOIRUWKH'HIHQGDQW
     $EGHOGD\HP+DVVDQ






                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 175 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
    :,71(66,1'(;
 
    ([DPLQDWLRQRI0U+DVVDQ
 
    %\0U)LOLSRYLF3DJHV
 
     %\0V+DUSHU3DJH
 
    %\0U2IIHQ3DJHV
 


















                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 176 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
    (;+,%,76
 
    ([KLELW)&LYLO&RYHU6KHHWZLWK$WWDFKPHQWV
    3DJH
 
     ([KLELW%+DQGZULWWHQ1RWH
 
     3DJH
 
    ([KLELW*5HWXUQRI6HUYLFH$IILGDYLWZLWK
     $WWDFKPHQWV
 
     3DJH

   ([KLELW-3UDHFLSHIRU:ULWRI3RVVHVVLRQ
   3DJH

     ([KLELW.&RQWDFW'HWDLOV

     3DJH

   ([KLELW4&HUWLILFDWHRI1RWLFH
   3DJH

     ([KLELW3KRWRFRS\RI1RWLFHWR9DFDWH

     3DJH

   ([KLELW3KRWRFRS\RI1RWLFHWR9DFDWH
   3DJH

     ([KLELW65LQJ&HQWUDO&DOO'HWDLOV

     3DJH



                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 177 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
 
 
 
 
 
 
 
 
 



    (;+,%,76$5($77$&+('
     727+(75$16&5,37














                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 178 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
    '(326,7,216833257
 
     5(48(67 
 
 
 
 
 
 


















                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 179 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
     $EGHOGD\HP+DVVDQKDYLQJEHHQGXO\VZRUQZDV
    H[DPLQHGDQGWHVWLILHGDVIROORZV
     (;$0,1$7,212)05+$66$1%<05),/,329,&
    4*RRGPRUQLQJ0U+DVVDQ
    &DQ,FDOO\RX0U+DVVDQ"
    $<HV
    4,DPJRLQJWRJLYH\RXVRPHLQVWUXFWLRQV
    RQKRZWKHVHGHSRVLWLRQVDUHFRQGXFWHG
    ,ZLOOEHDVNLQJVRPHTXHVWLRQVRI\RX
   DQG,ZLOO\RXNQRZWU\WREHSXQFWXDODQG,ZLOO
   WU\WRVSHDNORXGO\VR\RXFDQXQGHUVWDQGDQGKHDU
   ,I\RXGRQRWXQGHUVWDQGRUKHDUPH
   \RXFDQDVNPHWRUHSHDWWKHTXHVWLRQDQG,ZLOOEH
   JODGWRGRVR+RZHYHU\RXPD\QRWWDONWR\RXU
   DWWRUQH\ZKHQWKHUHLVDSHQGLQJTXHVWLRQ<RXPD\
   DVNWRWDNHDEUHDNDQGDWWKDWSRLQW\RXFDQWDON
   WR\RXUDWWRUQH\EXWQRWDERXWWKHVXEMHFWPDWWHURI
   WKHWHVWLPRQ\
   1H[W, PKHUHWRDVNTXHVWLRQV
   8QIRUWXQDWHO\WRGD\\RXFDQ WDVNPHTXHVWLRQV,W
   LVMXVWDRQHZD\VWUHHWWKLVZD\
   ,IDWDQ\SRLQW\RXNQRZ\RXDUHWR
   SURYLGHDQDQVZHU\RXKDYHWRGRLWYHUEDOO\\RX
   FDQ WXVHJHVWXUHV
   :KLOH,FDQXQGHUVWDQG\RXUJHVWXUHV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 180 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
    DQG,FDQVHH\RXEHFDXVHZHGRQ WKDYHDYLGHR
    KHUHWKHFRXUWUHSRUWHUQHHGV\RXUDQVZHUVWREH
    YRFDO
    $:KDWGR\RXPHDQE\YRFDO"
    ,GRQ WXQGHUVWDQG
    49RFDOPHDQVE\ZRUGV
    $2ND\
    4,ZLOODOVRDVN\RXVRPHTXHVWLRQVWKDW
    SHUKDSV\RXNQRZPD\EHLQVXOWLQJWR\RXEXWWKH\
   DUHDVNHGRIDQ\GHSRQHQWHYHU\ERG\JHWVDVNHGWKHVH
   TXHVWLRQVDQGWKDWLVZKHWKHU\RXDUHXQGHUDQ\
   GUXJVRUDOFRKROWRGD\WKDWZRXOGFDXVH\RXQRWWREH
   DEOHWRJLYHWUXWKIXOWHVWLPRQ\
   $1R
   47KDQN\RX
   6RZHFDQSURFHHG"
   $<HV
   4&RXOG\RXSOHDVHWHOOPH\RXUILUVWDQG
   ODVWQDPHVLU"
   $$EGHOGD\HP+DVVDQ
   40U+DVVDQZKDWLV\RXUDGGUHVV"
   $%DUNHU$YHQXH/DQVGRZQH
   3HQQV\OYDQLD
   4+RZORQJKDYH\RXOLYHGDWWKDWDGGUHVV
   VLU"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 181 of 386
                        $EGHOGD\HP+DVVDQ

                                                                3DJH
    $/LNHWR\HDUV
    4$QGGR\RXRZQWKDWKRXVH"
    $<HV
    4:KRGR\RXOLYHWKHUHZLWK"
    $0\ZLIHDQGP\NLGV
    4:KDWLV\RXUZLIH VQDPH"
    $0LFKHOOH+DVVDQ
    4,VWKDW0LFKHOOH"
    $0LFKHOOH
   4:KDWLV\RXURFFXSDWLRQFXUUHQWO\"
   $,ZRUNDW%RVWRQ0DUNHW
   4:KDWLV\RXUMREDW%RVWRQ0DUNHW"
   $'HOLYHU\ZDVKGLVKHVPRSLQVLGHWKH
   UHVWDXUDQW
   4:KLFKORFDWLRQ"
   $WKDQG&KHVWQXW3KLODGHOSKLD
   &KHVWQXW
   4,KDSSHQWRNQRZH[DFWO\ZKHUHLWLV
   ,VWKDWDIXOOWLPHSRVLWLRQ"
   $<HDK
   4'R\RXGRDQ\WKLQJHOVHEHVLGHVWKDW"
   $1R
   46LUDUH\RXIDPLOLDUZLWKDSURSHUW\DW
   6RXWKQG6WUHHW"
   $<HV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 182 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4$QGZKDWLV\RXUIDPLOLDULW\ZLWKWKDW
    SURSHUW\"
    $6D\WKDWDJDLQSOHDVH
    4:KDWGR\RXNQRZDERXWWKDWSURSHUW\"
    $7KDWSURSHUW\,ERXJKWLWIURPWKH
    VKHULII
    4:KHQGLG\RXEX\LWIURPWKHVKHULII"
    $,WKLQNLQ1RYHPEHURIRU2FWREHU
    , PQRWVXUH
   1RYHPEHURU2FWREHU
   4<RXVDLG\RXERXJKWLW
   :DVLWDWDVKHULII VVDOHWKDW\RX
   ERXJKWLW"
   $<HDK
   4:KDWZDVWKHSULFHWKDW\RXHQGHGXS
   SD\LQJ"
   :KDWZDVWKHZLQQLQJELG"
   $
   4GROODUV"
   $<HV
   4'LG\RXSD\GROODUVWRWKH
   VKHULII VRIILFH"
   $<HV
   4<RXKDGGD\VWRSD\LWLVWKDW
   FRUUHFW"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 183 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $,SDLGOLNHWKHGD\RIWKHVDOH
    DQG,KDGRQHPRQWKWRSD\
    47KH\WROG\RXDWWKHVKHULII VVDOHWR
    EULQJ"
    $<HV
    4:KHUHGLG\RXWDNH\RXUGROODUV"
    $6RXWK%URDG
    4'R\RXUHFDOOZKHQ\RXZHQWWKHUHZLWK
    WKHPRQH\ZKDWGLGWKH\WHOO\RX"
   $:KDWGRHVWKDWPHDQ"
   4<RXZHQWWRWKHVKHULII VRIILFHZLWK
   \RXUGROODUVDQGZKDWGLG\RXGRZKHQ\RXJRW
   WKHUH"
   $7KH\DVNHGPHWREULQJDFDVKLHU V
   FKHFN,ZHQWWKHUHWKH\JRWWKHPRQH\DQGWKH\
   JDYHPHWKHUHFHLSW
   47KH\LVZKR"7KHVKHULII VRIILFH"
   $<HV6RXWK%URDG
   41RZZKHQ\RXZDONHGLQGLG\RXJROHIW
   RUULJKWWRGR\RXUWUDQVDFWLRQ"
   $,ZHQWWKHUH,IRXQGWKHIURQWGHVNLQ
   IURQWRIPHWKH\WROGPHWRJRWRWKHZLQGRZRQWKH
   OHIW
   42QWKHOHIWRND\
   :KDWHOVHGLGWKH\WHOO\RXZLWK


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 184 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    UHVSHFWWRWKHKRXVHWKDW\RXERXJKWWKLVSURSHUW\"
    $1RWKLQJ
    46RWKH\WRRNWKHPRQH\\RXJDYHWKHP
    WKHPRQH\"
    $<HV
    4:KRLVWKH\RXVDLGLWZDVD
    FDVKLHU VFKHFN"
    $<HV
    4:KRZDVLWPDGHRXWWR"
   $7KHFLW\RI3KLODGHOSKLDVKHULII
   4'LG\RXUHFHLYHDQ\WKLQJEHVLGHVWKH
   UHFHLSW"
   $1R
   4'LGWKH\WHOO\RXDQ\WKLQJH[FHSWIRU
   WKDQN\RXIRU\RXUPRQH\"
   :KDWGLGWKH\VD\WR\RXLI\RXFDQ
   UHFDOO"
   7KH\PHDQLQJWKHIRONVEHKLQGWKH
   ZLQGRZDWWKHVKHULII VRIILFH
   'LG\RXUHFHLYHDQ\LQVWUXFWLRQV"
   $7KH\WROGPH,ZLOOJHWWKHGHHGE\
   PDLO
   4'HHGE\PDLO"
   $8KKXK
   42ND\


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 185 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $Q\WKLQJHOVH"
    $1R
    41RZGLG\RXLQIDFWJHWWKHGHHGE\
    PDLO"
    $:KDW VWKDW"
    4'LG\RXJHWWKHGHHGE\PDLO"
    $<HDK
    4+RZORQJDIWHUGLG\RXUHFHLYHWKHGHHG"
    $,WKLQN, PQRWVXUHH[DFWO\RIWKH
   WLPHEXW,JRWWKHGHHG
   4:DVLWDPRQWKODWHU"
   $<HDKSUREDEO\DPRQWKODWHU
   4'R\RXVWLOOKDYHWKLVGHHG"
   $<HDK
   4%HIRUHEX\LQJWKLVSURSHUW\GLG\RXJR
   WRYLVLWWKHSURSHUW\"
   $%HIRUHEX\LQJLW"
   4<HDK
   $1R
   42QO\DIWHU\RXERXJKWLW"
   $1R,MXVWZHQWWKHGD\RIWKHVDOH
   ,VDZWKHOLVWWKH\VWDUWHGELGGLQJ,
   VDZWKHUHDVRQDEOHSULFHDQG,ELGRQLW
   4,XQGHUVWDQGEXWRQFH\RXERXJKWLW
   \RXGLGQ WJREHIRUH\RXERXJKWLW"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 186 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $1R
    4%XW\RXZHQWDIWHUZDUGV"
    $,ZHQWDIWHUZDUGV
    %HIRUHKRZZRXOG,JRWKHUH"
    ,GLGQ WRZQWKHKRXVH
    4$QGWKHQ\RXGLGRZQWKHKRXVH
    DIWHUZDUGVVR\RXZHQWWKHUH"
    $$IWHU,ERXJKWLW\HDK,ZHQWWKHUH
    47KDWLVZKDW,ZDQWWRDVN\RXDERXW
   VLU
   <RXZHQWWKHUHWRGRZKDW"
   $7RVHHWKHKRXVH
   ,KDGERXJKWLW
   4:KHQGLG\RXILUVWJRWKHUH"
   $$IWHU,JRWWKHGHHG
   4$IWHU\RXJRWWKHGHHG"
   $<HDK
   ,ZHQWWKHUHDQG,WULHGWRNQRFNRQ
   WKHGRRUEXW,KHDUGGRJV
   4,VWKHUHD\DUGLQIURQWRIWKHKRXVH"
   +RZGR\RXJHWLQ"
   ,VWKHUHDSRUFK"
   'HVFULEHLWIRUPH
   $,GLGQ WJHWLQVLGHWKHKRXVHHYHU
   4, PDVNLQJ\RXLVWKHUHDSRUFKLV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 187 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    WKHUHD\DUGDIHQFHDQ\WKLQJOLNHWKDWRULVLW
    RIIVWUHHW"
    $,W VRIIVWUHHW
    4$QG\RXJRXSDUHWKHUHVWDLUV"
    $<HDKVWDLUV
    4<RXZHQWXSWKHVWDLUVDQG\RXNQRFNHG
    RQWKHGRRU"
    $<HV,NQRFNHG
    4$QGWKHQZKDWKDSSHQHG"
   $,KHDUGGRJV
   4'LG\RXVD\GRJV"
   $<HDK
   7KHQHLJKERUFDPHRXWDQGWKH\WROGPH
   WKHVHSHRSOHFRPHQRERG\OLYHVWKHUH
   47KHQHLJKERUWROG\RX"
   $<HVWKDWVRPHRQHHYHU\WZRZHHNV
   WKUHHZHHNVFRPHVWKHUH
   4+RZGLG\RXNQRZWKHSHUVRQZDVD
   QHLJKERU"
   'LGWKH\FRPHRXWRIWKHKRXVH"
   $7KH\FDPHRXWRIWKHKRXVHQH[WGRRU
   41H[WGRRU"
   $1H[WGRRU
   4:KDWZDVWKHDGGUHVV"
   $,WZRXOGEH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 188 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    \HDK
    46RDODG\FDPHRXWRIWKHGRRUDW
    DQGVDLGWKDWQRERG\OLYHGWKHUH"
    $1RERG\OLYHVWKHUHWKH\MXVWFRPHHYHU\
    WZRRUWKUHHZHHNVDQGWKDW VDOO
    46KHVDLGQRERG\OLYHVWKHUHEXWWKH\
    FRPHHYHU\WZRRUWKUHHZHHNV"
    $<HDKVRPHRQHFRPHVHYHU\WKUHHRU
    IRXUZHHNVDQGRSHQVWKHGRRURUVRPHWKLQJOLNHWKDW
   4'R\RXNQRZZKDWWKHODG\ VQDPHLV"
   $1R
   7KDWZDVWKHILUVWWLPH,PHWKHU
   46KHGLGQ WVD\KHUQDPH"
   $1RDQG,GLGQ WDVN
   ,WROGKHU,ERXJKWWKHKRXVHDQGVKH
   VDLG, PJODG\RXERXJKWWKLVKRXVHLW VDQ
   DEDQGRQHGKRXVH, PVFDUHGVWXIIOLNHWKDW
   6KHZDVKDSS\WRVHHVRPHRQHJHWWKH
   KRXVH
   4$QGZKHQGLGWKLVRFFXU"
   ,NQRZLW VDIWHU\RXJRWWKHGHHGEXW
   FDQ\RXJLYHPHWKHPRQWKRUGDWHZKHQ\RXZHQWDQG
   VSRNHWRWKLVODG\"
   $$IWHU,JRWWKHGHHGOLNHWZRRUWKUHH
   ZHHNV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 189 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4, PDVNLQJIRUDFDOHQGDUGDWH\HDU
    WLPH
    $6KRXOGEH-DQXDU\RI
    42ND\
    1RZZKDWGLG\RXGRDIWHUZDUGV"
    $$IWHUWKDW,ZHQWWRWKHVKHULIIDJDLQ
    WRWHOOKLPP\VLWXDWLRQ
    ,ERXJKWWKHKRXVHDQG,WKLQNVRPHRQH
    OLYHVWKHUHWKLVLVWKHKRXVHZKDWVKRXOG,GRLQ
   WKDWFDVH
   46R\RXZHQWWRWKHKRXVHDIWHU\RX
   ERXJKWLWIRUWKHILUVWWLPH"
   $<HDK
   4<RXNQRFNHGQRERG\DQVZHUHG\RXKHDUG
   GRJVVRPHZKHUHULJKW"
   $<HV
   47KHQDODG\FRPHVRXWDQGVD\VWR\RX
   QRERG\OLYHVKHUHWKHQ\RXJRWRWKHVKHULIIDQGVD\
   WRWKHVKHULII,ERXJKWDKRXVH,WKLQNVRPHERG\
   OLYHVWKHUH"
   ,VWKDWZKDW\RXDUHWHVWLI\LQJ"
   052))(1+HDOUHDG\VDLGWKH
   QHLJKERUVDLGVRPHERG\FRPHVHYHU\WKUHHRU
   IRXUZHHNVDQGWKDWLVZKDWKHVDLG
   05),/,329,&1RFRXQVHO,


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 190 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    XQGHUVWDQG
    0\TXHVWLRQLV\RXWROGWKHVKHULII,
    WKLQNVRPHERG\OLYHVWKHUHULJKW"
    7KDWLVZKDW\RXWHVWLILHGWR"
    7+(:,71(66 ,QGLFDWLQJ 
    05),/,329,&<HV"
    7+(:,71(66, PVD\LQJWKDWEHFDXVH
    WKHQHLJKERUVWROGPHWKH\FRPHDQGJR
    %<05),/,329,&
   4,XQGHUVWDQG
   , PMXVWFODULI\LQJWKHUHFRUG
   6RWKHQZKDWKDSSHQV"
   $,ZHQWWRWKHVKHULIIWRVHHKRZ, P
   JRQQDJHWLQP\KRXVHDQGWKH\WROGPH,KDYHWR
   4:KRWROG\RX"
   7KHVKHULIISHRSOH"
   $7KHSHRSOHRYHUWKHUHWROGPH,KDYHWR
   JRWRWKH
   46LUZKHQ\RXVD\SHRSOHRYHUWKHUH
   WHOOPHH[DFWO\ZKLFKSHRSOHDQGZKHUH
   7KLVLVDGHSRVLWLRQ
   , PVRUU\EXWGRQ WFDOOWKHPWKH\
   7KHVKHULII VRIILFHWROG\RX"
   $<HV
   4, PJRLQJWRDVN\RXDJDLQ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 191 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    :KRWROG\RXZKDWWRGRZKHQ\RXJRW
    WKHUH"
    $7KHFLW\SHRSOHWROGPH,KDYHWRGRLW
    WKHULJKWZD\
    4:KDWGLGWKH\VD\"
    $,KDGWRILOORXWWKHSDSHUZRUN
    4'LG\RXKDYHDQDWWRUQH\DWWKDWWLPH"
    $1R,GLGQ WKDYHDQDWWRUQH\,ZDVE\
    P\VHOI
   47KH\JDYH\RXWKHSDSHUZRUN"
   $7KH\JDYHPHWKHSDSHUZRUN,ILOOHGLW
   RXW
   7KH\JDYHPHWKHSDSHUDQG,KDGWR
   PDLOLWWKHILUVWWLPHDQGWKHQ,PDLOHGWKHSDSHU
   WKHVHFRQGWLPHDIWHUWZRZHHNVDJDLQ
   ,ZHQWWKHUHDJDLQWKH\JDYHPHWKH
   SDSHUDJDLQVRPHRQHKDGWRKDQGGHOLYHULWWRWKH
   SHRSOHWKHUHRFFXSDQWV
   4'R\RXNQRZZKDWWKHSDSHUVZHUH"
   $:KDWLVLW"
   4'R\RXNQRZZKDWSDSHUVWKH\JDYH\RX"
   $,ILOOHGRXWWKHSDSHUP\QDPHZKR
   OLYHVWKHUH,GRQ WNQRZWKHQDPHRIZKRZDVOLYLQJ
   WKHUH
   4'R\RXNQRZZKDWWKHSDSHUVZHUH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 192 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    WKRXJK"
    $1R
    4, PJRLQJWRKDQG\RXZKDW
    $$OOWKHSDSHUV,JDYHWKHPWRKLP
    ,
    46LUWKHUHLVQRTXHVWLRQ
    052))(1/HWKLPDQVZHU
    05),/,329,&7KHUHZDVQRTXHVWLRQ
    SRVHG
   052))(1+HZDVFRQWLQXLQJWRDQVZHU
   WKHTXHVWLRQWKDWZDVDQVZHUHGRULJLQDOO\
   +HZDVLQWKHPLGGOHRIDQVZHULQJWKH
   TXHVWLRQ
   05),/,329,&,DVNHG\RXGLG\RX
   NQRZZKDWSDSHUV\RXZHUHILOOLQJRXW
   7+(:,71(66:KDWHYHUSDSHUVWKH\JDYH
   PHWKH\KDGP\QDPHZKRLVOLYLQJWKHUH,GRQ W
   NQRZWKHQDPHP\VLJQDWXUHVWXIIOLNHWKDW
   %<05),/,329,&
   42ND\WKDW VILQH
   'LG\RXNQRZLIWKDWSDSHUKDGDQ\
   OHJDOVLJQLILFDQFHDQGLIVRZKDWZDVLW"
   $,ILWKDGOHJDOVLJQLILFDQFHZK\GLGQ W
   WKHMXGJHJLYHPHWKHKRXVH"
   47KDWZDVDTXHVWLRQ\RXMXVWDVNHGPH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 193 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    'RQ WDVNPHTXHVWLRQV
    $1R, PQRWDVNLQJDTXHVWLRQ
    05),/,329,&<RXMXVWGLG
    &DQ\RXSOHDVHUHDGWKDWODVWWKLQJ"
     '(6,*1$7('48(67,21$1'$16:(5:(5(
    5($'
    %<05),/,329,&
    46LU, PJRLQJWRDVN\RXDJDLQGLG\RX
    NQRZZKDWOHJDOVLJQLILFDQFHLIDQ\WKHSDSHUVWKDW
   \RXZHUHILOOLQJRXWIURPVKHULII VRIILFHKDG"
   $:KDWGR\RXPHDQE\OHJDOVLJQLILFDQFH"
   4,PHDQZKDWGLGWKHGRFXPHQWUHSUHVHQW"
   :KDWZDVLWDFWXDOO\FDOOHG"
   $,GRQ WNQRZ
   42ND\
   7KDW VIDLU
   , PJRLQJWRKDQG\RXQRZZKDWZH OO
   PDUNDV
   052))(1<RXDVNHGKLPZKDWLWZDV
   FDOOHGQRWZKDWLWZDVIRU
   05),/,329,&,JHWWRDVNZKDW,
   ZDQWWRDVN
   052))(12ND\
   05),/,329,&,WLVDQRQLVVXH,
   KDYHWKHGRFXPHQWKHUH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 194 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    052))(1,ZDQWWRREMHFW
    7KHODVWTXHVWLRQ\RXDVNHGZKDWLW
    ZDVFDOOHG\RXGLGQ WDVNZKDWLWZDVIRU
    +H VWU\LQJWRILQGRXWZKDWLVWKH
    SXUSRVHRIWKHGRFXPHQWWKDWKDGVRPHOHJDO
    VLJQLILFDQFHLVZKDWKHZDVDQVZHULQJ
    2WKHUZLVHWKH\ZRXOGQ WKDYHJLYHQLW
    WRKLP
    05),/,329,&&RXQVHO\RXDUHQRW
   KHUHWRWHVWLI\
   ,XQGHUVWDQG
   7KHUHFRUGZLOOVSHDNIRULWVHOI
   +HKDVWRDQVZHUWKHTXHVWLRQV
   <RXGRQ WJHWWRUHSKUDVHKLVDQVZHUV
   052))(1+H VDQVZHUHGWKDW
   TXHVWLRQ
   05),/,329,&$UH\RXVD\LQJDVNHG
   DQGDQVZHUHG"
   :HFDQSXWWKDWRQWKHUHFRUG
   052))(1, PQRWUHSKUDVLQJKLV
   DQVZHU
   +LVTXHVWLRQZDVZK\ZRXOGWKH\JLYH
   LWWRPHLILWKDVQROHJDOVLJQLILFDQFH
   +HGRHVQ WNQRZZKDWLW VFDOOHG
   05),/,329,&,VWKDWDQREMHFWLRQ"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 195 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    052))(1,W VDQREMHFWLRQ
    7KHTXHVWLRQDVNHGVSHFLILFDOO\IRUWKH
    WLWOHRIWKHGRFXPHQWDVRSSRVHGWRZKDWWKHGRFXPHQW
    GRHV
    +HVDLGLWKDVOHJDOVLJQLILFDQFHRULW
    ZRXOGQ WKDYHEHHQJLYHQ7KHUHIRUHKHDQVZHUHGWKH
    TXHVWLRQ
    <RXDVNHGWKHTXHVWLRQDQGKHDQVZHUHG
    WKDWWKH\ZRXOGQ WKDYHJLYHQLWWRPHLIWKHUH
   ZDVQ WDQ\VLJQLILFDQFH
   05),/,329,&,GRQ WXQGHUVWDQGWKH
   SRLQWRIWKLVEXWFRXOGZHNHHSWKLVFOHDQ"
   :H UHEXLOGLQJXSDUHFRUGWKDWLV
   XQQHFHVVDU\
   , PJRLQJWRKDQG\RXDQH[KLELWWKDW
   LVJRLQJWREHFDOOHG([KLELW)EHFDXVHLW VDOUHDG\
   PDUNHGWKDWZD\
   /HWWKHUHFRUGUHIOHFWWKHGRFXPHQWLV
   PDUNHG([KLELW)
   ,W VDQH[KLELWWRDSULRUPRWLRQILOHG
   LQWKLVFDVHDPRWLRQIRUMXGJPHQWSOHDGLQJVDQG
   , PJLYLQJLWWRWKHZLWQHVVQRZ
    ([KLELW)&LYLO&RYHU6KHHWZLWK
   $WWDFKPHQWVLVPDUNHGIRULGHQWLILFDWLRQ
   %<05),/,329,&


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 196 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    40U+DVVDQWDNHDORRNDWWKHGRFXPHQW
    , YHMXVWJLYHQ\RX
    $8KKXK
    7KLVRQH LQGLFDWLQJ "
    4<HV
    7KHUH VPRUHSDJHVWRLWVLU
    )HHOIUHHWRWDNHDORRNDWLW
    $<HV,ILOOHGLWRXW
    4, PJRLQJWRDVN\RXVRPHTXHVWLRQV
   DERXWWKHGRFXPHQW
   ,VWKDWWKHGRFXPHQWWKDW\RXZHUH
   JLYHQWRILOORXW"
   $<HV
   4*RWRWKHILUVWRQH,KDQGHG\RXZKLFK
   LVPDUNHGZLWKDQ)
   1RZVLUJRWRWKHERWWRPSDUWRIWKDW
   SDJH
   'R\RXVHH\RXUQDPHDQGDGGUHVVDQG
   SKRQHQXPEHUWKHUH"
   $<HV
   4&RXOG\RXUHDGWKDWRXWORXGSOHDVH
   IRUWKHUHFRUG"
   $$EGHOGD\HP+DVVDQ
   4,VWKDW\RXUSKRQHQXPEHUWKDW\RXSXW
   RQWKHUH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 197 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $<HV
    4, PDOVRJRLQJWRGLUHFW\RXWRWKHSDJH
    WKDWVD\V9HULILFDWLRQ
    $2ND\
    4'LG\RXVLJQWKDWVLU"
    $<HV
    47KDWLV\RXUVLJQDWXUHRQWKH
    YHULILFDWLRQSDJH"
    $<HV
   4:KDWGRHVLWVD\EDVLFDOO\"
   &DQ\RXUHDGLWIRUWKHUHFRUGSOHDVH"
   $,KHUHE\YHULI\WKDWWKHVWDWHPHQWVVHW
   IRUWKLQWKHIRUHJRLQJFRPSOLDQWDUHWUXHDQGFRUUHFW
   WRWKHEHVWRIP\NQRZOHGJHLQIRUPDWLRQDQGEHOLHI
   ,XQGHUVWDQGWKDWWKHVHVWDWHPHQWVDUHPDGHVXEMHFW
   WRWKHSHQDOWLHVRI3D&6UHODWLQJWR
   XQVZRUQIDOVLILFDWLRQWRDXWKRULWLHV
   46R\RX UHEDVLFDOO\DWWHVWLQJWKDW
   HYHU\WKLQJLQ\RXUSDSHUVLVWUXHULJKW"
   ,VWKDW\RXUXQGHUVWDQGLQJRIZKDW\RX
   VLJQHG"
   $,GLGQ WXQGHUVWDQGLWEXW,VLJQHGLW
   4<RXGLGQ WXQGHUVWDQG"
   $1R
   46R\RXVLJQHGWKDWEXW\RXGLGQ W


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 198 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    XQGHUVWDQGZKDWLWPHDQW"
    $,GLGQ WXQGHUVWDQGZKDWLWPHDQWEXW,
    VLJQHGLW
    4&DQ\RXUHDGLW"
    $,FDQUHDGLW
    45HDGLWDJDLQ
    $,KHUHE\YHULI\WKDWWKHVWDWHPHQWVVHW
    IRUWKLQWKHIRUHJRLQJFRPSODLQWDUHWUXHDQGFRUUHFW
    WRWKHEHVWRIP\NQRZOHGJHLQIRUPDWLRQDQGEHOLHI
   ,XQGHUVWDQGWKDWWKHVHVWDWHPHQWVDUHPDGHVXEMHFW
   WRWKHSHQDOWLHVRI3D&6UHODWLQJWR
   XQVZRUQIDOVLILFDWLRQWRDXWKRULWLHV
   46R\RXUWHVWLPRQ\WRGD\LV\RXGRQ W
   NQRZZKDWWKDWPHDQV"
   $,GRQ WNQRZZKDWWKDWPHDQV
   4*RRQWRWKHQH[WSDJHZKHUHLWVD\V
   WKDW\RXKDYHFHUWLILHGWKDWWKHSURSHUW\LV
   XQRFFXSLHG
   &DQ\RXILQGWKDWSDJHIRUPH"
   $:KLFKRQH"
   4<RXMXVWZHQWRYHULW
   7KHSDJHWKDWFHUWLILHVWKDWWKH
   SURSHUW\LVXQRFFXSLHG
   $<RX UHWDONLQJDERXWWKLVRQH
    LQGLFDWLQJ "


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 199 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4<HV
    'R\RXVHHWKHUHZKHUHLWVD\V
    RFFXSLHGRUXQRFFXSLHGDQG\RXFKHFNHGRIIWKDWLW V
    XQRFFXSLHG"
    $1R,GRQ WVHHLW
    4&DQ,WDNHDORRNDWWKDWSDJH"
    7KLVLVQ WWKHSDJH
     $7:+,&+7,0(05'811((17(567+(
    '(326,7,215220
   05),/,329,&2IIWKHUHFRUG
    2))7+(5(&25'',6&866,21
   %<05),/,329,&
   4,VQ WLWWUXHVLUWKDW\RXDOVRGULYH
   DQ8EHURUD/\IW"
   $6RPHWLPHV,GR\HDK
   46RPHWLPHV\RXGR"
   $<HDK
   4'R\RXUHFDOOZKHQ,DVNHG\RXKHUH
   HDUOLHUXQGHURDWKLI\RXKDGDQ\RWKHUMREV\RX
   VDLGQR"
   $:KHQ,KDYHWLPHVRPHWLPHV,GR/\IW
   4'LG\RXIRUJHWWRPHQWLRQWKDWHDUOLHU"
   $<HDKEHFDXVH,GRQ WGRLWIXOOWLPH
   <RXZHUHDVNLQJIRUIXOOWLPHMREV
   41R,GLGQ W


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 200 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    ,DVNHG\RXLI\RXGLGDQ\WKLQJHOVH
    $,PLVXQGHUVWRRG\RX
    4:KRLV0XEDUDN"
    $0\IULHQG
    4'LG\RXVHQG0XEDUDNWRWKHSURSHUW\WR
    HYLFWWKHRFFXSDQWV"
    $QGE\RFFXSDQWV, PWDONLQJDERXWDW
    6RXWKQG6WUHHW
    $1R
   4:KDWLV\RXUIULHQG VODVWQDPH"
   $$KPHG
   4:KDWLVLW"
   $$KPHG
   4&RXOG\RXVSHOOWKDWVLU"
   $$KPHG
   4'LG\RXHYHUKDYHDSKRQHQXPEHUWKDWLV
   DVIROORZV"
   $,XVHGWRKDYHWKDWSKRQHQXPEHU
   4$QGZKDWDERXW"
   ,VWKDW0XEDUDN VSKRQHQXPEHU"
   $0XEDUDN VSKRQHQXPEHU
   4'R\RXNQRZLIWKDWLVVWLOOKLVSKRQH
   QXPEHU"
   $<HDK
   05),/,329,&, PJRLQJWREHKDQGLQJ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 201 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    \RXVRPHWKLQJWKDWZLOOEHPDUNHG([KLELW%
    7KHILUVWRQHZDV)EHFDXVHLWZDV
    DOUHDG\PDUNHG)DQGWKLVRQHZLOOQRZEH([KLELW%
     ([KLELW%+DQGZULWWHQ1RWHLVPDUNHG
    IRULGHQWLILFDWLRQ
    %<05),/,329,&
    4'R\RXVHHWKDWRQHSDJHGRFXPHQWWKDW
    LVLQIURQWRI\RX"
    $<HDK
   4&RXOG\RXSOHDVHUHDGWKHGRFXPHQW"
   $,DPWKHRZQHURIWKHSUHPLVHVORFDWHG
   DW6RXWKQG6WUHHW3KLODGHOSKLD3$
   7KLVLVWRLQIRUP\RXWKDW\RXPXVW
   YDFDWHWKHSUHPLVHV
   ,I\RXKDYHDQ\TXHVWLRQVFRQWDFWPH
   DWWKHQXPEHUVWDWHGEHORZ
   4+DYH\RXHYHUVHHQWKDWEHIRUHVLU"
   $<HV
   4'LG\RXZULWHWKDW"
   $<HVLQWKHEHJLQQLQJ
   4%HIRUHWKHGHHG"
   $:KHQZHERXJKWWKHKRXVH
   ,WROG\RX,ZHQWWKHUHDQGQRRQH
   DQVZHUHGDWWKHKRPHVRZHGLGWKDW
   4:KDWLVWKHGDWHRQLW"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 202 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $,WKLQNLWLVWKHVDPHGD\ZHZHQWWR
    VHHWKHKRXVH
    46RLWZDVULJKWDIWHUWKHVKHULII V
    VDOH"
    $<HDK
    4'R\RXUHDOL]H\RXWHVWLILHG\RXGLGQ W
    JRWKHUHXQWLO\RXJRWWKHGHHGHDUOLHUWRGD\"
    $,MXVWUHPHPEHUHGWKLV
    42ND\JRRG
   6R\RXOHIWWKDWQRWHWKHUH"
   $<HDK,OHIWWKDWQRWHWKHUHWROHWWKHP
   NQRZ,ERXJKWWKHKRXVH
   4:KHQ\RXVD\\RXOHIWWKHQRWHWKHUH
   ZKHUHH[DFWO\GLG\RXOHDYHLW"
   $$WWKHGRRU
   42I6RXWKQG6WUHHW"
   $<HV
   4'LG\RXNQRFNRQWKHGRRUDWWKDWWLPH"
   $<HV,NQRFNHGDQGQRRQHFDPHRXW
   4:HUHWKHUHDQ\GRJV"
   $,GRQ WNQRZ
   4'LGDQ\ERG\HYHUFDOO\RXLQUHIHUHQFH
   WRWKDWQRWH"
   $,WKLQNRQHODG\FDOOHG0XEDUDNQRWPH
   4'R\RXNQRZH[DFWO\ZKDWGD\WKHVKHULII


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 203 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    DFNQRZOHGJHGWKHGHHGLQ\RXUQDPH"
    $<HDK,WKLQN1RYHPEHU
    41RYHPEHURI"
    $, PQRWVXUHH[DFWO\ZKDWGDWHEXW,
    FDQFKHFNWKHGHHG
    4<RXNQRZLWZDVLQWKRXJKULJKW"
    $,WVKRXOGEH\HDK
    4'R\RXNQRZZKHQWKHVKHULIIUHFRUGHG
    WKHGHHGLQ\RXUQDPH"
   06+$53(52EMHFWLRQWRIRUP
   %<05),/,329,&
   4'LGWKHVKHULIIHYHUUHFRUGDGHHGLQ
   \RXUQDPH"
   $<HDK
   4'R\RXNQRZZKHQ"
   $, PQRWVXUHRIWKHGDWH
   4'R\RXNQRZVLUWKHSHRSOHWKDWZHUH
   DWWKHKRXVHRQO\LI\RXNQRZGR\RXNQRZLIWKH\
   KDYHDQ\ULJKWVWRWKHKRXVHDIWHUDVDOHOLNHWKDW
   ZKHUH\RXZHQWDQGELGRQWKHSURSHUW\"
   'R\RXNQRZLIWKH\KDYHDQ\ULJKWV"
   $1R
   4<RXGRQ WNQRZ"
   $,GRQ WNQRZDQ\WKLQJ
   4'LG\RXFRQVXOWZLWKDQ\ERG\LQWKLV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 204 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    WLPHSHULRGDERXWZKDWWKHODZPD\EHLQWKLVDUHD"
    $1R
    47KHSHRSOHLQWKLVKRXVHWKDW\RX
    WKRXJKWPD\KDYHEHHQOLYLQJWKHUHGLGDQ\ERG\HYHU
    WHOO\RXDQ\WKLQJGLUHFWO\"
    $<HV
    4:KRWROG\RXZKDWGLUHFWO\"
    $:KHQZHZHQWWRJLYHWKHPWKLVSDSHUZH
    JDYHWKHPWKHSDSHUWKHJX\WROGPHKHZDVJRLQJWR
   PRYHE\0DUFK
   7KHJX\ZLWKORQJKDLUFDPHRXWDQGKH
   PHWPHDQGKHVDLGKHZDVPRYLQJE\0DUFK
    LQGLFDWLQJ 
   41RZZKHQZDVWKDWFRQYHUVDWLRQ"
   $,WKLQNWKDWZDVLQ-DQXDU\
   4-DQXDU\"
   $<HDK
   46R-DQXDU\RI\RXNQRZVRPHERG\
   LVOLYLQJWKHUHULJKW"
   $<HDK
   /LNH,WROG\RXWKHJX\
   46RVRPHERG\GLGFRPHRXWILQDOO\DQG
   \RXUWHVWLPRQ\LVKHWROG\RXVRPHWKLQJ"
   $<HDK
   4'LG\RXDVNKLPKLVQDPH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 205 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $1R
    ,PD\KDYHDVNHGKLPEXW,IRUJHW
    ,W VEHHQWZR\HDUV,GRQ WUHPHPEHU
    LI,DVNHGKLP
    4/HW VJREDFNWR([KLELW)
    /HW VJREDFNWRWKHSKRQHQXPEHUV
    <RXVDLGWKHQXPEHUZDV\RXUV"
    $<HV
    4$QG\RXDOVRVDLGWKHQXPEHULV
   \RXUV"
   $<HV
   46RLVLWIDLUWRVD\WKDW\RXKDGERWK
   RIWKHVHQXPEHUVLQDQG"
   $1RWEXW
   ,Q,KDGWKHQXPEHU
   47KHHQWLUH\HDU"
   $:KDWGRHVWKDWPHDQ"
   4)RUWKHHQWLUH\HDU\RXKDGWKDW
   QXPEHU"
   $<HV
   4,VLWVWLOO\RXUQXPEHU"
   $,WLVVWLOOP\QXPEHU
   4:KRLVWKHQXPEHUSURYLGHGE\"
   :KLFKFRPSDQ\"
   $70RELOH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 206 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    470RELOH"
    $<HV
    4$QGZKDWKDSSHQHGWRWKDWQXPEHU"
    $:KHQP\ZLIHFDPHIURPEDFNKRPH,JDYH
    LWWRKHU
    46RLW VVWLOORQ\RXUIDPLO\SODQ"
    $<HVP\ZLIHKDVLW
    4$QG\RXOLYHZLWK\RXUZLIH"
    $<HV
   4$QG\RXOLYHGZLWKKHULQDVZHOO"
   $<HV
   052))(1+HDQVZHUHGZKHQKLVZLIH
   FDPHIURPEDFNKRPH
   7+(:,71(666KHZDVEDFNKRPHVR
   ZKHQVKHFDPH,JDYHKHUWKDWQXPEHUDQG,PDGH
   DQRWKHUQXPEHU
   %<05),/,329,&
   4,Q\RXKDGWKHQXPEHUDOUHDG\"
   $"
   4<HV
   $\HV
   46R\RXMXVWNHSWWKHDQG\RX
   UHOHJDWHGWKHWR\RXUZLIH"
   $<HV
   4%XW\RXGLGQ WWHOO70RELOHQRWWRELOO


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 207 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    \RXLWZDVVWLOOSDUWRI\RXUIDPLO\SODQ"
    $<HV
    4$QGLWDSSHDUVRQ\RXUELOOWRJHWKHU
    ZLWKWKHRWKHUQXPEHU"
    DQGVWLOODSSHDURQWKHVDPH
    ELOOFRUUHFW"
    $7KHUHLVQRELOO
    4,W VRQWKHVDPHSODQ"
    $<HDK
   4$QG\RXDQG\RXUZLIHXVHWKHVHWZR
   QXPEHUVVWLOO"
   $<HV
   4/HW VJRWR([KLELW*
   7KDWKDVEHHQVKDUHGLQFRXUWDQGDPRQJ
   FRXQVHORQDPRWLRQIRUDMXGJPHQWRQWKHSOHDGLQJV
   +DYH\RXVHHQWKDWEHIRUH"
   $<HV
   4'LG\RXILOOWKDWGRFXPHQWRXW"
   $<HV
   4,VDOOWKHLQIRUPDWLRQRQWKDWGRFXPHQW
   FRUUHFW"
   $<HV
   05),/,329,&:H OOSXWWKDWLQWKH
   UHFRUGDV([KLELW*
    ([KLELW*5HWXUQRI6HUYLFH$IILGDYLW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 208 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    ZLWK$WWDFKPHQWVLVPDUNHGIRULGHQWLILFDWLRQ
    052))(1<RXDVNHGKLPLIKHILOOHG
    LWRXW\RXGLGQ WDVNKLPLIKHVLJQHGWKHGRFXPHQW
    05),/,329,&,DPDZDUHRIWKDW
    6LUGLG\RXVLJQWKHGRFXPHQW"
    7+(:,71(661R
    %<05),/,329,&
    4:KRVLJQHGLWIRU\RX"
    $:KLFKRQHDUH\RXWDONLQJDERXW"
   4,VWKHUHDVLJQDWXUHRQWKDWGRFXPHQW"
   $:KLFKRQH"
   4:KRLV$KPHG1DILH"
   $7KDWLVWKHSHUVRQZKRKDQGHGWKHSDSHU
   4%XW\RXVDLG\RXILOOHGLWRXW"
   $,VDLG,VDZLW
   ,GLGQ WVD\,ILOOHGLWRXW
   05),/,329,&2IIWKHUHFRUG
    2))7+(5(&25'',6&866,21
   7+(:,71(66,GLGQ WILOOLWRXW
   052))(1&DQZHJRRIIWKHUHFRUG"
    2))7+(5(&25'',6&866,21
   %<05),/,329,&
   46LUGLG\RXKDYHDQLQWHUSUHWHUDWWKH
   VKHULII VRIILFHDWDQ\SRLQW"
   $6D\WKDWDJDLQ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 209 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4'LG\RXKDYHDQLQWHUSUHWHUZLWK\RXDW
    WKHVKHULII VVDOHZKHQ\RXERXJKWWKHKRXVH"
    $,WLVDVLPSOHWKLQJ
    4'LG\RXKDYHDQLQWHUSUHWHUDWWKH
    VKHULII VVDOH"
    $1R
    4:KHQ\RXZHQWWRWKHVKHULII VRIILFH
    DOOWKHWLPHV\RXZHQWWKHUHGLG\RXKDYHDQ
    LQWHUSUHWHU"
   05+$53(52EMHFWLRQWRIRUP
   %<05),/,329,&
   4'LG\RXHYHUEULQJDQLQWHUSUHWHUZLWK
   \RXWRWKHVKHULII VRIILFH"
   $6RPHWLPHV,GR
   46RPHWLPHV\RXGR"
   $<HDK
   ,IWKH\QHHGDORWRISDSHUZRUN,
   EULQJVRPHERG\ZLWKPHWRKHOSPHZLWKLW
   4'LG\RXEULQJVRPHERG\RQDQ\RIWKHVH
   RFFDVLRQVLQ2FWREHURU1RYHPEHURI"
   $<HV
   4<HV\RXGLG"
   $:KDWLV\RXUTXHVWLRQ"
   4'LG\RXEULQJVRPHERG\ZLWK\RX"
   $:KHUH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 210 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    47RWKHVKHULII VRIILFH
    $:KHQ,JRWKHUH"
    4<HV
    $<HV
    4:KRZDVLW"
    $0XEDUDN
    40XEDUDN$KPHG"
    $<HV
    4+LV(QJOLVKLVJRRG"
   $<HV
   05),/,329,&:LWKDUHTXHVWIRUDQ
   LQWHUSUHWHU,GRQ WWKLQNZHFDQFRQWLQXH
   052))(17KLVLVVRPHWKLQJ,NQHZ
   DERXWDW
   05),/,329,&:HKDYHDUHTXHVWIRU
   DQLQWHUSUHWHUDWWKLVMXQFWXUHLQWKHOLWLJDWLRQ
   DIWHUDOOGLVFRYHU\KDVEHHQGRQHDQGKDOIWKH
   GHSRVLWLRQKDVJRQHE\VRZHFDQ WFRQWLQXH
   :H UHJRLQJWRKDYHWRGRZKDWZHKDYH
   WRGRZKLFKPD\LQFOXGHILOLQJIRUH[WHQVLRQV
   05+$53(57KHFLW\ZRXOGQRWRSSRVH
   VWLSXODWLQJWRDQH[WHQVLRQDVQHFHVVDU\
   052))(1:KDWHYHUH[WHQVLRQVDUH
   QHHGHGWKHUHLVQRLVVXH
   ,GLGQ WNQRZDERXWWKLVXQWLOODVW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 211 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    QLJKW
    05),/,329,&$FWXDOO\, PJRLQJWR
    WDNHWKHSRVLWLRQDWWKLVWLPHWKDWZHDUHJRLQJWR
    FRQWLQXH
    <RXFDQPRYHWRVWULNHZKDWHYHU\RX
    IHHOLVQHFHVVDU\
    7KDW VJRLQJWREHRXUSRVLWLRQJRLQJ
    IRUZDUG
    :H UHJRLQJWRFRQWLQXHWDONLQJDQG
   \RXUODZ\HUFDQLQWHUYHQHLIKHIHHOVWKDWLV
   DSSURSULDWH
   1RZZHKDYH
   7+(:,71(66([FXVHPHWKDW,GLGQ W
   XQGHUVWDQG
   ,VHHLWEXW,GLGQ WILOOLWRXW
    LQGLFDWLQJ 
   05),/,329,&7KHUHFRUGFDQUHIOHFW
   WKDW\RXDUHFKDQJLQJ\RXUWHVWLPRQ\WKDW\RXVDZ
   WKLVGRFXPHQWEXW\RXGLGQ WILOOLWRXW
   ,W VILOOHGRXWE\$KPHG1DILH
   0U+DVVDQDUH\RXDQ$PHULFDQ
   FLWL]HQ"
   7+(:,71(66<HV
   %<05),/,329,&
   4<RXSDVVHGWKH(QJOLVKSURILFLHQF\H[DP


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 212 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    DVSDUWRIEHFRPLQJDQ$PHULFDQFLWL]HQ"
    $<HDK
    7KH\JDYHPHWKHWUDQVODWLRQ
    47UDQVODWLRQ"
    $<HDK
    6RPHRQHJDYHLWWRPHWKHWHVW,UHDG
    LWDQGDIWHUWKDW,SDVVHGLW
    4:KDW\HDUZDVWKDW"
    $,GRQ WUHPHPEHU
   
   4\HDUVDJR"
   $0D\EHPRUH
   \HDUVDJR
   4\HDUVDJR\RXSDVVHGLWDQG\RX YH
   OLYHGLQ$PHULFDVLQFHWKDWWLPH"
   $<HV
   05),/,329,&([KLELW-
    ([KLELW-3UDHFLSHIRU:ULWRI
   3RVVHVVLRQLVPDUNHGIRULGHQWLILFDWLRQ
   %<05),/,329,&
   4:H OOEHKDQGLQJ\RXWKLVWKLVLV
   ([KLELW-
   $7KLV
   4, PMXVWDVNLQJ\RXWRWDNHDORRNDW
   LW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 213 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    7KHUHLVQRSHQGLQJTXHVWLRQ
    6LUKDYH\RXVHHQWKDWGRFXPHQW
    EHIRUH"
    $<HV
    4'LG\RXILOHWKDWGRFXPHQW"
    $<HV
    4,VWKDW\RXUKDQGZULWLQJRQWKDW
    GRFXPHQW"
    $<HV
   4,VHYHU\WKLQJ\RXZURWHRQWKHUHWUXH
   DQGFRUUHFW"
   $:KDWLVLW"
   47UXHDQGFRUUHFWHYHU\WKLQJ\RXZURWH
   RQWKDWGRFXPHQWLVLWWUXHDQGFRUUHFW"
   $<HV
   4/HWWKHUHFRUGUHIOHFWFRXOG\RX
   SOHDVHFRXQWWKHSDJHVRIWKDWGRFXPHQW"
   $<HV
   43OHDVHFRXQWDOOWKHSDJHVWKDW\RXKDYH
   LQ\RXUKDQG
   $)RXU
   4)RXUSDJHVWKDQN\RX
   /HWWKHUHFRUGUHIOHFWLVHYHU\WKLQJ
   WUXHDQGFRUUHFWRQDOOIRXURIWKHSDJHVVLUWKDW
   \RXZURWH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 214 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $,W VFRUUHFW
    052))(1<RX UHDVNLQJKLPLIWKH
    RUGHULVFRUUHFWWKDWZDVZULWWHQ"
    7KHUHLVDQRUGHULQWKHUHWKDWLVQRW
    VLJQHGE\KLP
    %<05),/,329,&
    46R\RXGLGQRWDFWXDOO\ILOORXWWKH
    GRFXPHQWVDOO\RXUVHOI"
    2WKHUWKDQWKHRUGHU
   $7KLVRQH\RXPHDQ"
   ,ILOOHGWKLVRXW LQGLFDWLQJ 
   4&DQ\RXUHDGWKHEROGOHWWHUVWKHUH"
   $:KLFKRQH"
   47KLVRQHULJKWKHUH
   3UDHFLSHIRU:ULWRI3RVVHVVLRQLV
   WKDWZKDWLWUHDGVWKHUH"
   $<HV
   $IWHU,JRWWKLVSDSHU,ZHQWWRWKH
   KRXVH LQGLFDWLQJ 
   4%XW\RXWHVWLILHG\RXDOVRZHQWWRWKH
   KRXVHDVHDUO\DV2FWREHU
   $,ZRXOGEHOHJDOWRJRWKHUHDIWHU,JRW
   WKLVSDSHUULJKW"
   4'RQ WDVNPHTXHVWLRQV
   , PJRLQJWRWHOO\RXRQHPRUHWLPH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 215 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    7KHQH[WH[KLELWZLOOEH([KLELW.
     ([KLELW.&RQWDFW'HWDLOVLVPDUNHGIRU
    LGHQWLILFDWLRQ
    %<05),/,329,&
    46LU, YHKDQGHG\RXDGRFXPHQWWKDWKDV
    EHHQSURYLGHGLQSULRUILOLQJVWR\RXUDWWRUQH\
    7HOOPHLI\RXNQRZILUVWRIDOOLV
    WKDW\RXUQDPHDQGDGGUHVVWKDW\RXVHHRQWKDW
    GRFXPHQW"
   $<HV
   4,V\RXUFRQWDFWLQIRUPDWLRQWKHUH
   FRUUHFW"
   $8KKXK
   4,VWKDW\HV"
   $<HV
   05),/,329,&&DQZHWDNHD
   ILYHPLQXWHEUHDN"
    %5,()5(&(66
   %<05),/,329,&
   40U+DVVDQLQ0D\RIGLG\RX
   UHFHLYHDOHWWHUIURPWKHRIILFHVRI$WWRUQH\'XQQH"
   $$ERXWZKDW"
   4$Q\WKLQJ
   ,Q0D\RIGR\RXUHFDOODOHWWHU
   IURPWKHRIILFHVRI$WWRUQH\'XQQH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 216 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $2QO\RQHOHWWHU,UHFHLYHGEXW,GRQ W
    NQRZWKHGDWH
    7KHUHZDVRQO\RQHOHWWHU
    46RLVWKDWD\HVWRP\TXHVWLRQWKHQ"
    052))(1+HVDLG
    05),/,329,&&RXQVHO,GRQ WQHHG
    \RXWRWHVWLI\
    <RX UHQRWXQGHURDWK
    052))(1+HVDLGKHGRHVQ WNQRZWKH
   GDWH
   +HDOUHDG\DQVZHUHG,GRQ WNQRZWKH
   GDWH
   05),/,329,&0D\EHKHUHPHPEHUHGWKH
   GDWH
   ,I\RXGRQ WNQRZWKHGDWHFRXOGLW
   KDYHEHHQ0D\RI"
   7+(:,71(662QHPRUHWLPH"
   05),/,329,&,I\RXGRQ WNQRZZKHQ
   \RXUHFHLYHGLWFRXOGLWEHWKDW\RXGLGLQIDFW
   UHFHLYHLWLQ0D\RI"
   052))(1+HDOUHDG\DQVZHUHGWKH
   TXHVWLRQ
   +HGRHVQ WNQRZWKHGDWH
   7+(:,71(66,GRQ WNQRZWKHGDWH
   05),/,329,&7KDWLVQRWWKHVDPH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 217 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    TXHVWLRQ
    ,ZDQWKLPWRWHOOPHFDQ\RXUXOH
    RXWVLUWKDW\RXGLGQ WUHFHLYHDOHWWHULQ0D\RI
    "
    7+(:,71(66:KDWGR\RXPHDQ"
    05),/,329,&7KDWPHDQV\RXFDQWHOO
    PHZLWKSHUFHQWVXUHW\\RXGLGQ WJHWLWLQ0D\
    7+(:,71(66,WROG\RX,UHFHLYHG
    RQO\RQHOHWWHUIRUWKLVKRXVH
   05),/,329,&7KDQN\RX
   6WULNHWKDWDVXQUHVSRQVLYH
   7KDWLVQRWZKDW, PDVNLQJ
   052))(1+H VDQVZHUHGWKHTXHVWLRQ
   ,REMHFW
   +HDQVZHUHGLWVHYHUDOWLPHV
   +HVDLGKHGRHVQ WNQRZWKHGDWHKH
   GRHVQ WNQRZWKHGDWH
   05),/,329,&)DLUHQRXJK
   <RXGRQ WNQRZWKHGDWH
   'R\RXNQRZZKDWWKHOHWWHUVDLG"
   'LG\RXRSHQWKHOHWWHU"
   7+(:,71(66$FWXDOO\,GLGQ W
   XQGHUVWDQG
   ,RSHQHGWKHOHWWHUEXW,GLGQ W
   XQGHUVWDQG


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 218 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    %<05),/,329,&
    4<RXGLGQ WXQGHUVWDQG"
    $1RDQG,WRRNLWWRWKHVKHULII V
    RIILFHULJKWDZD\
    4$QG\RXVWLOOGRQ WUHPHPEHUZKHQ"
    $1R
    4'LG\RXKDYHDQDWWRUQH\DWWKLVWLPH"
    $1R
    47HOOPHZKDW\RXGLGZLWKWKHOHWWHUDW
   WKHVKHULII VRIILFH
   $,ZHQWWRWKHVKHULII VRIILFH,WKLQN
   ,ZHQWWRWKHWKLUGIORRU,ZHQWWKHUHDQGWKH\
   VDLGWKH\VDZWKHOHWWHUDQGWKH\WROGPH,KDGWR
   JRWRDQRWKHUOHYHO,GRQ WNQRZPD\EHWKHILIWK
   IORRU7KH\FDOOHGVRPHRQH7KH\WROGPH\RX UH
   QRWDOORZHGWRJRWKHUHE\\RXUVHOI7KH\FDOOHG
   VRPHRQHDQGWKHODG\FDPHRXWDQGPHWPHDWWKHILIWK
   IORRUVWHSVDWWKHHOHYDWRUDQGVKHWRRNWKHOHWWHU
   IURPPHDQGVKHUHDGLWDQGVKHVDLGRND\ZHKDYH
   WRVWRSZKDWZHDUHGRLQJDQGVKHNHSWWKHOHWWHU
   ,ZLVK,FRXOGJLYH\RXDGDWH
   46KHWROG\RXZHKDYHWRVWRSZKDWZH
   DUHGRLQJ"
   $<HV
   ,DOUHDG\SDLGWKHPGROODUVWR


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 219 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    FRPH
    $OOWKHVHSDSHUVZHUHILOHG
    7KH\ZHUHVXSSRVHGWRFRPHWKHSROLFH
    RUZKDWHYHU
    7KH\WROGPH,KDGWREULQJDWRZWUXFN
    RUVWRUDJHDQGHYHU\WKLQJ
    46RQRZZHNQRZWKHOHWWHUZDVDWOHDVW
    DIWHU\RXDOUHDG\ILOHGDOOWKHVHSDSHUV"
    $<HV
   4%HFDXVH\RXVDLGDOOWKHVHSDSHUVZHUH
   ILOHG"
   $<HV
   4$QG\RXZHUHDOUHDG\WU\LQJWRHYLFWWKH
   RFFXSDQWV"
   $<HV
   ,ZHQWZLWKWKHOHWWHU,GLGQ WJRE\
   P\VHOI
   4,XQGHUVWDQG
   3OHDVHDQVZHUP\TXHVWLRQ
   <RXZHQWZLWKWKHOHWWHUDIWHU\RX
   ILQLVKHGDOOWKLVSDSHUZRUN"
   $7KHOHWWHUFDPHWRPHDIWHU,GLGDOO
   WKLV LQGLFDWLQJ 
   46RQRZZH UHJHWWLQJWKHWLPHDOLWWOH
   EHWWHU


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 220 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    ,WZDVDIWHU-DQXDU\QG
    REYLRXVO\ZKLFKLVZKHQ\RXILOHGWKLVULJKW"
    $,GRQ WNQRZ
    <RXFDQFDOFXODWHWKHGDWH
    4<RX UHWHOOLQJPH\RXJRWWKHOHWWHU
    DIWHU\RXILOHGDOOWKHSDSHUZRUNWKDWZHMXVWZHQW
    WKURXJK"
    $<HV
    47KHODG\VDLGWR\RXZHKDYHWRGR
   ZKDW"
   $:H UHVXSSRVHGWRFRPHWDNHWKHPRXWE\
   SROLFHULJKW"
   4'RQ WDVNPHTXHVWLRQV
   052))(1$QVZHUZKDWKDSSHQHG
   %<05),/,329,&
   46KHWROG\RXZHKDYHWRVWRSZKDWZH UH
   GRLQJ"
   $<HV
   6KHWRRNWKHOHWWHUDQGVKHVDLGRND\
   LQWKDWFDVHZH UHJRLQJWRVWRS
   4'LG\RXVLJQLQRQDQ\VKHHWZKHQ\RX
   JRWWRWKHVKHULII VRIILFHWKDWGD\"
   $1R
   4<RXMXVWZDONHGLQ\RXGLGQ WVLJQ
   DQ\WKLQJ"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 221 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $1RWKLQJ
    4'LGWKH\DVN\RXIRU,'"
    $1R
    $WWKHIURQWGHVN\HDKZKHQ,
    HQWHUHG"
    4<HV
    7KDWLVZKDW, PDVNLQJ
    $7KH\DVNHGIRU,'
    47KH\GLG"
   $<HV
   4'LG\RXVHHWKHPZULWH\RXUQDPHGRZQ
   IURPWKDW,'"
   $7KH\ORRNHGDWWKH,'DQGJDYHLWWRPH
   EDFN
   41RZGLG\RXXQGHUVWDQGDQ\WKLQJLQWKDW
   OHWWHUZKHQ\RXUHDGLW"
   $1R,GLGQ WXQGHUVWDQGDQ\WKLQJVR
   WKDW VZK\,WRRNLWWRWKHP
   4:K\ZRXOG\RXWDNHLWWRWKHVKHULIILI
   \RXGLGQ WXQGHUVWDQGDQ\WKLQJ"
   $UHWKH\WKHWUDQVODWRU"
   $%HFDXVH,DOUHDG\WDONHGWRWKHPDQG
   WKH\ZHUHIROORZLQJXSRQZK\,JRWWKHOHWWHU
   4:HOOGLG\RXVHHWKHSURSHUW\DGGUHVV
   RQWKHOHWWHU"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 222 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $<HV
    46RWKLVSURSHUW\DGGUHVVZDVRQWKH
    OHWWHU"
    $<HV
    4<RXXQGHUVWRRGWKDWSDUW"
    $<HV
    ,WZDVDERXWWKHKRXVH
    46R\RXNQHZLWZDVDERXWWKHKRXVH"
    $<HV
   46R\RXGLGXQGHUVWDQGVRPHWKLQJ"
   $,XQGHUVWRRGLWEHORQJHGWRWKHKRXVH
   EXW,GLGQ WNQRZZKDWWKH\PHDQW
   4'LG\RXVHH\RXUQDPHRQWKHOHWWHU"
   1RWRQWKHHQYHORSHEXWRQWKHDFWXDO
   OHWWHU
   $<HV
   4'LG\RXJHWDQ\SKRQHFDOOVDWWKH
   QXPEHUIURPWKHRIILFHRI$WWRUQH\'XQQH"
   $1R
   4'LG\RXHYHUJHWDQ\SKRQHFDOOVDWWKH
   QXPEHUIURP0U'XQQH"
   $1R
   46LU\RXVDLGWKDW\RXDUHZLWK
   70RELOHFRUUHFW"
   $<HV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 223 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4:KDWNLQGRILVWKLVDIDPLO\SODQ
    WKDW\RXDQG\RXUZLIHDUHRQWKHDQGWKH
    QXPEHUV"
    $<HV
    46LULQFRQQHFWLRQZLWKWKLVFDVHWKDW
    ZH UHKHUHIRUWRGD\GLG\RXUHTXHVW\RXUFDOO
    KLVWRU\IRUWKLVSDUWLFXODUWLPHSHULRG"
    $2QHPRUHWLPH"
    4'LG\RXDVN70RELOHWRSURYLGH\RXZLWK
   DKLVWRU\RIFDOOVRQWKHVHWZROLQHVIURP0D\
   WKURXJK-XO\RI"
   'LG\RXGRWKDW"
   $<RXZDQWPHWR
   41R
   , PDVNLQJ\RXGLG\RXGRLW
   $1R,QHYHUGLGLW
   4'R\RXNQRZLI70RELOHLVDEOHWR
   SURYLGHWKRVHUHFRUGVRIDFWLYLW\WR\RX"
   $,GRQ WNQRZ
   4:RXOG\RXKDYHDQ\REMHFWLRQLIZHDVNHG
   \RXWRDVN70RELOHWRSURYLGHWKHSKRQHKLVWRU\
   FDOOVLQDQGRXWWH[WPHVVDJHVIURP0D\XQWLO-XO\
   RI"
   'R\RXKDYHDQ\REMHFWLRQWRWKDW"
   $:KDWGR\RXPHDQ"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 224 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    ,GRQ WXQGHUVWDQGWKDW
    47KDWPHDQVLIZHDVN\RXUDWWRUQH\WR
    DVN\RXWRDVN70RELOHWRJLYHXVWKHFDOOVDOOWKH
    FDOOVRQWKRVHWZROLQHVZKHQZKDWWLPHZKDWGDWH
    IURP0D\XQWLO-XO\RIZLOOWKDWEHRND\ZLWK
    \RX"
    $,VLWJRLQJWRFRVWPHPRQH\WRGRWKDW"
    4,GRQ WNQRZ
    7KDWLVEHWZHHQ\RXDQG\RXUDWWRUQH\
   1RWZLWKUHVSHFWWRWKHPRQH\LIWKRVH
   UHFRUGVH[LVWZRXOG\RXEHVRNLQGDVWRSURYLGHLW
   WRXV"
   %HFDXVHZHGLGDVNIRUWKHP
   $,ZLOOWU\
   4<RXZLOOWU\"
   $<HV
   42ND\
   , PDOVRZLWK70RELOHDQG,NQRZWKH\
   FDQSURYLGH\HDUVEDFN
   $,QHYHUGLGLWEHIRUH
   ,QHYHUDVNHGWKHP
    5(48(67 05),/,329,&, PJRLQJWRPDNHD
   UHTXHVWRQWKHUHFRUGIRUWKHFDOOKLVWRU\DQGWKH
   WH[WPHVVDJHKLVWRU\IRUQXPEHUV
   EHORQJLQJWR0U+DVVDQDVZHOODV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 225 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    ZKLFKPD\EHXVHGE\KLVZLIHQRZFRXQVHO
    7+(:,71(662QHPRUHWKLQJVRUU\
    ,KDYHWRDVNP\ZLIHLIVKHDJUHHV
    WRREHFDXVHWKDWLVKHUSKRQH
    %<06),/,329,&
    4<RXGRZKDWHYHU\RXQHHGWRGREXW, P
    JRLQJWRPDNHWKDWUHTXHVWRQWKHUHFRUG
    6RQRZDVZHVLWKHUHWRGD\
    0U+DVVDQKRZPDQ\WLPHVWRWDOGLG\RXJRWR
   6RXWKQG6WUHHW"
   $,FDQVD\WKUHHWLPHV
   4$QGKRZPDQ\WLPHVWKDW VWKDW\RX
   SHUVRQDOO\ZHQWWKHUHFRUUHFW"
   <RXZHQWWKHUHWKUHHWLPHVRQ\RXURZQ
   RUE\\RXUVHOIGLUHFWO\SHUVRQDOO\"
   $5LJKW
   4,VWKDWD\HV"
   $<HV
   4:KDWDERXWZDVWKHUHDQ\RWKHUWLPH
   ZKHQ\RXVHQWVRPHERG\HOVHWKHUH"
   052))(17KHYLRODWLRQODZVXLW
   DJDLQVWKLPE\WKHFLW\
   05),/,329,&, PVRUU\"
   052))(17KHFLW\ VODZVXLWDJDLQVW
   KLPWKHYLRODWLRQDWWKHSURSHUW\


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 226 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    7+(:,71(66,JRWDYLRODWLRQIURP
    WKHFLW\RI3KLODGHOSKLDEHFDXVHVRPHWUDVKZDVLQ
    IURQWRIWKHVLGHZDONDQG,JRWDWLFNHWIRUWKDW
    %<05),/,329,&
    4'R\RXNQRZZKHQ\RXJRWWKDWOHWWHU"
    $1RWH[DFWO\
    4, PDVNLQJ\RXVRIDUZH YH
    HVWDEOLVKHGWKDW\RXZHQWWKHUHLQ2FWREHUULJKW
    2FWREHUWK"
   7KDWZDV\RXUWHVWLPRQ\LVWKDWULJKW"
   $<HV
   4$QGWKDWZDVQ WDERXWWKHWLFNHWDQGWKH
   WUDVKULJKW"
   $,ZHQWZLWKWKHSDSHU
   47RHYLFWZKRHYHUZDVOLYLQJWKHUH"
   $<HV
   4<RXZHQWWKHUHZKHQ\RXJRWWKHGHHG
   DIWHU\RXJRWWKHGHHG
   7KDWZDV\RXUWHVWLPRQ\FRUUHFW"
   $<HV
   4$QGWKDWZDVDOVRWRHYLFWSHRSOH
   ULJKW"
   052))(1<RXVDLGKHZHQWWKHUHRQ
   2FWREHUWKWRHYLFWWKHSHRSOHKHZHQWWKHUHWR
   ORRNDWWKHSURSHUW\


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 227 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    05),/,329,&&RXQVHO, PDVNLQJKLP
    DQGKH VDQVZHULQJTXHVWLRQV
    7KHUHFRUGZLOOVD\ZKDWKHVDLG
    $JDLQ,GRQ WQHHG\RXWRSDUDSKUDVH
    ,QIDFWLW VLQDSSURSULDWHHVSHFLDOO\
    LQOLJKWRIWKHQRWH
    <RXZHQWWKHUHLQ1RYHPEHURI"
    7+(:,71(66<HV
    %<05),/,329,&
   47KDWZDVQRWDERXWWKHWLFNHWWKHFLW\
   RI3KLODGHOSKLDOHIWIRU\RX"
   $1RWKHILUVWWLPH
   4:KDWGR\RXPHDQE\WKHILUVWWLPH"
   $7RVHHWKHKRXVHZKHQ,JRWWKHGHHG
   42FWREHUZDVWKHILUVWWLPHDQGWKHQ\RX
   ZHQWDJDLQDIWHU\RXJRWWKHVKHULII VGHHGFRUUHFW"
   $<HV
   46RWKDWLVWZLFH"
   $<HV
   4$QGWKHQ\RXZHQWWKHUHLQ0D\FRUUHFW"
   $<HV
   ,Q0D\"
   4<HVRI
   $1RQRWPHWKHJX\ZKRKDQGOHGWKH
   SDSHUZHQWWKHUH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 228 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4+HZHQWWRGHOLYHU\RXUSDSHUV"
    $<HV
    4,Q0D\"
    $<HV
    4'LG\RXJRWKHUHLQ-XQH"
    $1R
    4:KHQGLG\RXWDONWRWKHSHUVRQZKRVDLG
    , OOEHRXW
    :KHQZDVWKDWFRQYHUVDWLRQ"
   $7KDWZDVLQ-DQXDU\
   46R\RXZHQWLQ-DQXDU\DVZHOO"
   $<HV
   4'LG\RXUHFHLYHDWH[WIURP
   RQ0D\WK"
   $1R
   46LUGR\RXKDYH\RXUSKRQHZLWK\RX
   QRZ"
   $<HV
   47KHSKRQH"
   $<HV
   4&RXOG\RXSOHDVHSXOOLWRXW"
   'R\RXKDYHDQ\WH[WVIURPWKHQXPEHU
   "
   $1R
   4,VWKDWWKHVDPHSKRQHGHYLFH, PQRW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 229 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    DVNLQJDERXWWKHQXPEHUEXWWKHGHYLFHWKDW\RXKDG
    LQ0D\RI"
    $<HV
    4'LG\RXGHOHWHDQ\PHVVDJHVVLU"
    $1R
    :KDWGR\RXPHDQ"
    4'LG\RXGHOHWHDQ\WKLQJIURPWKDWSKRQH
    VLQFH0D\RI"
    $6RPHWLPHV,GRGHOHWHPHVVDJHV\HV
   4&RXOGLWEHWKDW\RXUHFHLYHGWKH
   PHVVDJHVEXW\RXGHOHWHGWKHP"
   $1R,GLGQ WUHFHLYHLW
   ,PDNHVXUHZKDWHYHUPHVVDJHFRPHVXS
   ,UHFHLYHLW
   4'LG\RXFDXVHWKHVKHULIIWRVHUYHD
   QRWLFHWRYDFDWHWR/\QGHO7RSSLQDW6RXWKQG
   6WUHHWRQ0D\WK"
   052))(12EMHFWLRQ
   +HDOUHDG\DQVZHUHGWKHTXHVWLRQ
   +HGLGWKHOHJDOSURFHVVKHIROORZHG
   WKURXJK
   +HVDLGKHILOHGWKHSDSHUZRUNDOUHDG\
   05),/,329,&,VWKDWDQREMHFWLRQ
   DVNHGDQGDQVZHUHG"
   052))(1<HV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 230 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    05),/,329,&$UH\RXJRLQJWROHW
    KLPDQVZHUWKHTXHVWLRQ"
    052))(11R
    05),/,329,&$UH\RXJRLQJWRDGYLVH
    KLPQRWWRDQVZHU"
    052))(1+H VDOUHDG\DQVZHUHGWKH
    TXHVWLRQWKDWKHGLGWKHOHJDOSURFHVVDQGKHILOHG
    WKHSDSHUZRUNZLWKWKHVKHULII
    +HVDLGKHILOHGWKHSDSHUZRUNZLWKWKH
   VKHULII
   7KDW VZKDWKHVDLG
   %<05),/,329,&
   4,VWKDWD\HV"
   $2QHPRUHWLPH"
   ,GRQ WXQGHUVWDQG
   4'LG\RXFDXVHWKHVKHULIIWRVHUYHWKH
   SDSHUVDWWKHSURSHUW\"
   05+$53(52EMHFWLRQWRIRUP
   052))(12EMHFWLRQ
   +H VDQVZHUHGWKHTXHVWLRQ
   +HZHQWWKURXJKWKHGRFXPHQWV
   7+(:,71(66,DOUHDG\GLGWKH
   SDSHUZRUN
   :KDWHYHUWKH\DVNHGRIPH,GLGLW
   7KDWLVDOO,GLG


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 231 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    052))(1:H UHQRWGLVSXWLQJWKDWKH
    GLGWKHSDSHUZRUN
    7+(:,71(66,GLGLWRQP\RZQ
    %<05),/,329,&
    4'R\RXNQRZZKDWEDQNUXSWF\LV"
    $1R
    4'LG\RXHYHUILOHEDQNUXSWF\"
    $,GRQ WNQRZZKDWEDQNUXSWF\LV
    +RZZRXOG,ILOHEDQNUXSWF\"
   4$VZHVLWKHUHWRGD\GR\RXNQRZZKDW
   EDQNUXSWF\LV"
   $1R
   4'R\RXNQRZZK\ZH UHKDYLQJWKLV
   GHSRVLWLRQDQGZK\0U7RSSLQLVSURFHHGLQJDJDLQVW
   \RX"
   $,JRWWKHKRXVHDQGWKH\WULHGWRJHWP\
   KRXVHEDFN
   7KDWLVZKDW, PWKLQNLQJ
   ,DOUHDG\SDLGWKHPRQH\
   ,ERXJKWWKHKRXVH,SDLGWKHP
   ZKDWHYHUWKH\DVNHGVRWKDWKRXVHLVPLQHRUP\
   PRQH\VKRXOGFRPHEDFNWRPH
   47KHEDQNUXSWF\GRHVQ WFRQFHUQ\RX\RX
   GRQ WNQRZQRWKLQJDERXWLW"
   $,GRQ WNQRZDQ\WKLQJDERXWEDQNUXSWF\


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 232 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    05),/,329,&7KLVZLOOEH([KLELW4
     ([KLELW4&HUWLILFDWHRI1RWLFHLV
    PDUNHGIRULGHQWLILFDWLRQ
    052))(17KDW VZKHQ\RXWRRNLWWR
    WKHVKHULII
    %<05),/,329,&
    47KHUHFRUGZLOOUHIOHFW, YHKDQGHG\RX
    DGRFXPHQWWKDWKDVEHHQSUHYLRXVO\LGHQWLILHGDV
    ([KLELW4KHQFHWKH4LQWKHXSSHUULJKWFRUQHU
   'R\RXVHHWKDWWKHUHLVDKLJKOLJKWHG
   SRUWLRQRIWKHGRFXPHQWVLU"
   $:KDWLVLW"
   4,W VKLJKOLJKWHGZLWKD\HOORZ
   KLJKOLJKWHU
   052))(12EMHFWLRQ
   +HDOUHDG\DFNQRZOHGJHGKHJRWDQRWLFH
   DERXWWKHEDQNUXSWF\
   05),/,329,&6LUWKLVLVD
   GLIIHUHQWGRFXPHQW
   ,DPDOORZHGWRDVNKLPTXHVWLRQVDQG
   \RXDUHQRWDOORZHGWRLQWHUUXSWPH
   7+(:,71(66,GRQ WNQRZZKDWWKLV
   LV
   %<05),/,329,&
   4'R\RXVHHZKHUHWKHUHLVD\HOORZ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 233 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    KLJKOLJKWHGSRUWLRQDWWKHWRS"
    $<HV
    4,VWKDW\RXUFRQWDFWLQIRUPDWLRQ"
    $<HV
    4,VLWFRUUHFW"
    $<HV
    &DQ,DVN\RXZKDWLWLV"
    4<RXFDQDVN\RXUDWWRUQH\ODWHU
    6LU,ZDQWWRDVN\RXWKLV
   +DVDQ\ERG\HYHUWULHGWRNLFN\RXRXW
   RI\RXUKRXVHDQ\ZKHUHKHUHRULQDQRWKHUFRXQWU\"
   $1R
   47KHGD\WKDW\RXWRRNWKHOHWWHUWRWKH
   VKHULII VRIILFHZH UHWU\LQJWRILJXUHRXWZKHQ
   LWZDVEHFDXVH\RX UHWHOOLQJXVWKDW\RXFDQ W
   UHPHPEHU
   :H YHHVWDEOLVKHGWKDWLWZDVDIWHU\RX
   ILOHGDOOWKHSDSHUZRUN
   6RWKHVKHULII VRIILFHZDVRSHQWKDW
   GD\VRLWZDVGXULQJWKHZHHN"
   $<HV
   4:DVLWPRUQLQJRUDIWHUQRRQ"
   $7KDW,ZHQWWKHUH"
   4<HV
   $,ZHQWWKHUHOLNHDIWHUQRRQOLNH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 234 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4%XWWKH\ZHUHVWLOORSHQ"
    $<HVWKH\ZHUHRSHQ
    46RLWZDVEHIRUH"
    $<HV
    4'LG\RXZRUNDW%RVWRQ0DUNHWWKDWGD\"
    $7KDWGD\ZDV)ULGD\,ZHQWWRSUD\HU
    VR,GLGQ WZRUNRQ)ULGD\
    46RLWZDVD)ULGD\"
    $<HV
   4,DSRORJL]H,GRQ WPHDQWRVRXQG
   LJQRUDQWEXWWKHSUD\HUJRHVRQHYHU\)ULGD\RUZDV
   LWLQUHODWLRQWRDQ\SDUWLFXODUKROLGD\"
   $(YHU\)ULGD\ZHJRWRPRVTXH
   <RX UHZHOFRPHHYHU\)ULGD\LI\RX
   ZDQW
   47KDQN\RX
   7KHUHLVRQHLQP\QHLJKERUKRRG
   1RZZKHQWKH\WROG\RXWKDWZHKDYHWR
   VWRSZKDWZH UHGRLQJDWWKHVKHULII VRIILFHGLG
   \RXZLWKGUDZDQ\GRFXPHQWVWKDW\RXKDGILOHG"
   'LG\RXJRWRFRXUWDIWHUWKDW"
   $:KDWFRXUW"
   4&RXUW
   $$IWHUWKDW,KLUHGP\ODZ\HU
   4)DLUHQRXJK


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 235 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $,GLGQ WHYHQJHWP\GROODUVIURP
    WKHP
    ,SDLGGROODUVWRJHWWKHSHRSOH
    RXWDQGWKH\GLGQ WFRPHDQGWKH\GLGQ WJLYHPHP\
    PRQH\
    05),/,329,&1RIXUWKHUTXHVWLRQV
    ,GRQ WNQRZLIFRXQVHOZDQWVWRDVN
    TXHVWLRQV
    , OOSDVVWKHWRUFKWR&RXQVHO+DUSHU
   IURPWKHFLW\RI3KLODGHOSKLD VVKHULII VRIILFH
    (;$0,1$7,212)05+$66$1%<06+$53(5
   4*RRGDIWHUQRRQ0U+DVVDQ
   0\QDPHLV0HJDQ+DUSHU,DP
   UHSUHVHQWLQJ-HZHOO:LOOLDPVRIWKHFLW\RI
   3KLODGHOSKLDLQWKLVPDWWHU
   ,KDYHDIHZIROORZXSTXHVWLRQVIRU
   \RX
   ,ZLOOWU\WRGRWKHPLQRUGHUEXWLI
   ,VNLSDURXQGSOHDVHOHWPHNQRZLI\RXJHWORVW
   /HWPHNQRZLI\RXGRQ WXQGHUVWDQGRQH
   RIP\TXHVWLRQVDQGSOHDVHDVNIRUFODULILFDWLRQ
   +RZPDQ\VKHULII VVDOHVKDG\RX
   DWWHQGHGSULRUWRWKHVKHULIIVDOHZKHQ\RXSXUFKDVHG
   WKHSURSHUW\WKDWLVDWLVVXHKHUHDW6RXWKQG
   6WUHHW"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 236 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    +RZPDQ\VKHULII VVDOHVKDG\RX
    DWWHQGHGSULRUWRWKHVDOHZKHUH\RXSXUFKDVHGWKH
    SURSHUW\WKDWLVDWLVVXHKHUH"
    $+RZPDQ\WLPHV,ZHQWWRVKHULII V
    VDOHV"
    4<HV
    $,ZHQWWKHUHEHIRUHWKDW,ZHQWOLNH
    PD\EHIRXUWLPHV
    42QDQ\RIWKRVHWLPHVZKHWKHULWEHWKH
   GD\WKDW\RXSXUFKDVHGWKHSURSHUW\DWLVVXHKHUHRU
   DQ\RIWKHWKUHHRUIRXUSULRUWLPHVZHUH\RXWKHUH
   IRUWKHYHU\EHJLQQLQJRIWKHVKHULII VVDOH"
   $$OZD\V,ZHQWGRZQWKHUHODWHDIWHU
   WKH\VWDUWHG
   4'R\RXUHFDOORQDQ\RIWKRVHRFFDVLRQV
   ZKHQ\RXZHQWWRDVKHULII VVDOHDQ\VRUWRI
   SUHOLPLQDU\VWDWHPHQWEHLQJPDGHE\DQ\
   UHSUHVHQWDWLYHRIWKHVKHULII VRIILFHRUWKHFLW\RI
   3KLODGHOSKLD"
   $6D\WKDWDJDLQSOHDVH
   4<RXPHQWLRQHGWRPHWKDW\RXJHQHUDOO\
   ZHQWODWHWRWKHVKHULII VVDOHVWKDW\RXDWWHQGHG
   , PDVNLQJLI\RXUHFDOORQDQ\RI
   WKRVHRFFDVLRQVDQ\RQHIURPHLWKHUWKHVKHULII V
   RIILFHRUWKHFLW\RI3KLODGHOSKLDWR\RXU


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 237 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    NQRZOHGJHPDNLQJDQ\VRUWRIVWDWHPHQWWRWKHIRONV
    LQWKHURRPEHIRUHWKHVKHULII VVDOHVWDUWHG
    $:KHQ,ZHQWWKHUHWKH\DOUHDG\VWDUWHG
    WKHVHOOLQJVWDUWHG
    4+RZGLG\RXOHDUQDERXWVKHULII VVDOHV
    EHIRUHDWWHQGLQJ"
    $,VHHSHRSOHEX\LQJIURPVKHULII VVDOH
    ,NQRZDORWRIP\IULHQGVWKDWEX\
    42QWKHRFFDVLRQVZKHQ\RXGLGDWWHQGWKH
   VKHULII VVDOHKRZGLG\RXOHDUQLWZDVFRPLQJXS"
   +RZGLG\RXNQRZZKHQDQGZKHUHWRJR
   WRDWWHQGWKHVKHULII VVDOH"
   $0\IULHQGWROGPHWKH\KDYHDKRXVHIRU
   VKHULII VVDOHDQGVWXIIOLNHWKDW
   4,VLWRQHIULHQGWKDWVRUWRIWHOOV
   \RXWKHVHWKLQJV"
   $<HV
   4:KRLVWKDW"
   $0XEDUDN
   4'LG0XEDUDNKHOSIXQGWKHSXUFKDVHRI
   6RXWKQG6WUHHW"
   $+HZDVQ WZLWKPHWKDWGD\
   40\TXHVWLRQLVGLGKHKHOSWRSD\WKH
   SXUFKDVHSULFHIRU6RXWKQG6WUHHW
   $:KDWLVWKDW"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 238 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4'LGKHKHOSWRSD\WKHSXUFKDVHSULFH"
    $<RXPHDQGLGKHJLYHPHPRQH\"
    4<HV
    $+HJDYHPHVRPHPRQH\
    4+DYH\RXHYHUORRNHGDWWKHVKHULII V
    ZHEVLWHRQWKHFRPSXWHU"
    $1R
    41RZ0U$KPHGHDFKWLPH\RXZHQWWR
    WKHVKHULII VVDOHZDVKHZLWK\RX"
   $7KDWGD\KHZDVQRWZLWKPH
   4+HZDVQRWZLWK\RXZKHQ\RXSXUFKDVHG
   6RXWKQG6WUHHW"
   $1R
   4%XWKHKDVEHHQZLWK\RXRQRWKHU
   RFFDVLRQV"
   $<HV
   4+RZGR\RXNQRZ0XEDUDN"
   $,NQRZKLPIURPEDFNKRPH
   +HLVP\IULHQG
   4:KHQ\RXSXUFKDVHG6RXWKQG
   6WUHHWGLG\RXSXWWKHXWLOLWLHVWRWKDWSURSHUW\
   LQWR\RXUQDPHDIWHUSXUFKDVLQJLW"
   $1R
   4<RXGLGQRWSXWWKHXWLOLWLHVLQWR\RXU
   QDPH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 239 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $1R
    46R\RXGLGQRW
    $:KHQ,JRWWKHELOOWKH\ZHUH
    DXWRPDWLFDOO\LQP\QDPHRQO\WKHZDWHUELOOV
    4:KHQGLG\RXVWDUWUHFHLYLQJELOOVIRU
    6RXWKQG6WUHHWDSSUR[LPDWHO\FDQ\RXUHFDOO"
    $,JRWWKHWD[HVIRUDQGHYHU\PRQWK
    ,JRWWKHZDWHUELOOV
    4+RZDERXWJDV"
   $1RJDV
   4+RZDERXWHOHFWULFELOOVGR\RXJHW
   WKRVH"
   $1R
   4+RZPXFKLVEHLQJELOOHGIRUZDWHUVLQFH
   \RXSXUFKDVHGVWULNHWKDW
   6LQFH\RXSXUFKDVHGWKHSURSHUW\\RX UH
   JHWWLQJPRQWKO\ELOOVIRUZDWHU"
   $<HVDQG,WKLQN,JRWDQRWHODVW
   PRQWKWKH\ZDQWWRVKXWLWGRZQ
   4'R\RXUHFDOODERXWKRZPXFKWKRVHELOOV
   DUHIRUHDFKPRQWKDSSUR[LPDWHO\"
   $$OWRJHWKHUDOPRVWRU
   DOWRJHWKHU
   4$QGWKDWLVVLQFH
   $6LQFH,ERXJKWLW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 240 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    41RYHPEHURI"
    $<HVWRQRZDQG,GLGSDLGWKHWD[HV
    IRU
    4, PWU\LQJWRIXUWKHUXQGHUVWDQGWKH
    WLPHOLQHZLWKUHVSHFWWRZKHQ\RXZHQWWRWKH
    SURSHUW\
    ,WVRXQGVWRPHFRUUHFWPHLI, P
    ZURQJDVWKRXJKLQ0D\RI\RXZHQWWRWKH
    SURSHUW\DQGVSRNHZLWKVRPHRQHIURPWKDWKRXVH,V
   WKDWFRUUHFW"
   $<HV
   4$QGWKLVLVWKHJHQWOHPDQ\RXVSRNHRI"
   $<HV
   4:LWKWKHORQJKDLU"
   $<HV
   4&DQ\RXWHOOPHKLVHWKQLFLW\"
   $+LVZKDW"
   052))(1(WKQLFLW\PHDQVWKHFRORU
   RIKLVVNLQ
   7+(:,71(66,WKLQNKHZDVEODFNEXW
   , PQRWVXUH
   +HKDGORQJKDLU
   %<06+$53(5
   4'LGKHKDYHDQDFFHQW"
   $, PQRWVXUHEXWKHEUDLGHGKLVKDLU


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 241 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
     LQGLFDWLQJ 
    4:RXOG\RXUHFRJQL]HKLPGR\RXWKLQN
    LI\RXVDZKLPWRGD\"
    $<HV
    4:DVWKHUHDQ\WKLQJGLVWLQJXLVKLQJDERXW
    WKHZD\KHORRNHG"
    $:KDWLVWKDW"
    42WKHUWKDQWKHEUDLGVZKLFKVHHPWR
    VWLFNRXWLQ\RXUPHPRU\ZDVWKHUHDQ\RWKHU
   GLVWLQJXLVKLQJIHDWXUHDERXWWKDWJHQWOHPDQWKDW\RX
   UHFDOO"
   $1R
   ,WKLQNKHZDVWDOO
   4+RZDERXWKLVDJHFDQ\RXJLYHPHDQ
   HVWLPDWHRIKLVDJH"
   $+LVDJHVKRXOGEHVVVRPHWKLQJ
   OLNHWKDW
   4'LGWKHJHQWOHPDQVHHPWRKDYHDQ\
   GLIILFXOW\LQFRPPXQLFDWLQJZLWK\RX"
   $1R
   4<RXPHQWLRQHGDIWHUUHFHLYLQJDOHWWHU
   IURP0U'XQQH VRIILFH\RXZHQWWRWKHVKHULII V
   RIILFH"
   $<HV
   4<RXVKRZHGWKHPWKHOHWWHU"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 242 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $<HV
    47KH\WROG\RXZHKDYHWRVWRSZKDW
    ZH UHGRLQJ"
    $<HV
    4:KDWLV\RXUXQGHUVWDQGLQJRIZKDWWKDW
    PHDQW"
    $:KDWLVLW"
    4:KDWGLG\RXXQGHUVWDQGWKDWWRPHDQ
    ZKHQWKH\VDLGWKDW"
   $7KH\ZHUHVXSSRVHGWRFRPHDQGJHWWKH
   SHRSOHDQGJLYHPHWKHKRXVH
   4'R\RXUHFDOODQ\WKLQJDERXWWKHSHUVRQ
   ZKRWROG\RXWKDWRQWKDWGD\LQWHUPVRIDSSHDUDQFH
   QDPHDQ\WKLQJ"
   052))(1'HVFULEHWKHZRPDQ
   7+(:,71(66,GRQ WNQRZKHUQDPH
   EXWVKHZDVDEODFNODG\
   6KHZDVDWWKHWRSOHYHO
   %<06+$53(5
   46KHZDVRQWKHILIWKIORRU"
   $)LIWKIORRU
   4:DVVKHLQXQLIRUP"
   $,WKLQNVKHKDGRQEODFNZLWKDZKLWH
   VZHDWHU
   4'LGVKHKDYHDEDGJHOLNHDQHPEOHPRQ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 243 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    KHUFORWKLQJDQ\ZKHUH"
    $,WKLQNWKHFLW\QDPHRUVRPHWKLQJOLNH
    WKDW
    052))(1&DQ\RXJLYHKHUDJH"
    7+(:,71(66VRPHWKLQJOLNH
    WKDW
    %<06+$53(5
    4'LGVKHKDYHDQDPHEDGJHRQGR\RX
    UHPHPEHU"
   $1R,GRQ W
   4'R\RXUHPHPEHUDQ\WKLQJDERXWKHUQDPH"
   $1R
   06+$53(5,DPJRLQJWRFLUFXODWH
   VRPHWKLQJDV([KLELW
    ([KLELW3KRWRFRS\RI1RWLFHWR9DFDWH
   LVPDUNHGIRULGHQWLILFDWLRQ
   %<06+$53(5
   40U+DVVDQ\RX UHORRNLQJDWZKDW,
   PDUNHGDV([KLELW
   /HWPHNQRZZKHQ\RX YHKDGDQ
   RSSRUWXQLW\WRUHYLHZLW
   +DYH\RXHYHUVHHQDGRFXPHQWVXFKDV
   WKDWEHIRUH"
   $1R
   06+$53(5,DPJRLQJWRFLUFXODWH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 244 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    ZKDW, PPDUNLQJDV([KLELW
     ([KLELW3KRWRFRS\RI1RWLFHWR9DFDWH
    LVPDUNHGIRULGHQWLILFDWLRQ
    %<06+$53(5
    40U+DVVDQOHWPHNQRZZKHQ\RX YHKDG
    DQRSSRUWXQLW\WRUHYLHZZKDWKDVEHHQPDUNHGDV
    ([KLELW
    052))(1+DYH\RXVHHQWKLV
    GRFXPHQW"
   05+$53(5,ZLOODVNWKHTXHVWLRQV
   FRXQVHO
   7+(:,71(66,WKLQN,ZURWHWKLV
   %<06+$53(5
   4<RXKDGDQRSSRUWXQLW\WRUHYLHZZKDW
   KDVEHHQPDUNHGDV([KLELW
   , OODGPLWWKDW([KLELWSUHVHQWVDV
   RQHGRFXPHQWEXWLWORRNVOLNHWKHUHDUHWZR
   GRFXPHQWVUHIOHFWHGRQWKHSDJHFRUUHFW"
   $<HV
   4,I\RXZRXOGSOHDVHUHIHUWR([KLELW
   IRUPH
   7KHWRSGRFXPHQWRQWKDWSDJHVD\V
   ZKDW"
   $<RXZDQWPHWRUHDGWKLV"
   4-XVWWHOOPHZKDWLVXQGHUOLQHGWKHUH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 245 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $(YLFWLRQ1RWLFH
    4+DYH\RXHYHUVHHQDGRFXPHQWVXFKDV
    WKDWEHIRUH"
    $1R
    48QGHUQHDWK\RXUHFRJQL]HLWVRXQGV
    OLNHWKHUHLVVRPHRI\RXUKDQGZULWLQJRQWKH
    GRFXPHQW"
    $<HV
    05+$53(5,KDYHQRIXUWKHU
   TXHVWLRQV
    (;$0,1$7,212)05+$66$1%<05),/,329,&
   4-XVWDIHZIROORZXSV
   <RXVWDWHGWKDW\RXSDLGPRQH\WRJHW
   WKHSHRSOHHYLFWHG
   <RXSDLGKRZPXFK"GROODUV"
   $GROODUV
   4'LGDQ\ERG\WHOO\RXIURPWKHVKHULII V
   RIILFHWKDW\RXZHUHJRLQJWRJHWWKDWPRQH\EDFN"
   $$FWXDOO\,ZHQWGRZQWKHUHEXWWKH\
   VDLG,FRXOGQ WJHWDUHIXQG
   7KH\WROGPH,KDGWRJRWR&LW\+DOO
   RUVRPHWKLQJOLNHWKDW
   4:KDWGLG\RXWHOOWKHPZKHQ\RXZHQWIRU
   \RXUGROODUV"
   :KDWGLG\RXWHOOWKHVKHULII"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 246 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $7KHVDPHGD\,ZHQWWKHUHWKH\WROGPH
    WKH\ZHUHJRLQJWRVWRSWKH\FRXOGQ WHYLFWWKH
    SHRSOHDQG,VDLGFDQ,JHWP\PRQH\EDFN
    4<RXDVNHGWKDWRIWKHODG\"
    $<HV
    4<RXDVNHGKHUWRJHW\RXUPRQH\EDFN"
    $<HV
    4$QGVKHVDLGQR"
    $6KHVDLGQR
   05),/,329,&)DLUHQRXJK
   1RIXUWKHUTXHVWLRQV
    (;$0,1$7,212)05+$66$1%<052))(1
   40U+DVVDQ\RXEHOLHYH\RXERXJKWWKLV
   SURSHUW\OHJDOO\DWVKHULII VVDOH"
   $<HV
   4$QG\RXEHOLHYH\RXSDLGRIIWKH
   SURSHUW\ZLWKWKHVKHULII VRIILFH"
   $<HV
   4$QG\RXEHOLHYHWKDWWKH\KDGJLYHQ\RX
   DGHHG"
   $<HV
   4:KLFKPDGH\RXWKHRZQHURIWKH
   SURSHUW\"
   $<HV
   4<RXVDLG\RXKDGJRQH\RXZHQWWRWKH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 247 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    VKHULII VRIILFHZLWKWKHGHHG
    'LG\RXVD\\RXDVNHGWKHPZKDWGR\RX
    GRQRZ"
    $&RPHDJDLQ"
    4<RXVDLGWKHUHZDVVRPHRQHLQWKH
    SURSHUW\DQG\RXZHQWWRWKHVKHULII VRIILFH"
    $<HV
    4:KDWGLG\RXDVNWKHP"
    $:KDWZDVWKHQH[WVWHS,VKRXOGGR
   4$QGGLGWKH\JLYH\RXVRPHSDSHUZRUN"
   $<HDK
   4$QGWKDWSDSHUZRUNWKH\VDLGZRXOG
   KHOS\RXZKDWGLGWKH\VD\WR\RXWKDWSDSHUZRUN
   ZRXOGDFFRPSOLVK"
   $7KH\VDLG,KDGWRILOORXWWKH
   SDSHUZRUN,KDGWRSD\WKHIHHVZULWHDFKHFNWKH\
   DJUHHWRJLYH\RXWKHKRXVHWKHKRXVHLV\RXUVDQG
   ,EHOLHYHWKHMXGJHDOUHDG\HQWHUHGDJXDUDQWHHIRU
   PH
   4<RXILOHGWKDWSDSHUZRUN"
   $<HV
   4'LG\RXHYHUUHFHLYHDQ\NLQGRI
   WHOHSKRQHFDOOIURP0U'XQQH VRIILFH"
   $1R
   4:HUH\RXDZDUHRIDQ\WH[WVWKDWVDLG


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 248 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    DQ\WKLQJDERXWEDQNUXSWF\"
    $1R
    4<RXVDLG\RXQHYHUVSRNHWR0U'XQQHDW
    DOO"
    $1R
    4$UH\RXDZDUH0U'XQQHKDVDGRFXPHQW
    ZKHUHLWVKRZVKHFDOOHGGLIIHUHQWQXPEHUVDQGLW
    VKRZVWKHH[DFWVDPHWKLQJWRWKHVHFRQG"
    05),/,329,&2EMHFWLRQOHDGLQJ
   7+(:,71(66:KDWLVLW"
   %<052))(1
   4$UH\RXDZDUHWKHUHLVDGRFXPHQWWKDW
   0U'XQQHVXSSOLHGWKDWVKRZHGRUSXUSRUWVWRVKRZKH
   DWWHPSWHGWRFDOO\RX"
   $+HVDLGKHZDVJRLQJWRFDOOPH"
   4+HKDGDGRFXPHQWZKLFKVKRZHG
   VXSSRVHGO\WKDWWKHUHZDVDQDWWHPSWWRFDOO\RX
   $+HFDOOHGPHKH VJRLQJWRVKRZSURRI
   WKDWKHFDOOHGPHEHIRUH"
   ,VWKDWZKDW\RX UHVD\LQJ"
   47KHUHZDVDGRFXPHQW, OOVWULNHWKH
   TXHVWLRQ
   :DVLWHYHUGLVFXVVHGZLWK\RXWKDW
   WKHUHZDVDGRFXPHQWZKLFK0U'XQQHKDGVXSSOLHGLQ
   ZKLFKKHFODLPHGKHWULHGWRFDOO\RX"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 249 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $1R
    05),/,329,&2EMHFWLRQWRIRUP
    %<052))(1
    4'R\RXEHOLHYHWRWKLVGDWH\RXKDYH
    GRQHHYHU\WKLQJLQDFFRUGZLWKWKHODZDV\RX
    XQGHUVWRRGLW"
    $:KDWLVWKDW"
    4'R\RXEHOLHYH\RXGLGHYHU\WKLQJ
    FRUUHFWO\"
   $<HV
   4:KHQ\RXJRWWKHQRWLFHRIWKH
   EDQNUXSWF\\RXVDLG\RXGLGQRWJHWDQ\FDOO"
   $,GLGQ WJHWDQ\FDOOIURPQRERG\,
   GLGQ WJHWDQ\WH[W
   7KHRQO\WKLQJ,JRWZDVDOHWWHUDQG
   ZKHQ,JRWWKHOHWWHU,ZHQWWRWKHVKHULII
   7KDWLVDOO,NQRZQRWKLQJHOVH
   4'R\RXEHOLHYH\RXGLGDQ\WKLQJZURQJDW
   DOO"
   $1R,GLGQRWKLQJZURQJ
   7KH\KDGWKHKRXVHIRUVDOHDQG,
   ERXJKWWKHKRXVH
   ,GRQ WVHHDQ\WKLQJZURQJZLWKWKDW
   4'LG\RXUHFHLYHDQ\NLQGRIYLRODWLRQRQ
   WKHSURSHUW\"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 250 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $<HV
    4'LG\RXJRWRWKHSURSHUW\WRORRNDW
    WKHYLRODWLRQ"
    $<HDK,MXVWZDONHGDURXQG
    ,GLGQ WJRLQVLGH,ORRNHGRXWVLGH
    DQG,VDZWKHWUDVK
    ,WRRNDSLFWXUHDWWKDWWLPHRIWKH
    WUDVK
    ,ZHQWWRFRXUWDQGWKH\GLVPLVVHGWKH
   WLFNHWIRUPH
   4'LG\RXJHWDFDOOIURPWKHSHUVRQ
   OLYLQJDWWKHSURSHUW\"
   $<HV
   4:KHQGLGKHWHOO\RXKHZDVPRYLQJRXW"
   $+HVDLGKHZDVJRLQJWRPRYHLQ0DUFK
   DQG,KDYHDUHFRUG
   4'LGDQ\ERG\RUGHU\RXQRWWRJRWRWKH
   SURSHUW\DQ\NLQGRI&RXUWRUGHULVVXHGDJDLQVW\RX
   WRVWD\DZD\IURPWKHSURSHUW\DWDOO"
   $1R
   4:KHQ\RXUHFHLYHGWKHEDQNUXSWF\QRWLFH
   GLG\RXHYHUJREDFNWRGRLQJDQ\WKLQJZLWKWKH
   SURSHUW\"
   $1HYHU
   4'LG\RXJRWRWKHVKHULII VRIILFHZKHQ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 251 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    \RXUHFHLYHGWKHQRWLFH"
    $5LJKWDZD\VDPHGD\
    4:KHQ\RXVKRZHGLWWRWKHVKHULII V
    RIILFHWKH\VDLG\RXFDQQRWSURFHHG"
    $7KH\VDLG,FRXOGQ WJRRQWKHILIWK
    IORRUEXWWKH\ZRXOGFDOOVRPHRQH
    4:KDWGLGWKHZRPDQVD\WR\RX"
    $6KHORRNHGDWWKHOHWWHUDQGVKHKHOGLW
    DQGVKHVDLGVKHZDVJRLQJWRVWRS
   4'LG\RXHYHUDWWHPSWWRPRYHIRUZDUG
   DIWHUWKDW"
   $1R
   4<RX UHQRWDZDUHRIDQ\SKRQHFDOOHYHU
   WR\RXE\DQ\ERG\WKDWVDLG, PLQEDQNUXSWF\RU
   WKHUHLVDEDQNUXSWF\RUDQ\WKLQJUHODWLQJWR\RX
   FDQ WGRZKDW\RXDUHGRLQJ"
   $1R
   47RWKLVGD\GR\RXEHOLHYH\RX YHGRQH
   DQ\WKLQJLQWKHVOLJKWHVWELWZURQJ"
   $1R,GRQ WVHHDQ\WKLQJ,GLGZURQJ
   052))(11RRWKHUTXHVWLRQVIRU
   ULJKWQRZ
   05),/,329,&)HZPRUHTXHVWLRQVQRZ
   IURPPH
   7+(:,71(662ND\


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 252 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
     (;$0,1$7,212)05+$66$1%<05),/,329,&
    4<RXVDLG\RXZHQWWRFRXUWZLWKWKH
    YLRODWLRQWLFNHWDQG\RXIRXJKWLWDQGWKHMXGJH
    WKUHZLWRXW"
    $:KDWGR\RXPHDQ"
    4<RXFKDOOHQJHGWKHWLFNHWIRUWUDVKRQ
    WKHSURSHUW\DQGWKHMXGJHGLVPLVVHGWKHWLFNHWLV
    WKDWFRUUHFW"
    $<HV
   47KDWLVLQUHODWLRQWR6RXWKQG
   6WUHHW"
   $<HV
   4'LG\RXKDYHDQLQWHUSUHWHUZLWK\RX
   ZKHQ\RXZHQWWRFRXUW"
   $:KDWGR\RXPHDQLQWHUSUHWHU"
   4'LG\RXJRDQGWDONWRWKHMXGJH
   \RXUVHOIRUGLG\RXKDYHDQ$UDELFLQWHUSUHWHUWKDW
   GD\LQFRXUW"
   $,ZHQWE\P\VHOI
   4$QG\RXVSRNHE\\RXUVHOILQ(QJOLVK"
   $,VKRZHGKLPWKHSDSHU
   41RLQWHUSUHWHU"
   $1R
   4<RXJRWWKHWLFNHWGLVPLVVHGRQ\RXU
   RZQ"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 253 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $<HV
    4<RXVDLG\RXKDYHDSKRQHFDOOUHFRUGLQJ
    WKDWVD\VVRPHWKLQJOLNHWKHJX\ZLOOEHPRYLQJRXW
    LQ0DUFK"
    $<HV
    4'LG\RXVKDUHWKDWZLWK\RXUDWWRUQH\LQ
    GLVFRYHU\"
    $,VKRZHG
    052))(1+HKDVJLYHQLWWRPHKH
   VKRZHGLWWRPHWRGD\KHVWLOOKDVLWDQGZHFDQ
   VXSSO\LW
   %<05),/,329,&
   4:KDWZDVWKHGDWHRIWKDW"
   $,GRQ WUHPHPEHUWKHGDWH
   4:K\GRQ W\RXWDNHDORRNULJKWQRZDW
   \RXUSKRQHDQGWHOOPHWKHGDWHVLQFH\RXKDYHLW"
   $$FWXDOO\LW VRQP\IULHQG VSKRQH
   40XEDUDN VSKRQH"
   $<HV
   ,W VWKHGDWHKHVHQWLWWRPH
   4, PQRWDVNLQJIRUWKDWGDWH
   ,ZDQWWKHGDWHWKRVHPHVVDJHVZHUH
   DOOHJHGO\
   $)HEUXDU\VW
   4'LGWKHSHUVRQVD\WKHLUQDPH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 254 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    $,I,OLVWHQWRWKHPHVVDJH,PLJKWNQRZ
    WKHLUQDPH
    05),/,329,&:HZLOOUHGHSRVHKLP
    EDVHGRQWKDWDWVRPHSRLQW
    052))(17KHPHVVDJH,KHDUGLV
    VHFRQGV
    05),/,329,&&RXQVHOSOHDVHGRQ W
    052))(11RSUREOHP
    05),/,329,&([KLELW6
    ([KLELW65LQJ&HQWUDO&DOO'HWDLOVLV
   PDUNHGIRULGHQWLILFDWLRQ
   %<05),/,329,&
   4, PVKRZLQJDGRFXPHQWWKDWKDVEHHQ
   PDUNHG([KLELW6VRZH OONHHSZLWKWKHVDPHODEHO
   6LUKDYH\RXKDGWLPHWRUHYLHZWKH
   RQHSDJHGRFXPHQW"
   $:KDWLVLW"
   05),/,329,&&RXQVHOFRXOG\RX
   SOHDVHKDQGRYHUWKHGRFXPHQWWRWKHFOLHQWDQGFRXOG
   \RXSOHDVHUHPRYH\RXUVHOIIURPWKHFOLHQW"
   ,GRQ WNQRZKRZHOVHWRSXWLW
   052))(1, PORRNLQJWKHUHLVQR
   GDWHRQWKHGRFXPHQWRND\JRRG
   %<05),/,329,&
   40U+DVVDQGR\RXVHHWKHSKRQH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 255 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    QXPEHUDQGWKHSKRQHQXPEHUDSSHDUVRPHZKHUHRQ
    WKDWGRFXPHQW"
    $<HV
    4'R\RXVHHWKHGDWHWKDWLVDVVRFLDWHG
    ZLWKWKRVHWZRQXPEHUVLVULJKWDORQJVLGHLW"
    $,VHHWKHWLPH,GRQ WVHHWKHGDWH
    052))(17KHUHLVQRGDWHWKHUH
    05),/,329,&0D\,VHHLW"
    ,ZLOOGUDZ\RXUDWWHQWLRQWRLW
   ,ZLOOGLUHFW\RXWRZKHUHLWVD\V
   IURPLW VLQWKHPLGGOHRIWKHSDJH
   'R\RXVHHDGDWHWKHUH"
   7+(:,71(66<HV
   %<05),/,329,&
   4:KDWGRHVLWVD\"
   $
   47KRVHDUH\RXUSKRQHQXPEHUVDQGWKHUH
   LVVRPHWKLQJWKHUHWKDWVKRZVGR\RXVHHDQ\RWKHU
   SKRQHQXPEHUEHVLGHV\RXUSKRQHQXPEHUV"
   $1R
   41RZZRXOGWKDWGRFXPHQWGRHVWKDW
   UHIUHVK\RXUUHFROOHFWLRQWKDW\RXPD\KDYHUHFHLYHG
   DSKRQHFDOORUWZRRQWKRVHQXPEHUVIURP0U'XQQH"
   $<RXPHDQKHVSRNHWRPH"
   41R


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 256 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    <RXUHFHLYHGDSKRQHFDOOIURP
    0U'XQQHLQWKDWWLPHIUDPH"
    $,VHHLWKHUHEXW,GLGQ WUHFHLYHLW
    ,GLGQ WWDONWRKLP
    4<RXGLGQ WWDONWRKLP"
    $1R
    4%XW\RXDGPLWWKDWKHFDOOHG\RX"
    $,VHHP\QXPEHUKHUHEXW,GLGQ WVSHDN
    WRKLP
   4'R\RXUHPHPEHUVHHLQJKLVSKRQHQXPEHU
   RQ\RXUSKRQH"
   $1R
   4:KDWDERXWWKHRWKHUSKRQHGLG\RXU
   ZLIHHYHU
   $1R
   47HOOPHFDQ\RXUHDGWKHILHOGKHUH
   ZKHUHLWVD\V5HVXOW"
   $,FDQ WVHHLW
   43XW\RXUJODVVHVRQVLU
   $,VWLOOFDQ WVHHLW
   &DOOFRQQHFWHG
   4+RZORQJLVWKHGXUDWLRQ"
   $2QHPLQXWHVHFRQGV
   47KDQN\RXVLU
   :KDWDERXWWKHVHFRQGFDOO"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 257 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    7KHUH VWZRRIWKHP
    $&DOOFRQQHFWHG
    4'RHVWKDWPHDQDQ\WKLQJWR\RXFDOO
    FRQQHFWHG"
    'RHVQ WWKDWPHDQ\RXDQVZHUHGLW"
    $6RPHWLPHVP\NLGVDUHSOD\LQJZLWKLW
    0D\EHRQHRIWKHWLPHVWKH\FDOOHG
    WKH\DQVZHUHGLW
    :KHQ,JRKRPHWKH\WDNHP\SKRQHDQG
   WKH\SOD\ZLWKLW
   ,GLGQ WJHWLWDQG,GLGQ WVSHDNWR
   KLP
   $VNKLPLIKHVSRNHWRPH
   46LUKRZROGDUH\RXUNLGV"
   $,KDYHILYHNLGV
   7KHROGHVWLVDQGWKH\RXQJHVWLV
   RQH\HDU
   ,KDYHWKUHH\HDUVVL[\HDUV
   4$UHDQ\RIWKHPLQVFKRRO"
   $<HVVL[\HDUVLVLQILUVWJUDGH
   4+RZPDQ\DUH\RXQJHUWKDQVL["
   $7KUHH
   4'R\RXDQG\RXUZLIHOHWWKHNLGVSOD\
   ZLWK\RXUSKRQHVDWWKHVDPHWLPH"
   $<HVEHFDXVHWKH\ UHFU\LQJ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 258 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    4,V\RXUSKRQHORFNHG"
    $:KDWGR\RXPHDQ"
    4,I\RXORVWLWFRXOGDQ\ERG\JHWLQ
    \RXUSKRQHRULVWKHUHDSDVVZRUG"
    $7KH\NQRZP\SDVVZRUGLW VHDV\
    4'R\RXUNLGVNQRZZKDWEDQNUXSWF\LV
    VLU"
    $1R
    05),/,329,&,WKLQNZH UHGRQHZLWK
   WKHTXHVWLRQV
   052))(1, PJRLQJWRFRQWLQXH
   7+(:,71(662ND\
    (;$0,1$7,212)05+$66$1%<052))(1
   47KLVGRFXPHQWWKDWLVPDUNHG([KLELW6
   LW VVD\VFDOOFRQQHFWHG
   'LG\RXHYHUVSHDNWR0U'XQQHDWDOO"
   $1R
   4'R\RXVHHZKHUHLWVD\VRQHPLQXWHDQG
   VHFRQGV"
   $<HV
   4'R\RXVHHZKHUHLWVD\VRQHPLQXWHDQG
   VHFRQGV
   $<HV
   4$SSDUHQWO\LW VVD\LQJFRXOGVRPHRQH
   EHFRQQHFWHGRUFRXOGVRPHRQHWU\WROHDYHDPHVVDJH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 259 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    DQGVSHDNWKHH[DFWVDPHOHQJWKHDFKWLPHWRWKH
    VHFRQG"
    05),/,329,&2EMHFWLRQWRWKHIRUP
    %<052))(1
    4'R\RXVHHZKHUHLWVD\VRQHPLQXWHDQG
    VHFRQGV"
    $<HV
    4:KLFK0U'XQQHFODLPVRYHUKLVFRPSXWHU
    KHWULHGWRFDOO"
   'R\RXVHHZKHUHKHFODLPVKHVSHQW
   RQHPLQXWHDQGVHFRQGV"
   $<HV
   4'R\RXUHDOL]HWKDWDQGLVRQH
   VHFRQGDSDUW"
   $<HV
   05),/,329,&2EMHFWLRQWRIRUP
   052))(1,ZDQWWRVKRZIRUWKH
   UHFRUG
   05),/,329,&7KHUHLVDWLPHDQG
   SODFHWRVKRZ\RXUFDVHEXWDGHSRVLWLRQLVQRWWKDW
   SODFH
   <RXFDQDVNKLPDTXHVWLRQ
   %<052))(1
   4'R\RXVHHKLVFODLPWKDWKHVSRNHIRUD
   PLQXWHDQGVHFRQGVKHUHRUGLGVRPHWKLQJRUOHIWD


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 260 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    PHVVDJH"
    $+HGLGQ WOHDYHDQ\PHVVDJH
    4'R\RXVHHDFDOOIRUDPLQXWHDQG
    VHFRQGVZKLFKLWVD\VFRQQHFWHGZKLFKPHDQV
    HLWKHUKHOHIWDPHVVDJHRUQRPHVVDJHZDVOHIW"
    05),/,329,&2EMHFWLRQDVWROHDGLQJ
    DQGIRUP
    %<052))(1
    4:DVDPHVVDJHHYHUOHIWIRUDPLQXWHDQG
   VHFRQGV"
   $1R
   4:DVWKHUHHYHUDPHVVDJHOHIWLQZKLFK
   WKHFDOOZDVDPLQXWHDQGVHFRQGV"
   $1R
   4'LG\RXJHWDQ\NLQGRIRYHUQLJKW
   H[SUHVVPDLORUXUJHQWQRWLFHIURP0U'XQQHDERXW
   WKHEDQNUXSWF\"
   $1R
   05),/,329,&2EMHFWLRQDVNHGDQG
   DQVZHUHG
   052))(1$WWKLVVWDJH,KDYHQR
   IXUWKHUTXHVWLRQV
    :,71(66(;&86('
    '(326,7,21&21&/8'('$730



                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 261 of 386
                        $EGHOGD\HP+DVVDQ

                                                               3DJH
    &(57,),&$7(
 
 
    ,/RUL$3RUWRD1RWDU\3XEOLFDQG&HUWLILHG
    &RXUW5HSRUWHUGRKHUHE\FHUWLI\WKDWWKHIRUHJRLQJ
    LVDWUXHDQGDFFXUDWHWUDQVFULSWRIWKHWHVWLPRQ\DV
    WDNHQVWHQRJUDSKLFDOO\E\DQGEHIRUHPHDWWKHWLPH
    SODFHDQGRQWKHGDWHKHUHLQEHIRUHVHWIRUWKWRWKH
    EHVWRIP\DELOLW\
   ,GRIXUWKHUFHUWLI\WKDW,DPQHLWKHUD
   UHODWLYHQRUHPSOR\HHQRUDWWRUQH\QRUFRXQVHORIDQ\
   RIWKHSDUWLHVWRWKLVDFWLRQDQGWKDW,DPQHLWKHU
   DUHODWLYHQRUHPSOR\HHRIVXFKDWWRUQH\RUFRXQVHO
   DQGWKDW,DPQRWILQDQFLDOO\LQWHUHVWHGLQWKH
   DFWLRQ







   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     /RUL$3RUWR&&5
   1RWDU\3XEOLF6WDWHRI1HZ-HUVH\
     &HUWLILFDWH1R;,



                      :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 262 of 386
                                $EGHOGD\HP+DVVDQ
                                                                                3DJH

        $                                           
$KPHG     $PHULFD                        
DP            $PHULFDQ              EDGJH            
DND                          DVNLQJ                     
DEDQGRQHG          DQVZHU                  EDQNUXSWF\         
                                    %RXOHYDUG 
$EGHOGD\HP                           EUDLGHG 
                                   EUDLGV 
          DQVZHUHG                  EUHDN 
$%'(/'<(0                                   
                        $66,67$17        %DUNHU          %5,() 
DELOLW\                           EDVHG           EULQJ 
DEOH            DVVRFLDWHG   EDVLFDOO\       
DFFHQW               $77$&+('                         
DFFRPSOLVK                              EHFRPLQJ        %URDG  
              DQVZHULQJ     $WWDFKPHQWV   EHJLQQLQJ       
DFFRUG                                        EXLOGLQJ 
DFFXUDWH       DQVZHUV         DWWHPSW     EHOLHI     EX\  
DFNQRZOHGJHG                                 EHOLHYH     EX\LQJ 
          DQ\ERG\       DWWHPSWHG              
DFWLRQ               DWWHQG      
                            DWWHQGHG                           &
DFWLYLW\ 
DFWXDO                           EHORQJHG       &  
DGGUHVV                    DWWHQGLQJ    EHORQJLQJ      FDOFXODWH 
         DSDUW         DWWHQWLRQ    EHVW       FDOHQGDU 
          DSRORJL]H     DWWHVWLQJ                   FDOO  
               $SSDUHQWO\         DWWRUQH\  EHWWHU            
DGPLW                           ELG          
               DSSHDU                                   
DGYLVH                              ELGGLQJ           
DIWHUQRRQ     DSSHDUDQFH                  ELOO        
                                               
DJH     DSSHDUV        DXWKRULWLHV      ELOOHG            
               DSSURSULDWH               ELOOV      
DJR                   DXWRPDWLFDOO\                   
DJUHH         DSSUR[LPDWHO\                   ELW               
DJUHHV                     $YHQXH       EODFN          FDOOHG 
$KPHG      $UDELF        DZDUH                       
          DUHD                EROG              
          DVNHG                   %RVWRQ         
DOFRKRO                                                  
                                  %        ERWWRP         FDOOV 
DOOHJHGO\ 
DOORZHG               %   ERXJKW          
                    EDFN                
DORQJVLGH                              FDVH  
DOWRJHWKHU                            


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 263 of 386
                                $EGHOGD\HP+DVVDQ
                                                                                 3DJH

                                    
FDVKLHU V             FRUUHFWO\            GLVSXWLQJ 
                        FRVW                    GLVWLQJXLVKLQJ
FDXVH               FRXQVHO               
                                             ',675,&7 
&&5           FRPHV                         GPRZHVW
&HQWUDO                                       
                                    'HIHQGDQW      GRFXPHQW 
&HUWLILFDWH    FRPLQJ                                 
          FRPPHQFLQJ                       'HIHQGDQWV         
FHUWLILHG                     FRXQW      GHOHWH        
          FRPPXQLFDWLQJ      FRXQWU\       GHOHWHG          
FHUWLILHV                   FRXUW     GHOLYHU          
FHUWLI\     FRPSDQ\             'HOLYHU\          
FKDOOHQJHG     FRPSODLQW             '(3$570(           
FKDQJLQJ      FRPSOLDQW                                 
FKHFN         FRPSXWHU                      GHSRQHQW          
                          &RYHU      GHSRVLWLRQ       
              FRQFHUQ       FU\LQJ                     
FKHFNHG        &21&/8'('          FXUUHQWO\                 
&KHVWQXW                                                   
               FRQGXFWHG               '          GHSRVLWLRQV        
FLUFXODWH     FRQQHFWHG     '            '(387<         GRFXPHQWV 
                      GDWH      'HVFULEH         
FLWL]HQ                                           
               FRQQHFWLRQ             '(6,*1$7('         GRJV 
FLW\      FRQVXOW                              
          FRQWDFW              GHVN        
                      'HWDLOV     GRLQJ 
                                             
      FRQWLQXH           GHYLFH           
                                         
                                    GLIIHUHQW     GROODUV 
FLW\ V        FRQWLQXLQJ                                          
&LYLO                    '$9,'       GLIILFXOW\       
FODLP         FRQYHUVDWLRQ       GD\       GLUHFW           
FODLPHG                                      '20(5 
FODLPV      FRUQHU                GLUHFWO\     GRRU  
FODULILFDWLRQ      FRUUHFW                                 
                                 GLVFRYHU\        
FODULI\LQJ                                      
FOHDQ                        GLVFXVVHG     GUDZ 
FOLHQW             GD\V          ',6&866,21         GULYH 
FORWKLQJ                'HEWRU3ODLQWLII         GUXJV 
FRORU                            GLVKHV         GXO\ 
FRPH               GHHG       GLVPLVVHG      'XQQH  


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 264 of 386
                                  $EGHOGD\HP+DVVDQ
                                                                                  3DJH

        (YLFWLRQ                          
       H[DFW    IDPLOLDU                   IRUJHW 
        H[DFWO\      IDPLOLDULW\                  
                   IDPLO\                 IRUP 
                                              
                            IDU                      
'XQQH V        H[DP        IHDWXUH                  
               ([DPLQDWLRQ      )HEUXDU\                IRUWK  
GXUDWLRQ             IHHO                  
                           IHHOV          ILOO       IRUZDUG 
        (                   IHHV                       
(      H[DPLQHG      IHQFH                   IRXJKW 
           ([FXVH      ILHOG                         IRXQG 
HDUOLHU     (;&86('          ILIWK       ILOOHG      IRXU  
                                               
HDUO\          H[KLELW   ILJXUH                     
($67(51              ILOH                     IUDPH 
HDV\                 ILOHG      ILOOLQJ        IUHH 
HLWKHU                                  )ULGD\ 
                              ILQDOO\          
HOHFWULF                       ILQDQFLDOO\         IULHQG 
HOHYDWRU                                              
HPEOHP            ILOLQJ         ILQG       IULHQG V 
HPSOR\HH            ILOLQJV         ILQH             
                   )LOLSRYLF     ILQLVKHG       IULHQGV 
HQGHG                        ILUVW      IURQW 
(QJOLVK                                      
                                            
HQWHUHG         (;+,%,76                         IXOOWLPH 
               H[LVW                         
(17(56          H[SUHVV                           IXQG 
HQWLUH      H[WHQVLRQ              ILYH           IXUWKHU 
HQYHORSH       H[WHQVLRQV            ILYHPLQXWH            
HVSHFLDOO\                                             
(648,5(                                IORRU         
                         )                   
HVWDEOLVKHG     )                                   *
                              IRONV      *  
HVWLPDWH                        IROORZXS        
HWKQLFLW\                          IROORZXSV          JDV 
               IDFW                             JHQHUDOO\ 
HYHU\ERG\                               IROORZHG       JHQWOHPDQ 
HYLFW      IDLU           IROORZLQJ        
                          IROORZV          JHVWXUHV 
                                                    JHWWLQJ 
HYLFWHG        IDOVLILFDWLRQ               IRUHJRLQJ        


                               :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 265 of 386
                                $EGHOGD\HP+DVVDQ
                                                                               3DJH

JLYH        JUDGH                           MRVKXDGRPHU
         JXDUDQWHH                          
          JX\             LGHQWLILHG     MXGJH 
                  KHDU        LJQRUDQW         
                            KHDUG         LQDSSURSULDWH        
                 +                                MXGJPHQW 
       +                            LQFOXGH         
JLYHQ      KDLU   KHOG       LQGLFDWLQJ     -XO\ 
                 KHOS                 
          KDOI                           MXQFWXUH 
JLYLQJ        +DOO                            -XQH 
JODG      KDQG   KHUHLQEHIRUH          
JODVVHV                             LQIRUP                .
JR                     KLJKOLJKWHG        LQIRUPDWLRQ        .  
       KDQGGHOLYHU                      .$3/$1 
                      KLJKOLJKWHU                 NHHS 
       KDQGHG                                     
              KLUHG         LQVLGH         .HQQHG\ 
                      KLVWRU\               NHSW  
         KDQGLQJ           LQVWUXFWLRQV    NLFN 
                      KROLGD\                     NLGV  
      KDQGOHG     KRPH      LQVXOWLQJ          
           KDQGZULWLQJ            LQWHUHVWHG    NLQG  
                              LQWHUSUHWHU           
        +DQGZULWWHQ      KRXVH                
                               NQHZ  
          KDSSHQ                  NQRFN 
               KDSSHQHG          LQWHUUXSW       
JRHV                         LQWHUYHQH     NQRFNHG 
JRLQJ      KDSSHQV              LVVXH            
        KDSS\                     NQRZ 
       +DUSHU           LVVXHG            
                                              
                               -            
                    -        
                                       
                      -DQXDU\           
                               
                                          
       +DVVDQ                      -HUVH\          
                       ,          -HZHOO         
                   ,'                      
JRQQD                LGHQWLILFDWLRQ     MRE              
JRRG                         MREV         
                            -RKQ             
                             -26+8$            


                             :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 266 of 386
                               $EGHOGD\HP+DVVDQ
                                                                             3DJH

        /HW V         /RUL              PRYLQJ 
                               0HJDQ            
        OHWWHU      ORVW                 0XEDUDN 
             ORW    PHJDQKDUSHU      
             ORXG                        
              ORXGO\      PHPRU\         0XEDUDN V
            /\IW    PHQWLRQ         
               /\QGHO       PHQWLRQHG
                                            1
                             PHVVDJH       1  
                         0                  
NQRZOHGJH                0            1DILH 
        OHWWHUV        PDLO                
             OHYHO               PHVVDJHV      QDPH  
                                                        
         /       OLJKW           PDLOHG                      
ODEHO       OLQHV      PDNLQJ      PHW         
ODG\      OLVW           0DUFK                   
       OLVWHQ                 0LFKHOOH       
        OLWLJDWLRQ     PDUN       PLGGOH           
        OLWWOH         PDUNHG                      
ODG\ V      OLYH            PLQH             
/DQVGRZQH  OLYHG             PLQXWH          
ODWH                                
ODZ     OLYHV                 QHFHVVDU\ 
                                   
ODZVXLW                PLVXQGHUVWRRG      QHHG  
ODZ\HU                     0DUNHW                     
            OLYLQJ              PRQH\       QHHGHG 
OHDGLQJ              PDUNLQJ           QHHGV 
                       PDWWHU            QHLJKERU 
/($0$1  ORFDWHG                                    
OHDUQ     ORFDWLRQ        PHDQ           QHLJKERUKRRG
OHDYH       ORFNHG                              
        ORQJ               PRQWK          QHLJKERUV 
OHIW                     QHLWKHU 
                                     QHYHU 
       ORRN          PRQWKO\          
                      PRS              
OHJDO                     PRUQLQJ         1HZ 
      ORRNHG         PHDQLQJ                  QLJKW 
                PHDQV   PRVTXH        QRQLVVXH 
                              PRWLRQ     1RWDU\ 
             ORRNLQJ                             QRWH  
OHJDOO\                                PRYH        
OHQJWK       ORRNV          PHDQW                 


                             :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 267 of 386
                               $EGHOGD\HP+DVVDQ
                                                                             3DJH

QRWLFH   RFFXU                       
     2FWREHU                       
                                   SHULRG  
                         SDSHU     SHUVRQ 
                                     
        RIIVWUHHW    ROG                   
1RYHPEHU     2))7+(5(       ROGHVW             
           RQFH                SHUVRQDOO\ 
        2IIHQ        RQHSDJH     SDSHUV      
                                       SIHVT#LILJKW
QXPEHU             RQHZD\                 
              RSHQ               3KLODGHOSKLD
                                   
              RSHQHG                      
              RSHQV        SDSHUZRUN        
                RSSRUWXQLW\              
                                
           RSSRVH             3KLODGHOSKLD V
            RSSRVHG                 
                   2UDO              SKRQH 
QXPEHUV              RUGHU             
                      SDUDSKUDVH       
                   RULJLQDOO\  SDUW        
                 RXWVLGH                   
                    RYHUQLJKW   SDUWLFXODU       
                        RZQHU                       
        2                            SDUWLHV         
2                                  SDVV            
RDWK                           3        SDVVHG          
REMHFW       RIILFH         3                  
                   3&       SDVVZRUG      
REMHFWLRQ             30         SD\       SKRQHV 
                3$               3KRWRFRS\ 
                                     
              3D&6      SD\LQJ         
                     SHQDOWLHV    SLFWXUH 
               SDJH                SODFH 
               SHQGLQJ          
REYLRXVO\                                 SODQ  
RFFDVLRQV                  3HQQV\OYDQLD        
                         SOD\ 
                                SHRSOH        SOD\LQJ 
RFFXSDQWV  RIILFHV                       SOHDGLQJV 
              SDJHV           
RFFXSDWLRQ  RND\                  SOHDVH  
RFFXSLHG                SDLG                 


                             :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 268 of 386
                                $EGHOGD\HP+DVVDQ
                                                                               3DJH

         SURSHUW\             5(&(66        UHSUHVHQW 
                   UHFRJQL]H      UHSUHVHQWDWLYH
           TXHVWLRQV                   
                         UHFROOHFWLRQ       UHSUHVHQWLQJ
                                         
SRLQW                        UHFRUG        UHTXHVW 
                                 
                                         
SROLFH                               UHVSHFW 
                                        
SRUFK                      UHVWDXUDQW 
SRUWLRQ                          5HVXOW 
                                              5HWXUQ 
3RUWR                           5                    
              SURYLGH      5       UHFRUGHG       UHYLHZ 
SRVHG                 UHGHSRVH     UHFRUGLQJ         
SRVLWLRQ                UHDG        UHFRUGV       ULJKW 
             SURYLGHG                             
3RVVHVVLRQ                      UHIHU             
         3XEOLF             UHIHUHQFH        
3UDHFLSH       SXOO                UHIOHFW          
         SXQFWXDO                      
SUD\HU      SXUFKDVH    UHDGV                          
35('5$*                 UHDOL]H       UHIOHFWHG        
SUHOLPLQDU\        SXUFKDVHG                UHIUHVK          
                   UHDVRQDEOH        UHIXQG          
SUHPLVHV                       UHODWLQJ      ULJKWV 
              SXUFKDVLQJ       UHFDOO            5LQJ  
SUHVHQWV                          UHODWLRQ      URRP  
SUHYLRXVO\     SXUSRUWV                          
SULFH         SXUSRVH              UHODWLYH      UXOH 
         SXUVXDQW                    
               SXW    UHFHLSW      UHOHJDWHG             6
SULRU                      UHPHPEHU       6   
              UHFHLYH                  
SUREDEO\                                          
SUREOHP               4                           VDOH  
SURFHHG        TXHVWLRQ      UHPHPEHUHG             
                                        
SURFHHGLQJ                            UHPRYH           
                    UHFHLYHG  UHSHDW             
SURFHVV                    UHSKUDVH        
                                UHSKUDVLQJ            
SURILFLHQF\                                       
                     UHFHLYLQJ     UHSRUWHU       VDOHV  
SURRI                                           


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 269 of 386
                                 $EGHOGD\HP+DVVDQ
                                                                                    3DJH

VDZ                    VLJQLQ                    
          VHW       VLJQDWXUH                  
                                              
                VKDUH          VLJQHG                
VD\LQJ          VKDUHG                                    
          VKHHW               VSHDN              
                             VLJQLILFDQFH                    
VD\V       VKHULII                       VWULNH 
                                            
                              VSHFLILFDOO\      
                   VLPSOH         VSHOO          VWXII 
                VLU     VSHQW             
                            VSRNH          VXEMHFW 
VFDUHG                                      
VFKRRO                                      6XLWH  
VHFRQG                                            
           VKHULII V              VWDJH          VXSSOLHG 
                            VWDLUV        
VHFRQGV                            VWDUW           VXSSO\ 
                          VWDUWHG        VXSSRVHG 
                                        
                         6WDWH          VXSSRVHGO\
VHH                           VWDWHG           
                                        VXUH  
                              VWDWHPHQW         
                  VLW                         
                  VLWXDWLRQ      VWDWHPHQWV          VXUHW\ 
               VL[             VZHDWHU 
            VNLQ                         VZRUQ 
                   VNLS          67$7(6 
                   VOLJKWHVW     VWD\                   7
              62/,&,725          VWHQRJUDSKLFD    7   
                                                 
                      VRPHERG\      VWHS            70RELOH 
        VKRZ                 67(3+(1             
                            VWHSKHQ#GXQ        
VHHLQJ         VKRZHG                                 
VHHQ             VRUU\     VWHSV          WDNH  
                                VWLFN              
            VKRZLQJ       VRUW      VWLSXODWLQJ            
VHOOLQJ         VKRZV                                        
VHQG                          VRXQG         VWRS           
VHQW      VKXW          VRXQGV                  
VHUYH          VLGHZDON                              WDNHQ  
               VLJQ       6RXWK      VWRUDJH         WDON  
6HUYLFH$IILGD                         VWUHHW          


                               :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 270 of 386
                                  $EGHOGD\HP+DVVDQ
                                                                                      3DJH

WDONHG                        8EHU            YHULILFDWLRQ 
WDONLQJ                             8KKXK            
                                        YHULI\ 
WDOO            WKLQNLQJ             XQGHUOLQHG             
WD[HV        WKLUG                                   YLGHR 
WHOHSKRQH       WKRXJKW        WRS       8QGHUQHDWK           YLRODWLRQ 
WHOO      WKUHH                                       
                      7RSSLQ          XQGHUVWDQG          
                                        
                 WRUFK                   YLVLW 
           WKUHZ          WRWDO                     YRFDO 
            WLFNHW      WRZ                      YV 
                 WUDQVDFWLRQ          
                                                :
           WLPH     WUDQVFULSW                 : 
WHOOLQJ                                           ZDONHG 
                       WUDQVODWLRQ                  
WHOOV                                              :DOQXW 
WHUPV                      WUDQVODWRU                 ZDQW  
WHVW                      WUDVK       XQGHUVWDQGLQJ          
WHVWLILHG                                      
                    WULHG         XQGHUVWRRG         
WHVWLI\                                          
                                   8QIRUWXQDWHO\         
WHVWLI\LQJ                WUXFN                           ZDQWV 
WHVWLPRQ\                  WUXH       XQLIRUP         ZDVK 
                                 81,7('            ZDVQ W 
                       XQQHFHVVDU\            
                                                       ZDWHU 
WH[W       WLPHOLQH      WUXWKIXO       XQRFFXSLHG            
           WLPHV     WU\                  ZD\  
WH[WV                                          
                                      XQUHVSRQVLYH         ZH OO 
WKDQN                           WU\LQJ                           
           WLWOH                   XQVZRUQ          
           WRGD\                                     ZH UH 
                          WZLFH         XSSHU              
WKLQJ                   WZR     XUJHQW            
                                XVH           
                                        XWLOLWLHV      
WKLQJV          WROG                                         
WKLQN                            9              
                                 YDFDWH        ZH YH  
                                             ZHEVLWH 
                           8                      :('1(6'$<
                  8               YHUEDOO\          


                                :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 271 of 386
                                $EGHOGD\HP+DVVDQ
                                                                             3DJH

ZHHN                          WK             
ZHHNV                               
                                  
                    \HDU        
                                                                         
ZHOFRPH                                   
ZHQW                                   
                   \HDUV             
                                      
                              
                                                                        
                               V 
          :2/)(         \HOORZ         
          ZRPDQ        \RXQJHU                
                         \RXQJHVW        
          ZRUGV                               
       ZRUN             =               
                                             WK 
                                                        
           ZRXOGQ W 
                                                
                                             
      :ULW                            
                                              
        
                                                       
        ZULWH 
                                                 V 
          
                                            
      ZULWWHQ                                         
                                                
           ZURQJ                                           
                                                    
                                                     
                                               
                                                     
                                     SHUFHQW       
         ZURWH                                         
                                                   
                                                    
                                        
          ZZZNOZUHSR                                        
                                     WK        
:HVW             
                                                              
ZKLWH 
                            ;                             
ZLIH  
                    ;                          
  
                    ;,                             
  
                                                     
  
                            <                          
ZLIH V 
:LOOLDPV         \DUG          VW           
                    \HDK           QG          
  
                                 
ZLQGRZ 
                                                
 
                                     
ZLQQLQJ 
                                                 
ZLVK 
                                           
ZLWKGUDZ 
                                         
ZLWQHVV 
                                              
  
                          0'&                        
  
                                       

                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 272 of 386
                          $EGHOGD\HP+DVVDQ
                                                                3DJH

   
   
  

   
QG  
   
   
   
   
  
 
          
 
 
 
 
 
          
 
 
 
WK 
       
 




                        :::./:5(3257(56&20
     Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 273 of 386



                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EATERN DISTRICT OF PENNSYLVANIA


-------------------------------:
     IN RE:                    :        Chapter 13
                               :
     LYNDELL TOPPIN,           :        Bankruptcy No. 18-13098-MDC
                               :
          Debtor               :
-------------------------------:
-------------------------------:
                               :
   LYNDEL TOPPIN,              :
                               :
          Plaintiff            :        Adv. Pro. No. 18-00137-MDC
                               :
               V.              :
                               :
   JEWELL WILLIAMS SHERIFF OF :
   THE CITY OF PHILADELPHIA    :
   and ABDELDAYEM HASSAN a/k/a :
                               :
          Defendant            :
-------------------------------:

       ABDELDAYEM HASSAN’S ANSWERS TO REQUEST FOR ADMISSIONS

     PLEASE TAKE NOTICE THAT, pursuant to Fed. R. Bankr. P. 7033

and 9014, Fed. R. Civ. P. 33 and Local Bankr. R. 7026-1,

defendant Abdeldayem Hassan (herein after, the “Defendant”),

hereby submits the following Answers to Request for Admissions of

Plaintiff, Lyndel Toppin. These Answers are continuing up to and

including the time of the trial.

                                  ANSWERS

1.   Admit that You understand the responsibilities of a tax sale
     purchase in Philadelphia County?


ANSWER: I did not understand all the rules.




                                                     C I T Y - 2 4
     Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 274 of 386




2.   Admit that an owner of a property in Philadelphia has a 9
     month right of redemption under the Philadelphia Tax Act (53
     P.S. § 7293) in connection with a property sold at tax sale?

ANSWER: If the owner occupies the property as his primary
residence, he may have a claim.


3.   Admit that the purchaser at a sheriff’s tax sale does not
     obtain title to the property until the passage of the
     redemption period?

ANSWER: Not if the owner is not living in this property as his
primary residence.

4.   Admit that the owner of a property sold at tax sale retains
     the right of possession during the statutory period?

ANSWER: Not if the owner is not living in this property as his
primary residence.

5.   Admit that a purchaser of a sheriff’s tax sale has no claim
     to possession or right to ejectment against an owner during
     the redemption period?

ANSWER: The property appeared vacant and the person that I met
said he would be out by March.

6.   Admit that executing on a Writ of Possession during the
     statutory period would be a violation of the owner’s
     property rights under the Philadelphia Tax Act?

ANSWER: Denied.

7.   Admit that executing on a Writ of Possession during the
     statutory period is illegal?

ANSWER: Denied based on the facts.

8.   Admit that You acknowledged the deed in your name on
     November 9, 2017?

ANSWER: I am uncertain of the exact date.

9.   Admit that You recorded the deed in your name on November
     21, 2017?

ANSWER: I am uncertain of the exact date.
      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 275 of 386



10.   Admit that evicting an owner of a property 2 months into the
      9 month statutory period is illegal?


ANSWER: Denied. The property appeared vacant and the person
living there stated that he would be out of the property by
March.


11.   Admit that the owner’s redemption period and right to
      possession expired on August 10, 2018?

ANSWER: Denied based on the facts here.

12.        Admit that You provided your contact details to the
           Sheriff as follows:
      a) Abdeldayem Hassan
      b) 309 Barker Avenue, Lansdowne, PA 19050
      c) 484-557-1737

ANSWER: Admitted.

13.         Admit Your telephone number was: (484-557-1737) on May
            8, 2018?

ANSWER: Admitted.

14.   Admit Your telephone number was: (610-818-5463) on May 8,
      2018?

ANSWER: Denied.

15.   Admit Your telephone number was: (267-670-4481) on October
      11, 2017?

ANSWER: Denied.

16.   Admit that You received notice of the Lyndel Toppin
      bankruptcy on May 8, 2018?

ANSWER: Denied.

17.   Admit the You received notice of the Lyndel Toppin
      bankruptcy from the Bankruptcy Noticing Center at the
      following mailing address: 309 Barker Avenue, Lansdowne, PA
      19050?

ANSWER: Admitted.

18.   Admit that you received a telephone call at the following
      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 276 of 386



      telephone number (484-557-1737) from Stephen Dunne (215-551-
      7109) notifying You of the Lyndel Toppin bankruptcy on May
      8, 2018?

ANSWER: Denied. I never spoke to Mr. Dunne and did not get any
Notice of the Bankruptcy from him.

19.   Admit that You receive a telephone call at the following
      telephone number (610-818-5463) from Stephen Dunne (215-551-
      7109)notifying You of the Lyndel Toppin bankruptcy on May 8,
      2018?

ANSWER: Denied.

20.   Admit that You [received] a text at the following telephone
      number (484-557-1737) from Stephen Dunne (215-551-7109)
      notifying You of the Lyndel Toppin bankruptcy on May 8,
      2018?

ANSWER: I am not aware of the same.

21.   Admit that You caused the Sheriff to serve a Notice to
      Vacate on Lyndel Toppin at 146 S. 62nd Street, Philadelphia,
      PA 19139 on May 18, 2018?

ANSWER: I filed with the Sheriff for the Writ of Possession.

22.   Admit that You caused the Sheriff to serve a Notice to
      Vacate on Lyndel Toppin at 146 S. 62nd Street, Philadelphia,
      PA 19139 on May 24, 2018?.

ANSWER: Denied.

23.   Admit that You caused the Sheriff to serve a Notice to
      Vacate on Lyndel Toppin at 146 S. 62nd Street, Philadelphia,
      PA 19139 on May 30, 2018?.

ANSWER: Denied.


24.   Admit that You caused the Sheriff to serve a Notice to
      Vacate on Lyndel Toppin at 146 S. 62nd Street, Philadelphia,
      PA 19139 on June 1, 2018?.

ANSWER: Denied.

25.   Admit that You caused the Sheriff to serve a Notice to
      Vacate on Lyndel Toppin at 146 S. 62nd Street, Philadelphia,
      PA 19139 on June 5, 2018?.
      Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 277 of 386



ANSWER: Denied.




26.   Admit that You caused the Sheriff to serve a Notice to
      Vacate on Lyndel Toppin at 146 S. 62nd Street, Philadelphia,
      PA 19139 on June 7, 2018?.

ANSWER: Denied.


Date: August 9, 2019                           BY: /s/ David M. Offen
                                               David M. Offen, Esquire
                                               Attorney for Defendant
                                               601 Walnut Street
                                               Suite 160 West
                                               Philadelphia, PA 19106
                                               215-625-9600
                                               Fax: 215-625-9734
                                               dmo160west@gmail.com
    Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 278 of 386



                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EATERN DISTRICT OF PENNSYLVANIA


-------------------------------:
     IN RE:                    :       Chapter 13
                               :
     LYNDELL TOPPIN,           :       Bankruptcy No. 18-13098-MDC
                               :
          Debtor               :
-------------------------------:
-------------------------------:
                               :
   LYNDEL TOPPIN,              :
                               :
          Plaintiff            :       Adv. Pro. No. 18-00137-MDC
                               :
               V.              :
                               :
   JEWELL WILLIAMS SHERIFF OF :
   THE CITY OF PHILADELPHIA    :
   and ABDELDAYEM HASSAN a/k/a :
                               :
          Defendant            :
-------------------------------:

          ABDELDAYEM HASSAN’S FIRST SET OF ANSWERS TO
          INTERROGATORIES OF PLAINTIFF LYNDEL TOPPIN

     PLEASE TAKE NOTICE THAT, pursuant to Fed. R. Bankr. P. 7033

and 9014, Fed. R. Civ. P. 33 and Local Bankr. R. 7026-1,

defendant Abdeldayem Hassan (herein after, the “Defendant”),

hereby submits the following Answers to Interrogatories of

Plaintiff, Lyndel Toppin. These Interrogatories are continuing up

to and including the time of the trial.



                    ANSWER TO INTERROGATORIES
     1. State your present full name, current address, and who,
if anyone, currently resides with you.
ANSWER:   Abdeldayem M. Hassan, 309 Barker Avenue, Lansdowne, PA
19050. My wife and my five children live with me at the address.



                                                C I T Y - 2 5
    Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 279 of 386



     2. State all addresses where you lived for the last five (5)
years, up to your present address as stated above in your answer
to Interrogatory No. 1, with approximate dates of when you
resided at those address and who resided there with you, if
anyone.

ANSWER: I have not lived anywhere else in the last five years.

     3. State your present employer, length of employment and
nature of employment.

ANSWER Boston Market, 11 Years with various job duties.

     4. State the number of Sheriff Sale properties that you have
purchased in the last 10 years in Philadelphia County and provide
their addresses?

ANSWERI purchased one other property before this but did not
proceed and gave up the deposit.

     5. Explain your rights and responsibilities after you
purchase a property at a Tax Sheriff Sale

ANSWER I was told the property was vacant, that someone comes
every two weeks, and it appeared that no one was living there. I
did speak to a person who said he would get his stuff out by
March.

     6. How long does the owner have to redeem his/her property
after a Sheriff Sale?

ANSWER See Answer to #5 as it appeared as no one was living in
the property

     7. When did the owner’s right to exclusive possession expire
after you purchased 146 S. 62nd Street, Philadelphia, 19139.

ANSWER See Answer to #5 as it appeared as no one was living in
the property

     8. Why did you file a Complaint in Ejectment on January 22,
2018 if you had no claim to possession during the redemption
period?

ANSWER See Answer to #5 as it appeared as no one was living in
the property

     9. What is the race; gender; and age of the unknown
defendant on the Return of Service/Affidavit in connection with
    Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 280 of 386



your Complaint in Ejectment filed January 29, 2018?

ANSWER Unknown. See Answers #5-8 above.



     10. What phone number and address did you list for yourself
on the Motion for Writ of Possession?

ANSWER 484-557-1737

     11. Why did you attempt to evict the Owner 2 months into 9
month statutory redemption period?

ANSWER See Answer to #5 above.

     12. Did you receive “any” letters from Dunne Law Offices
pertaining to the Toppin bankruptcy?

ANSWER I got one Notice and when I read the same, I gave it to
the Sheriff’s Office. The Sheriff kept the Notice with the
Bankruptcy information on it.

     13. What is the first notice that you received pertaining to
the Toppin bankruptcy?

ANSWER I gave it to the Sheriff.

     14. Do you use the name Mubarak?

ANSWER No.

     15. Does a person by the name of Mubarak work for you?

ANSWER He is no friend of mine.

     16. How many times did you visit 146 S. 62nd Street,
Philadelphia, 19139 to ask the occupants to vacate the property
between November 2017 and May 2018?

ANSWERI visited the property and it appeared to be vacant.
Someone who was there informed me they needed until March to get
out of the property as his friend had stuff there.

     17. How many notices did you post or mail to 146 S 62nd
Street, Philadelphia, 19139 to ask the occupants to vacate the
property between November 2017 and May 2018?

ANSWER I never sent a Notice to this property, just legal
    Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 281 of 386



documents in accordance with the law.

     18. Did you provide your phone number - 610-818-5463 to the
Sheriff’s Office?

ANSWER When I bought the home I had that number but then I
changed the number to 484-557-1737 and the Sheriff was given
Notice of the same.

     19. Did the Sheriff explain the owner’s Right of Redemption
to you after a Tax Delinquent Sale?

ANSWER No.

Date: August 9, 2019                         BY: /s/ David M. Offen
                                             David M. Offen, Esquire
                                             Attorney for Defendant
                                             601 Walnut Street
                                             Suite 160 West
                                             Philadelphia, PA 19106
                                             215-625-9600
                                             Fax: 215-625-9734
                                             dmo160west@gmail.com
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 282 of 386




                                      C I T Y - 2 6
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 283 of 386
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 284  of 386 Desc
                            Exhibit I Page 1 of 14




C I T Y - 2 7
P .   1
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 285  of 386 Desc
                            Exhibit I Page 2 of 14




                                             C I T Y - 2 7
                                             P .   2
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 286  of 386 Desc
                            Exhibit I Page 3 of 14




                                             C I T Y - 2 7
                                             P .   3
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 287  of 386 Desc
                            Exhibit I Page 4 of 14




                                            C I T Y - 2 7
                                            P .   4
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 288  of 386 Desc
                            Exhibit I Page 5 of 14




                                            C I T Y - 2 7
                                            P .   5
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 289  of 386 Desc
                            Exhibit I Page 6 of 14




                                           C I T Y - 2 7
                                           P .   6
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 290  of 386 Desc
                            Exhibit I Page 7 of 14




                                             C I T Y - 2 7
                                             P .   7
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 291  of 386 Desc
                            Exhibit I Page 8 of 14




                                         C I T Y - 2 7
                                         P .   8
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 292  of 386 Desc
                            Exhibit I Page 9 of 14




                                        C I T Y - 2 7
                                        P .   9
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 293  of 386 Desc
                           Exhibit I Page 10 of 14




                                    C I T Y - 2 7
                                    P .   1 0
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 294  of 386 Desc
                           Exhibit I Page 11 of 14




                                              C I T Y - 2 7
                                              P .   1 1
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 295  of 386 Desc
                           Exhibit I Page 12 of 14




                                                C I T Y - 2 7
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 296  of 386 Desc
                           Exhibit I Page 13 of 14




                                             C I T Y - 2 7
                                             P .   1 3
Case Case
     18-00137-mdc   Doc 30-12Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 297  of 386 Desc
                           Exhibit I Page 14 of 14




                                      C I T Y - 2 7
                                      P .   1 4
Case Case
     18-00137-mdc   Doc 30-13Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 298  of 386 Desc
                            Exhibit J Page 1 of 4




                                                C I T Y - 2 8
                                                P .   1
Case Case
     18-00137-mdc   Doc 30-13Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 299  of 386 Desc
                            Exhibit J Page 2 of 4




                                                     C I T Y - 2 8
                                                     P .   2
Case Case
     18-00137-mdc   Doc 30-13Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 300  of 386 Desc
                            Exhibit J Page 3 of 4




                                         C I T Y - 2 8
                                         P .   3
Case Case
     18-00137-mdc   Doc 30-13Document
          2:21-cv-05144-WB     Filed 10/24/18
                                       4-8 FiledEntered 10/24/18
                                                 12/16/21        16:00:37
                                                           Page 301  of 386 Desc
                            Exhibit J Page 4 of 4




                                                 C I T Y - 2 8
                                                 P .   4
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 302 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
     81,7('67$7(6%$1.5837&<&2857
     )257+(($67(51',675,&72)3(116</9$1,$
     &$6(120'&
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBB

     /<1'(/7233,1

     'HEWRU3ODLQWLII

     YV

     -(:(//:,//,$06DQG
     $%'(/'$<(0+$66$1
     DND$%'(/'<(0
     +$66$1
     'HIHQGDQWV
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBB

        

     7+856'$<'(&(0%(5

        



     2UDOGHSRVLWLRQRI/,(87(1$176($1
     7+251721WDNHQSXUVXDQWWRQRWLFHZDV
     KHOGDWWKH0XQLFLSDO6HUYLFHV%XLOGLQJ
     -RKQ).HQQHG\%RXOHYDUG3KLODGHOSKLD
     3HQQV\OYDQLDFRPPHQFLQJDWSP
     RQWKHDERYHGDWHEHIRUH/RUL$3RUWR
     D&HUWLILHG&RXUW5HSRUWHU
     .$3/$1/($0$1 :2/)(
     6287+%52$'675((768,7(
     3+,/$'(/3+,$3(116</9$1,$
       
     ZZZNOZUHSRUWHUVFRP

                      :::./:5(3257(56&20       C I T Y - 2 9
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 303 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
    $33($5$1&(6
 
    '811(/$:2)),&(63&
     %<67(3+(10'811((648,5(
    DQG
     35('5$*),/,329,&(648,5(
    0DUNHW6WUHHW
     6XLWH
    3KLODGHOSKLD3$
     
    VWHSKHQ#GXQQHODZRIILFHVFRP
     SIHVT#LILJKWMXVWLFHFRP
    &RXQVHOIRUWKH'HEWRU3ODLQWLII
 
     &,7<2)3+,/$'(/3+,$/$:'(3$570(17
   %<0(*$11+$53(5'(387<&,7<62/,&,725
     DQG
   -26+8$'20(5$66,67$17&,7<62/,&,725
     -RKQ).HQQHG\%RXOHYDUG
   5RRP
     3KLODGHOSKLD3$
   
     PHJDQKDUSHU#SKLODJRY
   MRVKXDGRPHU#SKLODJRY
     &RXQVHOIRUWKH'HIHQGDQW
   -HZHOO:LOOLDPV




   $/6235(6(17

   -(7$5,$7$</25




                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 304 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
    :,71(66,1'(;
 
    ([DPLQDWLRQRI/LHXWHQDQW7KRUQWRQ
 
     %\0U)LOLSRYLF3DJHV
 
    %\0V+DUSHU3DJHV
 
     %\0U'RPHU3DJH
 
 


















                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 305 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
    (;+,%,76
 
    ([KLELW362UGHUGDWHG
    3DJH
 
     ([KLELW36)D[&RYHU6KHHWZLWKDWWDFKPHQWV
 
     3DJH
 
    ([KLELW361RWLFHWR9DFDWHGDWHG
    3DJH

     ([KLELW361RWLFHWR9DFDWHGDWHG

     3DJH

   ([KLELW361RWLFHWR9DFDWHGDWHG
   3DJH

     ([KLELW36(YLFWLRQ1RWLFHGDWHG

     3DJH

   ([KLELW36(YLFWLRQ1RWLFHGDWHG
   3DJH

     ([KLELW36(YLFWLRQ1RWLFHDQG(QYHORSH

     3DJH

   ([KLELW36+DQGZULWWHQ1RWHV
   3DJH



                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 306 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
    (;+,%,76 &RQWLQXHG
 
    ([KLELW366KHULII V5HWXUQRI6HUYLFH6KHHW
    3DJH
 
     ([KLELW366HUYLFH(YHQW5HSRUW
 
     3DJH
 
 
 






    (;+,%,76$5($77$&+('
     727+(75$16&5,37











                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 307 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
    '(326,7,216833257
 
     5(48(67 
      5(48(67 
     5(48(67 
 
 
 
 
 


















                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 308 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
     6HDQ7KRUQWRQKDYLQJEHHQGXO\VZRUQZDVH[DPLQHG
    DQGWHVWLILHGDVIROORZV
     (;$0,1$7,212)/77+251721%<05),/,329,&
    4*RRGDIWHUQRRQ/LHXWHQDQW7KRUQWRQ
    $*RRGDIWHUQRRQ
    40\QDPHLV$WWRUQH\3UHGUDJ)LOLSRYLF
    ,ZLOOEHFRQGXFWLQJWKLVGHSRVLWLRQ
    , PMXVWJRLQJWRJLYH\RXDIHZ
    JHQHUDOSRLQWHUVWKDWZHDUHUHTXLUHGWRSURYLGHHDFK
   WLPH
   $2ND\
   05),/,329,&&RXQVHOXVXDO
   VWLSXODWLRQVLQWKLVRQH"
   06+$53(5<HV
   %<05),/,329,&
   4, OOEHDVNLQJWKHTXHVWLRQVDQG, OO
   WU\WREHVXFFLQFWZLWKP\TXHVWLRQV
   ,I\RXUDWWRUQH\KDVDQREMHFWLRQVKH
   ZLOOVRVD\IRUWKHUHFRUG
   :HPD\GLVFXVVWKHREMHFWLRQDQGVKH
   ZLOOLQVWUXFW\RXZKHWKHURUQRWWRDQVZHUWKH
   TXHVWLRQLQOLHXRIWKHREMHFWLRQ
   ,ZRXOGDVNWKDW\RXUUHVSRQVHVEH
   YRFDOVRWKDWZKLOH,FDQQRWLFH\RXUJHVWXUHV
   ZKLFKZHDOOGRLQGD\WRGD\FRQYHUVDWLRQIRU


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 309 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
    SXUSRVHVRIWRGD\ VTXHVWLRQLQJ,QHHG\RXUDQVZHUV
    WREHYHUEDOVRWKHFRXUWUHSRUWHUFDQMRWWKHPGRZQ
    IRUWKHUHFRUG
    ,VWKDWXQGHUVWRRG"
    $<HV LQGLFDWLQJ 
    4,VDZ\RXQRGGLQJ\RXUKHDG
    $<HV
    4, OODOVRJLYH\RXWKLVLQVWUXFWLRQDQG
    LW VMXVWJRLQJWREHDTXHVWLRQEXWSOHDVHGRQ W
   WKLQNDQ\WKLQJE\LW:HDVNHYHU\GHSRQHQWHYHU\
   VLQJOHGHSRQHQW
   $UH\RXXQGHUWKHHIIHFWVRIGUXJVRU
   DOFRKROWRGD\WKDWZRXOGSUHYHQW\RXIURPSURYLGLQJ
   WUXWKIXOWHVWLPRQ\"
   $1R
   43OHDVHVWDWH\RXUIXOOQDPHIRUWKH
   UHFRUG
   $6HDQ7KRUQWRQ
   4:KDWLV\RXURFFXSDWLRQ0U7KRUQWRQ"
   $'HSXW\6KHULII/LHXWHQDQWZLWKWKH
   3KLODGHOSKLD6KHULII V2IILFHDVVLJQHGWRWKH&LYLO
   (QIRUFHPHQW8QLW
   4/LHXWHQDQW7KRUQWRQKRZORQJKDYH\RX
   EHHQZLWKWKHVKHULII VRIILFH"
   $,QWRWDO\HDUV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 310 of 386
                           6HDQ7KRUQWRQ

                                                                3DJH
    4&DQ\RXGHVFULEH\RXUGXWLHV\RXU
    JHQHUDOGXWLHVLQ\RXUFXUUHQWSRVLWLRQ"
    $&LYLO(QIRUFHPHQW8QLW
    :HHQIRUFHFLYLOFRPSODLQWVZKLFK
    LQFOXGHZULWSRVVHVVLRQVZKHWKHUWKH\DUH
    H[HFXWLRQVLQMXQFWLRQV
    4,VWKLVWKHSRVLWLRQWKDW\RXKHOG
    EHWZHHQ$SULODQG$XJXVWRI"
    ,VLWWKHVDPHSRVLWLRQWKDW\RXKDYH
   QRZ"
   $1R,ZDVDVVLJQHGWRDQRWKHUXQLWDW
   WKDWWLPH
   42ND\
   6RDWWKHWLPHWKDWZHDUHKHUH
   LQTXLULQJDERXWZKDWZDV\RXUMREWKHQ"
   $,ZDVDVVLJQHGWRWKH)XJLWLYH:DUUDQW
   8QLW
   46REHWZHHQ$SULODQG$XJXVWRI
   \RXUHDOO\KDGQRWKLQJWRGRZLWK&LYLO(QIRUFHPHQW
   LVWKDWFRUUHFW"
   $,ZDVQRWDVVLJQHG\HDK,ZDVQRW
   DVVLJQHGWR&LYLO(QIRUFHPHQWWKDWLVFRUUHFW
   4'R\RXNQRZZKRZDVZLWKWKH&LYLO
   (QIRUFHPHQW8QLWDWWKHWLPH"
   $$UH\RX


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 311 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    4:KLFKGHSXW\RUOLHXWHQDQW"
    05'20(5&RXOG\RXFODULI\ZKDW
    OHYHO"
    05),/,329,&2ND\
    7KHMREWKDW\RXDUHGRLQJQRZIRU
    &LYLO(QIRUFHPHQWGR\RXNQRZZKRGLGWKDWMREIRU
    &LYLO(QIRUFHPHQWWKDWVDPHMREVDPHOHYHOLQWKH
    WLPHIUDPHWKDW, YHVSHFLILHG"
    7+(:,71(66:HKDG,QVSHFWRU0RQWH
   *XHVVDQG,QVSHFWRU$O,QQDXUDWR
   ,FDQVSHOOWKDW
   ,W V,QQDXUDWR
   05),/,329,&-XVWRQHVHFRQG
   ,ZRXOGOLNHWRFRQIHUZLWKFRXQVHODQG
   VWHSRXW
   2IIWKHUHFRUG
    2))7+(5(&25'',6&866,21
    %5,()5(&(66
   %<05),/,329,&
   4/LHXWHQDQW7KRUQWRQZKHQGLG\RXEHFRPH
   DVVLJQHGWRWKH&LYLO(QIRUFHPHQW8QLW"
   'R\RXNQRZWKHH[DFWGDWH"
   $-DQXDU\RI
   4-DQXDU\RI"
   $&RUUHFW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 312 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    46RKRZORQJZHUH\RXZLWKWKH&LYLO
    (QIRUFHPHQW8QLWSULRUWRJHWWLQJUHDVVLJQHGWR
    :DUUDQWV"
    $,ZDVUHDVVLJQHG6HSWHPEHUH[FXVHPH
    2FWREHURIDQG,UHWXUQHGWRWKH&LYLO
    (QIRUFHPHQW8QLWLQ'HFHPEHURI
    4:KHQ\RXUHWXUQHGWRWKH&LYLO
    (QIRUFHPHQW8QLWLQ6HSWHPEHURIGLGDQ\
    SROLFLHVDQGSURFHGXUHVFKDQJHIURPWKHWLPHWKDW\RX
   ZRXOGKDYHEHHQWKHUHXQWLO2FWREHURI"
   $1R
   4([FXVHP\XQIDPLOLDULW\ZLWKWKHUDQNV
   LQ\RXURIILFHEXW\RX UHDOLHXWHQDQWVRLVWKHUH
   DQ\ERG\WKDW\RXUHSRUWHGWRZLWKLQWKH&LYLO
   (QIRUFHPHQW8QLWDWWKHWLPHWKDW\RXZHUHWKHUH
   KLJKHUWKDQ\RX"
   06+$53(5&DQ\RXQDUURZWKDWGRZQ
   PD\EHEUHDNLWGRZQWRWKHWLPHIUDPHV
   05),/,329,&:HOO, PRQO\
   LQWHUHVWHGLQKLVWLPHZLWKWKH&LYLO(QIRUFHPHQW
   8QLW
   6RZKRGLG\RXUHSRUWWR"
   7+(:,71(66$WZKDWWLPH"
   05),/,329,&6HSWHPEHU
   7+(:,71(666HSWHPEHURI"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 313 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    05),/,329,&<HV
    7+(:,71(66,QVSHFWRU0RQWH*XHVV
    %<05),/,329,&
    48QWLO2FWREHURI"
    $, PVRUU\"
    48QWLO2FWREHURISULRUWRJHWWLQJ
    UHDVVLJQHGZKRGLG\RXUHSRUWWRXQWLOWKHQ"
    $,QVSHFWRU,QQDXUDWR
    4'R\RXNQRZLI,QVSHFWRUGR\RXNQRZ
   ZKHQ,QVSHFWRU0RQWH*XHVVWRRNRYHUIRU,QVSHFWRU
   ,QQDXUDWR"
   $6HSWHPEHURI
   46RWKHVDPHWLPH\RXJRWUHDVVLJQHG"
   $<HV
   ,WZDVVLPXOWDQHRXV
   ,QVSHFWRU,QQDXUDWRUHWLUHGDQG
   ,QVSHFWRU0RQWH*XHVVDVVXPHGFRPPDQGRIWKHXQLW
   42ND\
   6LULQ\RXUWLPHZLWKWKH, P
   DVNLQJDERXWWKHHQWLUHWLPHZLWKWKHVKHULII V
   RIILFH
   7R\RXUNQRZOHGJHGR\RXNQRZZKDW
   JHQHUDOO\KDSSHQVZKHQWKHVKHULIIILQGVRXWRUJHWV
   QRWLFHWKDWDGHEWRUKDVILOHGIRUEDQNUXSWF\"
   $*HQHUDOO\VSHDNLQJ"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 314 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    4<HV
    $:KHQZHJHWQRWLFHZHFHDVHRSHUDWLRQV
    FHDVHDFWLRQRQDQ\,JXHVVFRPSODLQWVRUZULW
    SRVVHVVLRQVRUZULWH[HFXWLRQV
    4:LWKLQWKHVKHULII VRIILFHLVWKHUH
    DQ\VSHFLILFSKRQHOLQHRUWROOIUHHQXPEHURUPD\EH
    QRWDWROOIUHHQXPEHUEXWDQXPEHUWKDWLV
    GHVLJQDWHGVSHFLILFDOO\IRUGHEWRUVWRFDOOLQDQG
    QRWLI\WKHVKHULIIRIKH\ZHILOHGEDQNUXSWF\"
   ,VWKHUHDQ\VXFKQXPEHU"
   $7KHUHDUHVHYHUDOQXPEHUVEXWLWDOO
   GHSHQGVRQZKDWXQLWZHOOWKHVKHULII VRIILFH
   ZHHQIRUFHFRXUWRUGHUVVRDFRXUWRUGHUFRXOGFRPH
   IURPGLIIHUHQWDUHDVRIWKHRIILFHVRLWDOOGHSHQGV
   RQZKRILOHVWKHEDQNUXSWF\DQGZKDWXQLWZKHUH
   WKHHQIRUFHPHQWLVQHHGHGVRDJHQHUDOQXPEHUDUH
   \RXDVNLQJ"
   41R
   , PDVNLQJLIWKHUHLVDVSHFLILF
   QXPEHUWKDWVD\VWRWKHSXEOLFKH\LI\RXILOH
   EDQNUXSWF\DQG\RXZDQWWRQRWLI\WKHVKHULIIWKLV
   LVWKHQXPEHUWRFDOO
   ,VWKHUHDQ\VXFKQXPEHUWKDWLVRQO\
   IRUWKDW"
   $2QO\IRUWKDWWKHUHLVQRVXFKQXPEHU


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 315 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    42ND\WKDW VILQH
    'R\RXNQRZVDPHTXHVWLRQIRUDID[
    QXPEHUZKHUHLWVD\VWRWKHSXEOLFDID[OLQHWKDW
    VD\VWRWKHSXEOLFKH\LI\RXILOHGIRUEDQNUXSWF\
    DQG\RXZDQWWRQRWLI\WKHVKHULIIWKLVLVWKHID[
    QXPEHUWRVHQGWKDWQRWLFHWR"
    $1R
    47KHVDPHTXHVWLRQIRUHPDLODGGUHVV
    $1R
   41RZ\RX YHDQVZHUHGP\TXHVWLRQDERXW
   ZKDWJHQHUDOO\KDSSHQV\RXNQRZZLWKUHVSHFWWR
   HQIRUFHPHQWHIIRUWVRQFHWKHUHLVDQRWLFHRI
   EDQNUXSWF\DQGWKDQN\RXIRUWKDWEXWGLG\RX
   UHFHLYHDQ\WUDLQLQJRQWKDWIURPWKHVKHULII V
   RIILFHDWDQ\SRLQW"
   $7UDLQLQJIRU
   47UDLQLQJLQUHJDUGVWRKRZEDQNUXSWF\
   DIIHFWVDFWLRQVRIWKHVKHULII
   $<HDK
   ,W VDFWXDOO\ZHVSHDNZLWKRXU
   VXSHULRUVDQGWKH\H[SODLQGXULQJWKHWUDLQLQJ
   SURFHVVEHIRUH\RXDUHVRUWRIIRUODFNRIDEHWWHU
   ZRUGRQ\RXURZQWRHQIRUFHFRXUWRUGHUV
   46RLW VVRPHWKLQJWKDW\RXZHUHWUDLQHG
   RQDVDSDUWRI\RXULQLWLDOWUDLQLQJSURFHVV"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 316 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    $<HV
    4,VWKHUHDQ\ZULWWHQPDWHULDOWKDW\RX
    ZHUHSURYLGHGOLNHD3RZHU3RLQWWRWKDWHIIHFWRU
    DQ\WKLQJOLNHWKDW"
    $<HV
    :HGRKDYHDWUDLQLQJPDQXDOVRWR
    VSHDN
    4$QGLW VLQWKHWUDLQLQJPDQXDO"
    $<HV
    5(48(67 05),/,329,&,ZRXOGOLNHWRPDNHD
   UHTXHVWRQWKHUHFRUGIRUSURGXFWLRQRIWKHVDLG
   WUDLQLQJPDQXDODVLWZDVUHTXHVWHGLQGLVFRYHU\DQG
   ZHKDYHQRWUHFHLYHGLW
   7KDWLVDKRXVHKROGPDWWHUEHWZHHQ
   FRXQVHOEXWQRWKLQJWRGRZLWK\RXUTXHVWLRQLQJ
   7KDQN\RX
   7RWKHEHVWRI\RXUUHFROOHFWLRQGRHV
   WKHWUDLQLQJPDQXDOVD\WKDWRQFHWKHQRWLFHLV
   JLYHQWRWKHVKHULIIRIWKHEDQNUXSWF\\RXDUHWR
   FHDVHHQIRUFHPHQWRIDQ\SHQGLQJZULWVFRPSODLQWV
   VRIRUWK"
   7+(:,71(66<HV
   %<05),/,329,&
   4<RXVDLGVLUWKDW\RXURIILFH
   JHQHUDOO\HQIRUFHVFRXUWRUGHUV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 317 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    'R\RXNQRZKRZPDQ\FRXUWRUGHUV
    KDYH\RXVHHQLQ\RXUWLPHZLWKWKHVKHULII VRIILFH"
    $QGWKLVFRXOGEHDODUJHQXPEHURUD
    VPDOOQXPEHUEXWKRZPDQ\DFWXDOFRXUWRUGHUVKDYH
    \RXVHHQZLWK\RXURZQH\HVZKHUHWKHMXGJHVLQ
    3KLODGHOSKLDKDYHVLJQHGDQRUGHUWKDWGLUHFWVWKH
    VKHULIIRUOLWLJDQWWRGRRQHWKLQJRUDQRWKHU"
    $$FRXSOHKXQGUHG
    4$FRXSOHKXQGUHGRND\IDLUHQRXJK
   ,Q\RXUH[SHULHQFHIURPKDYLQJVHHQD
   FRXSOHKXQGUHGRIWKHVHGR\RXNQRZZKDWWKHFRXUW
   LQ3KLODGHOSKLDFRQVLGHUVWREHDSURSHUID[QXPEHU
   IRUQRWLI\LQJWKHVKHULIIRIUHDOHVWDWHUHODWHG
   H[HFXWLRQV"
   $&DQ\RXUHSHDWWKDW"
   4,Q\RXUH[SHULHQFHKDYLQJVHHQDFRXSOH
   KXQGUHGRIWKHVHGR\RXNQRZKDVLWFRPHWR\RXU
   DWWHQWLRQZKDWID[QXPEHUPD\DSSHDURQWKHVHFRXUW
   RUGHUVDVWKHID[QXPEHUIRUMXGJHVWRUHO\RQIRU
   QRWLFHVWRWKHVKHULII VRIILFHZLWKUHVSHFWWRUHDO
   HVWDWHUHODWHGH[HFXWLRQV"
   $, PQRWVXUHLI,XQGHUVWDQG\RXU
   TXHVWLRQ
   05),/,329,&:HZLOOPDUNWKLV36
    ([KLELW362UGHUGDWHGLV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 318 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    PDUNHGIRULGHQWLILFDWLRQ
    %<05),/,329,&
    46LU, PJRLQJWRKDQG\RXDQH[KLELW
    WKDWKDVEHHQPDUNHGDV36
    6LUZKDW, YHJLYHQ\RXGRHVWKDW
    DSSHDUWREHDFRXUWRUGHU"
    $<HV
    4:H YHKDGWRUHGDFWWKHHQWLUHFDSWLRQ
    EXWGR\RXVHHWKDWWKDWLVD3KLODGHOSKLD&RXUWRI
   &RPPRQ3OHDV2UGHU"
   $<HV
   4&DQ\RXUHDGZKDWLWVD\VXQGHUQXPEHU
   KHUHIRUWKHUHFRUG"
   $7KHSHWLWLRQWRSRVWSRQHWKHVKHULII V
   VDOHRIUHDOSURSHUW\LVJUDQWHGDQGJUDQWHGLV
   FLUFOHGDQGWKHVDOHLVSRVWSRQHGWR
   4&DQ\RXDOVRUHDGZKDWLVXQGHUSURQJ
   WKHQH[WSURQJ"
   $$FRS\RIWKLVRUGHUVKDOOEHVHUYHGRQ
   WKHVKHULIIE\WKHSHWLWLRQHUE\HLWKHUID[LQJLWWR
   RUE\GHOLYHULQJDFRS\WRWKHVKHULII V
   RIILFHDWWKH5HDO(VWDWH'LYLVLRQILIWKIORRU/DQG
   7LWOH%XLOGLQJ6RXWK%URDG6WUHHW3KLODGHOSKLD
   3$
   47KDQN\RXVLU


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 319 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    'RHVWKLVRUGHUDSSHDUWREHVLJQHGE\
    WKHMXGJHEHORZDQGHQWHUHGLQWRWKHGRFNHW"
    $<HV
    41RZJRLQJEDFNWRWKHID[QXPEHUWKDW
    \RXUHDGRIIWKHRUGHULVWKHMXGJH
    FRUUHFWLVWKDWRQHRIWKHID[QXPEHUVLQWKH
    VKHULII VRIILFH"
    $, PQRWVXUH
    ,GRQ WNQRZ
   47KDW VILQH
   :H UHGRQHZLWKWKDWH[KLELW
   6LU, PJRLQJWRKDQG\RXWKHQH[W
   H[KLELWZH OOFDOOWKLVRQHWKLVRQHZLOOKDYH
   WKUHHSDJHV
   7KLVZLOOEH36
    ([KLELW36)D[&RYHU6KHHWZLWK
   DWWDFKPHQWVLVPDUNHGIRULGHQWLILFDWLRQ
   06+$53(5,ZRXOGMXVWUHTXHVWWKDW
   \RXJLYHKLPDQRSSRUWXQLW\WRORRNDWWKHGRFXPHQW
   EHIRUHDVNLQJ\RXUTXHVWLRQV
   05),/,329,&7KDQN\RXFRXQVHO
   3OHDVHDEVROXWHO\WDNH\RXUWLPHLQ
   ORRNLQJLWRYHU
   7+(:,71(662ND\
   %<05),/,329,&


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 320 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    4/LHXWHQDQW7KRUQWRQ\RX YHKDGDFKDQFH
    WRUHYLHZWKHGRFXPHQW
    :KDWGRHVLWDSSHDUWR\RXWREH"
    $,WLVDID[FRYHUVKHHWWKHFRYHU
    VKHHWDQGWKHID[RIDEDQNUXSWF\QRWLFHRID
    EDQNUXSWF\
    4'RHVLWLQGLFDWHWR\RXWKDWLWZDV
    VXFFHVVIXOO\WUDQVPLWWHG"
    $<HV
   4$QGGR\RXVHHWKHGDWHRIVXFK
   WUDQVPLVVLRQ"
   $<HV,GR
   4:KDWLVWKHGDWH"
   $7XHVGD\0D\WK
   4$QGVLUGR\RXVHHWKHQXPEHUWKDWLW
   ZDVWUDQVPLWWHGWR"
   $<HV
   4$QGZKDWLVWKDWQXPEHU"
   $
   41RZOHW VUHFDOO([KLELW36WKH
   SULRUH[KLELW
   7KHQXPEHU,DVNHG\RXDERXWRQWKDW
   RUGHUWKDW\RXUHDGLQWRWKHUHFRUGWKHVHWZR
   QXPEHUVGRWKH\DSSHDUWREHWKHVDPH"
   $7KH\GR


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 321 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    47KDQN\RX
    -XVWWREHFOHDU36ZKLFK\RXDUH
    VWLOOUHDGLQJLVD1RWLFHRI%DQNUXSWF\SHUWDLQLQJ
    WR/\QGHO7RSSLQ
    'R\RXVHHWKHQDPH/\QGHO7RSSLQ"
    $<HV,GR
    46LUGR\RXNQRZKRZPDQ\WLPHVWKH
    VKHULII VRIILFHDWWHPSWHGWRVHUYHDZULWRI
    SRVVHVVLRQRUHMHFWPHQWRQWKHSURSHUW\XQGHU
   ERRNZULWDW6RXWKQG6WUHHWLQ
   3KLODGHOSKLD3HQQV\OYDQLD"
   $<RXVDLGKRZPDQ\"
   4+RZPDQ\WLPHV"
   'R\RXNQRZLIWKHVKHULII VRIILFH
   ZHQWRXWWKHUHDWDOO"
   $<HV
   4/HWPHDVN\RXDJDLQ
   'R\RXNQRZLIWKHVKHULII VRIILFH
   ZHQWRXWWRH[HFXWHRQDZULWDW6RXWKQG
   6WUHHWLQ3KLODGHOSKLD3$LQWKLVFDVH"
   $<HV
   4$QGGR\RXNQRZKRZPDQ\WLPHVWKH
   VKHULII VRIILFHZHQWRXWWKHUHWRH[HFXWHRQWKH
   ZULWLQWRWDO"
   06+$53(52EMHFWLRQWRWKHIRUP


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 322 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    ,WKLQNWKHUHDUHWZRGLIIHUHQWW\SHV
    RIZULWVRUQRWLFHV
    05),/,329,&:HOOIRURXUSXUSRVHV
    WKH\DUHLQGLVWLQJXLVKDEOH
    7RUHSHDWP\TXHVWLRQGR\RXNQRZKRZ
    PDQ\WLPHVWKHVKHULII VRIILFHZHQWRXWWKHUHWR
    H[HFXWHRQWKHZULWRIWKLVSURSHUW\"
    7+(:,71(667ZRWLPHV
    %<05),/,329,&
   47ZRWLPHVRND\
   &DQ\RXWHOOXVZKLFKGDWHV"
   $,GRQRWKDYHWKHGDWHV
   ,GRQ WNQRZWKHGDWHV
   40D\,DVNKRZ\RXNQRZWKDWLWZDVWZR
   WLPHVLI\RXGRQ WUHFDOOWKHGDWHV"
   $7KDW VRXUSROLF\
   47KHSROLF\LVWRJRRXWWZRWLPHV"
   $&RUUHFW
   41RZ\RXZHUHQ WZLWKWKH&LYLO
   (QIRUFHPHQW8QLWDWWKLVWLPHFRUUHFW"
   $$WZKDWSRLQW"
   4%HWZHHQ0D\DQG$XJXVWRI
   $7KDWLVFRUUHFW
   4:RXOGWKHSHUVRQWKDWZDVLQ\RXU
   SRVLWLRQDWWKDWWLPHKDYHDEHWWHUUHFROOHFWLRQRI


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 323 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    KRZPDQ\WLPHVDQGWKHGDWHV"
    $,FDQ WWHOO\RXZKDWDSHUVRQFRXOG
    UHPHPEHU
    ,ZRXOGQ WNQRZ
    46R\RXGRQ WKDYHDQ\SHUVRQDONQRZOHGJH
    RIVHUYLQJWKHZULWRUEHLQJDWWKDWSURSHUW\"
    $1R
    4:RXOG0RQWH*XHVVNQRZ"
    $,GRQ WNQRZ
   05'20(5&DOOVIRUVSHFXODWLRQ
   %<05),/,329,&
   4:KRSHUVRQDOO\JRHVRXWWRVHUYHWKHVH"
   ,VWKDWZLWKLQWKHVFRSHRI\RXUMRE
   QRZ"
   $$UHZHVWLOOWDONLQJDERXWWKHVDPH
   DGGUHVV"
   4:H UHWDONLQJDERXWDQ\DGGUHVVZH UH
   QRWWDONLQJDERXWWKHVDPHDGGUHVV
   :H UHQRZWDONLQJJHQHUDOO\LI\RX
   KDYHDQRUGHUDQGDZULWIRUH[HFXWLRQRQDQ
   HMHFWPHQWZRXOG\RXSHUVRQDOO\EHRXWWKHUHVHUYLQJ
   LWDWWKLVWLPH"
   $1R
   42ND\
   :KRLQWKH&LYLO(QIRUFHPHQW8QLWJRHV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 324 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    RXWWKHUH"
    $:HKDYHVHYHUDOGHSXWLHVWKDWPDNH
    VHUYLFHWKURXJKRXWWKHFLW\RI3KLODGHOSKLD
    42ND\
    'R\RXNQRZZKLFKGHSXW\ZHQWRXWWR
    VHUYHWKLVWKHWZRWLPHVWKDW\RXVD\WKHVKHULII V
    RIILFHZHQWRXWWRWKLVSURSHUW\6RXWKQG
    6WUHHW"
    $<HV'HSXW\7D\ORU
   4'HSXW\7D\ORUERWKWLPHV"
   $<HV
   4'R\RXEHOLHYHVLUWKDWWKHVKHULII V
   RIILFHUHFHLYHGQRWLFHRI/\QGHO7RSSLQ VEDQNUXSWF\
   E\YLUWXHRIWKHQRWLFHWKDW\RXVDZRQ0D\WK
   PDUNHGDV36"
   'R\RXEHOLHYHWKDWWKHVKHULII V
   RIILFHUHFHLYHGQRWLFHRIKLVEDQNUXSWF\RQWKDW
   GDWH"
   $2QWKDWGDWH,GRQ WNQRZ
   4:HOOZKDWZDVWKHGDWHWKDW\RXZK\
   GRQ WZHUHFDOOWKHH[KLELW"
   :K\GRQ W\RXWDNHLWEDFNDQGUHYLHZ
   LWLI\RXQHHGWR"
   ,ZLOODVNPRUHTXHVWLRQV
   $:KLFKRQH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 325 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    436
    <RXVDLGWKHGDWHZDV0D\WKFRUUHFW"
    $2ND\\HV
    4$QG\RXVDLGWKHUHZDVDQRWLFHRI
    EDQNUXSWF\DQGLWZDVILOHGE\7RSSLQ"
    $&RUUHFW
    4$QGZHLGHQWLILHGWKDWWKHUHLVDQXPEHU
    WKDWDSSHDUVWREHDID[QXPEHU"
    $5LJKW
   4'R\RXEHOLHYHWKDWWKHVKHULII VRIILFH
   GLGLQIDFWUHFHLYHQRWLFHRI0U7RSSLQ V
   EDQNUXSWF\RQ0D\WKRIEDVHGRQWKDWGRFXPHQW"
   $%DVHGRQWKLVGRFXPHQW([KLELW\HV
   ,EHOLHYHVR
   47R\RXUNQRZOHGJHRIWKHFDVHGR\RX
   NQRZLIWKHUHZDVFRPSOLDQFHZLWKVWULNHWKDW
   $IWHUWKHQRWLFHZDVUHFHLYHGOHW VVD\DVLW
   VWDQGVZRXOGWKDWLQGLFDWHWR\RXDFFRUGLQJWRWKH
   SURFHGXUHWKDW\RX YHEHHQWUDLQHGRQWKDWWKH
   VKHULII VRIILFHZDVWRFHDVHH[HFXWLRQHQIRUFHPHQW
   DJDLQVWWKDWSDUWLFXODUGHEWRU"
   $&DQ\RXUHSHDWWKDW"
   ,MXVWZDQWWRPDNHVXUH, PFOHDU
   4:RXOGLWDSSHDUWR\RXEDVHGRQWKH
   WUDLQLQJWKDW\RXWHVWLILHGWRHDUOLHUWKDWWKH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 326 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    VKHULII VRIILFHVKRXOGKDYHFHDVHGDOOHIIRUWVWR
    H[HFXWHRQWKDWGHEWRU0U7RSSLQZKRILOHG
    EDQNUXSWF\DQGVHQWQRWLILFDWLRQDIWHU0D\WK"
    $<HV
    4,VWKDW\HV"
    $7KDWLV\HV
    4$V\RXVLWKHUHWRGD\VLU
    XQGHUVWDQGLQJWKDW\RXZHUHQ WZLWKWKLVXQLWDWWKH
    WLPHGR\RXEHOLHYHWKDWWKHVKHULII VRIILFHGLG
   FRPSO\DQGGLGWKHVKHULII VRIILFHFHDVHWU\LQJWR
   HQIRUFHDJDLQVWWKDWSDUWLFXODUGHEWRUDIWHU0D\WK"
   06+$53(52EMHFWLRQ
   ,WKLQNLWFDOOVIRUVSHFXODWLRQ
   05),/,329,&, OOMXVWUHSHDWWKH
   TXHVWLRQDQGZH OOJRIURPWKHUH
   $IWHU0D\WKGR\RXNQRZLIWKH
   VKHULII VRIILFHZHQWRXWWKHUHWRH[HFXWHRQWKLV
   ZULWDQGWRWU\WRHYLFW0U7RSSLQIURPKLV
   SURSHUW\"
   7+(:,71(66, PQRWVXUHH[DFWO\
   ZKHQLILWZDVDIWHURUEHIRUH
   , PQRWVXUH
   05),/,329,&&RXQVHODFRS\IRU
   \RXDQGVLUWKLVZLOOEH36
   ,ZLOODVN\RXWRWHOOPHLI\RX YH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 327 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    VHHQDGRFXPHQWOLNHWKDWEHIRUH
    7+(:,71(66<HV
     ([KLELW361RWLFHWR9DFDWHGDWHG
    LVPDUNHGIRULGHQWLILFDWLRQ
    %<05),/,329,&
    4'R\RXNQRZZKDWLWLV"
    $,WLVDQRWLFHWRYDFDWHDSURSHUW\RU
    ZULWSRVVHVVLRQRIUHDOSURSHUW\IURPWKHVKHULII V
    RIILFH
   4,VWKHUHDQXPEHUWKDWLGHQWLILHVLW"
   $<HVWKHUH VDVKHULII VQXPEHU
   4:KDWLVWKHQXPEHU"
   $
   4:KDWGRHVWKDWQXPEHUUHSUHVHQWWKH
   VKHULII VQXPEHU"
   $,WLVDXQLTXHQXPEHUSHUWDLQLQJWRWKH
   W\SHRIHQIRUFHPHQWWKDWZHPXVWH[HFXWHRQZKHWKHU
   LWLVDZULWRISRVVHVVLRQFRPSODLQW
   $Q\WKLQJWKDWFRPHVLQRXURIILFHLV
   LGHQWLILHGE\DVL[GLJLWQXPEHU
   4:RXOGLWEHWKHVDPHQXPEHUIRUHDFK
   WLPHWKDW\RXDWWHPSWWRVHUYHRUH[HFXWHRQWKH
   SDUWLFXODUGHEWRU"
   $<HV
   47KHQXPEHUVWD\VWKHVDPH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 328 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    $<HV
    46RLWFDQEHWLHGLQWRDSDUWLFXODU
    GHEWRU
    $&RUUHFW
    4ZKRVHQDPHLVRQWKHZULWULJKW"
    05'20(52EMHFWLRQ
    ,WKLQNWKDWPLVVWDWHVWKHWHVWLPRQ\
    WKDWKHJDYHDERXWZKDWWKHLGHQWLILHUPHDQV
    ,I\RXFRXOG
   05),/,329,&'R\RXZDQWWRKDYHWKH
   FRXUWUHSRUWHUUHDGEDFNWKHSULRUTXHVWLRQDQG
   DQVZHU"
    '(6,*1$7('48(67,21$1'$16:(5$5(
   5($'
   05),/,329,&:KDWLV\RXUREMHFWLRQ"
   ,GRQ WNQRZLI\RXDUHREMHFWLQJWRP\
   TXHVWLRQRUKLVDQVZHU
   ,GRQ WVHHDQ\URRPIRUWKHREMHFWLRQ
   WKHUH
   05'20(5)DLUHQRXJK
   06+$53(5&DQ,DVNIRUDSRLQWRI
   FODULILFDWLRQJRLQJIRUZDUGDUH\RXXVLQJWKHWHUP
   GHEWRUWRUHIHUWRLQGLYLGXDOVXSRQZKRPZULWVDUH
   EHLQJVHUYHGLQWKHFRQWH[WRIDJHQHUDOTXHVWLRQ"
   ,GRQ WWKLQNWKDW VLW VDVVXPLQJ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 329 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    \RX UHVHUYLQJWKHVHRQGHEWRUVRQO\
    05),/,329,&:HOOQRWRQGHEWRUV
    RQO\EXWLQWKLVSDUWLFXODU
    06+$53(5,WKLQNWKHWHUPGHEWRUV
    LVODFNLQJDELWRIFODULILFDWLRQEHFDXVHLWVHHPVWR
    LPSO\WKLVLVWKHSURFHGXUHZKHQZHDUHVHUYLQJRQ
    GHEWRUV
    05),/,329,&&RXQVHO\RXFDQKDVK
    WKDWRXWLQ\RXUUHGLUHFW
   06+$53(57KDWLVILQH
   %<05),/,329,&
   4,VWKHUHDORJRUGDWDEDVHZKHUHWKHVH
   VKHULII VQXPEHUVDUHUHFRUGHGDV\RXHPEDUNRQWKH
   VHUYLFH"
   $<HV
   4,VWKDWEHLQJNHSWZLWKLQWKHVKHULII V
   RIILFHWKDWGDWDEDVHRUORJ"
   $<HV
   4,VLWNHSWLQWKHUHJXODUFRXUVHRIWKH
   VKHULII VEXVLQHVV"
   $<HV
   4$QGLW VSDUWRIWKHVKHULII VUHJXODU
   EXVLQHVVWRNHHSWKLVORJ"
   $, PVRUU\"
   4,VLWWKHVKHULII VGD\WRGD\EXVLQHVV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 330 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    RQHRILWVRSHUDWLRQVWRNHHSWKLVORJNHHSWKLV
    GDWDEDVHXSWRGDWH"
    $<HV
     5(48(67 05),/,329,&&RXQVHO,ZDQWWRPDNH
    DUHTXHVWWKDWWKLVORJEHSURGXFHGWKLVGDWDEDVH
    WKDWFRQWDLQVWKHQXPEHU
    06+$53(5, PQRWWRWDOO\VXUHZH YH
    HVWDEOLVKHGWKDWLWKDVQ W
    05),/,329,&:HGLGDVNIRULWDQG
   LWKDVQRWEHHQSURGXFHG
   06+$53(5:KDWDUH\RXORRNLQJIRU"
   05'20(5:KLFKORJ"
   05),/,329,&:H UHORRNLQJIRUWKH
   ORJWKDWWKHGHSRQHQWWHVWLILHGH[LVWVZKHUHLWLVD
   GDWDEDVHWKDWZRXOGFRQWDLQWKLVQXPEHULGHQWLI\LQJ
   WKHSDUWLFXODUGHEWRUDQGDOOWKHLUDWWHPSWVWRVHUYH
   RQLW
   7KDWLVZKDWZHDUHORRNLQJIRUDQG
   ZH YHDVNHGIRULW
   05'20(5,GRQ WNQRZLIWKDWLVWKH
   ORJKHWHVWLILHGWRDVKDYLQJH[LVWHG
   05),/,329,&+HWHVWLILHGLQSODLQ
   (QJOLVKWKDWWKHUHLVDORJ
   +HMXVWWHVWLILHGWRLW
   05'20(5,WZLOOEHDGGUHVVHGRQ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 331 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    UHGLUHFW
    %<05),/,329,&
    4/LHXWHQDQW7KRUQWRQOHWPHDVN\RX
    WKLV
    6D\\RXJREDFNWR\RXURIILFHDQG\RX
    ZDQWWRORRNXSVRPHWKLQJZLWKUHJDUGWRWKLV/\QGHO
    7RSSLQSHUVRQ
    &DQ\RXSXOOWKDWXSRQWKHGDWDEDVH
    WKDW\RXMXVWPHQWLRQHGE\XVLQJWKLVQXPEHUWKDW\RX
   MXVWLGHQWLILHG"
   $,I/\QGHO7RSSLQ VQDPHLVDVVRFLDWHG
   ZLWKWKLVQXPEHURUDQ\QXPEHUWKHQ\HVLWZRXOG
   EHWKHUHLI/\QGHO7RSSLQ VQDPHFRPHVXS
   :HFDQORRNXSDSHUVRQE\QDPHRU
   DGGUHVVRUWKLVQXPEHUKHUH LQGLFDWLQJ 
   42ND\JUHDW
   6RLI\RXZHUHWRW\SHLQWKHQXPEHU
   WKHUHWKDW\RXVHHRQ36LILW VLQWKHGDWDEDVH
   LWZRXOGEHVXIILFLHQWWRVKRZ\RXHYHU\WKLQJWKH
   VKHULIIGLGRQWKDWSDUWLFXODUQXPEHURUDOOWKH
   DFWLRQVRIVHUYLFHDWOHDVWWULSVWKH\PDGHWRWKH
   SURSHUW\WRWKHGHEWRU"
   $<HV
    5(48(67 05),/,329,&7KDWLVZKDWZHDUH
   UHTXHVWLQJRQWKHUHFRUGDJDLQWKDWWKDWSRUWLRQ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 332 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    RIWKHGDWDEDVHEHSURGXFHG
    06+$53(5,WKLQNZHFDQSRLQWWR
    \RXWKDWLWKDVEHHQSURGXFHGDQGZHZLOOGRWKDWRQ
    UHGLUHFW
    %<05),/,329,&
    46LU,DVNHG\RXHDUOLHULIWKHVKHULII
    GLGFRPSO\DIWHUUHFHLYLQJWKHQRWLFHDQGGLGLWPDNH
    DQ\PRUHWULSVWRWKHSURSHUW\DQG\RXVDLG\RX
    ZHUHQ WVXUHLILWZDVEHIRUHRUDIWHU
   'R\RXUHFDOOWKDW"
   :HFDQUHDGLW
   $$UH\RXWDONLQJDERXWWKH0D\WKGDWH"
   4<HV
   $,FDQ WUHPHPEHULILWZDVWKDWGD\
   4<RXFDQ WUHPHPEHULIWKHVKHULIIPDGH
   DQ\PRUHWULSVWRWKHSURSHUW\DIWHU0D\WKFRUUHFW"
   $<HDK, PQRWVXUHH[DFWO\
   42ND\
   1RZLI\RXZHUHWRW\SHLQWKHQXPEHU
   ZH YHWDONHGDERXWIURP36FDOOHGWKHVKHULII V
   QXPEHULQWRWKHGDWDEDVHWKDWZHPHQWLRQHGZRXOG\RX
   EHDEOHWRVHHDOOWKHHIIRUWVWKDWZHUHPDGHDQG
   JLYHXVDQDQVZHUWRWKHTXHVWLRQ"
   $<HV
   47KDQN\RX


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 333 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    %DFNWRTXHVWLRQVRQ36
    'R\RXVHHWKHGDWHLQWKHERWWRP
    OHIWKDQGFRUQHU"
    $<HV
    4:KDWLVWKHGDWHWKHUH"
    $,WVD\V
    4,VWKLVWKHQRWLFHRUDWUXHDQGFRUUHFW
    FRS\RIWKHQRWLFHWKDWWKHVKHULII VGHSDUWPHQWOHIW
    DW/\QGHO7RSSLQ VUHVLGHQFH6RXWKQG6WUHHW
   RQ0D\WK"
   06+$53(52EMHFWLRQWRIRUP
   05),/,329,&<RXFDQDQVZHU
   $VORQJDVVKHGRHVQ WLQVWUXFW\RXQRW
   WRDQVZHU\RXFDQDQVZHUWKHTXHVWLRQLI\RXNQRZ
   7+(:,71(66,GRQ WNQRZZKDW
   SURSHUW\WKLVLVDVVRFLDWHGZLWK LQGLFDWLQJ 
   %<05),/,329,&
   4%XWLI\RXZHUHWRUXQWKHVKHULII V
   QXPEHUWKURXJKWKHGDWDEDVHLWZRXOGWHOO\RX"
   $<HV
   05),/,329,&7KLVZLOOEH36
    ([KLELW361RWLFHWR9DFDWHGDWHG
   LVPDUNHGIRULGHQWLILFDWLRQ
   %<05),/,329,&
   4'R\RXVHHWKHGRFXPHQWWKHUH,MXVW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 334 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    KDQGHG\RX"
    $<HV
    4:KDWGRHVLWDSSHDUWREH"
    $,WDSSHDUVWREHDGXSOLFDWHRI36
    4:KHQ\RXVD\GXSOLFDWHLVHYHU\WKLQJ
    H[DFWO\WKHVDPHDV36IHHOIUHHWRFRPSDUHRULV
    PD\EHDGDWHGLIIHUHQWLQWKHERWWRPOHIWKDQG
    FRUQHU"
    $(YHU\WKLQJDSSHDUVWKHVDPHH[FHSWWKH
   GDWHLQWKHERWWRPOHIWKDQGFRUQHU
   4$QGWKHVKHULII VQXPEHULVWKHVDPHDV
   LQ36"
   $7KDWLVFRUUHFW
   05),/,329,&36
    ([KLELW361RWLFHWR9DFDWHGDWHG
   LVPDUNHGIRULGHQWLILFDWLRQ
   %<05),/,329,&
   46DPHTXHVWLRQIRU36
   ,VHYHU\WKLQJWKHVDPHRQWKH36
   GRFXPHQW"
   $<HVHYHU\WKLQJLVWKHVDPHH[FHSWWKH
   GDWH
   4,VWKDWKDQGZULWWHQGDWHWKHUHRQDOO
   WKHVHH[KLELWV36DQG"
   $,EHOLHYHVR\HDK


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 335 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    4'R\RXUHFRJQL]HWKHKDQGZULWLQJE\DQ\
    FKDQFH"
    $,GRQRW
    05),/,329,&36
     ([KLELW36(YLFWLRQ1RWLFHGDWHG
    LVPDUNHGIRULGHQWLILFDWLRQ
    %<05),/,329,&
    46LUORRNLQJDW36KDYH\RXVHHQWKDW
    GRFXPHQWEHIRUH"
   $7KLVSDUWLFXODURQH LQGLFDWLQJ "
   4<HV
   $<HV
   4:KDWGRHVWKDWVHHPWREH"
   &DQ\RXGHVFULEHLWIRUXV"
   $7KLVLVDILQDOHYLFWLRQQRWLFH
   4)RUZKLFKDGGUHVV"
   $:HOOLW VFRQVLVWHQWZLWKVKHULII V
   QXPEHUDQGLWORRNVOLNH6RXWKQG
   6WUHHW
   4:KDWLVWKHGDWHRQWKDWGRFXPHQW"
   $7KHGDWHZKLFKGDWH"
   47KHGDWHWKDW\RXVRLQWKH
   OHIWKDQGFRUQHUWKHKDQGZULWWHQGDWHGR\RXVHH
   ZKDWLWLV"
   $7KHKDQGZULWWHQGDWHLV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 336 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    4$QGWKHUHLVDQRWKHUGDWHIURPWKH&RXUW
    VWDPSHGEHORZFRUUHFW"
    $<HV
    47KHGDWHZHDUHFRQFHUQHGZLWKKHUH
    DSSHDUVQH[WWRWKHDGGUHVVFRUUHFWWRWKHOHIWRI
    WKHDGGUHVV"
    $<HV
    05),/,329,&36
     ([KLELW36(YLFWLRQ1RWLFHGDWHG
   LVPDUNHGIRULGHQWLILFDWLRQ
   %<05),/,329,&
   46LUWKHVDPHOLQHRITXHVWLRQLQJIRU
   WKDWSDUWLFXODUGRFXPHQW
   $<HVLW VWKHVDPHDV36
   ,W VWKHVDPHGRFXPHQWEXWWKHGDWHLV
   GLIIHUHQWLQWKHOHIWKDQGFRUQHU
   46DPHDGGUHVV"
   $<HV
   4:KDWLVWKHGDWHRQWKHODWHVWGRFXPHQW"
   $
   41RZ\RXVDLG\RXKDGVHHQWKHVH
   GRFXPHQWVZKHQ,MXVWDVNHG\RXQRZ
   ,VWKLVJHQHUDOO\ZKDWWKHGRFXPHQW
   ORRNVOLNHWKDWWKHVKHULII VGHSDUWPHQWVHUYHVRQ
   $7KDWLVFRUUHFW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 337 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    05),/,329,&7KLVZLOOEHPDUNHG
    QH[WDV36
     ([KLELW36(YLFWLRQ1RWLFHDQG
    (QYHORSHLVPDUNHGIRULGHQWLILFDWLRQ
    %<05),/,329,&
    4,ZLOOKDQG\RXDQRWKHURQHLQWKLV
    VHULHV
    7KDWGRFXPHQWFDQ\RXGHVFULEHWKH
    ERWWRPSRUWLRQEHORZZKDWDSSHDUVWREHWKHHQYHORSH"
   'R\RXVHHWKHERWWRPSDUWRILW"
   $<HV
   41RZFRXOG\RXWHOOXVZKDWWKDWLV"
   ,VLWWKHVDPHDGGUHVVILUVWRIDOO"
   $,WLVWKHVDPHDGGUHVVDV36DQG36
   PLQXV, PVRUU\
   4*RDKHDG
   $,WGRHVQ WKDYHWKHZULWLWVHOI
   4:KDWDERXWWKHVKHULII VQXPEHU"
   $,WKDVWKHVDPHVKHULII VQXPEHU
   46DPHDVDOOWKHRWKHUH[KLELWV"
   $7KDWLVFRUUHFW
   4,VWKHUHDGDWHRQWKDWRQHWKDWLV
   KDQGZULWWHQ"
   $7KHUH VWZRGDWHVWKDWDUHKDQGZULWWHQ
   RQWKLVGRFXPHQW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 338 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    4*RDKHDGDQGWHOOXVZKDWWKH\DUH
    $2QHGDWHVD\V
    4$QGWKDWLVRQWKHHQYHORSH"
    $7KDWLVRQWKHHQYHORSH
    4:KDWDERXWWKHDFWXDOGRFXPHQWEHORZ"
    $,WKDV-XQHWK
    4,VWKDWDILQDOHYLFWLRQQRWLFH"
    $<HV
    05),/,329,&36
   &RXQVHO\RX YHEHHQSURYLGHGWKLV
   GRFXPHQWLQGLVFRYHU\
   ,GRQ WKDYHFRSLHV
   05'20(5,FDQPDNHFRSLHV
    %5,()5(&(66
    ([KLELW36+DQGZULWWHQ1RWHVLV
   PDUNHGIRULGHQWLILFDWLRQ
   %<05),/,329,&
   4%HIRUHZHJHWLQWRWKDWGR\RXUHFDOO
   PHDVNLQJ\RXDERXWDGDWDEDVH"
   $<HV
   4,VWKHUHDQDPHWKDW\RXDVVRFLDWHZLWK
   WKDWGDWDEDVH"
   ,VWKDWWKH-HZHOOV\VWHP"
   $<HVWKDWLVFDOOHGWKH-HZHOOV\VWHP
   WKDWLVFRUUHFW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 339 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    4*RLQJEDFNWR36GR\RXNQRZWKLV
    GRFXPHQWKDVEHHQSURYLGHGE\\RXUDWWRUQH\VRUWKH
    DWWRUQH\VIRU3KLODGHOSKLDGR\RXNQRZZKDWWKLVLV"
    $$FRS\RIWKHORJERRNRI-XQHWK
    4-XQHWKORJERRN"
    $$SDJHLQWKHORJERRNGDWHG-XQHWK
    4"
    $,WGRHVQ WKDYHWKH\HDU
    4+DYH\RXHYHUVHHQWKLVEHIRUH"
   $,KDYHQRWVLU
   4'R\RXNQRZZKR+DVVDQLV"
   <RXZRXOGQ WNQRZ
   -XQHWKLWVD\VDWWKHWRSRIWKH
   SDJHULJKW"
   $7KDWLVFRUUHFW
   4$QGWKHQLWKDVSP
   7KDWLVWKHILUVWRQH0HWURSROLWDQ
   &RQWUDFWLQJULJKW"
   $<HV
   4%HORZWKDWDUHVRPHRWKHUQDPHVEXW
   WKH\DUHHDUOLHUFRUUHFW"
   $(DUOLHU
   4(DUOLHUWKDQSP
   $7KDWLVFRUUHFW
   4,WDSSHDUVWKDWWKH\DUHDP


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 340 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    $7KDWLVFRUUHFW
    4$QGWKHODVWRQHDWWKHERWWRPLV"
    $7KDWLVFRUUHFW
    4'R\RXVHHWKHGDWHRQWKHOHIWKDQG
    VLGHWKDWVWDUWVZLWK"
    'R\RXVHHDGDWHLQWKHOHIWKDQG
    FRUQHULQWKHPDUJLQWRWKHOHIW"
    $,VHHQXPEHUV
    ,ZRXOGQ WNQRZLILWLVDGDWHRU
   DQ\WKLQJ
   ,VHHQXPEHUV
   4<HVQXPEHUVDUHZKDW, PDVNLQJIRU
   $<HV,GR
   4'R\RXNQRZZKDWWKRVHQXPEHUVUHSUHVHQW
   RUKRZWKH\DUHDVVLJQHG"
   $7KDWLVDVKHULII VQXPEHUXQLTXH
   VKHULII VQXPEHU
   46RWKDWLVWKHVDPHQXPEHUWKDWZRXOGEH
   RQWKHWKHVKHULII VQXPEHUWKDWZDVRQWKH
   H[KLELWVVDPHW\SHRIQXPEHU"
   $6DPHW\SHRIVL[GLJLWQXPEHUWKDWLV
   DVVLJQHGWRDSDUWLFXODUFDVH
   46ROHW VVFUROOGRZQWRZKHUH\RXVHH
   WKHDGGUHVVLQWKHPLGGOHRIWKHSDJH6RXWKQG
   6WUHHW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 341 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    'R\RXVHHWKDW"
    $<HV
    4&RXOG\RXUHDGWKDWOLQHIRUXV"
    $,WVD\VXQNQRZQRFFXSDQWVLWKDVWKH
    DGGUHVVKDVWKHWLPH6RXWKQG6WUHHWDQG
    WKHQLWVD\VEDQNUXSWF\ILOHGWKHQLWKDVDFLUFOH
    QH[WWRDQDPHWKDWKDV+DVVDQWKHQLWKDVDSKRQH
    QXPEHU
    42ND\
   6LUKDYH\RXVHHQQRWWKLVSDUWLFXODU
   SDJHEXWWKHYLVLWRUVORJVLJQLQVKHHW"
   +DYH\RXVHHQWKDW
   $9LVLWRUVORJVLJQLQVKHHW"
   47KHYLVLWRUVORJ
   $,GRQ WXQGHUVWDQG
   47KHVKHULII VRIILFHZKHQSHRSOHFRPH
   LQIRUVHUYLFHGRWKH\KDYHWRJLYHWKHLU,'"
   $<HV
   4$QGWKHQDQHPSOR\HHRIWKHVKHULII V
   RIILFHVLJQVLW VQRWWKHDFWXDOYLVLWRUVZKR
   ZULWHLQWKLVERRNEXWWKHVKHULII VSHUVRQZULWHV
   LQWKLVERRNULJKW"
   $<HV
   4$QGWKH\DUHVXSSRVHGWRZULWHWKHLU
   QDPH"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 342 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    $<HV
    4, PMXVWZRQGHULQJLI\RX YHHYHUVHHQ
    WKLVERRNZKHUHWKH\ZULWHWKHVHQDPHV
    $1R,KDYHQRW
    4,VLWSRVVLEOHWKDWWKHFORVHRIWKHGD\
    RQ)ULGD\ZRXOGEHRQWKHVDPHSDJHZLWKWKH
    EHJLQQLQJRIWKHGD\RQ0RQGD\"
    06+$53(52EMHFWLRQWRIRUP
    <RXFDQDQVZHU
   %<05),/,329,&
   4,QRWKHUZRUGVVD\WKHODVWSHUVRQWKDW
   FDPHLQRQ)ULGD\ZDVVLJQHGLQE\WKHVKHULII V
   RIILFHDQGWKH\GLGWKHLUEXVLQHVVDQGWKH\OHIWDQG
   QRZWKHVKHULII VRIILFHFORVHGRYHUWKHZHHNHQG
   SUHVXPDEO\WKDWXQLWDQGWKHQZKHQLWRSHQVXSRQ
   0RQGD\WKHILUVWYLVLWRUFRPHVLQRQ0RQGD\FRXOG
   LWEHSRVVLEOHWKDWWKH\ZRXOGEHRQWKHVDPHSDJHLQ
   WKHERRN"
   06+$53(52EMHFWLRQWRIRUPFDOOV
   IRUVSHFXODWLRQ
   +HVDLGKH VQHYHUVHHQLW
   05),/,329,&, PDVNLQJKLPLIKH
   WKLQNVLW VSRVVLEOH
   7+(:,71(66$Q\WKLQJ
   05),/,329,&/HWPHUHSKUDVHLW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 343 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    2WKHUWKDQWKLV-XQHWKGDWHKRZGR
    \RXNQRZWKDWWKHVHSHRSOHZKRVHQDPHVDSSHDUKHUH
    ZHUHLQIDFWDWWKHVKHULII VRIILFHRQ-XQHWK
    DQGDQ\GD\SULRU"
    06+$53(52EMHFWLRQDVVXPHVIDFWV
    QRWLQHYLGHQFH
    <RXDUHDVVXPLQJWKLVLVWKHORJERRNRI
    YLVLWRUV
    %<05),/,329,&
   4'R\RXNQRZZKHUHWKLVVKHHWFDPHIURP"
   $7KLVVKHHWORRNVVLPLODUWRKRZZH
   VFKHGXOHHYLFWLRQV
   42ND\DOOULJKW
   6RZKRGR\RXWKLQNZURWHWKLV"
   $,FDQ WWHOO
   ,KDYHQRLGHD
   4:KRVFKHGXOHVHYLFWLRQV"
   $,VFKHGXOHHYLFWLRQV
   42ND\
   6RGRHVWKDWPHDQWKDW,QVSHFWRU0RQWH
   ZRXOGKDYHEHHQWKHRQHWRKDYHZULWWHQDVFKHGXOHRI
   WKHVHHYLFWLRQVJLYHQWKHWLPHSHULRG"
   $1RWQHFHVVDULO\
   4&RXOG\RXH[SODLQZKRZH UHORRNLQJ
   WRLGHQWLI\WKHSHUVRQZKRVFKHGXOHGWKHHYLFWLRQ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 344 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    &RXOG\RXVKDUHDQ\NQRZOHGJHRIWKDW
    IDFW"
    $,GRQRWNQRZ
    ,FDQMXVWWHOO\RXWKDWZKHQ,
    UHWXUQHGWRWKHXQLW,WRRNRQWKHUHVSRQVLELOLW\RI
    VFKHGXOLQJHYLFWLRQV
    46XUH
    'R\RXNQRZZKRKDGWKDWUHVSRQVLELOLW\
    SULRUWR\RXUUHWXUQWRWKHXQLW"
   $,GRQRWUHFDOO
   4)DLUHQRXJK
   :RXOGWKHVFKHGXOLQJRIHYLFWLRQVEH
   ORJJHGLQWKH-HZHOOV\VWHPDVZHOO"
   $<HV
   05),/,329,&36
    ([KLELW366KHULII V5HWXUQRI
   6HUYLFH6KHHWLVPDUNHGIRULGHQWLILFDWLRQ
   %<05),/,329,&
   46LU, PJRLQJWRKDQG\RX36
   +DYH\RXVHHQDGRFXPHQWOLNHWKDW
   EHIRUH"
   'R\RXNQRZZKDWWKDWLV"
   $,WORRNVOLNHDVKHULII VUHWXUQRI
   VHUYLFH
   4,VLWVLJQHGE\DQ\ERG\DWWKHERWWRP"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 345 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    $<HVWKHVKHULII-HZHOO:LOOLDPV
    4$Q\ZKHUHLQWKHGRFXPHQWLVLWLQGLFDWHG
    WKDWWKHEDQNUXSWF\ZDVILOHG"
    $,WVD\VEDQNUXSWF\ILOHGLQVKHULII V
    RIILFH
    46RLWVD\VRND\DQGLW V
    VLJQHGE\-HZHOO:LOOLDPV
    ,VLWIDLUWRVD\WKDW-HZHOO:LOOLDPV
    WKHVKHULIIRI3KLODGHOSKLDDFFRUGLQJWRWKLV
   GRFXPHQWZDVDZDUHRIEDQNUXSWF\EHLQJILOHGLQWKLV
   FDVHHYHQDVHDUO\DVWKHWKRI0D\"
   06+$53(52EMHFWLRQWRIRUPFDOOV
   IRUVSHFXODWLRQ
   05),/,329,&&DQKHDQVZHUWKH
   TXHVWLRQ"
   06+$53(5<HV
   7+(:,71(66, PQRWVXUHLIKHZDV
   DZDUHRIWKLV
   %<05),/,329,&
   4*RLQJWRWKHGDWHRIFDQ\RX
   UHDGLWDJDLQIRUXVIRUWKHUHFRUG"
   $%DQNUXSWF\ILOHGLQVKHULII VRIILFH
   42ND\
   /RRNDWWKHWRSFDSWLRQRIWKHSDJH
   WKHFDVHQXPEHU


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 346 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    7R\RXUNQRZOHGJHLVWKLVWLHGWRWKH
    SURSHUW\DW6RXWKQG6WUHHWWKDWZH YHEHHQ
    GLVFXVVLQJKHUHWRGD\"
    $,GRQ WNQRZ
    4, PJRLQJWRUHSUHVHQWWR\RXWKDWLWLV
    WKDWFDVHQXPEHUDQGWKHZULWQXPEHUDQGWKDWWKH
    SHUVRQLQTXHVWLRQLV/\QGHO7RSSLQ
    06+$53(52EMHFWLRQWRIRUP
    7KHUHLVQRZULWQXPEHURQWKLV
   GRFXPHQW
   05),/,329,&7KHZULWQXPEHULVLQ
   WKHSDUHQWKHVLVEHORZWKHFDVHQXPEHU
   06+$53(52K\RXPHDQOLNHWKHERRN
   DQGZULWQXPEHU"
   05),/,329,&<HV
   06+$53(52ND\
   %<05),/,329,&
   41RZ,ZLOOUHSUHVHQWWR\RXWKDWWKLV
   FDVHFDSWLRQDQGWKHZULWQXPEHUSHUWDLQWRWKH
   SURSHUW\DW6RXWKQG6WUHHWDQG/\QGHO7RSSLQ
   1RZKDYLQJVDLGWKDW, PVXUH\RXU
   FRXQVHOZLOOQRWREMHFWJRLQJEDFNWRWKLVOLQH
   EDQNUXSWF\ILOHGLQVKHULII VRIILFHDQGVLJQHGE\
   -HZHOO:LOOLDPVGRHVWKDWQRZUHSUHVHQWWR\RXLV
   LWIDLUWRVD\WKDW-HZHOO:LOOLDPVZDVDZDUHWKDW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 347 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    WKHUHZDVDEDQNUXSWF\ILOHGE\0U7RSSLQDVHDUO\
    DVWKHWKRI0D\"
    $,I\RXDUHDVNLQJPHZDVKHDZDUH
    SHUVRQDOO\,GRQ WNQRZEXW
    4:KHQ,VD\SHUVRQDOO\,PHDQWKH
    VKHULIIDVLQWKH2IILFHRIWKH6KHULII
    $:HOO\HV
    4,VKRXOGUHSKUDVHWKDW
    1RWSHUVRQDOO\0U:LOOLDPVEXWWKH
   VKHULII VRIILFHWKDWKHUHSUHVHQWVLQKLVFDSDFLW\
   DVWKHVKHULII
   /HW VDVNWKDWTXHVWLRQFOHDQO\QRZ
   WKDWZHJRWDOOWKDWRXWRIWKHZD\
   ,VLWIDLUWRVD\DFFRUGLQJWRWKLV
   GRFXPHQW
   06+$53(52EMHFWLRQDVNHGDQG
   DQVZHUHG
   05),/,329,&/HWPHDVNLW
   WKDWWKH3KLODGHOSKLD6KHULII V
   2IILFHZDVDZDUHWKDW0U7RSSLQILOHGIRUEDQNUXSWF\
   DVHDUO\DVWKHWKRI0D\"
   06+$53(52EMHFWLRQDVVXPHVIDFWV
   QRWLQHYLGHQFH
   05),/,329,&<RXFDQDQVZHU
   7+(:,71(66<HV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 348 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    05),/,329,&7KLVZLOOEHPDUNHGDV
    36
     ([KLELW366HUYLFH(YHQW5HSRUWLV
    PDUNHGIRULGHQWLILFDWLRQ
    %<05),/,329,&
    4, YHKDQGHG\RXDGRFXPHQWWKDWVD\V
    6HUYLFH(YHQW5HSRUWDQG, PJRLQJWRDVN\RXGRHV
    WKLVGRFXPHQWORRNIDPLOLDU"
    +DYH\RXVHHQWKHVHW\SHVRIHQWULHV
   EHIRUH"
   $<HV
   4:KDWGRWKH\UHSUHVHQWWR\RX"
   $,WUHSUHVHQWVWKHDFWLRQVWDNHQ
   DFFRUGLQJWRWKLVSDUWLFXODUVKHULII VQXPEHU
   4:KDWLVWKHDFWLRQWDNHQKHUHWKDWLV
   GHVFULEHGLQWKLVGRFXPHQW"
   $,WVD\VWKDWWKHGHSXW\SRVWHGDFRS\RI
   DZULWRISRVVHVVLRQRQWKHDGGUHVVDW6RXWKQG
   6WUHHW
   4:DVWKDWGRQHRQWKHWKRI0D\"
   $7KDWLVFRUUHFW
   4'R\RXKDYHDQ\UHDVRQLQWKHXQLYHUVH
   WRGRXEWWKHDFFXUDF\RIZKDWWKDWUHSUHVHQWVWKDW
   HQWU\"
   $,GRQRW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 349 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    05),/,329,&6LUWKDQN\RXVRPXFK
    IRUFRPLQJ
    :HKDYHQRPRUHTXHVWLRQVIRU\RX
    7+(:,71(667KDQN\RX
     (;$0,1$7,212)/77+251721%<06+$53(5
    4/LHXWHQDQW7KRUQWRQHDUOLHUWKHUHZDV
    VRPHGLVFXVVLRQWKDW\RXZHUHSUHVHQWIRUUHJDUGLQJD
    UHFRUGWKDWLVNHSWRIDFWLRQVWDNHQZLWKUHVSHFWWR
    WKHVKHULII VQXPEHUVZH YHLGHQWLILHGKHUH
   +HUHZH UHORRNLQJDWDVKHULII V
   QXPEHURQ3RI
   'R\RXVHHWKDWLQWKHWRSOHIWFRUQHU"
   $<HV
   4,VWKLVWKHGDWDEDVHRIWKHUHFRUG\RX
   ZHUHUHIHUULQJWRHDUOLHU"
   $<HV
   05'20(5&RXOGZHKDYHDEULHI
   PRPHQWWRFRQVXOWLQFDVHWKHUHLVDQ\WKLQJHOVHZH
   PLVVHG"
   05),/,329,&&HUWDLQO\
    %5,()5(&(66
    (;$0,1$7,212)/77+251721%<05'20(5
   4/LHXWHQDQW7KRUQWRQUHIHUULQJQRZEDFN
   WR36WKH6HUYLFH(YHQW5HSRUWWKDWZHMXVW
   WDONHGDERXWMXVWFODULI\GR\RXKDYHDQ\SHUVRQDO


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 350 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    NQRZOHGJHDERXWWKLVSDUWLFXODUUHSRUWDQGZKHQLW
    ZDVHQWHUHGKRZLWZDVHQWHUHG"
    3HUVRQDONQRZOHGJH
    $2QWKLVGDWHZKHQLWKDSSHQHG"
    4, PMXVWDVNLQJLI\RXNQRZSHUVRQDOO\
    DERXWWKHHQWU\RQWKLV6HUYLFH(YHQW5HSRUW
    $1R
    05'20(51RWKLQJIXUWKHU
     (;$0,1$7,212)/77+251721%<05),/,329,&
   4-XVWDEULHIIROORZXSEDVHGRQZKDWZDV
   DVNHGVXEVHTXHQWWRP\TXHVWLRQLQJ
   6LU\RXZHUHDVNHGLI36DQG36
   ZHUHSDUWRUGRFXPHQWVWKDWZRXOGEHFRQWDLQHGLQWKH
   -HZHOOGDWDEDVHDQG\RXDQVZHUHGDIILUPDWLYHO\
   ULJKW"
   06+$53(52EMHFWLRQWRIRUP
   ,DVNHGDERXW
   05'20(5:HDVNHGDERXWLWEHLQJLQ
   WKH-HZHOOV\VWHP
   05),/,329,&3OHDVHUHUHDG&RXQVHO
   +DUSHU VTXHVWLRQV
    '(6,*1$7('48(67,21$1'$16:(5$5(
   5($'
   %<05),/,329,&
   436DQG36ZRXOGWKHVHEHWKH


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 351 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    W\SHVRIGRFXPHQWVWKDWDUHNHSWLQ-HZHOODQGLV
    WKLVIURP-HZHOOWKHVHH[FHUSWVLI\RXZLOORIWKH
    UHFRUG"
    $,WLVNHSWLQ-HZHOO
    46RLW VNHSWLQWKHUHJXODUFRXUVHRI
    WKHVKHULII VEXVLQHVVWKHVHWZRGRFXPHQWV"
    $7KDWLVFRUUHFW
    4$QGWKH\DUHHQWHUHGDQGPDLQWDLQHGE\
    VKHULII VVWDII"
   $<HV
   4$QGLVLWSDUWRIWKH
   UHJXODUO\FRQGXFWHGEXVLQHVVDFWLYLWLHVRIWKH
   VKHULIIWRFUHDWHDQGPDLQWDLQWKHVHW\SHVRIORJV"
   $<HVDFFRUGLQJWRWKHGLYLVLRQ
   47KDQN\RX
   7KHODVWTXHVWLRQSUREDEO\WKHODVW
   TXHVWLRQWKHVHDUHRQO\VRPHRIWKHFRQWHQWVRI
   -HZHOOEXWDOOWKHDWWHPSWVRUDOOWKHDFWLRQVDQG
   DWWHPSWVWRVHUYHDQGH[HFXWHRQWKHZULWDUHQRW
   DQ\ZKHUHLQWKHVHWZRGRFXPHQWVFRUUHFW"
   06+$53(52EMHFWLRQ
   ,WDVVXPHVIDFWVQRWLQHYLGHQFH
   %<05),/,329,&
   4:HOOGR\RXVHHRQHLWKHURIWKHVHWZR
   GRFXPHQWVZKHUHWKHUHLV,DPJRLQJWRUHVSRQGWR


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 352 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    WKDW
    7KLVLVLQHYLGHQFH
    +HWHVWLILHGWKDWDOOWKHDWWHPSWVWKDW
    WKHVKHULIIZRXOGPDNHZRXOGEHORJJHGLQWR-HZHOO
    DQG, PDVNLQJWKDWKHFRQILUPWKDWWKHVHDWWHPSWV
    DUHQRWWREHIRXQGLQWKHVHWZRSLHFHVRISDSHU
    06+$53(5:KDWDWWHPSWV"
    05),/,329,&7KHDWWHPSWVRIWKH
    VKHULIIDQGDOOWKHGDWHVWKDWKHZHQWRXW
   06+$53(5'R\RXUHDOL]HWKDW\RXU
   FOLHQWDGPLWWHGWRSXWWLQJWKRVHGDWHVRQWKH
   GRFXPHQWV"
   $JDLQ\RX UHDVVXPLQJIDFWVLQ
   HYLGHQFH
   05),/,329,&, PQRWJRLQJWRVKDUH
   P\OLWLJDWLRQVWUDWHJ\EXWPD\EHEHFDXVHRIWKDWZH
   QHHGWKHUHFRUGIURPWKHVKHULIIWKDWZHQRZNQRZ
   H[LVWV
   06+$53(5, PVWLOOQRWVXUHZKDWLV
   PLVVLQJ
   05),/,329,&, PSUHWW\VXUHLWLV
   LQSODLQ(QJOLVK
   ,I\RXW\SHLQWKHQXPEHUWKLV
   GDWDEDVHZLOOUHYHDODOOWKHDWWHPSWVRIWKHVKHULII
   WRVHUYHRUH[HFXWHRUHYLFWEDVHGRQWKDWQXPEHUDQG


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 353 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    LWZLOOWLHLQWRWKHSURSHUW\DQG0U7RSSLQ
    7KDWLVWKHSDUWRIWKHUHFRUGWKDWZDV
    QRWSURGXFHGDQGLW VYHU\FULWLFDOHYLGHQFH
    FRXQVHO
    6LURQHPRUHWLPHRQWKHVHWZR
    GRFXPHQWVWKDWDUHDSDUWRIWKH-HZHOOGDWDEDVH
    36DQG36EXWIRU0D\WKWKH\GRQ WVKRZ
    DOOWKHWLPHVWKDWWKHVKHULIIZHQWRXWWR6RXWK
    QG6WUHHWLVWKDWFRUUHFW"
   7+(:,71(662WKHUWKDQ0D\WKWKH\
   GRQRWVKRZ
   %<05),/,329,&
   46LURQFHDJDLQLI\RXJRWR-HZHOODQG
   W\SHLQWKHVKHULII VLGHQWLI\LQJQXPEHUIURPWKH
   SULRUH[KLELWV\RXFRXOGJHWDOOWKHWLPHVDQG
   RFFXUUHQFHVZKHQWKHVKHULIIZHQWRXW"
   $1RWKDWLVQRWFRUUHFW
   47KDWLVQRWFRUUHFW"
   $1R
   4+RZZRXOG\RXJRDERXWNQRZLQJKRZPDQ\
   WLPHVWKHVKHULIIZHQWRXWWKHUH"
   $<RXZRXOGW\SHLQDQXPEHUWKHXQLTXH
   QXPEHUWKDWZHGLVFXVVHGLQWKLVFDVHWKH
   ,QWKLVFDVHWKHUHLVDZULWRI
   SRVVHVVLRQWKDWLVWKHFDWHJRU\VRZHKLJKOLJKWLW


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 354 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    ZHJRLQWRWKHILHOGDQGZKDW\RXZRXOGVHHLVWKLV
    SDUWLFXODUGDWHDQGWKLVGURSGRZQZHSXWLQSRVWHG
    WKDWLVZKDW'HSXW\-HWDULD7D\ORUSRVWHGWKLV
    LQIRUPDWLRQZKHUHLWVD\VSRVWHGDQGWKDWILHOG
    ZRXOGEHKLJKOLJKWHG
    7KHUHLVDGURSGRZQDQG\RXHQWHUWKH
    WLPHDQGGDWHWKDWLWDFWXDOO\KDSSHQHG LQGLFDWLQJ 
    42ND\
    :KDWDERXWLQWKHFDWHJRU\RWKHUWKDQ
   ZULWDQGSRVVHVVLRQZHVDZDQHYLFWLRQQRWLFHWKDW
   ZRXOGEHDGLIIHUHQWGURSGRZQFRUUHFW"
   $(YLFWLRQQRWLFH"
   45LJKW
   $$QGWKHDFWXDOGDWH"
   47KHZULWRISRVVHVVLRQZDVGRQHRQWKLV
   GDWHFRUUHFW0D\WK"
   $, PVRUU\UHSHDWWKDW
   47KHZULWRISRVVHVVLRQ36SHUWDLQV
   WRWKHZULWRISRVVHVVLRQFRUUHFW"
   $7KDWLVFRUUHFW
   42WKHUSDSHURWKHUWKDQWKHZULWRI
   SRVVHVVLRQZDVGLVFXVVHGKHUHWRGD\FRUUHFW"
   $<HV
   4$QGWKHH[KLELWV36WKURXJK36
   WKHQRWLFHVDVLWSHUWDLQVWR([KLELWV36WKURXJK


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 355 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    36ZRXOGWKH-HZHOOV\VWHPFRQWDLQDQHQWU\ZKHUH
    HDFKRIWKRVHZDVVHUYHGDQGSRVWHG"
    $1R
    4,WZRXOGQRW"
    $1R
    4,VWKHUHDQ\UHFRUGZLWKLQWKHVKHULII V
    RIILFHWKDW\RXFRXOGUHIHUHQFHWKDWZRXOGFRQWDLQ
    KRZPDQ\WLPHVWKHVKHULIIZHQWRXWWRGRZKDWWKH\
    GLG"
   $2WKHUWKDQZKDWLVKHUHRQ36"
   42WKHUWKDQZKDWLVLQWKH-HZHOO
   $1RWKHUHLVQRRWKHUHQWU\
   4(YHU\WLPHWKHVKHULIIJRHVRXW
   VRPHZKHUHWRVHUYHDZULWRUZKDWQRWWKH\DUH
   VXSSRVHGWRORJLWLQ-HZHOOFRUUHFW"
   $(YHU\WLPHWKH\JRRXW"
   4(YHU\WLPHWKH\JRRXW
   $1RWKDWLVQRWWUXH
   46RWKHVKHULIIFRXOGKDYHJRQHRXWPRUH
   LVWKHUHHYHUDWLPHZKHQWKHVKHULIIZRXOGVR
   WKHUHDUHWLPHVZKHQWKHVKHULIIZRXOGJRRXWEXW
   ZRXOGQ WQRWHLWLQ-HZHOO"
   $7KDWLVFRUUHFW
   4%XWLILW VQRWHGLQ-HZHOOWKDWWKH\
   ZHQWRXWWKDWPHDQVWKH\ZHQWRXW"


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 356 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    $5HSHDWWKDW
    47KHUHLVQRWLPHZKHQWKHVKHULIIQRWHG
    LQ-HZHOOWRKDYHJRQHWRWKHSURSHUW\WRHLWKHU
    VHUYHRUHYLFWWKDWWKH\GLGQ WDFWXDOO\GRLW"
    'R\RXIROORZPH"
    $1R
    4<RXWROGPHWKHUHFRXOGEHDWLPHZKHQ
    WKHVKHULIIJRHVRXWWRVHUYHRUHYLFWEXWLW VQRW
    QRWHGLQWKH-HZHOOV\VWHPFRUUHFW"
   $<RX UHFRQIXVLQJZKDW\RXDUHVD\LQJ
   VHUYHDQGHYLFW
   7KH\DUHWZRGLIIHUHQWDFWLRQV
   4,NQRZLWLVWZRGLIIHUHQWDFWLRQVDQG
   WKDWLVZK\, POLVWLQJWKHPGLIIHUHQWO\
   $7KHUHLVDQLVVXHQRWLFHZKLFKLV
   KLJKOLJKWHGKHUHRQ36
   ,QWKLVFDVHWKLVGURSGRZQER[
   JLYHV\RXGLIIHUHQWW\SHVRIDFWLRQVWKDWWKHGHSXW\
   ZRXOGKDYHGRQH
   ,QWKLVFDVHWKHGHSXW\SRVWHGLW
   +DGVRPHRQHDQVZHUHGWKHGRRUWKLV
   ILHOGFDWHJRU\KHUHZRXOGKDYHEHHQGLIIHUHQW,W
   ZRXOGKDYHVDLGVHUYHG
   , POHWWLQJ\RXNQRZWKHUHDUHDORWRI
   GLIIHUHQWDFWLRQV


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 357 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    6KHSRVWHGWKHSURSHUW\PHDQLQJ'HSXW\
    7D\ORUVKHSRVWHGWKHSURSHUW\RQWKLVSDUWLFXODU
    GDWHDWWKLVSDUWLFXODUWLPH
    1RZWKHQH[WWLPHWKDWDQHQWU\ZRXOG
    KDYHEHHQPDGHZRXOGKDYHEHHQWKHDFWXDOHYLFWLRQ
    GDWHZKHUHZHJRRXWDQGHYLFWDQRFFXSDQWIURPWKH
    SURSHUW\
    2WKHUWKDQWKDWDJDLQZH
    4,XQGHUVWDQGWKDW
   $7KDWZRXOGEHWKHRQO\HQWU\WKDWZRXOG
   KDYHEHHQPDGH
   4:H UHRQO\LQWHUHVWHGLQHQWULHVWKDW
   ZHUHPDGHWKDWDUHDVVRFLDWHGZLWKHDFKDFWLRQWKDW
   WKHVKHULIIWRRNXQGHUWKDWVKHULII VQXPEHU
   $2ND\
   4$QG-HZHOOZRXOGKDYHWKDWFRUUHFW"
   $<HV
   4$QHQWU\IRUHDFKDFWLRQWKHVKHULII
   WRRNRQDJLYHQVKHULII VQXPEHU"
   $<HVEXW\RXDOVRKDYHWRXQGHUVWDQG
   WKDWZHGRIRUZULWSRVVHVVLRQVWKHUHDUHRQO\
   WZRDWWHPSWVRUWZRWLPHV\RXJRWRWKHSURSHUW\
   $FWXDOO\LI\RXLQFOXGHWKHHYLFWLRQ
   LWZLOOEHWKUHHWRWDO
   ,ZDVQ WFOHDURQWKDW,DSRORJL]H


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 358 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    7KHILUVWWLPHLVWRJLYHLQLWLDO
    QRWLFHWKHVHFRQGWLPHLVWRJLYHWKHHYLFWLRQGDWH
    DQGWKHWKLUGWLPHLVWRGRWKHHYLFWLRQ
    7KHRQO\WLPHRIWKRVHWKUHHWLPHV
    WKHUHWKHUHZRXOGEHWZRHQWULHVLQWKH-HZHOO
    V\VWHPWKHILUVWLQLWLDOWLPHWRJLYHQRWLFHDQGWKH
    DFWXDOHYLFWLRQGDWH
    7KHVHFRQGWLPHWRJLYHWKHHYLFWLRQ
    GDWHWKHUHLVQRWDORJLQWKH-HZHOOV\VWHP
   4$QGWKDWZDVP\TXHVWLRQHDUOLHUWKDW
   ZDVPD\EHPLVXQGHUVWRRG
   7KHUHFRXOGEHWLPHVWKDWWKHVKHULII
   WDNHVDFWLRQWRHLWKHUHYLFWRUVHUYHWKDWLVQRW
   QRWHGLQWKH-HZHOOV\VWHP"
   $&RUUHFW
   05),/,329,&1RIXUWKHUTXHVWLRQV
    (;$0,1$7,212)/77+251(%<06+$53(5
   4,IQRWLFHLVPDLOHGZRXOGWKDWEH
   ORJJHGLQWRWKH-HZHOOV\VWHP"
   $1R
   4,QJHQHUDOZKHQ\RXDUHVHUYLQJD
   QRWLFHWRYDFDWHLVLWQRWRQO\FXVWRPDU\WRSRVWLW
   RQWKHSURSHUW\EXWDOVRWRPDLOLWWRWKHSURSHUW\"
   05),/,329,&2EMHFWLRQWRIRUP
   FRPSRXQGTXHVWLRQ


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 359 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    06+$53(5<RXFDQDQVZHULI\RX
    XQGHUVWDQG
    ,FDQFODULI\LW
    7+(:,71(66:KDWGHSXWLHVZKHQZH
    SRVWWKHSURSHUW\LIZHKDYHWRSRVWDSURSHUW\
    WKDWPHDQVZHGLGQRWPDNHFRQWDFWZLWKWKHRFFXSDQW
    7KHUHIRUHWRHQVXUHWKDWWKHRFFXSDQWKDVQRWLFHZH
    OHDYHPXOWLSOHQRWLFHV2QHZRXOGEHSRVWHGDQGWKH
    RWKHUZRXOGEHOHIWLQWKHPDLOVORWDQGWKHRWKHU
   ZRXOGEHPDLOHGRXWMXVWWRHQVXUHWKHRFFXSDQWKDV
   QRWLFHLIZHGRQRWPDNHFRQWDFWZLWKWKHRFFXSDQW
   %<06+$53(5
   4%XWWKDWPDLOLQJLVQRWVRPHWKLQJWKDW
   LVJHQHUDOO\UHFRUGHGLQ-HZHOO"
   $7KDWLVFRUUHFW
   4,DPJRLQJWRDVN\RXDTXHVWLRQ
   7KLVLVVRPHWKLQJWKDWZDVSURGXFHGLQ
   GLVFRYHU\E\WKHVKHULII VRIILFHRURQEHKDOIRIWKH
   VKHULII VRIILFH
   'RHVWKLVUHFRUGUHSUHVHQWWR\RXU
   NQRZOHGJHWKHFRPSOHWHUHFRUGLQWKH-HZHOOV\VWHP
   IRUWKH&LYLO(QIRUFHPHQW8QLWZLWKUHVSHFWWR
   H[HFXWLRQRIWKHVKHULII VQXPEHU"
   $&RUUHFW
   06+$53(57KDQN\RX


                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 360 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    05),/,329,&1RWKLQJIXUWKHUVLU
    7KDQN\RX
     :,71(66(;&86('
     '(326,7,21&21&/8'('$730
 
 
 
 
 


















                      :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 361 of 386
                           6HDQ7KRUQWRQ

                                                               3DJH
    &(57,),&$7(
 
 
    ,/RUL$3RUWRD1RWDU\3XEOLFDQG&HUWLILHG
    &RXUW5HSRUWHUGRKHUHE\FHUWLI\WKDWWKHIRUHJRLQJ
    LVDWUXHDQGDFFXUDWHWUDQVFULSWRIWKHWHVWLPRQ\DV
    WDNHQVWHQRJUDSKLFDOO\E\DQGEHIRUHPHDWWKHWLPH
    SODFHDQGRQWKHGDWHKHUHLQEHIRUHVHWIRUWKWRWKH
    EHVWRIP\DELOLW\
   ,GRIXUWKHUFHUWLI\WKDW,DPQHLWKHUD
   UHODWLYHQRUHPSOR\HHQRUDWWRUQH\QRUFRXQVHORIDQ\
   RIWKHSDUWLHVWRWKLVDFWLRQDQGWKDW,DPQHLWKHU
   DUHODWLYHQRUHPSOR\HHRIVXFKDWWRUQH\RUFRXQVHO
   DQGWKDW,DPQRWILQDQFLDOO\LQWHUHVWHGLQWKH
   DFWLRQ







   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     /RUL$3RUWR&&5
   1RWDU\3XEOLF6WDWHRI1HZ-HUVH\
     &HUWLILFDWH1R;,



                      :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 362 of 386
                                      6HDQ7KRUQWRQ
                                                                                 3DJH

        $                                %RXOHYDUG       
DP           DQVZHUV                                     FKDQJH 
DND           DQ\ERG\       DWWHQWLRQ     ER[          FLUFOH 
$%'(/'$<                      DWWRUQH\     EUHDN        FLUFOHG 
                DQ\PRUH                   EULHI        FLW\ 
$%'(/'<(0                        DWWRUQH\V           
                DSRORJL]H     $XJXVW                    FLYLO  
DELOLW\        DSSHDU                      %URDG           
DEOH                 DZDUH                      
DEVROXWHO\                    %XLOGLQJ        
DFFXUDF\                                                    
                   DSSHDUV                %          EXVLQHVV       
DFFXUDWH 
DFWLRQ                  %                 FODULILFDWLRQ
                EDFN                    
      $SULO                                    FODULI\ 
                   DUHDV                            &            
DFWLRQV 
         DVNHG                  &        FOHDQO\ 
                    EDQNUXSWF\      FDOO       FOHDU  
                                    
DFWLYLWLHV                FDOOHG       FOLHQW 
DFWXDO     DVNLQJ                               FORVH 
                        FDOOV   FORVHG 
                                   FRPH 
DGGUHVV                           FDSDFLW\        
                     FDSWLRQ       FRPHV 
         DVVLJQHG                           
                            FDVH      FRPLQJ 
            EDVHG              FRPPDQG 
          $66,67$17                       FRPPHQFLQJ
DGGUHVVHG                                         
DGPLWWHG      DVVRFLDWH     EHJLQQLQJ          &RPPRQ 
DIILUPDWLYHO\      DVVRFLDWHG    EHKDOI                     FRPSDUH 
                       EHOLHYH    FDWHJRU\     FRPSODLQW 
DIWHUQRRQ     DVVXPHG                       FRPSODLQWV 
DKHDG         DVVXPHV                      &&5             
                        EHVW      FHDVH       FRPSOHWH 
$O            DVVXPLQJ      EHWWHU                FRPSOLDQFH
DOFRKRO                                               
DQVZHU         $77$&+('           ELW            FHDVHG        FRPSO\ 
                       ERRN       &HUWDLQO\      
      DWWDFKPHQWV            &HUWLILFDWH       FRPSRXQG
                        ERRNZULW                    
         DWWHPSW       ERWWRP         &HUWLILHG     FRQFHUQHG 
          DWWHPSWHG                            &21&/8'('
DQVZHUHG      DWWHPSWV                FHUWLI\      
                              FKDQFH        FRQGXFWLQJ 


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 363 of 386
                                      6HDQ7KRUQWRQ
                                                                                  3DJH

FRQIHU                                                (
FRQILUP                      GLIIHUHQWO\        (  
FRQIXVLQJ     FRXSOH    GDWHV                         
FRQVLGHUV                          GLUHFWV          
FRQVLVWHQW    FRXUVH               GLVFRYHU\     HPDLO 
FRQVXOW                      GD\              HDUOLHU 
FRQWDFW     FRXUW                    GLVFXVV           
FRQWDLQ             GD\WRGD\     GLVFXVVHG        
                                                   
FRQWDLQHG            GHEWRU        GLVFXVVLQJ     HDUO\  
FRQWDLQV                        GLVFXVVLRQ      
FRQWHQWV                                       ($67(51 
FRQWH[W       FRYHU               ',675,&7        HIIHFW 
&RQWLQXHG                    'HEWRU3ODLQWLII   GLYLVLRQ      HIIHFWV 
&RQWUDFWLQJ        FUHDWH                                   HIIRUWV 
              FULWLFDO       GHEWRUV        GRFNHW            
FRQYHUVDWLRQ       FXUUHQW                  GRFXPHQW      HLWKHU 
               FXVWRPDU\          'HFHPEHU                 
FRSLHV                                              
FRS\                          'HIHQGDQW             HMHFWPHQW 
                  '          'HIHQGDQWV             
          '            GHOLYHULQJ            HPEDUN 
FRUQHU     GDWDEDVH      GHSDUWPHQW                HPSOR\HH 
                                    
                 GHSHQGV                HQIRUFH 
                                                
FRUUHFW           GHSRQHQW       GRFXPHQWV            
                                      HQIRUFHPHQW
                       GHSRVLWLRQ               
         GDWH                               
                GHSXWLHV       GRLQJ            
                              'RPHU          
                 GHSXW\                      
                             
                             
                            HQIRUFHV 
                                               (QJOLVK 
               GHVFULEH        GRRU            
                       GRXEW         HQVXUH 
                    GHVFULEHG     GURSGRZQ      HQWHU 
             GHVLJQDWHG            HQWHUHG 
FRXQVHO                    GUXJV             
                         GLIIHUHQW     GXO\            HQWLUH 
         GDWHG                 '811(           
                            GXSOLFDWH    HQWULHV 
                         GXWLHV           


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 364 of 386
                                     6HDQ7KRUQWRQ
                                                                                  3DJH

HQWU\      H[KLELW                       
                                 *RRG 
                               IRUWK     JUDQWHG 
HQYHORSH                 ILOHV          IRUZDUG         
               )LOLSRYLF     IRXQG          JUHDW 
(648,5(                      IUDPH          JXHVV  
HVWDEOLVKHG                        IUDPHV           
(VWDWH                         IUHH             
HVWDWHUHODWHG                    )ULGD\ 
                               )XJLWLYH             +
(YHQW                            IXOO         +  
           H[KLELWV                 IXUWKHU      KDQG  
HYLFW                                    
                                     KDQGHG 
                                              
               H[LVWHG                      *        KDQGZULWLQJ
HYLFWLRQ     H[LVWV                  JHQHUDO     
                                   KDQGZULWWHQ
        H[SHULHQFH                              
                          JHQHUDOO\     
       H[SODLQ                      
                                           KDSSHQHG 
HYLFWLRQV      H\HV                          
                                  JHVWXUHV     KDSSHQV 
                      )               JHWWLQJ       
HYLGHQFH        )                           +DUSHU  
          IDFW              JLYH         
                                       
H[DFW          IDFWV                    
H[DFWO\                                      
           IDLU                     JLYHQ     
([DPLQDWLRQ                  ILQDO               
               ILQDQFLDOO\         JLYHV         
           IDPLOLDU                     JR      
H[DPLQHG         ID[   ILQGV                     
H[FHUSWV               ILQH              
H[FXVH                                 
(;&86('                   ILUVW            
H[HFXWH     ID[LQJ                JRHV      
         IHHO          IORRU                  +DUSHU V 
       ILHOG       IROORZ          JRLQJ      KDVK 
                            IROORZXS            +DVVDQ 
H[HFXWLRQ      ILIWK        IROORZV                    
          ILOH         IRUHJRLQJ              KHDG 
H[HFXWLRQV       ILOHG   IRUP                  KHOG  
                             KHUHLQEHIRUH


                               :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 365 of 386
                                       6HDQ7KRUQWRQ
                                                                                   3DJH

                             .$3/$1                   
KH\     LQMXQFWLRQV      NHHS     OHW V        
KLJKHU        ,QQDXUDWR                        
KLJKOLJKW               .HQQHG\       OHWWLQJ                0
KLJKOLJKWHG    LQTXLULQJ                     OHYHO          0 
              ,QVSHFWRU       NHSW      OLHX             PDLO  
KRXVHKROG                  OLHXWHQDQW       PDLOHG 
KXQGUHG            NQRZ               
                                          PDLOLQJ 
                   LQVWUXFW                       PDLQWDLQ 
         ,                                                PDLQWDLQHG 
,QQDXUDW LQVWUXFWLRQ             OLQH         PDQXDO 
              LQWHUHVWHG                        
,'                                            PDUJLQ 
LGHD          LVVXH               OLVWLQJ         PDUN 
LGHQWLILFDWLRQ                                 OLWLJDQW         PDUNHG 
                  -                    OLWLJDWLRQ        
          -DQXDU\             ORJ         
                                          
          -HUVH\                          
         -HWDULD                          
                                                          
LGHQWLILHG     -HZHOO                 ORJERRN      0DUNHW 
                                      PDWHULDO 
                      NQRZLQJ      ORJJHG          PDWWHU 
LGHQWLILHU            NQRZOHGJH                     PHDQ 
LGHQWLILHV                      ORJV              
LGHQWLI\                        ORQJ         PHDQLQJ 
LGHQWLI\LQJ                                       PHDQV 
                               ORRN          
LPSO\                                                0(*$1 
LQFOXGH                       /                           PHJDQKDUSHU
                             /             ORRNLQJ          
LQGLFDWH       MRE     ODFN                   PHQWLRQHG 
                             ODFNLQJ                    
LQGLFDWHG      -RKQ        /DQG                         0HWURSROLWDQ
LQGLFDWLQJ      -26+8$          ODUJH         ORRNV            
         MRVKXDGRPHU     ODWHVW                  PLGGOH 
                          /$:                          PLQXV 
LQGLVWLQJXLVKD MRW               /($0$1        /RUL         PLVVHG 
               MXGJH         OHDYH                         PLVVLQJ 
LQGLYLGXDOV        MXGJHV       OHIW      ORW             PLVVWDWHV 
              -XQH               /7         PLVXQGHUVWRRG
LQIRUPDWLRQ                                     
                                   OHIWKDQG     /\QGHO        PRPHQW 
LQLWLDO               .                                      0RQGD\ 
                                                             


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 366 of 386
                                     6HDQ7KRUQWRQ
                                                                              3DJH

            QRWLFHV                2UDO           
0RQWH               RFFXSDQW      RUGHU    SHRSOH 
                                   
            QRWLILFDWLRQ    RFFXSDQWV          SHULRG 
PXOWLSOH     QRWLI\       RFFXSDWLRQ            SHUVRQ 
0XQLFLSDO                    RFFXUUHQFHV                      
                 QRWLI\LQJ                   RUGHUV         
        1        QXPEHU      2FWREHU              
1                              SHUVRQDO 
                   2))7+(5(                         
QDPH                                  3        SHUVRQDOO\ 
                RIILFH     3      
                                      
                      3        SHUWDLQ 
QDPHV                     3&           SHUWDLQLQJ 
                     SP       
QDUURZ                             SHUWDLQV 
QHFHVVDULO\                   3$      
                                       SHWLWLRQ 
QHHG                     SDJH   SHWLWLRQHU 
                                 SIHVT#LILJKW
QHHGHG                          
QHLWKHU                  3KLODGHOSKLD
QHYHU                                
1HZ                                      
QRGGLQJ                     SDJHV          
1RWDU\                                   
QRWH               2)),&(6        SDSHU           
QRWHG          2K                         
                  RND\      SDUHQWKHVLV      SKRQH  
1RWHV   QXPEHUV                             SLHFHV 
QRWLFH                         SDUW   SODFH 
                           SODLQ 
                                  
                                     SDUWLFXODU  3OHDV 
             2                           SOHDVH 
         2                          
      REMHFW                        SRLQW 
       REMHFWLQJ                         
       REMHFWLRQ       RQFH                  
                                SRLQWHUV 
             RSHQV               SROLFLHV 
               RSHUDWLRQV    SDUWLHV     SROLF\ 
                           SHQGLQJ     SRUWLRQ 
                RSSRUWXQLW\       3HQQV\OYDQLD       
                                      3RUWR  


                             :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 367 of 386
                                      6HDQ7KRUQWRQ
                                                                                  3DJH

                      SXUVXDQW                        
SRVLWLRQ           SXW            UHFHLYHG      UHSRUWHG 
                      SXWWLQJ             UHSRUWHU 
SRVVHVVLRQ                               UHFHLYLQJ          
                    4           5(&(66        UHSUHVHQW 
                   TXHVWLRQ                   
        SURYLGH                UHFRJQL]H         
SRVVHVVLRQV     SURYLGHG                 UHFROOHFWLRQ         
                                   UHSUHVHQWV 
SRVVLEOH    SURYLGLQJ            UHFRUG        
              36                          UHTXHVW 
SRVW                                      
                                                  
SRVWHG        36                   UHTXHVWHG 
                                UHTXHVWLQJ
                  TXHVWLRQLQJ                  
               36                         UHTXLUHG 
SRVWSRQH                          UHFRUGHG      UHUHDG 
SRVWSRQHG               TXHVWLRQV                    UHVLGHQFH 
3RZHU3RLQW                            UHGDFW         UHVSHFW 
               36                 UHGLUHFW          
3UHGUDJ                                       
SUHVHQW                                UHIHU         UHVSRQG 
SUHVXPDEO\         36                          UHIHUHQFH      UHVSRQVHV 
                                              5
                                           UHIHUULQJ     UHVSRQVLELOLW\
SUHWW\                  5                         
SUHYHQW                              UHJDUG         UHWLUHG 
SULRU                 UDQNV         UHJDUGLQJ      UHWXUQ  
         36      UHDG       UHJDUGV         
                                   UHJXODU    UHWXUQHG 
              36                             
SUREDEO\                        UHJXODUO\FRQ   UHYHDO 
SURFHGXUH     36                                 UHYLHZ 
                         UHDGLQJ        UHODWLYH        
SURFHGXUHV                   UHDO                     ULJKW  
SURFHVV    36            UHO\             
SURGXFHG                     UHDOL]H       UHPHPEHU          
        36     UHDOO\                      
          36       UHDVRQ        UHSHDW        URRP  
SURGXFWLRQ                   UHDVVLJQHG               UXQ 
                                   
SURQJ      SXEOLF        UHFDOO                               6
SURSHU                       UHSKUDVH      6  
SURSHUW\      SXOO                                       
       SXUSRVHV                      UHSRUW     VDOH 
                         UHFHLYH                VDZ  


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 368 of 386
                                      6HDQ7KRUQWRQ
                                                                                  3DJH

              VHUYHG                          
VD\LQJ                                      
VD\V                              VSHDN             
          VHUYHV                                  
           VHUYLFH                VSHDNLQJ       VZRUQ 
                        VSHFLILF     V\VWHP 
                     VSHFLILFDOO\       
                                VSHFLILHG           
VFKHGXOH                      VSHFXODWLRQ           
                                                 
VFKHGXOHG     6HUYLFHV       VKRZ         
VFKHGXOHV     VHUYLQJ                   VSHOO                   7
VFKHGXOLQJ             VLGH           VWDII           7   
              VHW            VLJQLQ    VWDPSHG             
VFRSH         VKDUH     VLJQHG     VWDQGV           
VFUROO        VKHHW                 VWDUWV          WDNH  
6HDQ                          VWDWH      WDNHQ  
                     VLJQV         67$7(6              
VHFRQG                 VLPLODU       VWD\V            
             VKHULII        VLPXOWDQHRXV       VWHQRJUDSKLFD    WDNHV 
VHH                                            WDONHG 
                 VLQJOH         VWHS             
                VLU      67(3+(1          WDONLQJ 
                        VWHSKHQ#GXQ         
                                          7D\ORU  
                        VWLSXODWLRQV           
                                           
                             VWUDWHJ\       WHOO  
VHHQ                     6WUHHW          
                                      
                                      
       VKHULII V                                WHUP  
              VLW                     WHVWLILHG 
                      VL[GLJLW                   
VHQG                                VWULNH            
VHQW                     VORW           VXEVHTXHQW          WHVWLPRQ\ 
6HSWHPEHU            VPDOO                            
                 62/,&,725          VXFFHVVIXOO\        WKDQN 
                                                   
VHULHV                VRUU\     VXFFLQFW           
VHUYH                       VXIILFLHQW        
               VRUW          6XLWH           
                  6RXWK          VXSHULRUV        
                      VXSSRVHG       WKLQJ 
                                             WKLQN  
                             VXUH          


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 369 of 386
                                      6HDQ7KRUQWRQ
                                                                               3DJH

           7RSSLQ      XQGHUVWDQG        ZH UH         
                                    ZULWH 
WKLQNV                                  
WKLUG                  XQGHUVWDQGLQJ             ZULWHV 
7+251(                                ZH YH     ZULWV  
7KRUQWRQ       7RSSLQ V      XQGHUVWRRG              
               XQIDPLOLDULW\               ZULWWHQ 
                                     ZHHNHQG       
          WRWDO     XQLTXH       ZHQW      ZURWH 
                                     ZZZNOZUHSR
          WRWDOO\        XQLW            
WKUHH         WUDLQHG               
                                          ;
7+856'$<           WUDLQLQJ                        ;   
                            ZHUHQ W      ;, 
WLH                              
                                                                                  <
WLHG                            ZKDWQRW 
WLPH       WUDQVFULSW     81,7('         :LOOLDPV       \HDK  
                       XQLYHUVH              
      WUDQVPLVVLRQ       XQNQRZQ             \HDU 
                    XSWRGDWH    :,71(66       \HDUV 
          WUDQVPLWWHG        XVXDO                      =
                                      
          WULSV             9                         
                        YDFDWH     
          WUXH                            
                                        
       WUXWKIXO       YHUEDO                   
         WU\       YLUWXH                      
     WU\LQJ        YLVLWRU      :2/)(          
               7XHVGD\       YLVLWRUV  ZRQGHULQJ      
WLPHV    WZR         ZRUG           WK  
               YRFDO         ZRUGV           
                    YV             ZRXOGQ W       
                                             
                                              :
                                                   
               :              ZULW       
                      ZDQW              
7LWOH         W\SH                     
WRGD\                              
                :DUUDQW                 
WRGD\ V         W\SHV      :DUUDQWV             
WROG                  ZDVQ W                  
WROOIUHH                       ZD\                     
WRS              8          ZH OO               
              8                                      


                               :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 370 of 386
                                      6HDQ7KRUQWRQ
                                                                 3DJH

                              
                            
                             
      
                                   
0'&                     
                                     
WK                             
                    
                         WK  
                         
                    
                  
          
        
 
                     
      
        
          
           
            
         
                
            
              
        
           
  
                           

                  
        
                
              
          
         
          QG 
            
                 
WK        
         
                        
 
                    
         
                           
 
                   WK  


                                 :::./:5(3257(56&20
 Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 371 of 386
                                                     -HWDULD7D\ORU
                                                          3DJH                                               3DJH
     81,7('67$7(6%$1.5837&<&2857                       :,71(66,1'(;
     )257+(($67(51',675,&72)3(116</9$1,$
     &$6(120'&                         
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                     ([DPLQDWLRQRI'HSXW\7D\ORU
                                                                    
     /<1'(/7233,1
                                                                        %\0U)LOLSRYLF3DJHV
     'HEWRU3ODLQWLII                                   
     YV
                                                                       %\0V+DUSHU3DJHV
                                                                    
     -(:(//:,//,$06DQG                                                %\0U'RPHU3DJH
     $%'(/'$<(0+$66$1
     DND$%'(/'<(0
                                                                    
     +$66$1                                                        
     'HIHQGDQWV                                        
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                   
                                   
                                                                   
     7+856'$<'(&(0%(5
                                                                   
                                   
                                                                   
     2UDOGHSRVLWLRQRI'(387<-(7$5,$                     
     7$</25WDNHQSXUVXDQWWRQRWLFHZDV                    
     KHOGDWWKH0XQLFLSDO6HUYLFHV%XLOGLQJ
     -RKQ).HQQHG\%RXOHYDUG3KLODGHOSKLD
                                                                   
     3HQQV\OYDQLDFRPPHQFLQJDWDP                   
     RQWKHDERYHGDWHEHIRUH/RUL$3RUWR                 
     D&HUWLILHG&RXUW5HSRUWHU
     .$3/$1/($0$1 :2/)(                        
     6287+%52$'675((768,7(                  
     3+,/$'(/3+,$3(116</9$1,$                   
       
     ZZZNOZUHSRUWHUVFRP                         

                                                          3DJH                                               3DJH
    $33($5$1&(6                                            (;+,%,76
 
    '811(/$:2)),&(63&                                  
     %<67(3+(10'811((648,5(                           
    DQG
     35('5$*),/,329,&(648,5(
                                                                    
    0DUNHW6WUHHW                                       
     6XLWH                                               
    3KLODGHOSKLD3$
                                                  
    VWHSKHQ#GXQQHODZRIILFHVFRP                              
     SIHVT#LILJKWMXVWLFHFRP
    &RXQVHOIRUWKH'HEWRU3ODLQWLII                         
                                                                  
     &,7<2)3+,/$'(/3+,$/$:'(3$570(17
   %<0(*$11+$53(5'(387<&,7<62/,&,725
                                                                   
     DQG                                         
   -26+8$'20(5$66,67$17&,7<62/,&,725                 12(;+,%,76:(5(0$5.('
     -RKQ).HQQHG\%RXOHYDUG
   5RRP                                                
     3KLODGHOSKLD3$                                  
   
     PHJDQKDUSHU#SKLODJRY                                  
   MRVKXDGRPHU#SKLODJRY                                  
     &RXQVHOIRUWKH'HIHQGDQW                               
   -HZHOO:LOOLDPV
                                                                 
                                                                 

                                                                 
                                                                 

                                                                 
                                                                 


                                                                   


                                                                                          3DJHVWR
                                             :::./:5(3257(56&20                       C I T Y - 3 0
 Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 372 of 386
                                                                 -HWDULD7D\ORU
                                                                 3DJH                                                  3DJH
             '(326,7,216833257                    VXEVWDQFHWKDWZRXOGSUHYHQW\RXIURPJLYLQJ
                                                                             WUXWKIXOWHVWLPRQ\WRGD\"
              5(48(67                $1R
               5(48(67                4&RXOG\RXVD\\RXUQDPHIRUWKHUHFRUG
                                                                             SOHDVH"
                                                                             $-HWDULD-HWDULD7D\ORU
                                                                             7D\ORU
                                                                             40V7D\ORUZKDWLV\RXUFXUUHQW
                                                                             RFFXSDWLRQ"
                                                                            $,DPDGHSXW\VKHULIIZLWKWKH
                                                                           3KLODGHOSKLD6KHULII V2IILFHDVVLJQHGWRWKH&LYLO
                                                                           (QIRUFHPHQW8QLW
                                                                           4+RZORQJKDYH\RXEHHQLQWKDWSRVLWLRQ"
                                                                           $)RUWZR\HDUV

                                                                             46R\RXZHUHWKHUHIURP0D\XQWLOVD\

                                                                             -XO\RI"

                                                                           $<HV
                                                                           40V7D\ORUDUH\RXIDPLOLDUGHVFULEH
                                                                           \RXUMREGXWLHVWKDWDUHDVVRFLDWHGZLWK\RXU
                                                                           SRVLWLRQ
                                                                           $,DPUHVSRQVLEOHIRUHQIRUFLQJFRXUW
                                                                           RUGHUV,KDQGOHHYLFWLRQVDQGWKDWLVUHDOO\DERXW
                                                                           LW
                                                                           4'R\RXJRWRWKHILHOGDQGGR\RXJRWR
                                                                           WKHSURSHUWLHVIRUHYLFWLRQVSRVWLQJQRWLFHVDQG


                                                                 3DJH                                                  3DJH
        -HWDULD7D\ORUKDYLQJEHHQGXO\VZRUQZDVH[DPLQHG                 VXFK"
        DQGWHVWLILHGDVIROORZV                                            $<HV
        (;$0,1$7,212)'(387<7$</25%<05),/,329,&                       4'R\RXJRDORQHRUGR\RXKDYHDSDUWQHU
        4*RRGDIWHUQRRQ0V7D\ORU                             RUKRZGRHVWKDWZRUN"
        , P&RXQVHO)LOLSRYLFIRU/\QGHO7RSSLQ                $,JRDORQHDVIDUDVSRVWLQJVEXW,
        DQGFRFRXQVHOLV6WHSKHQ'XQQH:H UHJRLQJWREH                  KDYHDSDUWQHUZKHQ,GRWKHDFWXDOHYLFWLRQ
        FRQGXFWLQJWKLVGHSRVLWLRQ                                          4'R\RXWDNHDYHKLFOH"
        7KHUXOHV,KDYHWRUHSHDWWKHPIRU                   $<HV
        WKHUHFRUG                                                          4:KDWW\SHRIYHKLFOH"
       ,ZLOODVNTXHVWLRQVDQG,ZLOOWU\WR                $)RUG7DXUXV
       EHVXFFLQFW                                                        4)RUG7DXUXV"
       :KHQ\RXDQVZHUSOHDVHGRVRYHUEDOO\               $8KKXKSHUVRQDOYHKLFOH
       VRWKHFRXUWUHSRUWHUFDQZULWHWKHDQVZHUVGRZQIRU                43HUVRQDOYHKLFOH"
       WKHUHFRUGDQG,FDQXQGHUVWDQG\RXUJHVWXUHVEXW                $<HV
       LW VGLIILFXOWIRUKHUWRZULWHWKHPGRZQ                          4,WGRHVQRWKDYHVKHULII VLQGLFDWLRQV
       ,I\RXVKRXOGDWDQ\SRLQWZDQWPHWR               RQWKHUH"
       FODULI\DTXHVWLRQ,ZLOOWRWKHEHVWRIP\                       $1R
       DELOLW\DQGZH OOJRIURPWKHUH                                   4$UH\RXJHQHUDOO\ZHDULQJDXQLIRUP"
       $2ND\                                                  $1R
       05),/,329,&8VXDOVWLSXODWLRQVLQ                 4,QRWLFH\RXKDYHDJXQKHUHRQ\RX
       WKLVRQHFRXQVHO"                                                  WRGD\
       06+$53(56XUH                                    'R\RXXVXDOO\KDYHDJXQZKHQ\RXDUH
       %<05),/,329,&                                                   LQWKHILHOGVHUYLQJHYLFWLRQVDQGSRVWLQJQRWLFHV"
       40V7D\ORUDJDLQ,KDYHWRDVN\RX                  $,KDYHDJXQHYHU\WLPH,DPDWZRUN
       DUH\RXXQGHUWKHLQIOXHQFHRIDQ\WKLQJDQ\                        46RLVWKDWD\HV"


                                                                                                  3DJHVWR
                                                            :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 373 of 386
                                              -HWDULD7D\ORU
                                                3DJH                                                    3DJH
    $<HV                                           RIWKDWLV"
    41RZZKHQ\RXKDYHDSDUWQHUGR\RX           $7KDWZHFRQWLQXHGDIWHUKHILOHGIRU
    WKHQWUDYHOLQDPDUNHGYHKLFOHRULVLWVWLOO              EDQNUXSWF\
    XQPDUNHG"                                                   4&RQWLQXHGWRFRQWLQXHGZKDW"
    $1RVWLOOSHUVRQDOYHKLFOHV                   $,JXHVVFRQWLQXHGVHUYLFHRQWKLV
    47ZRSHUVRQDOYHKLFOHV"                         SDUWLFXODUDGGUHVVDIWHUEDQNUXSWF\
    $8KKXK\HV                                   4:HUH\RXRQHRIWKHGHSXWLHVLQFKDUJH
    4,VWKDWWKHVDPHSUDFWLFHWKDWZDV             RIVHUYLFLQJWKLVZULW"
    HPSOR\HGEHWZHHQ0D\DQG-XQHRIODVW\HDU"                 $<HV
   $<HV                                          40U/\QGHO7RSSLQ VZULW"
   4'R\RXKDYHDEDGJHRQ\RXLI\RXDUH         $<HV
   DVNHGWRVKRZLW"                                          40\TXHVWLRQWR\RX0V7D\ORULI\RX
   $<HV                                          FRXOGWDNHDORRNDW([KLELWV36WKURXJK
   4+RZGR\RXSRVWDQRWLFHRIHYLFWLRQ"         7KHVHDUHWKHFRSLHVRIDOOWKHQRWLFHV
   $6R,ZRXOGNQRFNILUVWWRSHUVRQDOO\          DQGWKHUHVKRXOGEHVL[RIWKHP
   VHUYH                                                     0V7D\ORUGR\RXNQRZZKDWWKHVH
   ,I,GRQ WJHWDQDQVZHU,SRVWRQHWR      GRFXPHQWVUHSUHVHQW"
   WKHGRRUDQGDQRWKHUFRS\,ZRXOGSXWLQWKHPDLOER[      $<HV
   47KHRQHWKDW\RXSRVWRQWKHGRRUKRZ        4:KDWDUHWKH\"
   GR\RXDIIL[LWWRWKHGRRU"                               $7KH\DUHWKHLQLWLDOQRWLFHWRYDFDWH
   $-XVWZLWKVRPHWDSH LQGLFDWLQJ              DQGWKHQWKHHYLFWLRQQRWLFHWKDWJLYHVWKHDFWXDO
   4+RZORQJGRHVWKDWXVXDOO\WDNH"              HYLFWLRQGDWH
   $7ZRPLQXWHVLIWKDW                         4&RXOG\RXEHVSHFLILFDQGUHIHUWRWKHP
   4'R\RXXVHDQ\FRORUFRGLQJ"                  E\WKHQXPEHUVWKDWWKH\DUHLGHQWLILHGDV"
   $1R                                           $2QHE\RQHRU


                                              3DJH                                                     3DJH
    4$UHWKH\SUHSULQWHGZKDWDUHWKH            4,I\RXGRQ WPLQG\HDKRQHE\RQH
    FRORUVWKDWDUHRQWKHVHQRWLFHV"                           $36LVWKHLQLWLDOQRWLFHWRYDFDWH
    $UHWKH\QRWLFHDEOHEULJKWFRORUV"           36LVWKHLQLWLDOQRWLFHWRYDFDWH36LVWKH
    $,WGHSHQGV                                    LQLWLDOQRWLFHWRYDFDWH%DVLFDOO\LWLVDGD\
    :HZHUHXVLQJ,WKLQNLWZDVUHG          QRWLFH
    WKHQRWLFHWRYDFDWHEXWZHGLGQ WKDYHDQ\PRUHVR        7KHQ\RXKDYH36ZKLFKLVWKH
    LWZRXOGMXVWEHDSKRWRFRS\RIWKDW                       DFWXDOHYLFWLRQQRWLFHDWWDFKHGZLWKWKHZULW
    :HGLGQ WKDYHFRORU                         36LVDQHQYHORSHZLWKWKHDQQXDO
    4,I\RXUXQRXW"                                HYLFWLRQQRWLFHZLWKWKHGDWHRIWKHHYLFWLRQDQG
   $<HV                                          WKHQ36LVWKHILQDOHYLFWLRQQRWLFHZLWKDFRS\RI
   4%XWWKH\DUHVXSSRVHGWREHUHG"              WKHZULW
   $, PQRWJRLQJWRVD\VXSSRVHGWREH          42ND\WKDQN\RX
   4%XWWKH\ZHUH"                                'R\RXVHHWKHHQWU\RQDOORIWKHP
   $<HV                                          WKHVKHULII VQXPEHU"
   45HG"                                          $<HV
   $8KKXK                                       47KDWVKHULII VQXPEHUGR\RXNQRZLWWR
   4:K\GR\RXWKLQNWKDWWKH\ZHUHLQUHG"       EHDVVRFLDWHGZLWK0U/\QGHO7RSSLQDQGWKHSURSHUW\
   $1RSDUWLFXODUUHDVRQ                         DW6RXWKQG6WUHHW"
   4:H UHKHUHIRUWKHFDVHRI/\QGHO7RSSLQ      $, PQRWVXUH
   DQGWKHSDUWLFXODUSURSHUW\LVDW6RXWKQG           4<RXWHVWLILHGWKDW\RXZHUHLQFKDUJHRI
   6WUHHW                                                    VHUYLFLQJWKH/\QGHO7RSSLQHYLFWLRQVDQGQRWLFHVWR
   'R\RXNQRZZKDWWKLVFDVHLVDERXWDQG      YDFDWHFRUUHFW"
   ZK\\RXDUHKHUHJHWWLQJGHSRVHGWRGD\"                    $<HV
   $<HV                                          06+$53(52EMHFWLRQ
   4&DQ\RXWHOOXVZKDW\RXUXQGHUVWDQGLQJ       ,GRQ WWKLQNVKHWHVWLILHGWRWKDW


                                                                                   3DJHVWR
                                       :::./:5(3257(56&20
 Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 374 of 386
                                                           -HWDULD7D\ORU
                                                           3DJH                                                3DJH
    05),/,329,&&RXQVHO,WKLQNVKH                   'LG,VD\LWZDV\RXUKDQGZULWLQJ"
    GLG                                                                 $<RX UHDVNLQJPHDERXWDGDWH
    'R\RXZDQWWRVHHWKHUHFRUG                       06+$53(5&RXQVHO\RX UHJHWWLQJ
    06+$53(57KDW VILQH                              DUJXPHQWDWLYHZLWKKHU
    05),/,329,&&RXUW5HSRUWHUFRXOG                  ,WKLQNLWLVXQQHFHVVDU\
    \RXJREDFNDQGUHDGP\TXHVWLRQDERXWZHUH\RXWKH                  05),/,329,&,WLVFHUWDLQO\QRW
    GHSXW\LQFKDUJHRIVHUYLFLQJWKHDGGUHVV"                           QHFHVVDU\EXW, PMXVWDVNLQJIRUDQDQVZHUWRP\
     '(6,*1$7('48(67,21$1'$16:(5:(5(                   TXHVWLRQ
    5($'                                                                 0\TXHVWLRQLV,GLGQ WHYHQDVN
   %<05),/,329,&                                                   WKDWEXWWKHGDWHWKDW\RXVHHRQWKHHDUOLHVW
   4'R\RXNQRZLIWKDWVKHULII VQXPEHURQ                QRWLFHZKDWLVWKHGDWH"
   WKHVHVHYHUDOQRWLFHVSHUWDLQWR0U7RSSLQDQGWKDW                ,W VLQWKHERWWRPOHIWKDQGFRUQHU
   SDUWLFXODUSURSHUW\"                                                7+(:,71(66,WVD\V0D\WK
   $<HV                                                   %<05),/,329,&
   4,WGRHV"                                               4'RHVWKDWVRXQGFRUUHFWWR\RXDVWKH
   $<HV                                                   ILUVWGDWH\RXZHQWRXW"
   4'LG\RXSHUVRQDOO\VHUYHWKHVH"                        $1R
   $3HUVRQDOO\VHUYHWKHPQR                             41R"
   ,SRVWHGWKHP                                        $1R
   42KULJKW, PVRUU\                                  46R\RXZRXOGKDYHGRQHZKHQHYHU\RX
   <RXZHUHWKHGHSXW\WKDWSRVWHGWKHVH                 KDGJRQHRXW\RXZRXOGKDYHGRQHLWLQDSHUVRQDO
   RQWKHSUHPLVHV"                                                    YHKLFOH"
   $<HV                                                   $<HV
   4$W6RXWKQG6WUHHW"                              4'R\RXJHWUHLPEXUVHGIRUPLOHDJHIRU
   $<HV                                                   WKHVHWULSV"


                                                           3DJH                                                3DJH
      4+RZPDQ\GDWHVDUHZHWDONLQJDERXW                  $<HV
      KHUHIRU\RXWRKDYHSRVWHGWKHVH"                               47RJHWUHLPEXUVHGIRUPLOHDJH\RX
      $,ZRXOGKDYHRQO\ZHQWRXWWZLFH                    VXEPLWDORJRIWLPHVDQGGDWHVZKHQ\RXWUDYHOHG"
      2QFHZDVIRUWKHLQLWLDOQRWLFHDQG                 $,W VQRWDORJLW VWKHGDWHDQGWKHQ
      RQFHZDVIRUWKHILQDOQRWLFH                                    WKHPLOHDJH
      4:KDWDERXWWKHOHWWHU"                               48KKXK
      $(YHU\WLPHZHGRDSRVWLQJ\RXPDLORQH             ,VWKLVLQDGRFXPHQW"
      RXW\RXSRVWRQHWRWKHGRRUDQGWKHQ\RXSXWRQH               $<HV
      LQWKHPDLOER[                                                   4$QG\RXILOOHGRXWDGRFXPHQWRIVRPH
     6RHVVHQWLDOO\HDFKWLPH\RXJLYH               VRUWWRJHWUHLPEXUVHG"
     WKUHHQRWLFHV                                                   $<HV
     47KUHHQRWLFHVRUWKUHHDWWHPSWVWR                   5(48(67 05),/,329,&&RXQVHOZH UHJRLQJWR
     QRWLI\ULJKWZKDWHYHU\RXZDQWWRFDOOLW"                     EHUHTXHVWLQJWKDWGRFXPHQWEHFDXVHWKHUHLVDQLVVXH
     $<HV                                                DERXW\RXNQRZVKHGRHVQ WDJUHHWRWKDWGDWHDQG
     4%XWWKHUHZDVWKUHHHDFKWLPH\RXZHQW              ZHFRQWHQGWKHUHLVDQLVVXH
     RXW"                                                             06+$53(5,ZLOODVNDIROORZXS
     $<HV                                                TXHVWLRQEXWWKDW VILQH
     41RZOHW VJRZLWK36                            %<05),/,329,&
     'R\RXVHHWKHGDWHWKDWLVLQWKH                 4'R\RXFDOOWKHPH[SHQVHUHSRUWVRUKRZ
     ERWWRPFRUQHUWKHUH"                                             GR\RXUHIHUWRWKHP"
     $<HV                                                $0LOHDJHIRUP
     4'RHVWKDWVRXQGDFFXUDWHWKDWWKDWZDV             06+$53(5<RX UHJRLQJWRDVNIRU
     WKHILUVWWLPH\RXZHQWRXW"                                     WKDWWRGD\DWWKLVGHSRVLWLRQ"
     $7KDWGRHVQ WORRNOLNHP\KDQGZULWLQJ              05),/,329,&&RUUHFW
     4,GLGQ WVD\LWZDV\RXUKDQGZULWLQJ               06+$53(57KDW VILQH



                                                                                         3DJHVWR
                                                  :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 375 of 386
                                              -HWDULD7D\ORU
                                              3DJH                                                     3DJH
    %<05),/,329,&                                           WKDWSDUWLFXODUSRVWLQJVXFKDVWKHRQHWKDWZHVHH
    46RWKHPLOHDJHIRUPZRXOGKDYHQRWDWLRQV       LQ36WKDW\RXMXVWUHDGIURP"
    RIWKHWLPHVDQGGDWHVWKDW\RXZHQWRXW                   $1R
    'RHVLWKDYHWKHDGGUHVV"                     4$UHWKHUHDQ\RWKHUWLPHVWKDW\RXZHQW
    $1R                                            WRWKHSURSHUW\WKDW\RXGLGQRWHQWHULQWRWKH
    4:KDWGRHVLWKDYH"                             -HZHOOV\VWHP"
    $,WKDVWKHGDWHDQGKRZPDQ\PLOHV,GLG       $1R
    IRUWKHGD\                                                41RZWKHQRWLFHWRYDFDWHWKDW\RX
    4,VWKHUHDVKHULII VQXPEHURU              VHUYHGRUSRVWHGRQWKHSURSHUW\RQ0D\WKFDQ\RX
   $1R                                           ILQGLWRUGR\RXVHHLWLQIURQWRI\RXLQDQ\RI
   41R"                                           WKHVHGRFXPHQWV"
   $1R                                           $,WZRXOGEHRQHRIWKHVH LQGLFDWLQJ 
   4+RZGR\RXMXVWDGDWHDQGKRZPDQ\        4:HOOFDQ\RXWHOOPHZKLFKRQH
   PLOHV\RXGLGIRUWKHGD\"                                 DFFRUGLQJWRLWVQXPEHU"
   $<HV                                          7KHRQH\RXDUHKROGLQJXSQRZZKDWLV
   06+$53(5'R\RXVWLOOQHHGWKDW          WKHQXPEHU"
   GRFXPHQW"                                                  $36
   05),/,329,&<HV                         436"
   06+$53(5:H OOVHHLILWZDV             $8KKXK
   UHTXHVWHGLQGLVFRYHU\                                    47KDQN\RX
   05),/,329,&:HFDQDUJXHDERXW           :KDWDERXWWKHHYLFWLRQQRWLFHRQWKH
   WKDW                                                      SURSHUW\WKDW\RXVHUYHGLQ-XQHGR\RXVHHLWLQ
   :KHQZRXOG\RXVD\ZDVWKHILUVWWLPH        IURQWRI\RXWKHUH"
   \RXZHQWRXW"                                              $/HWPHMXVWFODULI\EHFDXVHJRLQJEDFN
   7+(:,71(66, PQRWVXUH                  WRWKHLQLWLDORQHV\RXDVNHGPHDERXW,FDQ WWHOO


                                              3DJH                                                     3DJH
    %<05),/,329,&                                           \RXZKLFKRQHZDVSRVWHGEHFDXVHWKHVHKDYHWZR
    4&DQZHDJUHHWKDW\RXZHQWRXWRQ              GLIIHUHQWGDWHVRQLWEXWLWZRXOGKDYHEHHQDQ\RQH
    "                                                  RIWKHVHWKDWVD\QRWLFHWRYDFDWH LQGLFDWLQJ 
    $,IWKDWLVZKDWLVLQWKHORJWKHQ\HV       45LJKWRND\
    4/HW VJRWR36                             $$QGWKHQIRUWKHILQDOSRVWLQJLW
    7KHPLGGOHRIWKHSDJHLWKDVDGDWH         ZRXOGKDYHEHHQDQ\RQHRIWKHVHZHOOQRWWKLV
    RI0D\WKFRUUHFW"                                 RQHEHFDXVHWKDWKDVDQHQYHORSHVRWKDWZDVPDLOHG
    $<HV                                           RXW LQGLFDWLQJ 
    47KHUHLVDQRWHWKHUH                         4:KHQ\RXVD\WKLVRQH
   &RXOG\RXUHDGLWIRUWKHUHFRUG"            $, PVRUU\36RU36
   $'HSXW\-HWDULD7D\ORUEHLQJGXO\VZRUQ       4,WFRXOGEHRQHRIWKRVH"
   DFFRUGLQJWRODZSRVWHGRQHWUXHDQGDWWHVWHGFRS\        $,W VHLWKHURQHRIWKHVH\HV
   RIWKHZLWKLQZULWRISRVVHVVLRQXSRQUHDOHVWDWH           LQGLFDWLQJ 
   ORFDWHGDW6RXWKQG6WUHHW3KLODGHOSKLD3$         4,W VHLWKHURQHRIWKRVHWKDW\RX
   DQGWKHQH[WRQHVD\VGD\QRWLFHSRVWHG         SRVWHG"
   4'LG\RXHQWHUWKLVQRWH"                      $<HV
   $<HV                                          4:KLFKRQHLVQRWWKHRQHWKDWZDV
   4,WVRXQGVOLNH\RXZHQWRXWHDUOLHUWKDQ      SRVWHG"
   0D\WKLIWKLVLVGDWHG0D\WK                        $36ZDVPDLOHGRXW
   $<HV                                          42ND\WKDQN\RX
   4:KDWDERXWRQ-XQHVWGLG\RXSRVWDQ      :KDWLVWKHGDWHRQ36"
   HYLFWLRQQRWLFHRQWKHSURSHUW\DW6RXWKQG          $$UH\RXDVNLQJDERXWWKHHQYHORSH"
   6WUHHW"                                                    4<HV
   $<HV                                          $-XQHWK
   4'LG\RXHQWHUDQRWHLQWKHV\VWHPDERXW      4'LG\RXUHSRUWWR,QVSHFWRU*XHVVDW


                                                                                 3DJHVWR
                                       :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 376 of 386
                                              -HWDULD7D\ORU
                                              3DJH                                                     3DJH
    WKLVWLPHEHWZHHQ0D\DQG-XO\RI"                    SURSHUW\"
    $1RWGLUHFWO\WRKLP                           $7RP\NQRZOHGJHQR
    ,KDGDGLUHFWVXSHUYLVRU                    4:KHQ\RXZHUHRXWLQWKHILHOGVHUYLQJ
    4:KRZDV\RXUGLUHFWVXSHUYLVRU"                GR\RXXVXDOO\JREDFNWRWKHKRVSLWDOEHIRUH
    $2PDU$SSOLQJ$SSOLQJ                   FKHFNLQJRXWIRUWKHGD\RUGR\RXJRVWUDLJKWKRPH"
    4:DVWKHUHDWLPHZKHQ\RXLWVD\V\RX       $,WGHSHQGV
    SRVWHGDQHYLFWLRQQRWLFHRQ-XQHVW                      4:KDWGRHVLWGHSHQGRQ"
    <RXWHVWLILHGZKHQ\RXZHQWRXWWR           $,WMXVWGHSHQGVRQZKDWP\VFKHGXOH
    SRVWHYLFWLRQQRWLFHV\RXPD\KDYHWDNHQDGHSXW\          ORRNVOLNH
   ZLWK\RXRU                                             6RPHGD\V,PLJKWGRKDOIP\WLPHLQ
   $1R                                           WKHILHOGDQGKDOIP\WLPHLQWKHRIILFHRU,PD\GR
   47KDWZDVRQO\ZKHQ\RXZHUHHYLFWLQJ          ZKHUH, PLQWKHRIILFHLQWKHPRUQLQJDQGRXWLQWKH
   SHRSOH"                                                    ILHOGLQWKHDIWHUQRRQ
   $<HV                                          46RLI\RXDUHRXWLQWKHILHOGLQWKH
   46R\RXZHUHDORQHRQERWK0D\WKDQG        DIWHUQRRQLVWKDWZKHQ\RXDUHPRUHOLNHO\WRQRWJR
   -XQHVW"                                                  EDFNWRWKHRIILFHDQGMXVWJRVWUDLJKWKRPH"
   $<HV                                          $<HV
   42ND\                                         41RZGLG\RXHYHUSXWDQ\WKLQJEHVLGHV
   7RWKHEHVWRI\RXUNQRZOHGJHGLG           WKLVQRWHRQ0D\WKLQWKH-HZHOOV\VWHP"
   DQ\ERG\HYHUFRPHWRWKLVSDUWLFXODUSURSHUW\ZLWK         $1R
   \RX"                                                       4'R\RXUHFDOOWKHSDUNLQJVLWXDWLRQLQ
   $1R                                           WKHWKEORFNRI6RXWKQG6WUHHW"
   4,WZDVDOZD\V                              $<HV
   $$OZD\VE\P\VHOI                             4:KDWLVWKHSDUNLQJOLNHWKHUH"
   4'LG\RXFRQWDFWDQ\QHLJKERUVDWDQ\          $,W VMXVW


                                              3DJH                                                     3DJH
    WLPH"                                                       46WUHHWSDUNLQJ"
    $1R                                            $<HDK
    42UGLG\RXVHHDQ\ERG\WKHUH"                  47KHUHLVQRPHWHUULJKW"
    $1R                                            $1R
    4'LGLWDSSHDUWR\RXWKDWVRPHERG\ZDV         4:KRSUHSDUHVWKHQRWLFHV\RXVHUYH"
    OLYLQJWKHUH"                                               $,GR
    $,FDQ WPDNHWKDWGHWHUPLQDWLRQ               4'R\RXSULQWWKHPRXWIURPDSULQWHU
    46XUHRND\                                    RU
    :H UHJRLQJEDFNWR36                    $7KH\DUHDOUHDG\SULQWHGRXW,MXVW
   ,WVD\VKHUHXQNQRZQRFFXSDQWV             KDYHWRILOOWKHPLQ
   'LG\RXZULWHWKDWXQNQRZQRFFXSDQWV       4%\KDQG"
   RULVWKDWJHQHULF"                                        $<HV
   $,WZDVRQWKHDFWXDOZULW                    4/HW VVWDUWZLWKWKHHDUOLHVWRQH
   48KKXK                                       :RXOGWKHVKHULII VQXPEHUWKDWLV
   6R\RXZURWHLWIURPWKHZULW"               KDQGZULWWHQRQWKDWQRWLFHILUVWRIDOO36
   $1R,GLGQ WZULWHDQ\WKLQJ                  DQGZKLFKDUHWKHQRWLFHVWRYDFDWHGR\RXVHHD
   7KDWLVKRZLWZDVSXWLQWRWKHV\VWHP      VKHULII VQXPEHURQWKHUH"
   47KHV\VWHPDOUHDG\KDGLWSUHILOOHG       $<HV
   $<HV                                          4/LHXWHQDQW7KRUQWRQWHVWLILHGDERXW
   43DUWRI\RXUQRWHVVD\SRVVHVVLRQGDWH       WKDW"
                                                      $<HV
   'LGDQ\ERG\JRRXWRQ-XQHWK"       4'RHVWKDWDSSHDUWREHKDQGZULWWHQ"
   $1R                                           $<HV
   4$QGWKHUHZDVQRRWKHUGHSXW\WRWKH         4'LG\RXKDQGZULWHWKDWQXPEHU"
   EHVWRI\RXUNQRZOHGJHWKDWVHUYHGDQ\WKLQJRQWKLV       $<HV


                                                                                3DJHVWR
                                       :::./:5(3257(56&20
Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 377 of 386
                                             -HWDULD7D\ORU
                                              3DJH                                                      3DJH
    4:KLFKLQIRUPDWLRQGLG\RXUHIHUHQFHWR         $<HV
    NQRZZKDWQXPEHUWRSXWWKHUH"                              4:KHUHGR\RXVLJQLQDQGRXWRI"
    $7KHZULW                                      ,VWKHUHDORJ
    47KHZULW"                                      $6LJQLQVKHHW
    $<HV                                           4(PSOR\HHVLJQLQVKHHW"
    46RWKHQXPEHUVRQWKHZULWDUHDVVLJQHG        $<HV
    E\WKHVKHULII VRIILFH"                                    4,QWKHHYHQWWKDW\RXZHUHSODQQLQJWR
    $<HV                                           DV\RXWHVWLILHGVRPHWLPHV\RX UHLQWKHILHOGLQ
    4:KHUHLVWKLVZULWLQUHODWLRQWRZKHQ         WKHPRUQLQJEXW\RX UHLQLQWKHDIWHUQRRQKRZGR
   \RXDUHSUHSDULQJWKHQRWLFH"                              \RXJRDERXWQRWLQJ\RXUDEVHQFHLQWKHPRUQLQJ"
   ,VLWLQWKHFRPSXWHURU                  'R\RXFDOO\RXUVXSHUYLVRUGR\RX
   $,KDYHDSK\VLFDOFRS\                       VHQGKLPDQHPDLO"
   4<RXKDYHDSK\VLFDOFRS\RIWKHDFWXDO        $:KDWGR\RXPHDQ"
   ZULW"                                                      46D\\RX UHLQWKHRIILFHDOOGD\XQWLO
   $<HV                                          DQG\RXKDYHDEXQFKRISDSHUZRUNDQG\RXDUH
   47KHZULWLQWKLVSDUWLFXODUFDVH           SODQQLQJWRVHUYHLWLQWKHPRUQLQJ
   OHW VJRWR36                                         $WWKDWSRLQW\RX UHQRWMXVWQRW
   ,WLVDQRWKHU-HZHOOSULQWRXW               JRLQJWRVKRZXSLQWKHPRUQLQJ\RXKDYHWROHW
   'R\RXNQRZLIWKLVQXPEHULQ                VRPHERG\NQRZWKDW\RXDUHQRWJRLQJWREHWKHUHLQ
   SDUHQWKHVLVLVWKHZULWQXPEHU"                WKHPRUQLQJVRKRZGR\RXJRDERXWWKDW"
   $, PQRWVXUHZKDWWKDWLV                    $,KDYHP\RZQVFKHGXOH
   42WKHUWKDQILOOLQJRXWWKHPLOHDJHRQ         ,PDNHP\RZQVFKHGXOH
   \RXUH[SHQVHUHSRUWRUWKHPLOHDJHIRUPDV\RX             ,GRQ WKDYHWRQRWLI\P\VXSHUYLVRU
   WHVWLILHGWRLVWKHUHDSURFHVVRI\RXDGYLVLQJ\RXU      WKDW, PQRWJRLQJWREHWKHUHLQWKHPRUQLQJEHFDXVH
   VXSHUYLVRURIZKHQ\RXZRXOGEHLQWKHRIILFHDQG          , PRXWLQWKHILHOGGRLQJZRUN


                                              3DJH                                                      3DJH
    ZKHQ\RXZHUHLQWKHILHOG"                                 4+RZLVVKHDEOHWRGLIIHUHQWLDWHGR
    $1R                                            \RXOHWDQ\ERG\NQRZRULVWKHUHDQ\QRWDWLRQRI\RX
    46R\RXUVXSHUYLVRUZRXOGQRWNQRZ              EHLQJRXWLQWKHILHOGGRLQJZRUN"
    ZKHWKHU\RXZHUHLQWKHRIILFHRUQRWSULRUWR\RX          $1R
    OHDYLQJ"                                                    46RFRUUHFWPHLI, PZURQJLI\RXDUH
    ,VWKDW\RXUWHVWLPRQ\"                       QRWLQWKHRIILFHLQWKHPRUQLQJDWILUVW\RXU
    $:KDWGR\RXPHDQSULRUWRPHOHDYLQJ"         VXSHUYLVRUGRHVQ WNQRZLI\RXDUHRXWGRLQJZRUNRU
    4/HW VVD\WKDW\RXZHUHZRUNLQJLQWKH         LI\RXDUHKRPHVLFN"
    PRUQLQJRUOHW VJRZLWKWKLVVFHQDULR6D\\RX         $,I, PKRPHVLFN,ZLOOFDOODQGOHW
   DUHLQLQWKHPRUQLQJDQG\RXZDQWWRJRVHUYHVRPH        WKHPNQRZ, PVLFN
   SDSHUZRUNLQWKHDIWHUQRRQDQG\RXDUHQRWSODQQLQJ        46RXQOHVVWKH\KHDUIURP\RX\RXDUH
   WRFRPHEDFN                                              RXWGRLQJZRUN"
   :RXOG\RXKDYHWROHW\RXUVXSHUYLVRU        $<HV
   NQRZ"                                                      41RZWKHHPSOR\HHVLJQLQVKHHWLVWKDW
   $,MXVWWHOOKLP, POHDYLQJDQGWKDWLV       GR\RXQRWHLWLQWKHHPSOR\HHVLJQLQVKHHWLI
   LW                                                        \RXDUHJRLQJWREHRXWLQWKHPRUQLQJ"
   4:KDWLIKH VQRWLPPHGLDWHO\DYDLODEOH"       'R\RXQRWHLWWKHGD\EHIRUH"
   ,VWKHUHDUHTXLUHPHQWWRFKHFNLQD         $1R
   ORJ                                                     4-XVWZKHQ\RXFRPHEDFN\RXVLJQLQ"
   $,VLJQLQLQWKHPRUQLQJDQGZKHQ, P        $<HV
   GRQH, PGRQH                                            4'R\RXUHFDOORQWKHVHWZRGDWHVWKDW
   4<RXVLJQRXWZKHQ\RXDUHOHDYLQJ"            \RXWHVWLILHGWREHLQJWKHUHDWWKHSURSHUW\ZDVLW
   $<HV                                          PRUQLQJRUDIWHUQRRQ"
   4(YHQLI\RXDUHZRUNLQJVHUYLQJWKH          $, PQRWVXUH
   ZULWV\RXVWLOOKDYHWRVLJQRXW"                         46R\RXGRQ WUHFDOORND\


                                                                                 3DJHVWR
                                       :::./:5(3257(56&20
 Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 378 of 386
                                             -HWDULD7D\ORU
                                             3DJH                                                      3DJH
    $/HWPHFODULI\                                LQIRUPDWLRQ
    $FFRUGLQJWRWKHGRFXPHQW,SXWLQWR          4<RXGRQ WKDYHDFFHVV"
    WKH-HZHOOV\VWHPWKHRQHWLPH,ZHQWRXWLWZDV          $1R
    DP                                                   4:KRLVZH"
    4<RXDUHWDONLQJDERXW                       $&LYLO(QIRUFHPHQW8QLW
    $36                                         , PQRWDEOHWRJRLQWRP\V\VWHPDQG
    4<RXJDWKHUHGWKDWIURPWLPHRXW"         SXOOWKLVXS
    $<HV                                           7KLVLVQ W&LYLO(QIRUFHPHQW8QLW
    4,WVD\VKHUHPLOHDJH]HUR"                   VWXII
   $:HGRQ WLQVHUWRXUPLOHDJHLQWRWKH          7KLVORRNVOLNHUHDOHVWDWHVWXII
   FRPSXWHU                                                  4%XWLW VWKH6KHULII V2IILFHRI
   4, PUHDGLQJZKDWLWVD\VKHUH                3KLODGHOSKLD&RXQW\"
   $2ND\                                         $:HVWLOOGRQ W,FDQ WVHHLQWR
    5(48(67 05),/,329,&,QDGGLWLRQWRWKH           VRPHERG\HOVH VV\VWHP
   PLOHDJHIRUPZHZRXOGDOVROLNHWRUHTXHVWWKH            4:RXOGLWKDYHEHHQKHOSIXOIRU\RXWREH
   HPSOR\HHVLJQLQVKHHWEHWZHHQ0D\WKDQG-XQHWK       DEOHWRVHHWKDWWKHUHZDVDEDQNUXSWF\ILOHG"
   RI                                                   $7\SLFDOO\LILW VDEDQNUXSWF\ZH
   06+$53(58KKXK                         UHFHLYHWKHLQIRUPDWLRQ
   %<05),/,329,&                                          4%XW\RXGLGQ WLQWKLVFDVH"
   4+DYH\RXHYHUVHHQ0U7RSSLQ"                $1R
   $1R                                           4:KRGR\RXUHFHLYHLWIURP"
   4:KDWDERXWDQ\ERG\HOVHDWWKDWKRPH"         $,WGHSHQGV
   $1R                                           6RPHWLPHVWKHGHIHQGDQWZLOOID[RYHU
   4,Q\RXUFRQYHUVDWLRQVZLWK\RXU               VRPHWKLQJRUWKH\ZLOOEULQJXVVRPHWKLQJ,IWKH\
   VXSHUYLVRUVGLG\RXHYHUGLVFXVVWKLVFDVHZLWK\RXU      JHWVRPHWKLQJLQDQRWKHUGLYLVLRQWKH\ OOJLYHLWWR


                                             3DJH                                                      3DJH
    VXSHUYLVRUV"                                                XV
    7REHFOHDU, PQRWWDONLQJDERXWWKLV       4$QRWKHUGLYLVLRQZLOOJLYHLWWR\RX"
    OLWLJDWLRQQRZ, PWDONLQJDERXWWKHFDVHRIVHUYLFH       $<HV
    RIWKLVSDSHUZRUNZLWK\RXUVXSHUYLVRUV                    4$QG\RXGLGQ WJHWDQ\WKLQJIURPDQ\ERG\
    $1R                                            LQWKLVFDVH"
    4'LGDQ\RQHRIWKHPHYHUWHOO\RXWKDW         $1R
    WKHEDQNUXSWF\ZDVILOHG"                                   4$WWKHWLPH"
    $1R                                            $1RDQGZHZRXOGRQO\JHWVRPHWKLQJIURP
    /HWPHFODULI\                               DQRWKHUGLYLVLRQLIWKH\NQHZLWZDVDQHYLFWLRQ
   ,RQO\JRWWKDWLQIRUPDWLRQDIWHUZH         7KLVKHUHORRNVOLNHDOOVKHULII VVDOH
   ZHUHLQIRUPHGDERXWWKHOLWLJDWLRQEXWSULRUWR          VWXIIZKLFKDUHWZRGLIIHUHQWWKLQJV LQGLFDWLQJ 
   WKDW,GLGQ WNQRZDERXWWKHEDQNUXSWF\                  4'R\RXNQRZWKHEDQNUXSWF\ODZZLWKLQ
   4:KHQ\RXVD\\RXRQO\JRWWKH                 \RXURZQULJKW"
   LQIRUPDWLRQZKDWLQIRUPDWLRQGLG\RXJHW"                 'R\RXNQRZZKDWKDSSHQVWRWKH
   $,QWHUPVRIDEDQNUXSWF\ZDVILOHG           HIIHFWLYHEDQNUXSWF\"
   4,I\RXUHIHUWR36WKLVGRFXPHQWLW      ,W VWKHVDPHTXHVWLRQ,DVNHG
   VD\V6KHULII V5HWXUQRI6HUYLFHRQLW"                    /LHXWHQDQW7KRUQWRQ
   $<HV                                          $,IWKH\ILOH"
   4$QGWKHJHQWOHPDQKHUH/LHXWHQDQW           4<HV
   7KRUQWRQ,EHOLHYHWHVWLILHGWKDWWKLVLVLQWKH         $<HV
   -HZHOOV\VWHPDQG,ZLOOGLUHFW\RXWRWKLVHQWU\RI      4:KDWLVLW"
   0D\WK                                             $:HDUHWRVWRSDOODFWLRQXQOHVVWKHUH
   :RXOGWKLVKDYHEHHQDYDLODEOHWR\RXU       LVDEDURUGHU
   VXSHUYLVRUWKHLQIRUPDWLRQWKDWLVRQWKLVGRFXPHQW"      4$OODFWLRQ"
   $:HGRQ WKDYHDFFHVVWRWKLV                  $<HV


                                                                                3DJHVWR
                                       :::./:5(3257(56&20
 Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 379 of 386
                                                             -HWDULD7D\ORU
                                                             3DJH                                                                3DJH
    4$OODFWLRQWR\RXGRHVWKDWPHDQ                       EODQNDQGWKHQWKLVLQIRUPDWLRQDERXWFDQFHOOHGSHU
    HYLFWLRQ"                                                             GHIHQGDQWILOHGEDQNUXSWF\WKDWLQIRUPDWLRQZDVQ W
    $<HV                                                     LQWKHV\VWHPHLWKHU
    43RVWLQJQRWLFHVRIYDFDWHGRHVWKDW                     4:KHQ\RXSXWWKLVQRWH"
    IDOOZLWKLQDOODFWLRQ"                                               $2Q0D\WK\HVQHLWKHURQHRIWKRVH
    $<HV                                                     ZHUHLQWKHUH
    4([HFXWLQJJDUQLVKLQJZULWVLVWKDWDOO                 4,VLW\RXUVWDWHPHQWWKDW\RXGLGQ WSXW
    DFWLRQ"                                                               WKDWLQWKHUH"
    $<HV                                                     $<HV
   05),/,329,&0D DP,GRQ WWKLQN,                 4'R\RXNQRZZKRGLG"
   KDYHDQ\RWKHUTXHVWLRQVIRU\RX                                    $, PQRWVXUH
   7KDQN\RX'HSXW\7D\ORU                              $VIDUDVWKHSRVVHVVLRQGDWHV
    (;$0,1$7,212)'(387<7$</25%<06+$53(5                         W\SLFDOO\DVXSHUYLVRUZRXOGGRWKDWDQGLI
   4'HSXW\7D\ORULI\RXFRXOGMXVWORRN                  VRPHERG\UHFHLYHGDEDQNUXSWF\WKH\ZRXOGSXWWKH
   DWZKDWLVPDUNHG36                                              LQIRUPDWLRQLQEXWWKLVZDVDIWHUWKH0D\WKGDWH
   'R\RXKDYHWKDWLQIURQWRI\RX"                      DQG,GRQ WNQRZZKDWGDWHWKDWLV
   $<HV                                                    05'20(5,GRQ WKDYHDQ\WKLQJHOVH
   4<RXZHUHDVNHGDTXHVWLRQDERXWWKHGDWH                 (;$0,1$7,212)'(387<7$</25%<06+$53(5
   WKDWDSSHDUVRQWKHHQYHORSH                                        4:HWDONHGDERXWWZRLQVWDQFHVZKHUH\RX
   'R\RXVHHWKDW"                                       ZHQWWRWKHSURSHUW\DW6RXWKQG6WUHHW
   $<HV                                                    2QHRIWKHPZDV-XQHVWWRSRVWWKH
   4,VWKDW\RXUKDQGZULWLQJWKHGDWHWKDW                 HYLFWLRQQRWLFHFRUUHFW"
   VD\V"                                                         $<HV
   $1R                                                     47KDWGDWHLVQRWUHIOHFWHGRQWKLV
   4'R\RXNQRZZKRZURWHWKDW"                             UHFRUGWKDWLVPDUNHG36LVWKDWFRUUHFW"


                                                             3DJH                                                                3DJH
    $1R                                                      $<HV
    06+$53(5,GRQ WWKLQN,KDYH                       4'LG\RXKDYHDQ\RWKHUUHFRUGVWKDW\RX
    DQ\WKLQJHOVH                                                        NHSWZLWKUHVSHFWWRWKDWDFWLYLW\"
     (;$0,1$7,212)'(387<7$</25%<05'20(5                           $<HV
    4<RXZHUHDVNHGDERXWWKLV                               4:KDWRWKHUUHFRUGVGLG\RXNHHS"
    &RUUHFWPHLI, PZURQJ36\RX                     $,ZRXOGXVHDIRUPWKDWZHKDYHWRILOO
    VDLGWKDW\RXZURWHLQWKHQRWHV"                                     RXWDQG\RXKDYHWRSXWGRZQWKHILUVWWLPH\RXJR
    $<HV                                                     RXWDQGWKHVHFRQGWLPH\RXJRRXW
    4'LG\RXZULWHLQDOOWKHQRWHVRQWKHUH"                 <RXOLVWWKHGDWHVDQGWKHWLPHV
   $1R                                                     4,NQRZ\RXKDYHQ WVHHQLWLQIURQWRI
   4:KDWQRWHVGLG\RXZULWH"                               \RXKHUHWRGD\EXWGR\RXEHOLHYH\RXGLGILOORXW
   $:HOOWHFKQLFDOO\,RQO\ZURWH,                    WKDWIRUP"
   GLGQ WUHDOO\KDYHWRZULWHDQ\WKLQJ                                $<HV
   6RWKLVLVDOUHDG\SUHGRQHVRWKLV                  4$Q\RWKHUPHDQVE\ZKLFK\RXSHUVRQDOO\
   LV                                                                NHHSDUHFRUGRIWLPHV\RXJRWRDSURSHUW\"
   4&DQ\RXWDONLQZRUGVVRWKHFRXUW                     $<HV
   UHSRUWHUFDQWDNHLWGRZQ"                                           ,NHHSDUHFRUGLQP\SKRQH
   $'HSXW\-HWDULD7D\ORUEHLQJGXO\VZRUQ                 06+$53(5,KDYHQRWKLQJIXUWKHU
   DFFRUGLQJWRODZWKDWZKROHVHQWHQFHLVDOUHDG\                     (;$0,1$7,212)'(387<7$</25%<05),/,329,&
   SUHUHFRUGHGLQWKHV\VWHP,JXHVVVRWKHRQO\                     4-XVWOLPLWHGTXHVWLRQVEDVHGRQO\RQ
   WKLQJ,KDYHWRGRLVSXWP\QDPHLQWRWKHGURSGRZQ                 ZKDWZDVQRZGLVFXVVHG
   ER[DQGRQFH,SXWLQP\QDPHLWJRHVWRWKHVLJQ                 <RXNHHSLWLQ\RXUSHUVRQDOSKRQH
   ILHOGDQGWKHQDVIDUDVWKHSRVVHVVLRQGDWHZKHQ                 RU
   ,HQWHUHGWKHGD\QRWLFHRQ0D\WKZHGLGQ W                   $0\SHUVRQDOSKRQH
   KDYHDSRVVHVVLRQGDWHDWWKDWWLPHVRWKDWVSRWZDV                4$VIDUDV36GLG\RXUHYLHZERWK



                                                                                                   3DJHVWR
                                                     :::./:5(3257(56&20
 Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 380 of 386
                                              -HWDULD7D\ORU
                                              3DJH                                                      3DJH
    \RXWHVWLILHGWKDWWKHUHZDVVRPHLQIRUPDWLRQKHUH          &(57,),&$7(
    VXFKDV\RXUQDPHDQGEHLQJGXO\VZRUQDFFRUGLQJWR      
    ODZ                                                     
    7KDWZDVSUHW\SHGZKHQ\RXZHQW              ,/RUL$3RUWRD1RWDU\3XEOLFDQG&HUWLILHG
    LQVLGH"                                                     &RXUW5HSRUWHUGRKHUHE\FHUWLI\WKDWWKHIRUHJRLQJ
    $8KKXK
                                                                 LVDWUXHDQGDFFXUDWHWUDQVFULSWRIWKHWHVWLPRQ\DV
                                                                 WDNHQVWHQRJUDSKLFDOO\E\DQGEHIRUHPHDWWKHWLPH
    4$QG\RXRQO\HQWHUHGWKHUHPDLQGHUXS
                                                                 SODFHDQGRQWKHGDWHKHUHLQEHIRUHVHWIRUWKWRWKH
    WRZKHUHLWLVSRVWHG"
                                                                 EHVWRIP\DELOLW\
    $<HV                                          ,GRIXUWKHUFHUWLI\WKDW,DPQHLWKHUD
   ,QRWHGWKH\QRWHGSRVWHG               UHODWLYHQRUHPSOR\HHQRUDWWRUQH\QRUFRXQVHORIDQ\
   47KDQNV                                       RIWKHSDUWLHVWRWKLVDFWLRQDQGWKDW,DPQHLWKHU
   'R\RXUHYLHZWKHHQWLUHHQWU\ERWK         DUHODWLYHQRUHPSOR\HHRIVXFKDWWRUQH\RUFRXQVHO
   WKHRQHWKDW\RXSULQWHGDQGZKDWZDVSUHSULQWHG           DQGWKDW,DPQRWILQDQFLDOO\LQWHUHVWHGLQWKH
   EHIRUH\RXHQWHUHGLW"                                     DFWLRQ
   'R\RXUHDGLW"                           
   $0D\EH,H[SODLQHGLWZURQJ                
   ,I\RXORRNLWVD\VFDWHJRU\DQGLW     
   VD\VSRVWHG                                          
                                                             
   40D DPLI\RXFRXOGMXVWDQVZHUWKH
                                                             
   TXHVWLRQ
                                                             
   ,XQGHUVWDQGZKDW\RXDUHWU\LQJWR
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
   VD\                                                         /RUL$3RUWR&&5
   :H OOJHWWKURXJKWKLVTXLFNHULI\RX        1RWDU\3XEOLF6WDWHRI1HZ-HUVH\
   DQVZHUP\TXHVWLRQV                                         &HUWLILFDWH1R;,
   'LG\RXUHDGWKHHQWLUHHQWU\WKH        


                                              3DJH
    SRUWLRQWKDWZDVSUHSULQWHGDQGWKHSRUWLRQ\RXSXW
    LQSULRUWRFOLFNLQJDSSURYHRUHQWHU"
    $<HV
    47KDW VDOO
    <RXUWHVWLPRQ\LVWKDWVRPHERG\HOVH
    ZURWHLQWKHSRVVHVVLRQGDWH"
    $<HV
    4$QG\RXUWHVWLPRQ\LVWKDWVRPHERG\HOVH
    ZURWHLQFDQFHOOHGSHUGHIHQGDQWILOHGEDQNUXSWF\"
   $<HV
   4:RXOGWKH-HZHOOV\VWHPEHDEOHWR
   LGHQWLI\ZKRWKDWSHUVRQLVE\VLJQLQFUHGHQWLDOV
   OHW VVD\"
   $1R
   4'RHVDQ\ERG\RXWVLGHRIWKH3KLODGHOSKLD
   6KHULII V2IILFHKDYHDFFHVVWRWKLVV\VWHP"
   $2XWVLGHWKHVKHULII VRIILFH"
   4<HV
   $1RWWRP\NQRZOHGJH
   05),/,329,&7KDQNV
   1RIXUWKHUTXHVWLRQV
    :,71(66(;&86('
    '(326,7,21&21&/8'('$730





                                                                                3DJHVWR
                                       :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 381 of 386
                                      -HWDULD7D\ORU
                                                                             3DJH

        $           $SSOLQJ        %RXOHYDUG               GDWHV  
$SSOLQJ       DSSURYH                     FRPSXWHU     
                DUJXH         ER[                      
DP         DUJXPHQWDWLYH      EULJKW       &21&/8'('        
DND                           EULQJ                 GD\  
$%'(/'$<         DVNHG          %52$'        FRQGXFWLQJ     
                          %XLOGLQJ     FRQWDFW   GD\V 
$%'(/'<(0                     EXQFK       FRQWHQG   'HEWRU3ODLQWLII
                 DVNLQJ                        FRQWLQXHG     
                                        &                 '(&(0%(5
DELOLW\  
DEOH        DVVLJQHG     &         FRQYHUVDWLRQV    
                       FDOO               GHIHQGDQW 
DEVHQFH        $66,67$17                  FRSLHV       
DFFHVV                      FDQFHOOHG      FRS\    
           DVVRFLDWHG                     
                                                                       'HIHQGDQWV 
DFFXUDWH                   FDVH       FRUQHU    '(3$570(
                DWWDFKHG                          
DFWLRQ      DWWHPSWV              FRUUHFW   GHSHQG 
       DWWHVWHG                   GHSHQGV 
               DWWRUQH\    FDWHJRU\            
DFWLYLW\                    &&5                  GHSRVHG 
DFWXDO      DYDLODEOH   FHUWDLQO\      FRXQVHO  GHSRVLWLRQ 
                       &HUWLILFDWH                
                                                      
                            %        &HUWLILHG             GHSXWLHV 
DGGLWLRQ 
DGGUHVV         %                            &RXQW\    GHSXW\ 
            EDFN   FHUWLI\      FRXUW        
DGYLVLQJ             FKDUJH               
DIIL[                                     
DIWHUQRRQ        EDGJH        FKHFN         FUHGHQWLDOV       
       EDQNUXSWF\  FKHFNLQJ                      
               &,7<      FXUUHQW        
DJUHH          &LYLO                   GHVFULEH 
                        FODULI\                '       '(6,*1$7('
DQQXDO 
DQVZHU                           '           
        EDU                       GDWH   GHWHUPLQDWLRQ
            EDVHG       FOHDU                  
DQVZHUV         %DVLFDOO\    FOLFNLQJ        GLIIHUHQW 
DQ\ERG\        EHOLHYH     FRFRXQVHO            
                     FRORU                GLIIHUHQWLDWH
           EHVW    FRORUFRGLQJ              
                                        GLIILFXOW 
DQ\PRUH         EODQN        FRORUV         GLUHFW 
DSSHDU          EORFN       FRPH                  
               ERWWRP                          GLUHFWO\ 
DSSHDUV                    FRPPHQFLQJ        GDWHG      GLVFRYHU\ 


                               :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 382 of 386
                                       -HWDULD7D\ORU
                                                                                    3DJH

GLVFXVV        HQWLUH      ILOHG       JHWWLQJ       KHOSIXO 
GLVFXVVHG      HQWU\                                   KHUHLQEHIRUH
',675,&7                            JLYH      
GLYLVLRQ       HQYHORSH        )LOLSRYLF                    KROGLQJ 
                               JLYHV         KRPH 
GRFXPHQW        (648,5(               JLYLQJ            
        HVVHQWLDOO\           JR      KRVSLWDO 
        HVWDWH                    
GRFXPHQWV                                                 ,
          HYHQW                              LGHQWLILHG 
                                                               
GRLQJ      HYLFWLQJ                             LGHQWLI\ 
                                                               
             HYLFWLRQ     ILOO                   LPPHGLDWHO\
                                                               
'RPHU                                    
                      ILOOHG             LQGLFDWLQJ 
GRRU                ILOOLQJ        JRHV      
                          ILQDO                     
                                                            JRLQJ  
GURSGRZQ                                                  LQGLFDWLRQV 
                                                               
               HYLFWLRQV       ILQDQFLDOO\                     LQIOXHQFH 
                                                               
GXO\                                               LQIRUPDWLRQ
                                                               
                          ILQG           *RRG        
'XQQH       ([DPLQDWLRQ         ILQH                      
                                                            JXHVV  
GXWLHV                                            
                               ILUVW      JXQ  
        (                                                LQIRUPHG 
(      H[DPLQHG                        +       LQLWLDO 
           (;&86('                         +               
HPDLO                        IROORZXS  KDOI      
HDUOLHU        ([HFXWLQJ       IROORZV      KDQG       LQVHUW 
HDUOLHVW       ([KLELWV        )RUG     KDQGOH      LQVLGH 
                              IRUHJRLQJ   KDQGZULWH  ,QVSHFWRU 
($67(51          H[SHQVH        IRUP   KDQGZULWLQJ     LQVWDQFHV 
HIIHFWLYH                              LQWHUHVWHG 
HLWKHU      H[SODLQHG                          LVVXH 
                                    IRUWK       KDQGZULWWHQ
HOVH V                  )                                           -
                                        IURQW 
HPSOR\HG         )             KDSSHQV    -HWDULD 
HPSOR\HH        IDOO            IXUWKHU    +DUSHU   -HUVH\ 
       IDPLOLDU                     -HWDULD  
            IDU                                    
(QIRUFHPHQW                          *               
          ID[            JDUQLVKLQJ     -HZHOO   
HQIRUFLQJ       ILHOG       JDWKHUHG               
HQWHU              JHQHUDOO\            
                     JHQHULF    +$66$1        
HQWHUHG                   JHQWOHPDQ  KHDU       MRE 
             ILOH           JHVWXUHV    KHOG        -RKQ  


                               :::./:5(3257(56&20
 Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 383 of 386
                                 -HWDULD7D\ORU
                                                                               3DJH

-26+8$        OLPLWHG              QXPEHU         SDUHQWKHVLV
MRVKXDGRPHU   OLVW                           
              OLWLJDWLRQ                  SDUNLQJ 
-XO\                                         
-XQH      OLYLQJ         0XQLFLSDO              3DUW 
        ORFDWHG                        QXPEHUV        SDUWLFXODU 
      ORJ          1                               
              1                                
                  ORQJ                             2              
         .                       QDPH  
                  ORRN                      2            SDUWLHV 
.$3/$1                         2EMHFWLRQ      SDUWQHU 
NHHS                   QHFHVVDU\ 
                  ORRNV                      RFFXSDQWV        
                       QHHG                           3HQQV\OYDQLD
.HQQHG\       /RUL   QHLJKERUV       RFFXSDWLRQ         
                        QHLWKHU          RIILFH     SHRSOH 
NHSW          /\QGHO                        SHUVRQ 
NQHZ               1HZ                        SHUVRQDO 
NQRFN                1RWDU\                      
NQRZ                        QRWDWLRQ                  
              0        QRWDWLRQV        2)),&(6          SHUVRQDOO\ 
       0            QRWH       2K                
      0D DP              RND\       SHUWDLQ 
                                           SIHVT#LILJKW
        PDLO        QRWHG                     
    PDLOER[     QRWHV                      3KLODGHOSKLD
                              2PDU               
            PDLOHG   QRWLFH       RQFH             
NQRZOHGJH        PDUNHG                                  
                      RQHE\RQH            
        0DUNHW                        SKRQH 
                 PHDQ             RQHV             
         /                            2UDO            SKRWRFRS\ 
ODZ   PHDQV                   RUGHU          SK\VLFDO 
       0(*$1                   RUGHUV            
             PHJDQKDUSHU            RXWVLGH     SODFH 
/($0$1                                                       SODQQLQJ 
OHDYLQJ    PHWHU       QRWLFHDEOH               3
                                                                            
         PLGGOH      QRWLFHV          3       SOHDVH  
OHIWKDQG  PLOHDJH                  3&              SRLQW  
OHW V                 30            SRUWLRQ 
                   3$       3RUWR  
                        SDJH           
OHWWHU       PLOHV                     3DJHV          SRVLWLRQ 
/LHXWHQDQW       PLQG        QRWLI\          SDSHUZRUN           SRVVHVVLRQ 
       PLQXWHV                                  
            PRUQLQJ    QRWLQJ                             


                             :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 384 of 386
                                      -HWDULD7D\ORU
                                                                                3DJH

SRVW                               
          36       UHFRUGV           VLWXDWLRQ 
                         UHG          VL[ 
SRVWHG     36                        VFHQDULR       62/,&,725
       36       UHIHU       VFKHGXOH         
        36                             VRPHERG\ 
                         UHIHUHQFH    VHFRQG            
         36       UHIOHFWHG   VHH          
SRVWLQJ                  UHLPEXUVHG                VRUU\ 
       3XEOLF                     
           SXOO            UHODWLRQ               VRUW 
SRVWLQJV        SXUVXDQW        UHODWLYH          VRXQG 
SUDFWLFH        SXW                                     
SUHGRQH                UHPDLQGHU    VHHQ     VRXQGV 
SUHILOOHG                UHSHDW        VHQG          6RXWK 
SUHUHFRUGHG               UHSRUW      VHQWHQFH         
                                   VHUYH        
SUHW\SHG                      UHSRUWHU                  
35('5$*                                               VSHFLILF 
SUHPLVHV             4                    VHUYHG      VSRW 
SUHSDUHV       TXHVWLRQ        UHSRUWV                   VWDUW 
SUHSDULQJ              UHSUHVHQW   VHUYLFH        6WDWH 
SUHSULQWHG              UHTXHVW                 VWDWHPHQW 
                        6HUYLFHV       67$7(6 
SUHYHQW                        UHTXHVWHG   VHUYLFLQJ      VWHQRJUDSKLFD
SULQW          TXHVWLRQV       UHTXHVWLQJ                   
SULQWHG                              VHUYLQJ        6WHSKHQ  
                        UHTXLUHPHQW                VWHSKHQ#GXQ
SULQWHU        TXLFNHU                    VHW              
SULQWRXW                          UHVSHFW      VKHHW        VWLSXODWLRQV
                           5
SULRU                            UHVSRQVLEOH          
          5         5HWXUQ      VKHULII        VWRS 
SURFHVV       UHDG          UHYLHZ      VKHULII V      VWUDLJKW 
SURSHUWLHV                                   6WUHHW  
SURSHUW\                  ULJKW                    
         UHDGLQJ                          
        UHDO                          
         UHDOO\          5RRP                 
                         UXOHV         VKRZ      VWXII 
         UHDVRQ         UXQ          VLFN        
36         UHFDOO                          VLJQ          VXEPLW 
                                  6        VLJQLQ       VXEVWDQFH 
36      UHFHLYH     6           VXFFLQFW 
       UHFHLYHG                         6XLWH  
         UHFRUG        VDOH                      VXSHUYLVRU 
36              VD\V   VLJQRXW         


                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 385 of 386
                                  -HWDULD7D\ORU
                                                                               3DJH

       WHUPV         WUXH           :                   <
          WHVWLILHG       WUXWKIXO      :               \HDK  
                WU\          ZDQW       \HDU 
VXSHUYLVRUV                 WU\LQJ               \HDUV 
                  WZLFH        ZDVQ W 
VXSSRVHG                WZR    ZH OO            =
              WHVWLPRQ\                             ]HUR 
VXUH                      ZH UH  
                         W\SH                                    
                                                         
         WKDQN         W\SLFDOO\   ZHDULQJ 
                                                              
                                                       ZHQW 
VZRUQ                                                         
                                                         
          7KDQNV                8                           WK 
                                                         
V\VWHP                      8                                   
                                                         
       WKLQJ         8KKXK                          
                                                         
          WKLQJV                                     
                                                       :LOOLDPV 
       WKLQN                                  
                                                        
                                                
                                                       :,71(66
                     XQGHUVWDQG                       
                                                         
                                                                   
                                                        
         7         7KRUQWRQ      XQGHUVWDQGLQJ                         
                                                       :2/)( 
7                                                  
                                                       ZRUGV 
             WKUHH      XQLIRUP                           
                                                       ZRUN 
7D\ORU                8QLW                      WK 
                                                         
WDNH        7+856'$<           81,7('                            
                                                        
                        XQNQRZQ  ZRUNLQJ         
WDNHQ      WLPH                                       
                                                       ZULW 
                       XQPDUNHG                         0'&
                                                         
WDON                  XQQHFHVVDU\                           
                                                         
WDONHG                                               WK  
                                                        
WDONLQJ                 XVH                           
                                                        
                 8VXDO                            
                                                       ZULWH 
WDSH                          XVXDOO\                          
                                                         
7DXUXV      WLPHV                                  VW  
                                                        
7D\ORU                                                     
                                              9        ZULWV  
      WRGD\                        ZURQJ  
                           YDFDWH                                  
                                              
                                                    
                                                  ZURWH 
                                                        
                   7RSSLQ                          
                                                        
                                           
                                                                    
                                             ZZZNOZUHSR
WHFKQLFDOO\                           YHKLFOH                       
                   7RSSLQ V                        
                                                          
                   WUDQVFULSW 
WHOO                        YHKLFOHV                        
                   WUDYHO                                   ;
                            YHUEDOO\                        GD\ 
                   WUDYHOHG                        ;  
                                  YV                                  
                   WULSV                          ;, 
                                                                           

                              :::./:5(3257(56&20
  Case 2:21-cv-05144-WB Document 4-8 Filed 12/16/21 Page 386 of 386
                            -HWDULD7D\ORU
                                                                 3DJH


  

  
 
WK  
 
         
 
 
 
 
        
 
 
         
 
 
 
         
 
 
  
 
QG 
   
   
  
        
WK 
         
 
WK 
        
 
 
WK 




                        :::./:5(3257(56&20
